Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 1 of 382




                                                              Haiti AR_001305
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 2 of 382




                                                              Haiti AR_001306
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 3 of 382




                                                              Haiti AR_001307
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 4 of 382




                                                              Haiti AR_001308
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 5 of 382




                                                              Haiti AR_001309
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 6 of 382




                                                              Haiti AR_001310
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 7 of 382




                                                              Haiti AR_001311
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 8 of 382




                                                              Haiti AR_001312
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 9 of 382




                                                              Haiti AR_001313
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 10 of 382




                                                              Haiti AR_001314
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 11 of 382




                                                              Haiti AR_001315
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 12 of 382




                                                              Haiti AR_001316
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 13 of 382




                                                              Haiti AR_001317
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 14 of 382




                                                              Haiti AR_001318
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 15 of 382




                                                              Haiti AR_001319
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 16 of 382




                                                              Haiti AR_001320
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 17 of 382




                                                              Haiti AR_001321
 Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 18 of 382




BRIEFING PAPER



GLOBAL CLIMATE RISK INDEX 2021
Who Suffers Most from Extreme Weather Events?
Weather-Related Loss Events in 2019 and 2000-2019

David Eckstein, Vera Künzel, Laura Schäfer




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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 19 of 382
Global Climate Risk Index 2021                                                                                                        GERMANWATCH



                 Brief Summary
                 The Global Climate Risk Index 2021 analyses and ranks to what extent countries and regions have been
                 affected by impacts of climate related extreme weather events (storms, floods, heatwaves etc.). The most
                 recent data available for 2019 and from 2000 to 2019 was taken into account.

                 The countries most affected in 2019 were Mozambique, Zimbabwe as well as the Bahamas. For the period
                 from 2000 to 2019 Puerto Rico, Myanmar and Haiti rank highest.

                 This year’s 16th edition of the Climate Risk Index clearly shows: Signs of escalating climate change can no
                 longer be ignored – on any continent or in any region. Impacts from extreme-weather events hit the poor-
                 est countries hardest as these are particularly vulnerable to the damaging effects of a hazard, have a lower
                 coping capacity and may need more time to rebuild and recover. The Global Climate Risk Index indicates
                 a level of exposure and vulnerability to extreme weather events, which countries should understand as
                 warnings in order to be prepared for more frequent and/or more severe events in the future. The storms
                 in Japan show: Also high-income countries are feeling climate impacts more clearly than ever before. Ef-
                 fective climate change mitigation and adaptation to prevent or minimize potential damage is therefore in
                 the self-interest of all countries worldwide.



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                                                                                                                        Haiti AR_001323
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 20 of 382
Global Climate Risk Index 2021                                                                                                                              GERMANWATCH




              Content
              How to Interpret the Global Climate Risk Index ............................................ 3

              Key Messages .............................................................................................. 5

              1        Key Results of the Global Climate Risk Index 2021 ................................ 6

              2 Effects of Climate Change on Extreme Weather Events and Ways to Deal with
                    the Related Impacts........................................................................... 16
                       The effects of climate change on tropical cyclones ............................................. 19
                       Exemplary approaches to address the impacts of tropical cyclones............... 21
                       Loss and damage: when adaptation and risk management reach their limits
                            ................................................................................................................................ 23

              3 Status Quo of International Resilience Policy .......................................... 24
                       International climate policy developments and expectations for 2021 .......... 27

              4 Methodological Remarks ........................................................................ 29

              5 References ............................................................................................. 33

              Annexes .................................................................................................... 39




                                                                                     2

                                                                                                                                             Haiti AR_001324
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 21 of 382
Global Climate Risk Index 2021                                                                                                              GERMANWATCH




              How to Interpret the Global Climate Risk
              Index
              The Germanwatch Global Climate Risk Index is an analysis based on one of the most
              reliable data sets available on the impacts of extreme weather events and associ-
              ated socio-economic data, the MunichRe NatCatSERVICE. The Global Climate Risk
              Index 2021 is the 16th edition of this annual analysis. Its aim is to contextualise on-
              going climate policy debates – especially the international climate negotiations –
              looking at real-world impacts over the last year and the last 20 years.

              However, the index must not be mistaken for a comprehensive climate vulnerabil-
              ity 1 scoring. It represents one important piece in the overall puzzle of climate-re-
              lated impacts and the associated vulnerabilities. The index focuses on extreme
              weather events such as storms, floods and heatwaves but does not take into account
              important slow-onset processes such as rising sea levels, glacier melting or ocean
              warming and acidification. It is based on past data and should not be used as a
              basis for a linear projection of future climate impacts. More specifically, not too far-
              reaching conclusions should be drawn for the purpose of political discussions re-
              garding which country or region is the most vulnerable to climate change. Also, it is
              important to note that the occurrence of a single extreme event cannot be easily
              attributed to anthropogenic climate change. Nevertheless, climate change is an in-
              creasingly important factor for changing the likelihood of the occurrence and the
              intensity of these events. There is a growing body of research that is looking into the
              attribution of the risk 2 of extreme events to the influences of climate change 3 (see
              chapter 2).

              The Climate Risk Index (CRI) indicates a level of exposure and vulnerability to ex-
              treme events, which countries should understand as warnings in order to be pre-
              pared for more frequent and/or more severe events in the future. In the CRI 2021,
              data from 180 countries were analysed. However, not being mentioned in the CRI




              1
                According to IPCC (2014b) we define vulnerability as “the propensity or predisposition to be adversely affected. Vulnerability
                encompasses a variety of concepts and elements including sensitivity or susceptibility to harm and lack of capacity to cope
                and adapt”.
              2
                According to IPCC (2012) we define disaster risk as “the likelihood over a specified time period of severe alterations in the
                normal functioning of a community or a society due to hazardous physical events interacting with vulnerable social condi-
                tions, leading to widespread adverse human, material, economic, or environmental effects that require immediate emer-
                gency response to satisfy critical human needs and that may require external support for recovery.
              3
                See, for instance: American Meteorological Society 2018, Herring et al. (2018), Trenberth et al. (2018), Zhang et al. (2016);
                Hansen et al. (2016); Haustein et al. (2016) & Committee on Extreme Weather Events and Climate Change Attribution et al.
                (2016); Stott et al. (2015)
                                                                             3

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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 22 of 382
Global Climate Risk Index 2021                                                                    GERMANWATCH




              does not mean there are no impacts occurring in these countries. Due to the limita-
              tions of the available data 4, particularly long-term comparative data, including so-
              cio-economic data, some very small countries, such as certain small island states,
              are not included in this analysis. Moreover, the data only reflects the direct impacts
              (direct losses and fatalities) of extreme weather events, whereas, indirect impacts
              (e.g. as a result of droughts and food scarcity) are not captured. The results of this
              index must be viewed against the background of data availability and quality as well
              as the underlying methodology for their collection. Data quality and coverage may
              vary from country to country as well as within countries. This has led to an un-
              derrepresentation of, for example, African countries when it comes to heatwaves.
              Finally, the index does not include the total number of affected people (in addition
              to the fatalities), since the comparability of such data is very limited.




              4
                  See also the Methodological Remarks in Chapter 5.
                                                                      4

                                                                                         Haiti AR_001326
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 23 of 382
Global Climate Risk Index 2021                                                                                                 GERMANWATCH




                  Key Messages
                  ●     Mozambique, Zimbabwe and the Bahamas were the countries most affected by the impacts of ex-
                        treme weather events in 2019.

                  ●     Between 2000 and 2019, Puerto Rico, Myanmar and Haiti were the countries most affected by the
                        impacts of extreme weather events.

                  ●     Altogether, between 2000 and 2019 over 475 000 people lost their lives as a direct result of more
                        than 11 000 extreme weather events globally and losses amounted to around US$ 2.56 trillion (in
                        purchasing power parities).

                  ●     Storms and their direct implications – precipitation, floods and landslides – were one major cause
                        of losses and damages in 2019. Of the ten most affected countries in 2019, six were hit by tropical
                        cyclones. Recent science suggests that the number of severe tropical cyclones will increase with
                        every tenth of a degree in global average temperature rise.

                  ●  In many cases, single exceptionally intense extreme weather events have such a strong impact that
                     the countries and territories concerned also have a high ranking in the long-term index. Over the
                     last few years, another category of countries has been gaining relevance: Countries like Haiti, the
              Error! Philippines
                     Bookmark    and  Pakistan
                                    not        that are recurrently affected by catastrophes continuously rank among the
                                         defined.
                     most affected countries both in the long-term index and in the index for the respective year.

                  ●     Developing countries are particularly affected by the impacts of climate change. They are hit hard-
                        est because they are more vulnerable to the damaging effects of a hazard but have lower coping
                        capacity. Eight out of the ten countries most affected by the quantified impacts of extreme weather
                        events in 2019 belong to the low- to lower-middle income category. Half of them are Least Devel-
                        oped Countries.

                  ●     The global COVID-19 pandemic has reiterated the fact that both risks and vulnerability are systemic
                        and interconnected. It is therefore important to strengthen the resilience of the most vulnerable
                        against different types of risk (climatic, geophysical, economic or health-related).

                  ●     After the international climate policy process stalled in 2020 due to the Covid-19 pandemic expecta-
                        tions regarding progress on the long-term finance goal and adequate support for adaptation and
                        L&D lie in 2021 and 2022. The process needs to deliver: a) a decision on how the need for support
                        for vulnerable countries concerning future loss and damage is to be determined on an ongoing ba-
                        sis; b) the necessary steps to generate and make available financial resources to meet these needs;
                        and c) strengthening the implementation of measures for adapting to climate change.




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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 24 of 382
Global Climate Risk Index 2021                                                                                                              GERMANWATCH




              1 Key Results of the Global Climate
                Risk Index 2021
              People all over the world are facing the reality of climate change – in many parts of
              the world this is manifesting in an increased volatility of extreme weather events.
              Between 2000 and 2019, over 475 000 people lost their lives worldwide and losses
              of US$ 2.56 trillion 5 (in PPP) were incurred as a direct result of more than 11 000 ex-
              treme weather events. Slow-onset processes are already adding an additional bur-
              den and will increasingly do so in the future. According to the UNEP Adaptation Gap
              Report 2016, increasing impacts will result in increases in global adaptation costs:
              By 2030 it is estimated that these costs will amount to between US$ 140 billion and
              US$ 300 billion annually and by 2050 to between US$ 280 billion and US$ 500 bil-
              lion. 6 Costs resulting from residual risks or unavoidable loss and damage are not
              covered in these numbers. Current estimates of climate finance needs for residual
              loss and damage in developing countries range between US$ 290 billion to US$ 580
              billion in 2030. 7 Similarly, the Intergovernmental Panel on Climate Change (IPCC)
              estimates in its Special Report “Global Warming of 1.5°C” that the "mean net present
              value of the costs of damage from warming in 2100 for 1.5°C and 2°C (including costs
              associated with climate change induced market and non-market impacts, impacts
              due to sea level rise, and impacts associated with large scale discontinuities) are
              US$ 54 trillion and US$ 69 trillion, respectively, relative to 1961–1990". 8 This indi-
              cates that the gap between the necessary financing to deal with climate-induced
              risks and impacts is even greater than earlier projected. On the other hand, the re-
              port highlights the importance of enhanced mitigation action towards limiting a
              global temperature increase to well below 2°C or even to 1.5°C, which could avoid
              substantive costs and hardships. 9




              5
                Note: Contrary to previous years, the underlying database for the calculation of the CRI 2021 does NOT include data for the
                 United States of America. This results in a significantly lower number for the overall losses in PPP for the 20-year period,
                 compared to, for instance, the number presented in the CRI 2020 (overall losses of US$ 3.54 trillion). As a comparison: Ex-
                 cluding the United States of America, the overall losses in the CRI 2020 amounted to US$ 2.51 trillion.
              6
                UNEP 2016, p. 40ff
              7
                Markandya/González-Eguino 2018 - Their figures depend on the climate scenario, the discount rate, the assumed parame-
                 ters of the climate model and the socioeconomic model. The analysis is based on the case where equilibrium temperatures
                 increase by 2.5–3.4 °C, implying some mitigation, but less than is required under the Paris accord. They note that the uncer-
                 tainties regarding these sources are very large and meaningful projections of residual damage in the medium to long-term
                 are not possible
              8
                IPCC 2018a, p 153
              9
                Ibid. 2018a
                                                                             6

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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 25 of 382
Global Climate Risk Index 2021                                                                                                            GERMANWATCH




              The Global Climate Risk Index (CRI) developed by Germanwatch analyses quan-
              tified impacts of extreme weather events 10 – both in terms of the fatalities as well as
              the economic losses that occurred. The index is based on data from the Munich Re
              NatCatSERVICE 11, which is considered worldwide as one of the most reliable and
              complete databases on this matter. The CRI examines both absolute and relative
              impacts to create an average ranking of countries in four indicative categories, with
              a stronger emphasis on the relative indicators (see chapter 4 “Methodological Re-
              marks” for further details on the calculation). The countries ranking highest (figuring
              in the “Bottom 10” 12) are the ones most impacted by extreme weather events and
              should consider the CRI as a warning sign that they are at risk of either frequent
              events or rare but extraordinary catastrophes.

              The CRI does not provide an all-encompassing analysis of the risks of anthropo-
              genic climate change, but should be seen as one analysis, which contributes to ex-
              plaining countries' exposure and vulnerability to climate-related risks based on the
              most reliable quantified data available – alongside other analyses. 13 It is based on
              data reflecting the current and past climate variability and also on climate change
              – to the extent that it has already left its footprint on climate variability over the last
              20 years.

              Countries Most Affected in 2019

              Mozambique, Zimbabwe and the Bahamas were the most affected countries in
              2019 followed by Japan, Malawi and the Islamic Republic of Afghanistan. Table 1
              shows the ten most affected countries (Bottom 10) in 2019, with their average
              weighted ranking (CRI score) and the specific results relating to the four indicators
              analysed.




              10
                 Meteorological events such as tropical storms, winter storms, severe weather, hail, tornados, local storms; hydrological
                 events such as storm surges, river floods, flash floods, mass movement (landslide); climatological events such as freezing,
                 wildfires, droughts.
              11
                 For further information visit https://www.munichre.com/en/solutions/reinsurance-property-casualty/natcatservice.html
              12
                 The term "Bottom 10" refers to the 10 most affected countries in the respective time period.
              13
                 See e.g. analyses of Columbia University; Maplecroft's Climate Change Vulnerability Index
                                                                            7

                                                                                                                            Haiti AR_001329
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 26 of 382
Global Climate Risk Index 2021                                                                                                GERMANWATCH




              Table 1: The 10 most affected countries in 2019

                Ranking Country                     CRI        Fatalities Fatalities per Absolute       Losses   Human De-
                2019                                score                 100 000        losses         per unit velopment
                (2018)                                                    inhabitants (in million       GDP in % Index 2020
                                                                                         US$ PPP)                Ranking 14

                1 (54)           Mozambique             2.67           700          2.25     4 930.08      12.16          181

                2 (132)          Zimbabwe               6.17           347          2.33     1 836.82       4.26          150

                3 (135)          The Bahamas            6.50            56         14.70     4 758.21      31.59              58

                4 (1)            Japan                14.50            290          0.23    28 899.79       0.53              19

                5 (93)           Malawi               15.17             95          0.47       452.14       2.22          174

                                 Islamic Republic
                6 (24)                                16.00            191          0.51       548.73       0.67          169
                                 of Afghanistan

                7 (5)            India                16.67          2 267          0.17    68 812.35       0.72          131

                8 (133)          South Sudan          17.33            185          1.38        85.86       0.74          185

                9 (27)           Niger                18.17            117          0.50       219.58       0.74          189

                10 (59)          Bolivia              19.67             33          0.29       798.91       0.76          107

              PPP = Purchasing Power Parities. GDP = Gross Domestic Product.



              In March 2019, the intense tropical Cyclone Idai hit Mozambique (1), Zimbabwe (2)
              and Malawi (5), causing catastrophic damage and a humanitarian crisis in all three
              countries. Quickly becoming the deadliest and costliest tropical cyclone in the
              South-West Indian Ocean, Idai was labelled as “one of the worst weather-related
              catastrophes in the history of Africa” by United Nations Secretary-General António
              Guterres. 1516 The torrential rains and destructive winds with top speeds of 195 kilo-
              metres per hour 17 caused flash floods and landslides, which caused economic
              losses amounting to US$ 2.2 billion. Overall, the cyclone affected three million peo-
              ple and caused over 1 000 fatalities. 18 19

              In Zimbabwe (2) Idai affected more than 270 000 people, leaving over 340 dead and
              many others missing. 20 The cyclone pummelled the eastern parts of Zimbabwe
              mainly Chimanimani and parts of Chipinge at night, with less preparedness by the



              14
                 UNDP 2020
              15
                 United Nations Secretary-General Official Twitter Account
              16
                 United Nations Secretary-General 2019.
              17
                 GDACS
              18
                 Reliefweb 2019a
              19
                 AON 2019a
              20
                 Reliefweb 2019b
                                                                               8

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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 27 of 382
Global Climate Risk Index 2021                                                                    GERMANWATCH




              local communities as well as the government. 21 The road infrastructure was grossly
              damaged with more than 90% of the road networks in Chimanimani and Chipinge
              being negatively affected, including 584 km of the roads being damaged by land-
              slides. 22 Overall, the cyclone impacted 50 000 households and displaced over
              60 000 people in the country, causing as much as US$ 622 million worth of dam-
              age. 23

              For Malawi (5) the year 2019 started with heavy rainfalls, which led to an increased
              risk of floods. When Idai hit Malawi in March, it directly affected 975 000 people and
              left over 125 000 homeless. 24 Due to the heavy rainfalls and floods caused by Idai,
              60 people were killed and over 650 injured. 25 Malawi’s economy is heavily depend-
              ent on agriculture, employing nearly 80% of the population, and it is therefore vul-
              nerable to external shocks, particularly climatic shocks. 26

              Six weeks after the devastation of Cyclone Idai, Mozambique (1) was hit by another
              cyclone when category 4 Cyclone Kenneth made landfall in Northern Mozambique.
              Kenneth was the strongest cyclone ever recorded on the African continent with
              wind speeds peaking at 220 kilometres per hour and floods with a height of 2.5 me-
              tres. 27 Overall, Idai and Kenneth led to the deaths of over 600 people and over 1 600
              were injured. 2.5 million people were in need of humanitarian services and over
              200 000 houses were destroyed. 28 The overall damage amounted to more than US$
              3.2 billion (approximately as high as half of Mozambique’s national budget), mostly
              in the manufacturing, infrastructure and social sectors. 29 30

              Hurricane Dorian made landfall on the Bahamas (3) in September 2019 as a cate-
              gory 5 hurricane – the most powerful hurricane on record to hit the island state. 31
              Dorian reached sustained wind speeds of 300 kilometres per hour 32 causing heavy
              rainfalls of 914 millimetres (about 80% of the annual average) of rain within a few
              hours. 33 74 people were killed. Overall, the hurricane caused damage of US$ 3.4 bil-
              lion and damaged or destroyed 13 000 houses. On Grand Bahama and Abaco,



              21
                 Ibid.
              22
                 Ibid.
              23
                 Reliefweb 2019c
              24
                 Reliefweb 2019d
              25
                 Reliefweb 2019e
              26
                 World Bank 2020a
              27
                 UN News
              28
                 Reliefweb 2019f
              29
                 World Bank 2020b
              30
                 Oxfam 2020b
              31
                 Reliefweb 2020a
              32
                 Miami Herald
              33
                 Cambridge
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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 28 of 382
Global Climate Risk Index 2021                                                                     GERMANWATCH




              which were the two most affected islands, about 45% of the homes were damaged
              or destroyed. 34 Moreover, during the storm an oil spill occurred at an oil port of the
              Norwegian state oil and gas company Equinor on Grand Bahama, which polluted
              the soil and negatively impacted the marine life. 35

              In October 2019, Japan (4) was hit by Typhoon Hagibis, the most powerful typhoon
              in Japan in more than 60 years. With top wind speeds reaching 250 kilometres per
              hour, Hagibis was classified as “very strong”, which is equivalent to a category 5 hur-
              ricane. In Tokai, Kanto, and Tohoku regions, the total rainfall in 72 hours was up to
              between 750mm and 1 000mm (between 50% to 70% of the annual average). 36
              Overall, nearly 100 people died, over 230 people were injured, and 13 000 houses
              were damaged, destroyed or exposed to water. In September, Japan had already
              been hit by Typhoon Faxai, which made landfall near Tokyo, leaving more than
              900 000 homes without power. With winds of up to 210 kilometres per hour, Faxai
              has been one of the strongest typhoons to hit the Japanese capital in a decade. 37
              The economic damage caused by the two typhoons is estimated at US$ 25 billion. 38
              Moreover, Japan experienced a heatwave in August 2019, causing over 18 000 heat-
              related hospitalisations and killing 57 people. 39 But Japan was also hit by other
              types of extreme weather: In May 2019, the temperatures in the prefecture of Hok-
              kaido had already gone up to 39.5°C, the highest figure ever recorded in the month
              of May anywhere in Japan. 40

              The Islamic Republic of Afghanistan (6) experienced several floods and landslides
              throughout the year, caused by heavy rainfall. The floods in March 2019 were the
              most devastating - approximately 120 000 people were affected, and 12 000 homes
              were either destroyed or damaged by the floods and mudslides. 41 Over 75 people
              died. In April and May 2019 another 40 people died because of deadly flash floods. 42
              Furthermore, landslides occurred in January and December, killing a total of 35




              34
                 Guardian
              35
                 Zeit Online
              36
                 Reliefweb 2019g
              37
                 BBC 2019a
              38
                 AON 2019b
              39
                 The Japan Times
              40
                 South China Morning Post
              41
                 Reuters 2019
              42
                 Floodlist 2019a
                                                        10

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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 29 of 382
Global Climate Risk Index 2021                                                                     GERMANWATCH




              people. 4344 Due to severe droughts in 2018, the coping capacity of the people af-
              fected was already very low. 45

              India (7) was affected by the yearly monsoon season, which typically lasts from
              June to early September. In 2019, the monsoon conditions continued for a month
              longer than usual, with the surplus of rain causing major hardship. From June to
              end of September 2019, 110% of the normal rainfall occurred, the most since 1994. 46
              The floods caused by the heavy rains were responsible for 1 800 deaths across 14
              states and led to the displacement of 1.8 million people. 47 Overall, 11.8 million peo-
              ple were affected by the intense monsoon season with the economic damage esti-
              mated to be US$ 10 billion. 48 Furthermore, with a total of eight tropical cyclones,
              the year 2019 was one of the most active Northern Indian Ocean cyclone seasons
              on record. Six of the eight cyclones intensified to become “very severe”.49 The worst
              was Cyclone Fani in May 2019, which affected a total of 28 million people, killing
              nearly 90 people in India and Bangladesh and causing economic losses of US$ 8.1
              billion. 50

              South Sudan (8) suffered because of abnormally severe flooding following heavy
              rainfalls lasting from June 2019 until the end of the year. These affected over 900 000
              people; 620 000 of whom required immediate humanitarian assistance. The floods
              damaged 74 000 hectares of cultivated land, which amounts to a loss of over 70 000
              metric tons of cereal. 51 South Sudan required US$ 61.5 million to respond to imme-
              diate flood-induced damage. 52 Despite the floods, bush fires intensified and spread
              due to strong winds and hit four villages in South Sudan’s Western Bahr el Ghazal
              region, causing 50 fatalities and injuring over 60 more people. 53 The fires destroyed
              138 houses and killed 10 000 cattle. 54

              Heavy rains caused massive flooding in Niger (9), mainly in the regions Maradi,
              Zinder and Agadez. The Niger River reached an alarming water level of 640 centime-
              tres (the normal level being 550 centimetres), damaging houses as well as various



              43
                 The Washington Post
              44
                 Reliefweb 2019h
              45
                 Reliefweb 2019i
              46
                 Earth Observatory
              47
                 Reliefweb 2020b
              48
                 AON 2019b
              49
                 The Weather Channel
              50
                 AON 2019a
              51
                 Anadolu Agency
              52
                 Reliefweb 2019j
              53
                 Reliefweb 2019k
              54
                 Africanews
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                                                                                          Haiti AR_001333
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 30 of 382
Global Climate Risk Index 2021                                                                                                          GERMANWATCH




              crops and hydro-agricultural developments. 55 56 The floods were responsible for 57
              fatalities and over 16 000 destroyed houses, affecting more than 210 000 people –
              of which 123 000 were children. 57

              Bolivia (10) suffered due to wildfires that destroyed two million hectares of forest
              and grassland with almost half of the losses being protected areas with high biodi-
              versity. It is estimated that the regeneration of the local ecosystem will take about
              300 years. 58 Furthermore, Bolivia experienced heavy rainfalls and flooding through-
              out the year. In April 2019, 79 of the 338 municipalities were under a state of disaster
              and 25 were under a state of emergency. In total, 34 people died and over 23 000
              families became homeless. 59 In January 2019, the Isiboro River near Gundonovia
              stood at 9.35 metres – about one metre above the danger mark. 60

              Countries Most Affected in the Period 2000-2019

              Puerto Rico, Myanmar and Haiti have been identified as the most affected coun-
              tries 61 in this twenty-year period. They are followed by the Philippines, Mozam-
              bique and the Bahamas. Table 2 shows the ten most affected countries over the
              last two decades with their average weighted ranking (CRI score) and the specific
              results relating to the four indicators analysed.




              55
                 Floodlist 2019b
              56
                 IOM
              57
                 Reliefweb 2020c
              58
                 BBC 2019b
              59
                 Reliefweb 2020c
              60
                 Floodlist 2019c
              61
                 Note: Puerto Rico is not an independent national state but an unincorporated U.S. territory. Nevertheless, based on its
                 geographical location and socio-economic indicators Puerto Rico has different conditions and exposure to extreme
                 weather events than the rest of the USA. The Global Climate Risk Index aims to provide a comprehensive and detailed over-
                 view of which countries and regions are particularly affected by extreme weather events. Therefore, Puerto Rico was con-
                 sidered separately to rest of the USA in our analysis.
                                                                          12

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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 31 of 382
Global Climate Risk Index 2021                                                                                           GERMANWATCH




              Table 2: The Long-Term Climate Risk Index (CRI): The 10 countries most affected from 2000 to
              2019 (annual averages)

                CRI                 Country       CRI       Fatalities Fatalities  Losses in      Losses per    Number of
                2000-2019                         score                per 100 000 million US$    unit GDP      events
                (1999-2018)                                            inhabitants PPP            in %          (2000–2019)

                1 (1)               Puerto Rico      7.17      149.85         4.12     4 149.98          3.66            24

                2 (2)               Myanmar         10.00    7 056.45        14.35     1 512.11          0.80            57

                3 (3)               Haiti           13.67      274.05         2.78       392.54          2.30            80

                4 (4)               Philippines     18.17      859.35         0.93     3 179.12          0.54           317

                5 (14)              Mozambique      25.83      125.40         0.52       303.03          1.33            57

                6 (20)              The Bahamas     27.67        5.35         1.56       426.88          3.81            13

                7 (7)               Bangladesh      28.33      572.50         0.38     1 860.04          0.41           185

                8 (5)               Pakistan        29.00      502.45         0.30     3 771.91          0.52           173

                9 (8)               Thailand        29.83      137.75         0.21     7 719.15          0.82           146

                10 (9)              Nepal           31.33      217.15         0.82       233.06          0.39           191




              Compared to the long-term CRI 2020, which considered the period from 1999 to
              2018 62, two new countries have entered the Bottom 10, while most countries have
              ranked similarly to the year before. Puerto Rico, Myanmar and Haiti have remained
              the three most affected countries over the past two decades. These rankings are
              attributed to the aftermath of exceptionally devastating events such as Hurricane
              Maria in Puerto Rico in 2017 and Hurricanes Jeanne (2004) and Sandy (2012) in Haiti.
              Likewise, Myanmar was struck hard by Cyclone Nargis in 2008, which was responsi-
              ble for the loss of an estimated 140 000 lives as well as the loss and damage of prop-
              erty of approximately 2.4 million people. 63 Mozambique and the Bahamas, which
              are the countries that are new to the Bottom 10, also feature in a high position in
              the ranking as a consequence of exceptionally devastating storms. In 2019, Cyclone
              Idai and Kenneth made landfall in Mozambique and Hurricane Dorian hit the Baha-
              mas.

              These results emphasise the particular vulnerability, particularly in relative terms,
              of poor countries to climatic risks, despite the fact that the absolute monetary




              62
                   See Eckstein et al. 2019
              63
                   See OCHA 2012
                                                                        13

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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 32 of 382
Global Climate Risk Index 2021                                                                                                      GERMANWATCH




              losses are much higher in richer countries. Loss of life, personal hardship and exis-
              tential threats are also much more widespread in low-income countries. 64

              Exceptional Catastrophes or Continuous Threats?

              The Global Climate Risk Index 2021 for the period 2000–2019 is based on average
              values over a twenty-year period. However, the list of countries featured in the long-
              term Bottom 10 can be divided into two groups: firstly, those which were most af-
              fected due to exceptional catastrophes and secondly, those which are affected by
              extreme events on an ongoing basis.

              Countries falling into the first category include Myanmar, where Cyclone Nargis in
              2008 caused more than 95% of the damage and fatalities over the past two decades,
              and Puerto Rico, where more than 98% of the damage in both categories was
              caused by Hurricane Maria in 2017. With new superlatives like Cyclone Idai in March
              2019 being the deadliest and costliest cyclone on record in the Indian Ocean, and
              one of the worst tropical cyclones ever to affect Africa and the Southern Hemi-
              sphere, it seems to be just a matter of time until the next exceptional catastrophe
              occurs. 65 The severe 2017 hurricane season had already made 2017 the costliest
              year ever in terms of global weather disasters. 66

              Over the last few years, the second category of countries has been gaining rele-
              vance: Countries like Haiti, the Philippines and Pakistan, that are recurrently af-
              fected by catastrophes, continuously rank among the most affected countries both
              in the long-term index and in the index for each respective year. Furthermore, some
              countries were still in the process of recovering from the previous year’s impacts.
              One example is the Philippines, which is regularly exposed to tropical cyclones such
              as Bopha 2012, Hayan 2013 and Mangkhut 2018, due to its geographical location.

              The appearance of some European countries among the Bottom 30 countries 67 can
              to a large extent be attributed to the extraordinary number of fatalities due to the
              2003 heatwave, in which more than 70 000 people died across Europe. Although
              some of these countries are often hit by extreme events, the relative economic
              losses and the fatalities are usually relatively minor compared to the countries' pop-
              ulations and economic power due to their high coping capacity.




              64
                  See World Bank country classifications: https://blogs.worldbank.org/opendata/new-world-bank-country-classifications-
                 income-level-2020-2021
              65
                 New York Times 2019a, World Bank 2019
              66
                 MunichRe 2018
              67
                 The full rankings can be found in the Annexes.
                                                                        14

                                                                                                                       Haiti AR_001336
Figure 1: World Map of the Global Climate Risk Index 2000 – 2019
Source: Germanwatch and Munich Re NatCatSERVICE




Countries most affected by extreme
weather events (2000-2019)
   1    Puerto Rico
   2    Myanmar
   3    Haiti
   4    Philippines
   4    Mozambique
   6    The Bahamas
   7    Bangladesh
   8    Pakistan
   9    Thailand


Italics: Countries where more than 90% of the losses or deaths occurred in one year or event
                                                                                                                 Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 33 of 382




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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 34 of 382
Global Climate Risk Index 2021                                                                                  GERMANWATCH




              2 Effects of Climate Change on
              Extreme Weather Events and Ways to
              Deal with the Related Impacts
              Extreme weather events and how they are formed is complex. Numerous interre-
              lated factors must be taken into account when seeking to explain the causes. How-
              ever, science has been able to sufficiently demonstrate that climate change has a
              significant effect on extreme weather events, increasing their frequency, intensity
              and duration. Understanding the relation between the human-induced climate cri-
              sis and extreme weather events is essential for being able to mitigate the risks and
              prepare for these types of events.

              Back in its “Fifth Assessment Report”, which was published in 2014, the Intergovern-
              mental Panel on Climate Change (IPCC) had already stated that the risks associated
              with extreme events will continue to increase as the global mean temperature
              rises. 68 Linking particular extreme weather events to human-induced and natural
              climate drivers remains a scientific challenge which attribution science is trying to
              tackle. The field has recently taken huge leaps forward – even though gaps in
              knowledge and especially in data remain. In general, many studies conclude that
              “the observed frequency, intensity, and duration of some extreme weather events
              have been changing as the climate system has warmed”. 69 Nevertheless, it is not
              trivial to investigate the impact of climate change on a single weather event as dif-
              ferent regional circumstances need to be taken into account and data might be very
              limited. 70 Over the past few years, substantial research has been conducted on the
              attribution of extreme events to climate change, i.e. to what extend anthropogenic
              climate change has contributed to the events’ likelihood and strength. 71 In the field
              known as Probabilistic Event Attribution (PEA), based on climate model experi-
              ments, studies compare the probability of an extreme weather situation, in today’s
              world with human-caused greenhouse gas emissions, to a world without anthropo-
              genic climate change. 72 Due to methodological improvement, “fast track attribu-
              tion” is now more feasible and can be undertaken within months of the event (as
              opposed to decades). 73 Additionally, more knowledge has been generated on how
              underlying factors contributing to extreme weathers are influenced by global warm-
              ing. For example, higher temperatures intensify the water cycle, leading to more


              68
                 IPCC 2014a, p.12
              69
                 Committee on Extreme Weather Events and Climate Change Attribution et al. 2016, p. 2
              70
                 Hansen et al. 2016
              71
                 Stott et al. 2015
              72
                 Carbon Brief 2014
              73
                 Haustein et al. 2016
                                                                        16

                                                                                                        Haiti AR_001338
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 35 of 382
Global Climate Risk Index 2021                                                                     GERMANWATCH




              droughts as well as floods due to drier soil and increased humidity. 74 Of course,
              these approaches can only lead to statements about the change in probability of a
              certain event happening.

              Considering this, the report “Explaining Extreme Events of 2017 from a Climate Per-
              spective” offered findings from 17 peer-reviewed analyses. The American Meteoro-
              logical Society has published such a report in its bulletin on an annual basis since
              2012, analysing selected extreme weather events. Out of the 146 research findings,
              70% “identified a substantial link between an extreme event and climate change”. 75
              Again, “scientists have identified extreme weather events that they said could not
              have happened without the warming of the climate through human-induced cli-
              mate change.” 76 Among others, one of the cited studies concluded that the intense
              marine heatwaves in the Tasman Sea off Australia in 2017 and 2018 would have
              been “virtually impossible” without climate change. 77 Another study in the report of
              the following year “Explaining Extreme Events of 2018 From a Climate Perspective”
              took a closer look at the heatwave in South Korea in the summer of 2018. It con-
              cluded that the likelihood of a 2018-like extreme heat wave with that intensity and
              maximum duration had increased by four times due to anthropogenic climate
              change. 78 For its part, the “Fourth Climate Assessment Report” (2018) considers,
              with a high level of confidence, a future increase in the frequency and intensity of
              extreme high temperature and precipitation events as the global temperature in-
              creases as being “virtually certain”. 79

              The data on the countries in the CRI 2021 demonstrate how destructive extreme
              precipitation can be – namely through the floods and landslides, which have hit
              many regions in South and South East Asia and Africa – regions which now feature
              in the Bottom 10. Extreme precipitation is expected to increase as global warming
              intensifies the global hydrological cycle. Thereby, single precipitation events are ex-
              pected to increase in intensity at a higher rate than global mean changes in total
              precipitation as outlined by Donat et al. (2016). Furthermore, those increases are
              expected in wet as well as dry regions. 80 A study by Lehmann et al. (2015) strength-
              ens the scientific link between record-breaking rainfall events since 1980 and rising
              temperatures. According to the scientists, the likelihood of a new extreme rainfall
              event being caused by climate change reached 26% in 2010. 81 A study by Blöschel


              74
                 WMO 2017
              75
                 American Meteorological Society 2018, without page number
              76
                 Ibid.
              77
                 Perkins-Kirkpatrick et al 2018, p54
              78
                 Wang et al. 2018
              79
                 Wuebbles el al. 2017
              80
                 Donat et al. 2016
              81
                 Lehmann et al. 2015
                                                                       17

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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 36 of 382
Global Climate Risk Index 2021                                                                   GERMANWATCH




              et al. (2017) concludes that the timing of floods is shifting due to climate change.
              The research focuses on Europe and shows that floods occur earlier in the year,
              posing timing risks to people and animals. Flooding rivers affect more people
              worldwide than any other natural disasters and result in multi-billion dollars of
              damage annually. 82 Nevertheless, the study is not fully able to single out human-
              induced global warming as a cause – a problem researchers on extreme weather
              attribution are still facing.

              Researchers explained that the sea surface temperature plays a key role in increas-
              ing storms, wind speeds and precipitation. 83 They conclude that Hurricane Harvey
              in 2017 would not have been able to produce such an enormous amount of rain
              without human-induced climate change. 84 Moreover, a study shows that torrential
              rains like those in 2016 in Louisiana, USA, are now 40% more likely than in pre-in-
              dustrial times. The rainfall was increased because the storm was able to absorb ab-
              normal amounts of tropical moisture on its way to the US coast, releasing three
              times the precipitation of Hurricane Katrina in 2005. 85

              Another example is a regional model used to analyse the occurrence of heatwaves
              in India, finding causalities regarding the 2016 heatwave and climate change. The
              model indicated that sea surface temperatures influence the likelihood of record-
              breaking heat. 86 Other studies have found similar results. A publication regarding
              the 2015 Southern African droughts also found causalities with regards to sea sur-
              face temperatures causing reduced rainfall, increased local air temperatures and
              more evaporation. 87

              Furthermore, there is increasing evidence on the link between extreme El Niño
              events and global warming. Cai et al. (2018) found that the robust increase in the
              variability of sea surface temperatures is “largely influenced by greenhouse-warm-
              ing-induced intensification of upper-ocean stratification in the equatorial Pacific,
              which enhances ocean-atmosphere coupling.” 88 As a consequence, the frequency
              of strong El Niño events increases as well as extreme La Niña events. This finding is
              considered a milestone in climate research 89 and confirms past research in the
              field. 90



              82
                 Blöschl et al. 2017
              83
                 Trenberth et al. 2015; Zhang et al. 2016
              84
                 Trenberth et al. 2018
              85
                 Climate Central 2016a
              86
                 Climate Central 2016b
              87
                 Funk et al. 2016
              88
                 Cai et al. 2018, p. 201.
              89
                 Ham Y-G 2018
              90
                 Cai et al. 2014, Cai et al. 2015, Yeh et al. 2009
                                                                     18

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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 37 of 382
Global Climate Risk Index 2021                                                                         GERMANWATCH




              Extreme weather events and the related risks are not the only type of risks aggra-
              vated by the influences of climate change. In addition, slow-onset processes and
              the related hazards, like the rising sea levels, desertification or the loss of biodiver-
              sity, are triggered or reinforced. In its latest reports, the IPCC (2019) 91 focuses on the
              effect of climate change on the desertification and degradation of land. It suggests
              that climate change will accelerate several desertification processes and that, in the
              future, the risks of desertification will increase. This has various implications, such
              as the loss of biodiversity and an increase in the likelihood of wildfires.



              The effects of climate change on tropical cyclones
              In the Climate Risk Index 2021 tropical cyclones led to six countries being listed
              among the Bottom 10. Mozambique (1), Zimbabwe (2) and Malawi (5) were struck
              by Cyclone Idai (and Kenneth), the Bahamas (3) were hit by Hurricane Dorian, in
              Japan (4) Typhoon Hagibis caused massive destruction, and various cyclones af-
              fected India (7).

              The following info-box highlights the role of climate change in increasing the inten-
              sity of tropical cyclones and in increasing precipitation.




              91
                   IPCC 2019
                                                          19

                                                                                             Haiti AR_001341
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 38 of 382
Global Climate Risk Index 2021                                                                                                   GERMANWATCH




                  How will climate change affect tropical cyclones?
                  There is little doubt that climate change will bring about the following challenges:




                  Illustration: Germanwatch

                  If the increase in the global mean temperature is limited to 1.5°C or even 2°C, the total number of tropical
                  cyclones is actually expected to decrease. However, we also have to note that this might differ regionally. Ac-
                  cording to the IPCC 1.5°C Special Report, the intensity of the storms is likely to increase and more of the highest
                  category tropical cyclones will occur. This is due to warmer oceans acting like fuel: The heat provides more
                  energy to feed the storms, hence making them stronger and thus potentially more damaging. In addition,
                  warmer air can absorb more moisture leading to an increase in the precipitation associated with the storms.
                  Tropical cyclones are also getting slower. Consequently, they can release more rain on the affected area,91
                  although scientific debate on this matter continues.92 Peak wind speeds and precipitation will therefore most
                  likely increase more significantly if average temperatures rise by 2°C compared to if they only rise by 1.5°C.93
                  Further rises in sea levels will result in more severe storm surges. In 2020 the Atlantic hurricane season was so
                  active that it has exhausted the regular alphabetical list of storm names. New storms were named after Greek
                  letters. The Greek alphabet was used for only the second time on record.




              Tropical cyclones have different names depending on where they occur. In the At-
              lantic and Northeast Pacific, the weather phenomenon is described as a hurricane
              whereas the term cyclone is used when the storm occurs in the South Pacific and
              Indian Ocean. The term typhoon describes the same weather event in the North-
              west Pacific. Moreover, such storms have different scales to classify their intensity
              depending on the region in which they occur. There are at least five common trop-
              ical cyclone scales, and all are based on wind speeds. The line between storms and
              tropical cyclones is drawn very differently in different regions of the world, which
              makes it difficult to compare the storms based on these categories. For example, a
              cyclone in Australia and Fiji starts at 63 km/h, while a hurricane in the Caribbean will
              only be defined as such from 119 km/h upwards. Then again, the highest category
              of hurricanes – category five – starts at 252 km/h. In Australia and Fiji, a cyclone has
              to reach 280 km/h to reach the highest classification, which is also named category
              five. The box below describes how tropical cyclones form.




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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 39 of 382
Global Climate Risk Index 2021                                                                                                   GERMANWATCH




                   How tropical cyclones form
                   Vast amounts of water evaporate; humid air ascends spinning around an eye, creating a self-reinforcing
                   process fueled by ever warmer humid air. Once tropical cyclones hit the shore, this supply is interrupted
                   and the storm weakens. Highest wind speeds are reached directly around the eye at the so-called eye-
                   wall. Precipitation is most intense in that area as well. Huge storms can have several eyewalls.




                                 Illustration: eskp.de/CC-BY (modified).

                   For a tropical cyclone to form, several conditions need to be fulfilled. Usually sea temperature has to
                   reach 26.5°C down to 50 metres below sea level. The atmosphere needs to be unstable i.e. there has to
                   be a significant difference in air temperature at different altitudes allowing for convection. In contrast,
                   the (vertical) wind shear should be low, otherwise the energy will be scattered over an area too large to
                   form a strong storm. This is the main reason why tropical cyclones are extremely rare in the Southern
                   Atlantic Ocean (NASA, 2004). High humidity in the lower to middle levels of the troposphere – the lowest
                   layer of the Earth's atmosphere and the one where most weather takes place – contributes to the con-
                   vection of air masses. Furthermore, sufficient Coriolis force is needed. Last but not least, tropical cy-
                   clones do not form out of nowhere. They need at least some form of disturbance close to the surface
                   with a horizontal inflow of air (convergence) and a certain degree of horizontal circulation (vorticity)
                   (NOAA 2018).




              Exemplary approaches to address the impacts of
              tropical cyclones
              The impact of the tropical cyclones in 2019 again sends a stark signal that
              knowledge about and pre-hazard responses to existing vulnerabilities and risk ex-
              posure remains a critical issue – even more so with climate change playing an in-
              creasing role in the intensity of tropical cyclones. Countries and communities that
              have been hit by cyclones are often left more vulnerable to other hazards and the
              impacts of climate change. In order to ensure better protection of the affected pop-




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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 40 of 382
Global Climate Risk Index 2021                                                                        GERMANWATCH




              ulations, adaptation measures and integrated risk management strategies are re-
              quired that include the key steps of risk assessment, risk reduction, risk retention
              and transfer, preparedness, as well as response and recovery. 92

              Strategies to successfully deal with tropical cyclones include a variety of measures
              from the fields of disaster risk reduction, preparedness, adaptation and financial
              protection: Community-based adaptation projects, for example, can contribute to
              building better flood barriers 93. An example of such a project is the planting of man-
              grove trees which can prevent coastal erosion 94; a solution that is now used in
              Puerto Rico for instance. 95 In case of an emergency, awareness and preparation are
              key for people to be able to react swiftly. Training and checklists can support this, 96
              and evacuation plans are essential. 97 In Bangladesh, a country particularly vulnera-
              ble to tropical cyclones, a dense network of small cyclone shelters, early warning
              systems, evacuation plans, reforestation schemes and increased communication
              has contributed to reducing cyclone-related mortality by more than 100-fold over a
              period of 40 years (reducing deaths from 500 000 in 1970 to 4 234 in 2007). 98 Another
              strategy in Bangladesh is growing crops on floating rafts, which can at least help to
              minimise flood damage. 99 Furthermore, regulations play a key role in addressing
              risks posed by tropical cyclones. To give an example, Australia has noted successes
              by tightening building codes: buildings are required to be constructed in a way that
              makes them less vulnerable to extreme winds. 100

              Furthermore, large-scale engineering projects like floodgates and dams can con-
              tribute to reducing damage. Such measures, however, are expensive, and often
              have adverse impacts on ecosystems.

              There are already some ambitious initiatives, which aim to increase the financial
              resilience of the countries affected by tropical cyclones. Through pre-arranged
              funding that will be paid out in case of a disaster, the fiscal balance of (sub-) national
              governments, households and businesses can be protected. For example, the “Car-
              ibbean Catastrophe Risk Insurance Facility” (CCRIF SPC) is a regional catastrophe
              fund for the Caribbean and Central American governments to limit the financial im-
              pacts of devastating tropical cyclones, excessive rainfall and earthquakes. In order



              92
                 Le Quesne et al. 2017
              93
                 IIED 2018
              94
                 Reid 2016
              95
                 U.S. Climate Resilience Toolkit 2017
              96
                 American Red Cross 2018
              97
                 Haque et al. 2012
              98
                 Haque et al. 2012
              99
                 Huq 2008
              100
                  Mason & Haynes 2010
                                                         22

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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 41 of 382
Global Climate Risk Index 2021                                                                                                       GERMANWATCH




              to do so, the insurance facility provides financial liquidity to the respective member
              state when a threshold is triggered. Following Hurricane Dorian, CCRIF paid out US$
              10,936,103 to the Bahamas. CCRIF’s payouts are made within 14 days of an event,
              but in this case CCRIF made an ‘advance payment’ of 50% of the preliminary esti-
              mated payout within 7 days to allow the government to begin to address its most
              pressing needs – with the remaining 50% being paid within the 14-day window
              which applies to all the CCRIF payouts. 101

              Another example is the “Pacific Catastrophe Risk Assessment and Financing Facil-
              ity” (PCRAFI), a regional risk pool in the Pacific, which aims to provide disaster risk
              management and finance solutions to help increase the resilience of Pacific Island
              states. Countries can insure themselves against tropical cyclones, earthquakes and
              tsunamis. In parallel, disaster risk management work is being conducted under the
              Pacific Resilience Program, which aims to strengthen early warning systems and
              preparedness and improve countries’ post-disaster response capacities.

              While these initiatives are an important step forwards in addressing the particularly
              vulnerable countries and can help to provide the necessary financial backup in case
              of tropical cyclones and other extreme events, direct access to international climate
              finance through national entities is still fairly limited for some of the most affected
              countries.
              Loss and damage: when adaptation and risk
              management reach their limits
              As extreme weather events like tropical cyclones are likely to increase in quantity
              and/or severity with ongoing climate change, it is extremely important that more
              emphasis be put on the issue of loss and damage. The term loss and damage refers
              to the “adverse impacts of human-induced climate change that cannot be avoided
              by mitigation or adaptation, or that will not be avoided in the future by adaptation
              due to insufficient resources”. 102 A main distinction can be made between economic
              and non-economic loss and damage. Climate change hazards cause loss and dam-
              age of, for example, resources, goods and services that are commonly traded in
              markets. Examples include buildings and services such as telecommunications and
              power. But those people who are affected also experience the loss of material and
              non-material items that cannot be traded. Loss and damage can be caused by ex-
              treme weather events as described in this Index, but in order to form a complete




              101
                 The Caribbean Catastrophe Risk Insurance Facility 2019
              102
                 Mace/Verheyen 2016. Mace, M./ Verheyen, R. 2016: Loss, Damage and Responsibility after COP21: All Options Open for the
                Paris Agreement. In: Review of European, Comparative & International Environmental Law 25 (2), 197-214.
                                                                        23

                                                                                                                        Haiti AR_001345
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 42 of 382
Global Climate Risk Index 2021                                                                      GERMANWATCH




              picture of the climate risk, slow-onset processes (rises in sea levels, glacier melting,
              etc.) also need to be included. 103

              In the international climate policy process, the topic of loss and damage is highly
              controversial. Particularly the question of how financing to deal with such losses
              and damages should be provided has so far remained unanswered (see Chapter 3).



              3 Status Quo of International
              Resilience Policy
              The Climate Risk Index 2021 clearly shows that the effects of climate change are
              already being felt worldwide and that increasingly intense and frequent extreme
              weather events are a major driver of disaster losses. However, the Index also shows
              that developing countries are particularly affected by the impacts of climate
              change. Eight out of the ten countries most affected by the quantified impacts of
              extreme weather events in 2019 belong to the category low to lower-middle in-
              come. Five of them fall into the category Least Developed Countries. A similar pic-
              ture emerges from the long-term index: Six of the ten countries most affected from
              2000 to 2019 belong to the category low to lower-middle income. Climate impacts,
              such as increasingly intense and frequent extreme weather events, affect people in
              developing countries disproportionately, threatening lives and livelihoods, human
              security and sustainable development. These countries, and especially the most
              vulnerable parts of the population, are particularly affected by the damaging effects
              of a hazard (as, for example, their livelihood depends on fewer assets) and have a
              lower coping capacity (e.g. they cannot rely on savings to buffer the impacts and
              may need more time to rebuild and recover).

              Moreover, the year 2020 has demonstrated that these countries are vulnerable to a
              variety of risks – Including climatic and geophysical hazards but also economic, so-
              cial and health risks. The Covid-19 pandemic has led to an unprecedented human-
              itarian crisis. This is a particular problem for developing countries, as disaster man-
              agement systems are often overburdened and the already scarce emergency funds
              have been exhausted. The World Bank estimates that the Covid-19 crisis could
              plunge up to an additional 115 million people into extreme poverty in 2020 – and




              103
                    Schäfer et al. 2021
                                                        24

                                                                                           Haiti AR_001346
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 43 of 382
Global Climate Risk Index 2021                                                                                                              GERMANWATCH




              this number could rise to 150 million in 2021. 104 Moreover, the Covid-19 crisis, similar
              to the climate crisis, will lead to a higher indebtedness of vulnerable countries. 105

              The Covid-19 pandemic has reminded us of the fact that both risk-affectedness and
              vulnerability are systemic and interconnected. 106 A recent study by the Red Cross
              Red Crescent Movement shows that of the 132 extreme weather events that oc-
              curred between January and September 2020, 90 overlapped with the Covid-19
              pandemic. Globally, 51.6 million people had to simultaneously deal with the im-
              pacts of floods, droughts or storms whilst trying to contain the pandemic and deal
              with its consequences. It is therefore important to strengthen the resilience of the
              most vulnerable against different types of risk (i.e. climatic, geophysical, economic
              and health-related risks).

              Comprehensive disaster risk reduction strategies can play a key role in increasing
              resilience to different types of risks. As part of its global targets, the Sendai Frame-
              work 107 aims to substantially increase the number of countries with national and
              local disaster risk reduction strategies by 2020. Only 40 of the 195 countries of the
              Sendai Framework have achieved this so far. Looking at the Bottom 10 of both the
              annual and the long-term Climate Risk Index, Japan is the only country which ap-
              pears on both these lists and which has also achieved this goal. Other Bottom 10
              countries like Malawi, India, Niger, the Philippines, and Nepal are working on na-
              tional and local disaster risk reduction strategies; for the other countries, no specific
              details were available.

              Adaptation efforts also help to mitigate climate impacts. In 2019, eighteen countries
              completed and submitted their National Adaptation Plans (NAPs) to the Secretariat
              of the United Nations Framework Convention on Climate Change (UNFCCC), five of
              them being Least Developed Countries (LDCs) and four being Small Island Develop-
              ing States (SIDS). Moreover, at least 120 developing countries were in the process of
              formulating and implementing the NAPs. 108




              104
                  World Bank 2020c
              105
                  This is true for many different countries. Mozambique was forced to take US$ 118 million in debt for responding to the
                cyclone-induced damages due to the lack of own funds (as the sixth poorest country worldwide) and support (see CARE et
                al. 2019). AOSIS raised awareness for the difficult situation SIDS: “Small Island Developing States are sinking: not just from
                climate-induced sea level rise and other impacts, we are sinking in debt,” (see https://www.aosis.org/wp-content/up-
                loads/2020/09/AOSIS-Media-Briefing-Press-Release.pdf)
              106
                  Künzel/Schäfer 2020.
              107
                  The Sendai Framework aims to achieve the substantial reduction of disaster risk and losses in lives, livelihoods and health
                and in the economic, physical, social, cultural and environmental assets of persons, businesses, communities and countries
                over the next 15 years.
              108
                  United Nations 2020
                                                                            25

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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 44 of 382
Global Climate Risk Index 2021                                                                      GERMANWATCH




              While the first priority should be to prevent and minimise potential losses and dam-
              ages through effective mitigation, adaptation and risk reduction measures, it is no
              longer possible to prevent or minimise all loss and damage. Climate change is al-
              ready leading to unavoidable loss and damage and will increasingly do so in the
              future. Taking this into account it appears essential to address the residual loss and
              damage, which cannot be avoided through mitigation and adaptation efforts, es-
              pecially for those countries, which are particularly vulnerable to the impacts of cli-
              mate change. However, financial support is clearly lacking – measured against the
              scale of what is necessary. In the direct aftermath of a disaster, it is especially the
              poor and vulnerable countries, which rely on humanitarian assistance for imme-
              diate relief and also recovery. However, as current numbers show, the amount of
              financial support available is far from sufficient. According to the United Nations
              Office for the Coordination of Humanitarian Affairs (UN OCHA), only 54% of the
              global humanitarian appeals 109 could be funded in 2019 110. After cyclones Idai and
              Kenneth, Mozambique issued an appeal for support in dealing with the massive de-
              struction. Only 39% of the funding was covered by July 2019 111 and just 47% by the
              end of 2019 112. The already indebted state was left to deal with the remaining costs
              on its own.

              International climate financing has increased over the years and in 2018 a total
              of US$ 78.9 billion was provided and mobilised. 113 However, the goal to mobilise
              US$ 100 billion annually from 2020 onwards, which, in 2009, developed countries
              agreed to provide for developing countries to finance mitigation and adaptation ef-
              forts, does not seem to be met. A recent study also points to challenges regarding
              the amount of money labelled as climate finance provided. The argument is made
              that most loans are counted at their full face-value, rather than the grant equivalent
              – therefore repayments by the recipient countries, interest and other factors are
              also counted as part of climate finance. 114 In light of the ever-increasing impacts and
              costs of covering the related damage, it is all the more worrying that in 2018 70% of
              the climate finance provided was spent on mitigation efforts, whereas the share
              spent on adaptation funding was only about 21% of the total funding (the other 9%
              can be attributed to cross-cutting ) 115 – thus, well below the target of 50% in order
              to achieve a fair balance. As it has been shown that the main amount of private cli-
              mate finance mobilised is invested in mitigation efforts, the argument should be


              109
                  Not only focused on extreme weather events
              110
                  UN OCHA 2019
              111
                  CARE et al. 2019
              112
                  UN OCHA 2020
              113
                  OECD 2020
              114
                  Oxfam 2020
              115
                  OECD 2020
                                                               26

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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 45 of 382
Global Climate Risk Index 2021                                                                                                          GERMANWATCH




              made to provide an even higher share of adaptation finance in order to avoid im-
              balance. The geographical distribution additionally reveals another challenge in
              terms of the fair distribution of the financial means: Only 8% of the funding goes to
              low-income countries, the majority is provided to middle-income countries
              (69%). 116

              Estimates of the United Nations Environmental Program (UNEP) additionally show
              how far these numbers are from meeting the needs of those countries struggling
              with climate impacts: Even with a temperature increase of below 2°C, adaptation
              costs are expected to increase to up to US$ 300 billion per year by 2030 – potentially
              rising even further 117 and this does not cover costs concerning climate related loss
              and damage. As no specific percentage of international climate finance has been
              assigned to address loss and damage, the necessary response costs will be even
              higher when loss and damage is taken into account 118. For developing countries,
              the estimated cost of residual loss and damage could rise to between US$ 290 bil-
              lion and US$ 580 billion in 2030 according to Markandya/ González-Eguino (2018). 119

              However, reacting to the increased financial pressure due to the consequences of
              the Covid-19 pandemic on the most vulnerable countries and their national house-
              holds, donors have provided additional support. One example for this support is the
              African Risk Capacity, a regional risk pool governed by the African Union. In order to
              ensure that climate risk management is not compromised under the challenging
              conditions when dealing with measures to control the Covid-19 pandemic, do-
              nors 120 offered premium support to countries, which allowed them to join the risk
              pool.

              International climate policy developments and
              expectations for 2021
              The disruptions caused by the Covid-19 pandemic also affected the international
              climate policy agenda. In 2020, no UNFCCC negotiations could be held and thus
              no decisions could be taken. Only the thematic bodies and committees were able




              116
                  Ibid
              117
                  UNEP 2016
              118
                  Even if some funding was provided to conduct projects that also included L&D components, those costs were calculated
                as part of adaptation finance.
              119
                  Markandya, A./ González-Eguino, M. 2018: Integrated Assessment for Identifying Climate Finance Needs for Loss and Dam-
              age: A Critical Review. In: Mechler R./ Bouwer, L./ Schinko, T./ Sur-minski, S./ Linnerooth-Bayer, J. (eds): Loss and damage
              from climate change. Concepts, methods and policy options. Springer, 343-362.

              120
                    BMZ 2020
                                                                          27

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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 46 of 382
Global Climate Risk Index 2021                                                                                                               GERMANWATCH




              to meet virtually. Therefore, no substantive progress regarding the discussions on
              climate finance, adaptation and loss and damage could be achieved.

              However, the Climate Ambition Summit on December 12, 2020, announced the
              “Race to Resilience” campaign as the sibling to “Race to Zero”. It aims to catalyse a
              significant change in global ambition for climate resilience and wants to catalyse
              action by non-state actors that, by 2030, builds the resilience of four billion people
              from groups and communities, which are vulnerable to climate risks.

              According to the 2020 progress reports on the Sustainable Development Goals
              (SDGs), there is room for improvement in achieving SDG 13 (“Take urgent action to
              combat climate change and its impacts”). As stated in the report, the global tem-
              perature increase is not on track to meet the Paris Goals but instead could poten-
              tially reach 3.2°C by the end of the century. On the other hand, recent estimates by
              the Climate Action Tracker have calculated that global warming by 2100 could be
              as low as 2.1°C as a result of all the net zero pledges announced as of November
              2020. 121 Nevertheless, developments are especially worrying as climate change
              threatens to destroy decades of progress in development 122 and could lead to se-
              vere human and national security implications, as debated in the UN Security Coun-
              cil in July 2020. 123 It can be seen in the long-term index, that major events undid
              years of development in the affected countries. The progress report also pointed to
              the fact that those countries most vulnerable to climate change do not receive ad-
              equate financial support to deal with these impacts.

              After the debate having stalled in 2020, expectations regarding progress in the dis-
              cussions about the long-term finance goal and adequate support for adaptation
              and loss and damage have shifted to 2021 and 2022. The following milestones are
              worth mentioning:

              ● After the Climate Ambition Summit on December 12, 2020 did not deliver suf-
                     ficient commitments to increase global (adaptation) finance, expectations for
                     the Global Climate Adaptation Summit in January 2021 are especially high in
                     this regard.



              121
                  Climate Action Tracker 2020
              122
                  United Nations 2020
              123
                  Experts called on the Security Council to let climate change, while “further intensifying resource competition, exacerbate
              conflicts and drive hundreds of millions of people from their homes” to “take center stage” in its work and debates. With great
              concern it was pointed to the consequences for “conflict prevention, peacemaking and sustaining peace, and risk, trapping
              vulnerable countries in a vicious cycle of climate disaster and conflict” if the impacts would be further ignored from a security
              policy perspective. ( https://www.un.org/press/en/2020/sc14260.doc.htm)

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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 47 of 382
Global Climate Risk Index 2021                                                                                                             GERMANWATCH




              ● More support, in terms of finance and capacity building through strong partner-
                     ships, is required in order to prepare those countries, which do not possess the
                     capacity to do so on their own for the effects of climate change and in order to
                     share successful approaches. The Santiago Network, as an outcome of COP25,
                     could be a key milestone in providing this type of support and act as a
                     knowledge and capacity building hub. It should be operationalised and pro-
                     vided with adequate financial resources soon.

              ● For COP26, adaptation and resilience 124, as well as finance 125 are part of the five
                     priority areas of the COP Presidency. Moreover, the question of whether the US$
                     100 billion goal has been met, will be high on the agenda. Discussion must lead
                     to action and support for the most vulnerable countries and people who have
                     to deal with climate impacts. During the upcoming climate summits one of the
                     big issues therefore must be: How can developing countries be supported in
                     dealing with increasing loss and damage? How can polluters, in particular, con-
                     tribute to the costs?

              4 Methodological Remarks
              The presented analyses are based on the worldwide data collection and analysis
              provided by MunichRe’s NatCatSERVICE. 126 “The information collated by MunichRe,
              the world’s leading re-insurance company, can be used to document and perform
              risk and trend analyses on the extent and intensity of individual natural hazard
              events in various parts of the world.” 127 Broken down by countries and territories,
              MunichRe collects the number of total losses caused by weather events, the num-
              ber of deaths, the insured damages and the total economic damages. The last two
              indicators are stated in million US$ (original values, inflation adjusted).

              In the present analysis, only weather-related events – storms, floods as well as tem-
              perature extremes and mass movements (heat and cold waves etc.) – are incorpo-
              rated. Geological incidents like earthquakes, volcanic eruptions or tsunamis, for
              which data are also available, are not relevant in this context as they do not depend



              124
                  Helping people, economies and the environment adapt and prepare for the impacts of climate change.
              125
                  We need to unleash the finance which will make all of this possible and power the shift to a zero carbon economy.
              126
                  Note: Contrary to previous years, the underlying database for the calculation of the CRI 2021 does NOT include data for the
                United States of America. This results in a significantly lower number for the overall losses in PPP of the 20-year period,
                compared to, for instance, the number presented in the CRI 2020 (overall losses of US$ 3.54 trillion). As a comparison: With-
                out the United States of America, the over losses in the CRI 2020 amount to US$ 2.51 trillion.
              127
                  MunichRe NatCatSERVICE
                                                                           29

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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 48 of 382
Global Climate Risk Index 2021                                                                         GERMANWATCH




              on the weather and therefore are not possibly related to climate change. To en-
              hance the manageability of the large amount of data, the different categories within
              the weather-related events were combined. For single case studies on particularly
              devastating events, it is stated whether they concern floods, storms or another type
              of event.

              It is important to note that this event-related examination does not allow for an as-
              sessment of continuous changes of important climate parameters. For instance, a
              long-term decline in precipitation that was shown in some African countries as a
              consequence of climate change cannot be displayed by the CRI. Nevertheless, such
              parameters often substantially influence important development factors like agri-
              cultural outputs and the availability of drinking water.

              Preparing an index requires the analysis of a vast amount of data. Thus, data avail-
              ability and quality play an important role as well as the underlying methodology for
              their collection. For instance, the accurate attribution of a human loss to a particu-
              lar extreme weather event faces certain methodological boundaries that data col-
              lectors have to work with (e.g. to determine whether the death of an elderly person
              during a heatwave is indeed the result of the extreme temperature or due to the
              high age alone). Similarly, data quality and coverage may vary from country to
              country as well as within countries. A study by Campbell et al. (2018) found that
              heatwave and health impact research is not evenly distributed across the globe.
              They highlight that “regions most at risk from heatwaves and health impact are un-
              der-represented in the research.” 128 The data analysed for the CRI rely on scientific
              best practice and methodologies used are constantly evolving with the view of en-
              suring the highest degree of accuracy, completeness and granularity.

              Although certainly an interesting area for analysis, the present data do not allow for
              comprehensive conclusions about the distribution of damages below the national
              level. The respective data quality would only be sufficient for a limited number of
              countries. The island of Réunion, for example, would qualify for a separate treat-
              ment but data are insufficient.

              Analysed Indicators

              For the examination of the CRI, the following indicators were analysed:

                      1.    number of deaths,
                      2.    number of deaths per 100 000 inhabitants,
                      3.    sum of losses in US$ in purchasing power parity (PPP) as well as
                      4.    losses per unit of gross domestic product (GDP).


              128
                    Campbell et al. 2018
                                                            30

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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 49 of 382
Global Climate Risk Index 2021                                                                    GERMANWATCH




              For the indicators 2–4, economic and population data primarily provided by the In-
              ternational Monetary Fund were taken into account. It must be added, however,
              that especially for small (e.g. Pacific Small Island Developing States) or extremely
              politically unstable countries (e.g. Somalia), the required data are not always avail-
              able in sufficient quality for the entire time period observed. Those countries
              needed to be omitted from the analyses.

              The CRI 2021 is based on the loss figures of 180 countries from the year 2019 and
              the period 2000 to 2019. This ranking represents the most affected countries. In
              each of the four categories ranking is used as a normalisation technique. Each
              country's index score has been derived from a country's average ranking in all four
              indicating categories, according to the following weighting: death toll, 1/6; deaths
              per 100 000 inhabitants, 1/3; absolute losses in PPP, 1/6; losses per GDP unit, 1/3.

              For example, in the Climate Risk Index for 2000-2019, Bangladesh ranks 9th in annual
              fatalities among all countries analysed in this study, 37th in Fatalities per 100 000
              inhabitants, 13th in losses and 37th in losses per unit GDP (see Annexes, Table 4).
              Hence, its CRI Score is calculated as follows:

              CRI Score = 9 x 1/6 + 37 x 1/3 + 13 x 1/6 + 37 x 1/3 = 28.33

              Only six countries have a lower CRI Score for 2000-2019, hence Bangladesh ranks 7th
              in this index category (see Table 2).

              The Relative Consequences Also Depend on Economic and Population Growth

              Identifying relative values in this index represents an important complement to the
              otherwise often dominating absolute values because it allows for analysing country
              specific data on damages in relation to real conditions and capacities in those
              countries. It is obvious, for example, that for richer countries like the USA or Japan
              damages of one billion US$ cause much less economic consequences than for the
              world’s poorest countries, where damages in many cases constitute a substantial
              share of the annual GDP. This is being backed up by the relative analysis.

              It should be noted that values, and hence the rankings of countries regarding the re-
              spective indicators do not only change due to the absolute impacts of extreme
              weather events, but also due to economic and population growth or decline. If, for
              example, population increases, which is the case in most of the countries, the same
              absolute number of deaths leads to a relatively lower assessment in the following
              year. The same applies to economic growth. However, this does not affect the signif-
              icance of the relative approach. Society’s ability of coping with damages through pre-
              caution, mitigation and disaster preparedness, insurances or the improved availabil-
              ity of means for emergency aid, generally grows along with increasing economic

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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 50 of 382
Global Climate Risk Index 2021                                                                      GERMANWATCH




              strength. Nevertheless, an improved ability does not necessarily imply enhanced im-
              plementation of effective preparation and response measures. While absolute num-
              bers tend to overestimate populous or economically capable countries, relative val-
              ues give more prominence to smaller and poorer countries. In order to consider both
              effects, the analysis of the CRI is based on absolute (indicators 1 and 3) as well as on
              relative (indicators 2 and 4) scores. Being double weighted in the average ranking of
              all indicators generating the CRI Score, more emphasis and therefore higher im-
              portance is given to the relative losses.

              The Indicator “Losses in Purchasing Power Parity” Allows for a More
              Comprehensive Estimation of How Different Societies are Actually Affected

              The indicator “absolute losses in US$” is identified by purchasing power parity (PPP)
              because using this figure expresses more appropriately how people are actually af-
              fected by the loss of US$ 1 than by using nominal exchange rates. Purchasing power
              parity is a currency exchange rate, which permits a comparison of, for instance, na-
              tional GDPs, by incorporating price differences between countries. This means that
              a farmer in India can buy more crops with US$ 1 than a farmer in the USA with the
              same amount of money. Thus, the real consequences of the same nominal damage
              are much higher in India. For most countries, US$ values according to exchange
              rates must therefore be multiplied by a factor bigger than one.




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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 51 of 382
Global Climate Risk Index 2021                                                                                              GERMANWATCH




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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 52 of 382
Global Climate Risk Index 2021                                                                                          GERMANWATCH




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Global Climate Risk Index 2021                                                                                      GERMANWATCH




              Annexes
              CRI = Climate Risk Index; GDP = gross domestic product; PPP = purchasing power parity

              Table 3: Climate Risk Index for 2019

      CRI          Country                  CRI        Fatalities in       Fatalities per   Losses in       Losses per
      Rank                                  score      2019 (Rank)         100 000 inhab-   million US$     unit GDP in %
                                                                           itants (Rank)    (PPP) (Rank)    (Rank)

           130     Albania                    118.00              106                 106             130              130
           125     Algeria                    105.17               65                  95             122              127
            23     Angola                      32.33               44                  50              22               14
           130     Antigua and Barbuda        118.00              106                 106             130              130
            55     Argentina                   60.00               60                  86              28               50
           113     Armenia                     98.17               90                  62             125              125
            19     Australia                   28.00               37                  37              9                24
            47     Austria                     56.83               84                  79              25               37
           130     Azerbaijan                 118.00              106                 106             130              130
           130     Bahrain                    118.00              106                 106             130              130
            13     Bangladesh                  23.50                   7               29              20               28
           130     Barbados                   118.00              106                 106             130              130
           130     Belarus                    118.00              106                 106             130              130
            64     Belgium                     66.00               84                  85              36               53
           130     Belize                     118.00              106                 106             130              130
           130     Benin                      118.00              106                 106             130              130
           130     Bhutan                     118.00              106                 106             130              130
            10     Bolivia                     19.67               43                  15              27                   9
            48     Bosnia and Herze-           57.83               98                  82              45               20
                   govina
           117     Botswana                    99.83              106                 106             107               87
            27     Brazil                      33.67                   5               32              17               58
           130     Brunei Darussalam          118.00              106                 106             130              130
           119     Bulgaria                   101.00               98                  96              98              109
           130     Burkina Faso               118.00              106                 106             130              130
            57     Burundi                     61.83               26                  10             121              102
            84     Cambodia                    75.83               60                  63              97               86
            68     Cameroon                    67.33               32                  27             104              107
            62     Canada                      65.67               90                 104              16               40
           130     Cape Verde                 118.00              106                 106             130              130
            70     Central African Repub-      67.50               98                  92              89               17
                   lic
           130     Chad                       118.00              106                 106             130              130
            25     Chile                       33.00               52                  59              12                   8


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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 58 of 382
Global Climate Risk Index 2021                                                                                 GERMANWATCH




      CRI          Country               CRI       Fatalities in       Fatalities per   Losses in      Losses per
      Rank                               score     2019 (Rank)         100 000 inhab-   million US$    unit GDP in %
                                                                       itants (Rank)    (PPP) (Rank)   (Rank)

            32     China                   42.83                   4               83              3               42
           116     Chinese Taipei          99.67              84                   98             80              119
            28     Colombia                36.33              17                   18             37               64
            16     Comoros                 25.33              67                    6             65                   4
           130     Costa Rica             118.00             106                  106            130              130
           129     Côte d'Ivoire          111.67              84                  101            128              128
            81     Croatia                 75.17             106                  106             51               41
           130     Cyprus                 118.00             106                  106            130              130
           107     Czech Republic          92.83             106                  106             63               88
            51     Democratic Republic     58.67              14                   41             90               83
                   of Congo
           130     Democratic Republic    118.00             106                  106            130              130
                   of Timor-Leste
            82     Denmark                 75.50              72                   49             75              104
            75     Djibouti                73.00              64                    5            124              120
            88     Dominica                77.67             106                  106            110               19
           130     Dominican Republic     118.00             106                  106            130              130
           121     Ecuador                103.83              98                  103             95              112
           120     Egypt                  102.00              58                   99            112              122
           103     El Salvador             91.83              80                   67            111              113
           130     Eritrea                118.00             106                  106            130              130
            83     Estonia                 75.67              98                   60             92               72
           130     Eswatini               118.00             106                  106            130              130
            72     Ethiopia                69.33              39                   74             67               81
            75     Fiji                    73.00              90                   23            118               92
           112     Finland                 97.83             106                  106             73               98
            40     France                  52.50              41                   68             18               60
           130     Gabon                  118.00             106                  106            130              130
           108     Georgia                 93.17             106                  106             91               75
            56     Germany                 61.33              65                  102             11               44
            42     Ghana                   53.33              29                   30             71               80
            36     Greece                  45.00              50                   34             44               54
           130     Grenada                118.00             106                  106            130              130
            62     Guatemala               65.67              60                   66             66               68
           115     Guinea                  99.17              72                   72            127              126
           130     Guinea-Bissau          118.00             106                  106            130              130
           130     Guyana                 118.00             106                  106            130              130
            50     Haiti                   58.33              60                   51             94               47



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                                                                                                       Haiti AR_001362
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 59 of 382
Global Climate Risk Index 2021                                                                                     GERMANWATCH




      CRI          Country                   CRI       Fatalities in       Fatalities per   Losses in      Losses per
      Rank                                   score     2019 (Rank)         100 000 inhab-   million US$    unit GDP in %
                                                                           itants (Rank)    (PPP) (Rank)   (Rank)

            79     Honduras                    73.33              90                   93             72               46
            97     Hungary                     85.83             106                  106             55               71
           100     Iceland                     88.83             106                  106            101               57
              7    India                       16.67                   1               36              1               13
            14     Indonesia                   24.83                   3               31              6               39
            94     Iraq                        84.33              56                   77             76              110
           123     Ireland                    104.50             106                  106             81              114
              6    Islamic Republic of Af-     16.00              11                   11             33               15
                   ghanistan
            18     Islamic Republic of         27.00              22                   45              8               21
                   Iran
           128     Israel                     108.83              90                   88            129              129
            35     Italy                       43.50              46                   70              7               34
           130     Jamaica                    118.00             106                  106            130              130
              4    Japan                       14.50                   9               20              2               18
           130     Jordan                     118.00             106                  106            130              130
           130     Kazakhstan                 118.00             106                  106            130              130
            25     Kenya                       33.00              15                   16             49               51
           130     Kiribati                   118.00             106                  106            130              130
            60     Korea. Republic of          64.00              52                   81             24               73
           130     Kosovo                     118.00             106                  106            130              130
           130     Kuwait                     118.00             106                  106            130              130
           130     Kyrgyz Republic            118.00             106                  106            130              130
            45     Lao People's Demo-          55.17              57                   28             86               66
                   cratic Republic
            98     Latvia                      86.83             106                  106             79               62
            44     Lebanon                     54.67              72                   55             60               43
            61     Lesotho                     64.67             106                  106             58                   6
           101     Liberia                     89.50             106                  106            109               55
            80     Libya                       73.67              67                   48             93               93
           130     Lithuania                  118.00             106                  106            130              130
            74     Luxembourg                  72.83             106                  106             53               33
            29     Madagascar                  40.33              19                   14             83               56
              5    Malawi                      15.17              20                   13             35                   5
            99     Malaysia                    87.33              58                   78             74              118
           111     Maldives                    97.33             106                  106            114               76
            90     Mali                        79.67              52                   58            108              101
            68     Malta                       67.33             106                  106             54               16
           130     Marshall Islands           118.00             106                  106            130              130


                                                                 41
                                                                                                           Haiti AR_001363
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 60 of 382
Global Climate Risk Index 2021                                                                               GERMANWATCH




      CRI          Country             CRI       Fatalities in       Fatalities per   Losses in      Losses per
      Rank                             score     2019 (Rank)         100 000 inhab-   million US$    unit GDP in %
                                                                     itants (Rank)    (PPP) (Rank)   (Rank)

            58     Mauritania            63.00              76                   44             96               59
           125     Mauritius            105.17             106                  106            113              100
            54     Mexico                59.50              31                   73             26               77
           130     Micronesia           118.00             106                  106            130              130
           130     Moldova              118.00             106                  106            130              130
            22     Mongolia              31.67              50                    9             62               30
            89     Montenegro            78.00              80                    8            126              123
            90     Morocco               79.67              35                   42            117              121
              1    Mozambique             2.67                   2                3              4                   2
            21     Myanmar               31.33              24                   38             30               29
           113     Namibia               98.17              98                   75            119              111
            12     Nepal                 20.00              10                    7             42               27
           109     Netherlands           97.17             106                  106             59              103
            66     New Zealand           66.33              90                   76             52               52
            49     Nicaragua             58.00              72                   52             82               45
              9    Niger                 18.17              17                   12             46               11
            73     Nigeria               70.00              27                   84             47               89
           130     North Macedonia      118.00             106                  106            130              130
           106     Norway                92.33              98                   94             70               99
            95     Oman                  84.67              67                   35            123              124
            15     Pakistan              25.00                   8               39             14               25
           127     Panama               108.33             106                  106            102              115
            51     Papua New Guinea      58.67              49                   17            105               82
            20     Paraguay              30.00              52                   22             38               23
            46     Peru                  56.33              37                   43             57               79
            17     Philippines           26.67              13                   40             15               26
            93     Poland                80.00              76                   97             40               85
            37     Portugal              48.33              67                   61             29               36
           130     Puerto Rico          118.00             106                  106            130              130
           130     Qatar                118.00             106                  106            130              130
           109     Republic of Congo     97.17              98                   89            115               96
            53     Republic of Yemen     59.33              42                   46             84               69
           123     Romania              104.50             106                  106             77              116
            39     Russia                50.67              33                   80             13               49
            42     Rwanda                53.33              45                   21             99               67
           130     Samoa                118.00             106                  106            130              130
            75     Saudi Arabia          73.00              48                   65             50              105
            70     Senegal               67.50             106                  106             43               22


                                                           42
                                                                                                     Haiti AR_001364
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 61 of 382
Global Climate Risk Index 2021                                                                              GERMANWATCH




      CRI          Country                CRI       Fatalities in   Fatalities per   Losses in      Losses per
      Rank                                score     2019 (Rank)     100 000 inhab-   million US$    unit GDP in %
                                                                    itants (Rank)    (PPP) (Rank)   (Rank)

           105     Serbia                   92.00             106              106             78               78
           130     Seychelles              118.00             106              106            130              130
            86     Sierra Leone             76.50              67               54            116               84
           130     Singapore               118.00             106              106            130              130
            87     Slovak Republic          77.17              76               53             87               97
           103     Slovenia                 91.83             106              106             85               74
           130     Solomon Islands         118.00             106              106            130              130
            24     South Africa             32.50              16               26             31               48
              8    South Sudan              17.33              12                4             64               10
            32     Spain                    42.83              47               69             10               31
            30     Sri Lanka                41.83              33               24             48               61
           130     St. Kitts and Nevis     118.00             106              106            130              130
           130     St. Lucia               118.00             106              106            130              130
           130     St. Vincent and the     118.00             106              106            130              130
                   Grenadines
            11     Sudan                    19.83              22               25             23               12
           130     Suriname                118.00             106              106            130              130
           118     Sweden                  100.50             106              106             69              108
            96     Switzerland              85.50              90               87             61               94
           122     Tajikistan              104.33              90               91            120              117
            67     Tanzania                 66.50              27               47             88               95
            34     Thailand                 43.17              36               64             19               38
              3    The Bahamas               6.50              30                1              5                   1
            41     The Gambia               53.17              80               33            103               35
           130     Togo                    118.00             106              106            130              130
           130     Tonga                   118.00             106              106            130              130
           130     Trinidad and Tobago     118.00             106              106            130              130
           130     Tunisia                 118.00             106              106            130              130
            64     Turkey                   66.00              40               71             34               90
           130     Tuvalu                  118.00             106              106            130              130
            31     Uganda                   42.17              21               19             68               63
            85     Ukraine                  76.17              76              100             41               70
           130     United Arab Emirates    118.00             106              106            130              130
           102     United Kingdom           90.83              84              105             39              106
            90     Uruguay                  79.67              84               56            100               91
           130     Uzbekistan              118.00             106              106            130              130
            75     Vanuatu                  73.00             106              106            106                   7
           130     Venezuela               118.00             106              106            130              130



                                                              43
                                                                                                    Haiti AR_001365
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 62 of 382
Global Climate Risk Index 2021                                                                                                    GERMANWATCH




      CRI          Country                     CRI         Fatalities in         Fatalities per    Losses in        Losses per
      Rank                                     score       2019 (Rank)           100 000 inhab-    million US$      unit GDP in %
                                                                                 itants (Rank)     (PPP) (Rank)     (Rank)

            38     Vietnam                        50.17                 25                   57               32                     65
            59     Zambia                         63.33                 80                   90               56                     32
              2    Zimbabwe                         6.17                   6                  2               21                      3



              Table 4: Climate Risk Index for 2000–2019

              Exemplary calculation: Albania ranks 134th in fatalities among all countries analysed in this study. 128th in Fa-
              talities per 100 000 inhabitants. 113th in losses and 89th in losses per unit GDP. Hence. its CRI Score is calcu-
              lated as follows:

              CRI Score = 134 x 1/6 + 128 x 1/3 + 113 x 1/6 + 89 x 1/3 = 113.5

                                                                                 Average Fatal-    Average          Average
                                                           Average Fa-
                                                                                 ities per         Losses in        Losses per
      CRI                                      CRI         talities
                   Country                                                       100 000           million US$      unit GDP in %
      Rank                                     score       2000-2019
                                                                                 inhabitants       (PPP) 2000-      2000-2019
                                                           (Rank)
                                                                                 2000-2019         2019 (Rank)      (Rank)
                                                                                 (Rank)
           125     Albania                       113.50                134                   128             113                     89
           101     Algeria                        92.83                 34                   65               87                    153
            87     Angola                         84.00                 51                   70               79                    117
            56     Antigua and Barbuda            64.50                161                   56              100                      7
            80     Argentina                      77.00                 61                  113               21                     77
           156     Armenia                       142.83                167                  170              128                    111
            31     Australia                      47.67                 42                   59               10                     58
            43     Austria                        56.50                 63                   51               30                     72
           146     Azerbaijan                    133.50                124                  152              101                    136
           178     Bahrain                       170.83                167                  167              174                    175
              7    Bangladesh                     28.33                    9                 37               13                     37
           148     Barbados                      135.33                171                  158              153                     86
           166     Belarus                       156.17                136                  161              145                    167
            53     Belgium                        63.67                 25                   15               61                    133
            33     Belize                         48.67                128                   26               96                      8
           152     Benin                         139.83                112                  136              155                    150
           105     Bhutan                         95.17                131                   53              154                     90
            25     Bolivia                        40.17                 47                   33               50                     39
            63     Bosnia and Herze-              68.17                122                  111               37                     14
                   govina

           143     Botswana                      130.17                150                  148              123                    106
            81     Brazil                         79.50                 17                   98               16                    124
           176     Brunei Darussalam             167.50                167                  151              178                    179



                                                                       44
                                                                                                                   Haiti AR_001366
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 63 of 382
Global Climate Risk Index 2021                                                                                     GERMANWATCH




                                                                        Average Fatal-   Average           Average
                                                      Average Fa-
                                                                        ities per        Losses in         Losses per
      CRI                                   CRI       talities
                   Country                                              100 000          million US$       unit GDP in %
      Rank                                  score     2000-2019
                                                                        inhabitants      (PPP) 2000-       2000-2019
                                                      (Rank)
                                                                        2000-2019        2019 (Rank)       (Rank)
                                                                        (Rank)
            68     Bulgaria                   71.67             87                  89             47                  59
           112     Burkina Faso              101.00             91                126             107                  78
            74     Burundi                    74.50             75                 69             126                  54
            14     Cambodia                   36.17             38                 35              53                  28
           140     Cameroon                  128.17             83                123             136                 152
            93     Canada                     87.33             77                133              15                  83
           150     Cape Verde                137.67            160                124             166                 126
           151     Central African Repub-    138.83            136                147             163                 120
                   lic

           115     Chad                      104.67            104                138             106                  71
            83     Chile                      81.33             84                116              32                  70
            41     China                      56.33                 5             106                  1               60
            36     Chinese Taipei             53.50             32                 44              25                  88
            38     Colombia                   54.83             24                 49              33                  87
            97     Comoros                    90.00            134                 63             158                  61
            89     Costa Rica                 84.50             96                 81              89                  80
           153     Côte d'Ivoire             141.33             89                139             151                 165
            30     Croatia                    47.00             53                 19              63                  64
           142     Cyprus                    129.67            149                 99             147                 142
            82     Czech Republic             80.67             90                107              34                  73
           135     Democratic Republic       118.83             39                109             146                 155
                   of Congo

           174     Democratic Republic       166.83            167                166             176                 163
                   of Timor-Leste

           132     Denmark                   118.00            146                160              52                  95
            65     Djibouti                   70.33            107                 32             141                  55
            11     Dominica                   33.00            115                  2              77                      1
            50     Dominican Republic         59.50             52                 36              69                  82
           103     Ecuador                    94.17             67                 84              86                 122
           155     Egypt                     142.17             76                157             119                 172
            28     El Salvador                43.67             65                 41              57                  29
           129     Eritrea                   115.83            163                168             124                  36
           158     Estonia                   144.50            153                140             142                 146
           107     Eswatini                   97.33            150                117             114                  43
            60     Ethiopia                   66.50             27                 92              54                  67
            19     Fiji                       38.33             92                 17              80                  12



                                                               45
                                                                                                           Haiti AR_001367
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 64 of 382
Global Climate Risk Index 2021                                                                                       GERMANWATCH




                                                                         Average Fatal-    Average           Average
                                                       Average Fa-
                                                                         ities per         Losses in         Losses per
      CRI                                    CRI       talities
                   Country                                               100 000           million US$       unit GDP in %
      Rank                                   score     2000-2019
                                                                         inhabitants       (PPP) 2000-       2000-2019
                                                       (Rank)
                                                                         2000-2019         2019 (Rank)       (Rank)
                                                                         (Rank)
           163     Finland                    153.50            161                  169            110                 156
            27     France                      41.67                 4                8              14                 108
           173     Gabon                      165.83            155                 150             180                 180
           104     Georgia                     94.67            113                  95             103                  81
            18     Germany                     38.17             10                  22                  5               85
           113     Ghana                      101.33             54                  80             112                 141
            75     Greece                      75.00             69                  68              49                  98
            24     Grenada                     39.67            125                   7              93                      3
            16     Guatemala                   37.50             30                  27              45                  48
           167     Guinea                     159.83            128                 159             173                 170
           109     Guinea-Bissau               99.17            140                 102             149                  51
           119     Guyana                     108.17            159                 135             122                  49
              3    Haiti                       13.67             13                   4              41                  10
            44     Honduras                    57.00             68                  57              78                  41
            72     Hungary                     74.00             59                  48              65                 112
           177     Iceland                    168.50            172                 172             167                 164
            20     India                       38.50                 3               61                  2               52
            72     Indonesia                   74.00             14                  91              18                 115
           157     Iraq                       143.17             93                 155             120                 168
           137     Ireland                    121.17            143                 156              64                 104
            17     Islamic Republic of Af-     37.83             12                  14              75                  56
                   ghanistan

            97     Islamic Republic of         90.00             41                 110              29                 125
                   Iran
           136     Israel                     120.33            108                 122              92                 139
            22     Italy                       39.00                 6                9              12                  99
            54     Jamaica                     63.83            111                  77              70                  24
            57     Japan                       64.83             21                  90                  4               92
           141     Jordan                     129.50            109                 120             130                 149
           154     Kazakhstan                 141.83             98                 145             125                 169
            34     Kenya                       52.00             36                  67              42                  50
           131     Kiribati                   116.33            172                 172             160                  11
            91     Korea. Republic of          85.17             49                 101              24                 118
           162     Kuwait                     152.00            155                 164             109                 160
           120     Kyrgyz Republic            109.67             77                  52             159                 159
            52     Lao People's Demo-          60.50             82                  66              73                  38
                   cratic Republic


                                                                46
                                                                                                             Haiti AR_001368
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 65 of 382
Global Climate Risk Index 2021                                                                               GERMANWATCH




                                                                  Average Fatal-   Average           Average
                                                Average Fa-
                                                                  ities per        Losses in         Losses per
      CRI                             CRI       talities
                   Country                                        100 000          million US$       unit GDP in %
      Rank                            score     2000-2019
                                                                  inhabitants      (PPP) 2000-       2000-2019
                                                (Rank)
                                                                  2000-2019        2019 (Rank)       (Rank)
                                                                  (Rank)
            86     Latvia               82.83            106                  62             99                  84
           132     Lebanon             118.00            114                114             108                 129
           109     Lesotho              99.17            146                132             121                  32
           164     Liberia             154.83            158                165             165                 138
           168     Libya               160.33            133                154             169                 176
           134     Lithuania           118.17            140                141              95                  96
            95     Luxembourg           89.00             94                 13             134                 140
            12     Madagascar           34.67             31                 38              55                  23
            62     Malawi               67.83             74                 94              91                  27
           116     Malaysia            105.67             64                108              66                 144
           174     Maldives            166.83            172                172             171                 157
           121     Mali                110.50             95                129             116                  97
           147     Malta               134.00            163                142             139                 109
           172     Marshall Islands    164.83            172                172             179                 147
            85     Mauritania           82.00            103                 79             105                  63
           139     Mauritius           124.17            143                104             138                 128
            59     Mexico               65.50             28                103                  9               75
            40     Micronesia           55.67            120                  5             164                  20
            84     Moldova              81.67            131                118              71                  26
            48     Mongolia             59.17             88                 46              83                  46
           106     Morocco              96.17             70                119              67                 101
              5    Mozambique           25.83             23                 30              46                  13
              2    Myanmar              10.00                 1               1              19                  19
            55     Namibia              64.33             81                 28             111                  69
            10     Nepal                31.33             16                 18              56                  40
            69     Netherlands          72.50             29                 31              58                 143
            90     New Zealand          85.00            116                105              48                  68
            35     Nicaragua            53.00             66                 40              88                  42
            64     Niger                68.67             60                 74              98                  53
           114     Nigeria             104.33             26                115              68                 151
           108     North Macedonia      98.33            118                 83             118                  94
           149     Norway              137.50            139                153              90                 145
            26     Oman                 41.17             85                 43              26                  25
              8    Pakistan             29.00             11                 45                  7               33
           118     Panama              107.00            101                 78             115                 135
            99     Papua New Guinea     90.83             72                 50             135                 119



                                                         47
                                                                                                     Haiti AR_001369
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 66 of 382
Global Climate Risk Index 2021                                                                                   GERMANWATCH




                                                                     Average Fatal-    Average           Average
                                                   Average Fa-
                                                                     ities per         Losses in         Losses per
      CRI                                CRI       talities
                   Country                                           100 000           million US$       unit GDP in %
      Rank                               score     2000-2019
                                                                     inhabitants       (PPP) 2000-       2000-2019
                                                   (Rank)
                                                                     2000-2019         2019 (Rank)       (Rank)
                                                                     (Rank)
            61     Paraguay                67.00            102                  100             40                  30
            45     Peru                    57.67             33                  58              39                  79
              4    Philippines             18.17                 7               16                  8               31
            76     Poland                  75.17             44                  87              27                 103
            21     Portugal                38.67             20                  12              36                  76
              1    Puerto Rico              7.17             19                   3                  6                   6
           180     Qatar                  173.67            172                 172             170                 178
           160     Republic of Congo      148.67            127                 121             175                 174
            79     Republic of Yemen       76.17             48                  71              85                  91
            41     Romania                 56.33             56                  73              22                  57
            32     Russia                  48.50                 2                6              17                 130
           117     Rwanda                 105.83             73                  72             150                 134
            70     Samoa                   72.67            155                  54             143                  15
           111     Saudi Arabia           100.33             57                  93              51                 154
           138     Senegal                123.00            109                 146             117                 110
            67     Serbia & Montenegro     70.83             96                 112              35                  35
           168     &K
                   Seychelles             160.33            172                 172             172                 137
            92     Sierra Leone            85.83             55                  29             156                 123
           179     Singapore              172.00            172                 172             162                 177
           128     Slovak Republic        114.83            119                 127              84                 116
            39     Slovenia                55.00             80                  25              76                  62
            71     Solomon Islands         73.00            125                  34             157                  44
            78     South Africa            76.00             45                  97              31                  93
           100     South Sudan             92.67             71                  75             131                 102
            29     Spain                   46.50                 8               11              23                 113
            23     Sri Lanka               39.50             35                  42              28                  45
           130     St. Kitts and Nevis    116.00            172                 172             144                  18
            51     St. Lucia               60.33            142                  23             132                  21
            48     St. Vincent and the     59.17            146                  20             137                  16
                   Grenadines

            88     Sudan                   84.33             46                  88              74                 105
           171     Suriname               164.00            163                 149             177                 173
           144     Sweden                 131.33            138                 163              62                 131
            45     Switzerland             57.67             40                  24              44                 107
            47     Tajikistan              59.00             77                  64              81                  34
           122     Tanzania               111.33             62                 125             102                 127



                                                            48
                                                                                                         Haiti AR_001370
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 67 of 382
Global Climate Risk Index 2021                                                                                GERMANWATCH




                                                                   Average Fatal-   Average           Average
                                                    Average Fa-
                                                                   ities per        Losses in         Losses per
      CRI                                 CRI       talities
                   Country                                         100 000          million US$       unit GDP in %
      Rank                                score     2000-2019
                                                                   inhabitants      (PPP) 2000-       2000-2019
                                                    (Rank)
                                                                   2000-2019        2019 (Rank)       (Rank)
                                                                   (Rank)
              9    Thailand                 29.83             22               60                 3               17
              6    The Bahamas              27.67            100              10              38                      4
           102     The Gambia               93.83            121              82             148                  65
           161     Togo                    148.83            123             143             168                 158
            77     Tonga                    75.67            163              76             129                      5
           159     Trinidad and Tobago     148.00            152             131             152                 161
           127     Tunisia                 114.50            105             130              94                 114
           123     Turkey                  111.83             58             137              43                 148
           125     Tuvalu                  113.50            172             172             161                      2
            66     Uganda                   70.67             50              85              72                  66
            94     Ukraine                  88.83             37              86              60                 132
           165     United Arab Emirates    156.00            143             162             127                 171
            58     United Kingdom           65.00             18              55              20                 121
            96     Uruguay                  89.83            117              96              82                  74
           170     Uzbekistan              161.17            153             171             140                 166
            37     Vanuatu                  53.83            130              21             133                      9
           145     Venezuela               132.50             86             144              97                 162
            13     Vietnam                  35.67             15              47              11                  47
           123     Zambia                  111.83             99             134             104                 100
            15     Zimbabwe                 37.33             43              39              59                  22




                                                             49
                                                                                                      Haiti AR_001371
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 68 of 382
Global Climate Risk Index 2021                                                         GERMANWATCH




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                                                                               Haiti AR_001372
 Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 69 of 382




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                                                                                      Haiti AR_001373
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 70 of 382




                                                              Haiti AR_001374
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 71 of 382




                                                              Haiti AR_001375
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 72 of 382




                                                              Haiti AR_001376
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 73 of 382




                                                              Haiti AR_001377
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 74 of 382




                                                              Haiti AR_001378
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 75 of 382




                                                              Haiti AR_001379
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 76 of 382




                                                              Haiti AR_001380
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 77 of 382




                                                              Haiti AR_001381
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 78 of 382




                                                              Haiti AR_001382
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 79 of 382




                                                              Haiti AR_001383
12/12/22, 11:11 AM                                                                            Haiti Gangs Recruiting, Arming More Children
                 Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 80 of 382
                                                                                               ABOUT US EVENTS             DONATE




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      Home ᐳ News ᐳ Haiti Gangs Recruiting, Arming More Children




                                                       NEWS


                                                       Haiti Gangs Recruiting,
                                                       Arming More Children
                                                       CARIBBEAN / 3 JUN 2022 BY ALESSANDRO FORD       EN




      Gangs in the Haitian capital of Port-au-Prince are rounding up homeless and                        Tags
      at-risk teens, who are increasingly being used as foot soldiers in gang wars that
      have forced schools to close and engulfed neighborhoods.                                           CARIBBEAN

                                                                                                         HAITI
      Homeless minors are disappearing from streets and shelters as armed groups                         HUMAN RIGHTS
      recruit them with offers of money and security. One shelter near the National                      HUMAN TRAFFICKING
      Palace was down to nearly 10 percent capacity, having been targeted by the Ti
      Lapli, Bougoy and 100 Jours gangs, reported Spanish news agency EFE on May
      30.                                                                                                Was this content
                                                                                                         helpful?
      The child recruitment reports come just weeks after United Nations (UN) High                       We want to sustain Latin
      Commissioner for Human Rights Michelle Bacheletbexpressed alarm at the                             America’s largest
      extreme gang violence in Port-au-Prince, which has caused thousands of                             organized crime
      families to flee. The UN noted in a news release the gangs were using minors as                    database, but in order to
      combatants and killing them for being informants to rivals. The gangs are also                     do so, we need
                                                                                                         resources.
      imposing control through sexual violence, including raping children as young
      as ten.
                                                                                                            DONATE



             SEE ALSO: Why Haiti’s Gang War Keeps On Getting Worse



      By early May, gang violence forced the closure of almost 1,700 schools and
      deprived half a million children of access to education, according to UNICEF,
      the UN’s children’s rights body.


      “Giving children weapons to fight and using them as soldiers or spies is a
      violation of their child rights and condemned by both national and
      international laws,” Bruno Maes, UNICEF Representative in Haiti, said in the
      news release.


      Gangs arming children in Haiti drew attention in early April, when a video
      circulated on social media of a boy carrying an M4 rifle. In the video, the boy
      proclaims his gang membership while wielding the firearm. The video was
      shot in the fiercely contested neighborhood of Martissant, at the capital's
      southern entrance.




      InSight Crime Analysis
      In Haiti – as in countries like Colombia, Argentina and Mexico – urban gangs
      have long used minors in supporting roles, such as lookouts and couriers for
      arms or drugs. But escalating gang warfare in Haiti's capital has led youths to
      be press-ganged and recruited for street battles.


      Child recruitment in Haiti first became visible in the early 2000s, when the
      country’s fledgling gangs took advantage of political and economic chaos to
      recruit vulnerable children. The gangs offered them food and safety, according
      to a 2008 report by the non-governmental organization Child Soldiers
      International.


      In return, notes the report, the children served as messengers, watched over
      kidnap victims and even conducted sabotage missions against UN
      peacekeepers, such as one case in which very young children cut the brake
      cables of UN tanks during an operation to arrest gang leaders.


      Child combatants existed, but they were relatively rare. Previously, many gang
      leaders in Martissant would not even allow young children to hang around
      their soldiers, said Eric Calpas, a researcher who has studied gangs in Haiti.
      Around 2018, when sporadic gang violence escalated into a criminal war in
      Port-au-Prince, Haiti began to see a significant increase in minors equipped
      with firearms.

                                                                                                                                                               Privacy - Terms

                                                                                                                                             Haiti AR_001384
https://insightcrime.org/news/haiti-gangs-recruiting-arming-more-children/                                                                                                 1/3
12/12/22, 11:11 AM                                                                                         Haiti Gangs Recruiting, Arming More Children
                  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 81 of 382
              SEE ALSO: Child Trafficking Thrives Along Haitian-Dominican
              Border



      “Today, because of the war situation … they are forced to recruit really
      broadly: adults and teenagers and children as young as 10 to 12 years old,”
      Calpas said.


      Two hotspots for child recruitment have been the battleground districts of
      Martissant and Croix-des-Bouquets, where conflicts have raged since mid-2021.
      According to Calpas, Haiti’s most notorious gang, 400 Mawozo, is the worst
      offender, relying on intimidation to force minors into its ranks as it wages an
      expansionist campaign across the capital's northern areas.


      However, the majority of underage recruits have joined willingly, said Calpas,
      seeking emotional belonging as much as food and shelter. In this, they have
      resembled the child aspirants of Central American street gangs like the MS13
      more than the often forced conscripts of Colombia’s rural armed groups.


      Some of Haiti's gang leaders today began as child recruits, he noted.

      CARIBBEAN      HAITI    HUMAN RIGHTS       HUMAN TRAFFICKING




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      HUMAN RIGHTS / 14 JUL 2021                      Services                                        ARGENTINA / 15 SEP 2022

      The new Netflix series, “Somos.,” (We           HAITI / 4 NOV 2021                              Human trafckers in Argentina are using
      Are), offers a respectful but powerful look     The ability and willingness of Haiti’s          legitimate business to continue their illicit
      at the Allende massacre, one of the…            gangs to choke off essential services such      activities and elude authorities.
                                                      as power and water, seemingly at will,…




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https://insightcrime.org/news/haiti-gangs-recruiting-arming-more-children/                                                                                                  2/3
12/12/22, 11:11 AM                                                                                                 Haiti Gangs Recruiting, Arming More Children
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https://insightcrime.org/news/haiti-gangs-recruiting-arming-more-children/                                                                                                          3/3
12/12/22, 11:02 AM                                                                 Scandal at Haiti Customs After Over 100,000 Rounds of Smuggled Ammunition Seized
                 Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 83 of 382
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      Home ᐳ News ᐳ Scandal at Haiti Customs After Over 100,000 Rounds of Smuggled Ammunition Seized


                                                      NEWS


                                                      Scandal at Haiti Customs After
                                                      Over 100,000 Rounds of
                                                      Smuggled Ammunition Seized
                                                      ARMS TRAFFICKING / 8 JUL 2022 BY ALESSANDRO FORD                   EN




      Haiti’s Customs Agency has seized an extremely large quantity of illegally                                 Tags
      imported ammunition the same day that its director was replaced on suspicion
      of arms trafficking, highlighting the Caribbean nation’s struggle in combating                             ARMS TRAFFICKING

      weapons flows.                                                                                             CARIBBEAN

                                                                                                                 ELITES AND CRIME
      On July 1, customs and police authorities interdicted roughly 120,000 rounds of                            G9
      ammunition on board a container ship at Port-au-Paix wharf. The illegal cargo,
                                                                                                                 HAITI
      which had come from the US state of Florida, was almost entirely composed of
      bullets and magazines for high-powered assault rifles.
                                                                                                                 Was this content
      Police have issued arrest warrants for three individuals, one of whom was                                  helpful?
      reportedly detained and then released last year on charges of arms trafficking,
                                                                                                                 We want to sustain Latin
      according to Haitian news outlet Le Nouvelliste, citing senior law enforcement.                            America’s largest
                                                                                                                 organized crime
                                                                                                                 database, but in order to
             SEE ALSO: US Guns Flow into Haiti, Fuel Gang Violence                                               do so, we need
                                                                                                                 resources.


      The operation came the same day that the Haitian government appointed a                                         DONATE

      new director and deputy-director of Customs, to replace the agency’s former
      head, Rommel Bell. Since May, Bell has been under investigation by Haiti’s anti-
      corruption unit (Unité de lutte contre la corruption – ULLC).


      The accusations against him reportedly stem from allegations of illegal arms
      trafficking, which he has strongly denied, according to statements made by
      both him and the customs union.


      On May 20, the ULCC raided the customs building and initially prohibited staff
      from accessing computers and files. However, by May 24 this measure was
      reversed after the customs union retaliated by announcing a departmental
      strike that shut down port controls.




      InSight Crime Analysis
      While US-to-Haiti gun smuggling is not new, Haiti’s current customs debacle
      touches on a number of important developments within the country’s security
      crisis.


      Firstly, the alleged role played by state institutions in arming gangs. Haitian
      police have been implicated in illegal arms trafficking before and the current
      PHTK administration has reportedly provided weapons and vehicles on
      several occasions to leaders of the “G9 and Family” gang alliance (G9 an famni
      –bG9).


      After the raid of the customs building, the director of a prominent Haitian NGO
      made headlines by telling news outlet Alterpresse that state-sanctioned illegal
      arms regularly arrive at both private and public harbors of Port-au-Prince,
      with customs agents who seize them risking punishment.



             SEE ALSO: Haiti Police, Senator Implicated in US Arms Trafficking
             Case



      “The situation has worsened under the leadership of Rommel Bell…[t]he
      Haitian State, through the customs offices, is the largest supplier of arms and
      ammunition to armed groups, particularly to the G9 federation,” he said in late
      May.


      Secondly, and related to the first point, the dire need among the gangs of Port-
      au-Prince for a steady stream of bullets. Many parts of the US are currently
      experiencing an ammunition shortage, including the state of Florida, one of
      the main export hubs for illegal arms to Latin America and the Caribbean.
                                                                                                                                                                                        Privacy - Terms

                                                                                                                                                                      Haiti AR_001387
https://insightcrime.org/news/scandal-at-haiti-customs-after-over-100000-rounds-of-smuggled-ammunition-seized/                                                                                      1/3
12/12/22, 11:02 AM                                                                 Scandal at Haiti Customs After Over 100,000 Rounds of Smuggled Ammunition Seized
                 Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 84 of 382
      This has raised ammunition prices, yet with battles raging across Port-au-
      Prince, particularly in Croix-des-Missions and Martissant, Haitian crime
      groups cannot afford to count cartridges. The possibility has therefore even
      been raised that the June invasion of the Palace of Justice was simply about
      securing money for munitions.

      ARMS TRAFFICKING       CARIBBEAN        ELITES AND CRIME      G9    HAITI




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https://insightcrime.org/news/scandal-at-haiti-customs-after-over-100000-rounds-of-smuggled-ammunition-seized/                                                                          2/3
12/12/22, 11:02 AM                                                                          Scandal at Haiti Customs After Over 100,000 Rounds of Smuggled Ammunition Seized
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12/12/22, 10:21 AM                              Document     93-6 inFiled
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                                                                     the World 03/24/23    in TXSD
                                                                                  Country Report | FreedomPage
                                                                                                           House 86 of 382




                FREEDOM IN THE WORLD 2022


                Haiti                                                                                           33
                  NOT FREE                                                                                        /100

                  Political Rights                                                                11 /40
                                                                                                     /

                  Civil Liberties                                                                 22 /60
                                                      LAST YEAR'S SCORE & STATUS
                                                            37 /100     Partly Free

                       Global freedom statuses are calculated on a weighted scale. See the methodology.




                                                                                                                  TOP




                                                                                                           Haiti AR_001390
https://freedomhouse.org/country/haiti/freedom-world/2022                                                                    1/18
                Case 6:23-cv-00007
12/12/22, 10:21 AM                              Document     93-6 inFiled
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                                                                     the World 03/24/23    in TXSD
                                                                                  Country Report | FreedomPage
                                                                                                           House 87 of 382




                  
              Haiti’s status declined from Partly Free to Not Free due to the assassination of
              President Jovenel Moïse, an ongoing breakdown in the electoral system and other
              state institutions, and the corrosive eﬀects of organized crime and violence on civic
              life.


                              
              Worsening breakdowns of the Haitian electoral system in recent years have led to a
              series of expired mandates and constitutional impasses, leaving citizens without
              proper political representation. Rampant corruption and violence by armed criminal
              groups undermine basic services and contribute to physical insecurity for the
              population. The judiciary and law enforcement agencies lack the resources,
              independence, and integrity to uphold due process and the rule of law.
              Antigovernment protests often result in excessive use of force by police.


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                      The first half of the year was dominated by protests and political disputes over
                      the expiration of President Jovenel Moïse’s term, his plans to hold a referendum
                      on constitutional reforms, and the continued postponement of overdue
                      elections.
                      In July, Moïse was assassinated by a group of heavily armed men who entered
                      his residence, and the resulting succession crisis was exacerbated by the lack of
                      a sitting Parliament, as the terms of most lawmakers had expired in 2020.
                      Ariel Henry, who took oﬃce as acting prime minster and acting president with
                      support from foreign diplomats, again postponed elections in September. Amid
                      ongoing doubts about the legitimacy of his government, Henry was accused of
                      obstructing the criminal investigation into Moïse’s assassination, which
                      remained stalled at year’s end.




                                                                                                           Haiti AR_001391
https://freedomhouse.org/country/haiti/freedom-world/2022                                                                    2/18
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12/12/22, 10:21 AM                              Document     93-6 inFiled
                                                     Haiti: Freedom        on2022
                                                                     the World 03/24/23    in TXSD
                                                                                  Country Report | FreedomPage
                                                                                                           House 88 of 382




                A1 0-4 pts

                Was the current head of government or other chief national authority
                elected through free and fair elections?                                                          1/4

              In Haiti’s semipresidential system, the president is directly elected for a five-year
              term. The prime minister is appointed by the president and confirmed by Parliament.

              Jovenel Moïse of the Haitian Tet Kale Party (PHTK), the handpicked successor of
              then president Michel Martelly, won the 2015 presidential election, but the results
              were nullified due to extensive fraud. Moïse went on to win a repeat election in 2016,
              taking 55.6 percent of the vote. He was inaugurated in February 2017 after an
              electoral tribunal verified the outcome, citing irregularities but no evidence of
              widespread fraud. Some members of the political opposition and civil society groups
              claimed that fraud in the vote tally, inconsistent voter registration lists, and a low
              voter turnout of 21 percent undermined the new president’s mandate.

              The events surrounding the repeat election later resulted in a political and legal
              dispute over whether Moïse’s term expired in February 2021, five years after the end
              of Martelly’s term, or February 2022, five years after Moïse was inaugurated.

              President Moïse frequently replaced the prime minister during his tenure, but after
              the terms of most lawmakers expired in early 2020, his appointees were unable to
              obtain parliamentary approval in keeping with the constitution. In April 2021, Moïse
              accepted the resignation of Prime Minister Joseph Jouthe and appointed Claude
              Joseph, the minister of foreign aﬀairs and worship, to replace him. Joseph then
              submitted his resignation in early July, and Moïse, through a decree published in the
              oﬃcial state newspaper Le Moniteur, appointed Ariel Henry as the new prime



                                                                                                           Haiti AR_001392
https://freedomhouse.org/country/haiti/freedom-world/2022                                                                    3/18
                Case 6:23-cv-00007
12/12/22, 10:21 AM                              Document     93-6 inFiled
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                                                                     the World 03/24/23    in TXSD
                                                                                  Country Report | FreedomPage
                                                                                                           House 89 of 382




              minister. Henry had not yet been installed when, days later, Moïse was assassinated at
              his residence.

              The assassination set oﬀ a dispute among the local political, civic, and economic
              actors as to who should head the executive branch, but key diplomatic
              representatives in the country—known as the Core Group—called on Henry to lead a
              new government, and Joseph stepped down. In September, Henry dismissed the
              Provisional Electoral Council (CEP) and indefinitely postponed general elections,
              which were already overdue. He remained in place as acting prime minister and
              acting president at year’s end.

              Score Change: The score declined from 2 to 1 due to the assassination of President
              Moïse and the indefinite postponement of elections to replace him.
                A2 0-4 pts

                Were the current national legislative representatives elected through free
                and fair elections?                                                                               0/4

              The directly elected, bicameral Parliament is composed of a Senate, with 30 members
              who serve six-year terms, and a Chamber of Deputies, with 119 members who serve
              four-year terms. The 2015 legislative elections were plagued by disorder, fraud, and
              violence. Despite concerns about the elections’ credibility, 92 lawmakers took oﬃce
              in early 2016. Elections for a portion of the Senate and the runoﬀ elections for the
              remaining seats in the Chamber of Deputies were held in 2016 along with the repeat
              presidential election, and the contests were marred by low voter turnout and fraud.
              The PHTK emerged as the largest single party in both chambers, followed by Vérité
              (Truth), though most of the seats were divided among a large number of smaller
              parties.

              Elections for the Chamber of Deputies, two-thirds of the Senate, and local
              mayoralties were canceled in October 2019. As a result, Parliament was dissolved in
              January 2020. Ten senators still had mandates, however, and after Moïse’s
              assassination in July 2021, they supported Senate president Joseph Lambert’s short-




                                                                                                           Haiti AR_001393
https://freedomhouse.org/country/haiti/freedom-world/2022                                                                    4/18
                Case 6:23-cv-00007
12/12/22, 10:21 AM                              Document     93-6 inFiled
                                                     Haiti: Freedom        on2022
                                                                     the World 03/24/23    in TXSD
                                                                                  Country Report | FreedomPage
                                                                                                           House 90 of 382




              lived bid to serve as acting president. Following the dismissal of the CEP in
              September, fresh elections had yet to be scheduled at year’s end.
                A3 0-4 pts

                Are the electoral laws and framework fair, and are they implemented
                impartially by the relevant election management bodies?                                           2/4

              The CEP was established in the late 1980s as a temporary body, but it remains
              responsible for managing the electoral process. Despite constitutional safeguards
              against executive dominance of the CEP, the executive branch asserts significant
              control over it in practice. In September 2020, Moïse appointed a new CEP by
              presidential decree. Human rights observers argued that both the appointments and
              the decree’s mandate for the council to organize a constitutional referendum were
              unconstitutional. Moïse’s proposed constitutional reforms were reportedly designed
              to increase the power of the presidency, drawing harsh criticism from his opponents.
              Plans to hold the referendum and general elections in November 2021 were scuttled
              that September, when Henry, as acting president, dismissed the existing CEP and
              pledged to assemble a new council with broader legitimacy.




                B1 0-4 pts

                Do the people have the right to organize in diﬀerent political parties or
                other competitive political groupings of their choice, and is the system free
                of undue obstacles to the rise and fall of these competing parties or                             1/4
                groupings?



              Legal and administrative barriers that prevented some parties from registering or
              running in past elections have largely been eliminated. The number of members
              required to form a political party was reduced from 500 to 20 in 2014, leading to the
              creation of dozens of new parties. However, the risk of violence seriously impairs

                                                                                                           Haiti AR_001394
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                                                                                  Country Report | FreedomPage
                                                                                                           House 91 of 382




              normal political activity. Opposition party leaders are subject to threats and
              abductions, and protests organized by opposition parties are regularly met with
              repressive force by the government.

              Criminal violence increased sharply in 2021, with the estimated number of
              kidnappings more than tripling for the second consecutive year. President Moïse,
              meanwhile, was accused of using allied criminal groups to intimidate his political
              opponents and the neighborhoods that formed their bases of support. The insecurity
              continued after Moïse’s assassination and remained a major obstacle to political
              mobilization.

              Score Change: The score declined from 2 to 1 because political activity was severely
              hampered by an increased risk of violence and kidnapping by armed criminal groups.
                B2 0-4 pts

                Is there a realistic opportunity for the opposition to increase its support or
                gain power through elections?                                                                     1/4

              Haiti has a poor record of peaceful democratic transfers of power. It remains diﬃcult
              for the opposition to increase its support or gain power through elections, which are
              regularly disrupted by violence, marred by accusations of fraud, and postponed. In
              recent years the PHTK has consolidated power in the legislature and at the local level,
              in part through alliances with smaller parties. However, it has also suﬀered from
              internal divisions, particularly between factions loyal to Moïse and to former
              president Martelly, respectively. The country’s various opposition parties remain
              highly fragmented.

                B3 0-4 pts

                Are the people’s political choices free from domination by forces that are
                external to the political sphere, or by political forces that employ                              1/4
                extrapolitical means?



              Haitians’ political choices are subject to undue influence or eﬀective marginalization
              by corrupt patronage networks, organized crime, and foreign actors. Many politicians

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https://freedomhouse.org/country/haiti/freedom-world/2022                                                                    6/18
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                                                     Haiti: Freedom        on2022
                                                                     the World 03/24/23    in TXSD
                                                                                  Country Report | FreedomPage
                                                                                                           House 92 of 382




              rely on money linked to drug traﬃcking, gang activity, and other illegal sources of
              funding to finance their campaigns. Politicians from the PHTK as well as opposition
              parties have enlisted armed criminal groups to either incite or halt residents’
              involvement in protests and other political activities, according to local human rights
              activists.

              The assassination of President Moïse and its aftermath represented a further
              degradation of the democratic autonomy of Haitian citizens and politicians. In
              addition to the violence and criminality associated with the murder itself, many
              observers decried the role of the Core Group—comprising ambassadors or
              representatives from Brazil, Canada, France, Germany, Spain, the United States, the
              European Union, the Organization of American States, and the United Nations—in
              confirming Ariel Henry as the new acting prime minister and acting president. In a
              September 2021 resignation letter, the US special envoy to Haiti, Daniel Foote,
              denounced the diplomatic endorsement of Henry, arguing that it improperly
              sidelined an alternative plan advanced by a commission of Haitian civil society
              representatives, which called for a longer transition period to enable thorough
              institutional reforms before any elections or political settlement.

              Score Change: The score declined from 2 to 1 due to the increased role of criminal
              and foreign actors in shaping political outcomes.
                B4 0-4 pts

                Do various segments of the population (including ethnic, racial, religious,
                gender, LGBT+, and other relevant groups) have full political rights and                          2/4
                electoral opportunities?



              Haitian women are underrepresented in political life, with only four out of 149
              parliamentary seats held by women from 2017 to 2019. The constitution mandates
              that 30 percent of public oﬃcials be women, but there are no penalties for
              noncompliance. Election-related violence and social and cultural norms discourage
              women from participating in politics. Due to societal discrimination, the interests of
              LGBT+ people are not represented in the political system, and there are no openly
              LGBT+ politicians.


                                                                                                           Haiti AR_001396
https://freedomhouse.org/country/haiti/freedom-world/2022                                                                    7/18
                Case 6:23-cv-00007
12/12/22, 10:21 AM                              Document     93-6 inFiled
                                                     Haiti: Freedom        on2022
                                                                     the World 03/24/23    in TXSD
                                                                                  Country Report | FreedomPage
                                                                                                           House 93 of 382




                C1 0-4 pts

                Do the freely elected head of government and national legislative
                representatives determine the policies of the government?                                         1/4

              Parliament was dissolved in January 2020 as the mandates of two-thirds of Senate
              members and all Chamber of Deputies members expired, and no new elections were
              held. President Moïse attempted to rule by decree until his July 2021 assassination,
              but the legitimacy of his actions was questioned, since only members of Parliament
              have the constitutional authority to pass laws. Similar legitimacy questions continued
              to undermine the mandates of the prime minister and various government ministries
              throughout the year. Corruption, instability, and security threats hinder the
              government’s ability to carry out its own policies and provide basic services across
              the country.

                C2 0-4 pts

                Are safeguards against oﬃcial corruption strong and eﬀective?                                   1/4

              Corruption is widespread in Haiti, as are allegations of impunity for government
              oﬃcials. A 2017 law reduced the independence and powers of the Central Financial
              Intelligence Unit (UCREF), which was responsible for investigating money-laundering
              cases. Also that year, Moïse replaced the heads of the Anticorruption Unit (ULCC)
              and the UCREF with political allies and former members of the Martelly
              administration; both units had been investigating Moïse for potential money
              laundering.

              In August 2020, the Superior Court of Auditors and Administrative Disputes (CSCCA)
              issued its third and final report on corruption among government oﬃcials involving a
              low-interest development-loan program operated by Venezuela, but the findings have
              not resulted in prosecutions. A month later, despite objections from the CSCCA’s

                                                                                                           Haiti AR_001397
https://freedomhouse.org/country/haiti/freedom-world/2022                                                                    8/18
                Case 6:23-cv-00007
12/12/22, 10:21 AM                              Document     93-6 inFiled
                                                     Haiti: Freedom        on2022
                                                                     the World 03/24/23    in TXSD
                                                                                  Country Report | FreedomPage
                                                                                                           House 94 of 382




              president, Moïse issued a decree that rendered the court’s opinions on public
              procurement contracts advisory and nonbinding, which would allow for the awarding
              of state contracts without prior court approval.
                C3 0-4 pts

                Does the government operate with openness and transparency?                                     1/4

              Haitians’ general distrust of the government stems in large part from the absence of
              transparency and accountability measures that are needed to reduce corruption.
              There are no laws providing the public with access to state information, and it is
              reportedly very diﬃcult to obtain government documents and data in practice. All
              government oﬃcials must file financial disclosure forms within 90 days of taking
              oﬃce and within 90 days of leaving oﬃce, though these requirements are not well
              enforced, and the reports are not made public. A 2020 presidential decree that
              created the National Intelligence Agency (ANI) granted it total secrecy and the ability
              to conduct surveillance on individuals and businesses at any time, even if there is no
              relevant ongoing investigation.

              The events and governance conditions of 2021—including disputes about the
              presidential term, executive rule in the absence of legislative oversight, and the
              investigation of Moïse’s assassination—raised further transparency concerns. In
              September, Henry dismissed the justice minister and a chief prosecutor after
              investigators under their supervision uncovered evidence that appeared to link Henry
              himself to a top suspect in the case, prompting accusations that he was obstructing
              justice. The investigation remained stalled at year’s end.

              Score Change: The score declined from 2 to 1 due to the prolongation of opaque
              executive rule and allegations of obstruction surrounding the investigation into
              Moïse’s assassination.




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https://freedomhouse.org/country/haiti/freedom-world/2022                                                                    9/18
                Case 6:23-cv-00007
12/12/22, 10:21 AM                              Document     93-6 inFiled
                                                     Haiti: Freedom        on2022
                                                                     the World 03/24/23    in TXSD
                                                                                  Country Report | FreedomPage
                                                                                                           House 95 of 382




                D1 0-4 pts

                Are there free and independent media?                                                     2/4

              The constitution includes protections for press freedom, and the media sector is
              pluralistic, but the work of journalists is constrained by threats and violence,
              government interference, and a lack of financial resources.

              In 2020, a presidential decree prohibited the sharing of photos or videos of the
              bodies of people who died from COVID-19, drawing criticism from human rights
              groups.

              Attacks on journalists occur frequently, and impunity for perpetrators is the norm. In
              June 2021, two journalists and activists, Diego Charles and Antoinette Duclair, were
              shot and killed by unidentified men in Port-au-Prince. Also in June, photojournalist
              Dieu-Nalio Chéry was forced to leave Haiti because of death threats from armed
              gangs.

                D2 0-4 pts

                Are individuals free to practice and express their religious faith or nonbelief
                in public and private?                                                                            3/4

              Freedom of religion is constitutionally guaranteed, and religious groups generally
              practice freely. However, the traditionally dominant Roman Catholic and Protestant
              churches and schools receive certain privileges from the state, while Vodou religious
              leaders have experienced social stigmatization and violence for their beliefs and
              practices. The government has denied registration to the country’s small Muslim
              communities.


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https://freedomhouse.org/country/haiti/freedom-world/2022                                                                    10/18
                Case 6:23-cv-00007
12/12/22, 10:21 AM                              Document     93-6 inFiled
                                                     Haiti: Freedom        on2022
                                                                     the World 03/24/23    in TXSD
                                                                                  Country Report | FreedomPage
                                                                                                           House 96 of 382




                D3 0-4 pts

                Is there academic freedom, and is the educational system free from
                extensive political indoctrination?                                                               2/4

              Educational institutions and academics choose their curriculum freely, but university
              associations and student groups that protest government actions are often met with
              police violence. Academic freedom is also negatively aﬀected by the general climate
              of insecurity, and some scholars may self-censor to avoid conflicts with powerful
              groups or individuals.

                D4 0-4 pts

                Are individuals free to express their personal views on political or other
                sensitive topics without fear of surveillance or retribution?                                     2/4

              There are some formal constraints on the expression of personal views, including
              criminal defamation laws, and the risk of violent reprisals also serves as a deterrent to
              unfettered discussion of sensitive issues such as corruption, gangs, and organized
              crime. The government has been accused of using allied gangs to help suppress
              dissent. Security conditions grew worse during 2021, with the number of documented
              kidnappings surging to more than 1,200, further dampening citizens’ sense of
              freedom to air their grievances.

              Score Change: The score declined from 3 to 2 because an increase in gang violence
              and kidnappings has contributed to a climate of fear among ordinary citizens.




                E1 0-4 pts




                                                                                                           Haiti AR_001400
https://freedomhouse.org/country/haiti/freedom-world/2022                                                                    11/18
                Case 6:23-cv-00007
12/12/22, 10:21 AM                              Document     93-6 inFiled
                                                     Haiti: Freedom        on2022
                                                                     the World 03/24/23    in TXSD
                                                                                  Country Report | FreedomPage
                                                                                                           House 97 of 382




                Is there freedom of assembly?                                                         2/4
              The constitution enshrines freedom of assembly, but this right is often violated in
              practice, and police have used excessive force including live rounds of ammunition to
              disperse protesters. Despite the risk of violence, politicians, civil society groups, and
              ordinary citizens continued to mount demonstrations during 2021, with participants
              calling for Moïse’s resignation and condemning criminal activity. Police regularly used
              tear gas and gunshots in response, but the severity of the protest-related violence
              and the number of casualties remained far lower than in 2019, when more than 80
              people were killed.

              Score Change: The score improved from 1 to 2 because activists continued to hold
              demonstrations against the government and organized crime, and the violence that
              accompanied such events was not as severe as in some previous years.

                E2 0-4 pts

                Is there freedom for nongovernmental organizations, particularly those that
                are engaged in human rights– and governance-related work?                                         1/4

              Numerous domestic and international nongovernmental organizations (NGOs)
              operate in Haiti, but human rights defenders and activists who address sensitive
              topics are subject to threats and violence, which creates a climate of fear. Violence
              against activists is rarely investigated or prosecuted. Among other high-profile cases,
              an investigation into the 2020 assassination of Monferrier Dorval, a government critic
              and head of the Port-au-Prince Bar Association, remained unsolved in 2021.

                E3 0-4 pts

                Is there freedom for trade unions and similar professional or labor
                organizations?                                                                                    1/4



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https://freedomhouse.org/country/haiti/freedom-world/2022                                                                    12/18
                Case 6:23-cv-00007
12/12/22, 10:21 AM                              Document     93-6 inFiled
                                                     Haiti: Freedom        on2022
                                                                     the World 03/24/23    in TXSD
                                                                                  Country Report | FreedomPage
                                                                                                           House 98 of 382




              Workers’ right to unionize is protected under the law, and strikes are not uncommon,
              though the union movement in Haiti is weak and lacks collective bargaining power in
              practice. Most citizens are informally employed. Workers who engage in union
              activity frequently face harassment, suspension, termination, and other repercussions
              from employers.




                F1 0-4 pts

                Is there an independent judiciary?                                                      1/4

              Despite constitutional guarantees of independence, the judiciary is susceptible to
              political pressure. A lack of resources has contributed to bribery throughout the
              judicial system, and weak oversight means that most corrupt oﬃcials are not held
              accountable. During his time in oﬃce, President Moïse repeatedly declined to renew
              the mandates of judges, and in February 2021—amid the dispute over the expiration
              of his term—Moïse forced three members of the Supreme Court to retire. Given
              Parliament’s inability to play its constitutional role in judicial appointments, the
              number of vacancies has continued to grow. The head of the Supreme Court died in
              June, after which the body lacked the quorum it needed to function.

                F2 0-4 pts

                Does due process prevail in civil and criminal matters?                                       1/4

              Constitutionally protected due process rights are regularly violated in practice.
              Arbitrary arrest is common, as are extortion attempts by police and at all levels of the
              legal system. Most suspects do not have legal representation, and even those who do
              suﬀer from long delays and case mismanagement. More than 80 percent of the
              prison population consisted of pretrial detainees as of 2021. Many have never



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https://freedomhouse.org/country/haiti/freedom-world/2022                                                                    13/18
                Case 6:23-cv-00007
12/12/22, 10:21 AM                              Document     93-6 inFiled
                                                     Haiti: Freedom        on2022
                                                                     the World 03/24/23    in TXSD
                                                                                  Country Report | FreedomPage
                                                                                                           House 99 of 382




              appeared before a judge despite the legal requirement of a court hearing within 48
              hours of arrest.

              In November 2020, President Moïse published two decrees that expanded the
              definition of terrorism and created the ANI to gather information on and prevent
              terrorist acts that ostensibly threaten national security. Human rights groups
              criticized the vague new definition of “terrorist act,” which included robbery,
              extortion, arson, and the destruction of public and private goods. According to the
              decrees, the ANI would have broad discretion to conduct searches and surveillance,
              and its staﬀ cannot be held legally accountable for abuses without prior authorization
              from the president.
                F3 0-4 pts

                Is there protection from the illegitimate use of physical force and freedom
                from war and insurgencies?                                                                        1/4

              A culture of impunity in law enforcement leaves civilians in Haiti with little protection
              from the illegitimate use of force, and police themselves are subject to lethal attacks
              by heavily armed criminal groups. According to the United Nations, at least 36
              oﬃcers were killed in the first eight months of 2021. Criminal groups fight one
              another for territory and prey on residents in areas under their control, earning
              revenue from kidnappings, extortion, and other illegal activities. Overall crime
              statistics are diﬃcult to authenticate, and crimes are underreported, but more than
              1,600 murders were registered during 2021, representing an 18 percent increase over
              the previous year’s total. The resulting homicide rate was about 13.7 per 100,000
              residents. Police are regularly accused of abusing suspects and detainees. Conditions
              in Haiti’s prisons, which are among the world’s most overcrowded, are extremely
              poor.

                F4 0-4 pts

                Do laws, policies, and practices guarantee equal treatment of various
                segments of the population?                                                                       1/4


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https://freedomhouse.org/country/haiti/freedom-world/2022                                                                    14/18
12/12/22, 10:21Case
               AM   6:23-cv-00007              Document    93-6 in
                                                    Haiti: Freedom Filed on 2022
                                                                    the World 03/24/23   in TXSD
                                                                                 Country Report         Page
                                                                                                | Freedom House100 of 382




              Discrimination against women, the LGBT+ community, and people with disabilities is
              pervasive. Among other problems, women face bias in employment and disparities in
              access to financial services.

              A reformed penal code, published in June 2020 by executive decree and set to take
              eﬀect in June 2022, prohibits gender-based violence, sexual harassment, and
              discrimination on the basis of sexual orientation, which occur regularly in practice.
              The reform was met with sharp resistance and public protest by conservative cultural
              and religious groups.




                G1 0-4 pts

                Do individuals enjoy freedom of movement, including the ability to change
                their place of residence, employment, or education?                                             1/4

              The government generally does not restrict travel or place limits on the ability to
              change one’s place of employment or education. However, insecurity has prevented
              free movement, particularly in Port-au-Prince, as roads are frequently blockaded by
              criminal groups, police, or protesters, and many residents avoid unnecessary travel
              due to widespread gang violence.

              The government’s flawed response to natural disasters has prevented many displaced
              residents from returning to their homes, forcing them to live in poor conditions for
              extended periods. As of early August 2021, according to the United Nations, about
              19,000 people were internally displaced. Tens of thousands more were displaced as a
              result of an earthquake in mid-August. In addition, more than 6,125 people, or 1,500
              households, had been displaced when their houses were burned down by armed
              gangs in October 2020.

                G2 0-4 pts


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https://freedomhouse.org/country/haiti/freedom-world/2022                                                                   15/18
12/12/22, 10:21Case
               AM   6:23-cv-00007              Document    93-6 in
                                                    Haiti: Freedom Filed on 2022
                                                                    the World 03/24/23   in TXSD
                                                                                 Country Report         Page
                                                                                                | Freedom House101 of 382




                Are individuals able to exercise the right to own property and establish
                private businesses without undue interference from state or nonstate                            2/4
                actors?


              Although the legal framework protects property rights and private business activity, it
              is diﬃcult in practice to register property, enforce contracts, and obtain credit. Poor
              record keeping and corruption contribute to inconsistent enforcement of property
              rights, and business owners are subject to extortion by criminal groups.

                G3 0-4 pts

                Do individuals enjoy personal social freedoms, including choice of marriage
                partner and size of family, protection from domestic violence, and control                      2/4
                over appearance?



              Basic freedoms related to marriage, divorce, and custody are generally respected.
              However, there are no laws specifically addressing domestic violence, which is a
              widespread problem. Both domestic violence and rape are underreported and rarely
              result in successful prosecutions, with justice oﬃcials often favoring reconciliation or
              other forms of settlement. Spousal rape is not recognized as a criminal oﬀense.

              The reformed penal code that was set to take eﬀect in June 2022 would
              decriminalize abortion in the first 12 weeks of pregnancy, in cases of rape or incest, or
              when there is a threat to the physical or mental health of the pregnant woman.
              Abortion was prohibited entirely under existing law. The reformed code would also
              reportedly lower the legal age of sexual consent to 15.

                G4 0-4 pts

                Do individuals enjoy equality of opportunity and freedom from economic
                exploitation?                                                                                   0/4

              Socioeconomic mobility is obstructed by entrenched poverty and inequality. Legal
              protections against exploitative working conditions in formal employment are weakly


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https://freedomhouse.org/country/haiti/freedom-world/2022                                                                   16/18
12/12/22, 10:21Case
               AM   6:23-cv-00007              Document    93-6 in
                                                    Haiti: Freedom Filed on 2022
                                                                    the World 03/24/23   in TXSD
                                                                                 Country Report         Page
                                                                                                | Freedom House102 of 382




              enforced, and most workers are informally employed. As many as 300,000 children
              work as domestic servants, often without pay or access to education; they are
              especially vulnerable to physical or sexual abuse. Other forms of child labor are
              common.

              To escape dire social and economic conditions at home, many Haitians have risked
              human traﬃcking and dangerous land and sea journeys to reach countries including
                                       e, the Dominican Republic,
              the Bahamas, Brazil, Chile,               Rep       Mexico, and the United States.




                       On Haiti
                       See all data, scores & information on this country or territory.
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                    Global Freedom Score
                    33 /100            Not Free




                       2021



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                                                                                                          Haiti AR_001406
https://freedomhouse.org/country/haiti/freedom-world/2022                                                                   17/18
12/12/22, 10:21Case
               AM   6:23-cv-00007              Document    93-6 in
                                                    Haiti: Freedom Filed on 2022
                                                                    the World 03/24/23   in TXSD
                                                                                 Country Report         Page
                                                                                                | Freedom House103 of 382




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https://freedomhouse.org/country/haiti/freedom-world/2022                                                                   18/18
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 104 of 382




                                                               Haiti AR_001408
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 105 of 382




                                                               Haiti AR_001409
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 106 of 382




                                                               Haiti AR_001410
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 107 of 382




                                                               Haiti AR_001411
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 108 of 382




                                                               Haiti AR_001412
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 109 of 382




                                                               Haiti AR_001413
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 110 of 382




                                                               Haiti AR_001414
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 111 of 382




                                                               Haiti AR_001415
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 112 of 382




                                                               Haiti AR_001416
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 113 of 382




                                                               Haiti AR_001417
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 114 of 382




                                                               Haiti AR_001418
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 115 of 382




                                                               Haiti AR_001419
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 116 of 382




                                                               Haiti AR_001420
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 117 of 382




                                                               Haiti AR_001421
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 118 of 382




                                                               Haiti AR_001422
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 119 of 382




                                                               Haiti AR_001423
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 120 of 382




                                                               Haiti AR_001424
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 121 of 382




                                                               Haiti AR_001425
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 122 of 382




                                                               Haiti AR_001426
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 123 of 382




                                                               Haiti AR_001427
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 124 of 382




                                                               Haiti AR_001428
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 125 of 382




                                                               Haiti AR_001429
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 126 of 382

                                                                                                     LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                 Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




                                                        LEY DE MIGRACIÓN
                  Nueva Ley publicada en el Diario Oficial de la Federación el 25 de mayo de 2011

                                                              TEXTO VIGENTE
                                                 Última reforma publicada DOF 29-04-2022




Al margen un sello con el Escudo Nacional, que dice: Estados Unidos Mexicanos.- Presidencia de la
República.

   FELIPE DE JESÚS CALDERÓN HINOJOSA, Presidente de los Estados Unidos Mexicanos, a sus
habitantes sabed:

   Que el Honorable Congreso de la Unión, se ha servido dirigirme el siguiente

                                                                 DECRETO

   "EL CONGRESO GENERAL DE LOS ESTADOS UNIDOS MEXICANOS, D E C R E T A :

   SE EXPIDE LA LEY DE MIGRACIÓN Y SE REFORMAN, DEROGAN Y ADICIONAN DIVERSAS
DISPOSICIONES DE LA LEY GENERAL DE POBLACIÓN, DEL CÓDIGO PENAL FEDERAL, DEL
CÓDIGO FEDERAL DE PROCEDIMIENTOS PENALES, DE LA LEY FEDERAL CONTRA LA
DELINCUENCIA ORGANIZADA, DE LA LEY DE LA POLICÍA FEDERAL, DE LA LEY DE
ASOCIACIONES RELIGIOSAS Y CULTO PÚBLICO, DE LA LEY DE INVERSIÓN EXTRANJERA, Y DE
LA LEY GENERAL DE TURISMO.

   ARTÍCULO PRIMERO. Se expide la Ley de Migración.

                                                        LEY DE MIGRACION

                                                      TÍTULO PRIMERO
                                                DISPOSICIONES PRELIMINARES

                                                      CAPÍTULO ÚNICO
                                                DISPOSICIONES PRELIMINARES

   Artículo 1. Las disposiciones de esta Ley son de orden público y de observancia general en toda la
República y tienen por objeto regular lo relativo al ingreso y salida de mexicanos y extranjeros al territorio
de los Estados Unidos Mexicanos y el tránsito y la estancia de los extranjeros en el mismo, en un marco
de respeto, protección y salvaguarda de los derechos humanos, de contribución al desarrollo nacional,
así como de preservación de la soberanía y de la seguridad nacionales.

    Artículo 2. La política migratoria del Estado Mexicano es el conjunto de decisiones estratégicas para
alcanzar objetivos determinados que con fundamento en los principios generales y demás preceptos
contenidos en la Constitución Política de los Estados Unidos Mexicanos, los tratados y convenios
internacionales en los que el Estado Mexicano sea parte y la presente Ley, se plasman en el
Reglamento, normas secundarias, diversos programas y acciones concretas para atender el fenómeno
migratorio de México de manera integral, como país de origen, tránsito, destino y retorno de migrantes.
                                                                                           Párrafo reformado DOF 04-05-2021

   Son principios en los que debe sustentarse la política migratoria del Estado mexicano los siguientes:


                                                                  1 de 67
                                                                                                      Haiti AR_001430
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 127 of 382

                                                                                           LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                       Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




    Respeto irrestricto de los derechos humanos de los migrantes, nacionales y extranjeros, sea cual
fuere su origen, nacionalidad, género, etnia, edad y situación migratoria, con especial atención a grupos
vulnerables como menores de edad, mujeres, indígenas, adolescentes y personas de la tercera edad, así
como a víctimas del delito. En ningún caso una situación migratoria irregular preconfigurará por sí misma
la comisión de un delito ni se prejuzgará la comisión de ilícitos por parte de un migrante por el hecho de
encontrarse en condición no documentada.

    Congruencia de manera que el Estado mexicano garantice la vigencia de los derechos que reclama
para sus connacionales en el exterior, en la admisión, ingreso, permanencia, tránsito, deportación y
retorno asistido de extranjeros en su territorio.

   Enfoque integral acorde con la complejidad de la movilidad internacional de personas, que atienda las
diversas manifestaciones de migración en México como país de origen, tránsito, destino y retorno de
migrantes, considerando sus causas estructurales y sus consecuencias inmediatas y futuras.

   Responsabilidad compartida con los gobiernos de los diversos países y entre las instituciones
nacionales y extranjeras involucradas en el tema migratorio.

    Hospitalidad y solidaridad internacional con las personas que necesitan un nuevo lugar de residencia
temporal o permanente debido a condiciones extremas en su país de origen que ponen en riesgo su vida
o su convivencia, de acuerdo con la tradición mexicana en este sentido, los tratados y el derecho
internacional.

    Facilitación de la movilidad internacional de personas, salvaguardando el orden y la seguridad. Este
principio reconoce el aporte de los migrantes a las sociedades de origen y destino. Al mismo tiempo,
pugna por fortalecer la contribución de la autoridad migratoria a la seguridad pública y fronteriza, a la
seguridad regional y al combate contra el crimen organizado, especialmente en el combate al tráfico o
secuestro de migrantes, y a la trata de personas en todas sus modalidades.

   Complementariedad de los mercados laborales con los países de la región, como fundamento para
una gestión adecuada de la migración laboral acorde a las necesidades nacionales.

   Equidad entre nacionales y extranjeros, como indica la Constitución Política de los Estados Unidos
Mexicanos, especialmente en lo que respecta a la plena observancia de las garantías individuales, tanto
para nacionales como para extranjeros.

    Reconocimiento a los derechos adquiridos de los inmigrantes, en tanto que los extranjeros con arraigo
o vínculos familiares, laborales o de negocios en México han generado una serie de derechos y
compromisos a partir de su convivencia cotidiana en el país, aún cuando puedan haber incurrido en una
situación migratoria irregular por aspectos administrativos y siempre que el extranjero haya cumplido con
las leyes aplicables.

   Unidad familiar e interés superior de la niña, niño y adolescente, como criterio prioritario de internación
y estancia de extranjeros para la residencia temporal o permanente en México, junto con las necesidades
laborales y las causas humanitarias, en tanto que la unidad familiar es un elemento sustantivo para la
conformación de un sano y productivo tejido social de las comunidades de extranjeros en el país.

  Integración social y cultural entre nacionales y extranjeros residentes en el país con base en el
multiculturalismo y la libertad de elección y el pleno respeto de las culturas y costumbres de sus
comunidades de origen, siempre que no contravengan las leyes del país.




                                                                 2 de 67
                                                                                            Haiti AR_001431
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 128 of 382

                                                                                             LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                        Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




    Facilitar el retorno al territorio nacional y la reinserción social de los emigrantes mexicanos y sus
familias, a través de programas interinstitucionales y de reforzar los vínculos entre las comunidades de
origen y destino de la emigración mexicana, en provecho del bienestar familiar y del desarrollo regional y
nacional.

   Interés superior de la niña, niño o adolescente y la perspectiva de género.
                                                                                  Párrafo adicionado DOF 04-05-2021

   Convencionalidad, en términos de lo dispuesto por el párrafo tercero del artículo 1o. de la Constitución
Política de los Estados Unidos Mexicanos.
                                                                                  Párrafo adicionado DOF 04-05-2021

   El Poder Ejecutivo determinará la política migratoria del país en su parte operativa, para lo cual
deberá recoger las demandas y posicionamientos de los otros Poderes de la Unión, de los gobiernos de
las entidades federativas y de la sociedad civil organizada, tomando en consideración la tradición
humanitaria de México y su compromiso indeclinable con los derechos humanos, el desarrollo y la
seguridad nacional, pública y fronteriza.

   Artículo 3. Para efectos de la presente Ley se entenderá por:

   I. Autoridad migratoria, al servidor público que ejerce la potestad legal expresamente conferida para
realizar determinadas funciones y actos de autoridad en materia migratoria;

   II. Acuerdo de readmisión: al acto por el cual la Secretaría determina autorizar la internación al país de
un extranjero deportado con anterioridad;

   III. Asilado: a todo extranjero que sea reconocido como tal en los términos de la Ley sobre
Refugiados, Protección Complementaria y Asilo Político;
                                                                                 Fracción reformada DOF 30-10-2014

   IV. Apátrida: toda persona que no sea considerada como nacional por, ningún Estado, conforme a su
legislación. La ley concederá igual trato a las personas que tienen una nacionalidad pero que no es
efectiva.

    V. Centro de Asistencia Social: El establecimiento, lugar o espacio de cuidado alternativo o
acogimiento residencial para niñas, niños y adolescentes sin cuidado parental o familiar que brindan
instituciones públicas, privadas y asociaciones;
                                                                                 Fracción adicionada DOF 11-11-2020

   VI. Centro de Evaluación: al Centro de Evaluación y Control de Confianza del Instituto Nacional de
Migración;
                                                                                  Fracción recorrida DOF 11-11-2020

    VII. Condición de estancia: a la situación regular en la que se ubica a un extranjero en atención a su
intención de residencia y, en algunos casos, en atención a la actividad que desarrollarán en el país, o
bien, en atención a criterios humanitarios o de solidaridad internacional.
                                                                                  Fracción recorrida DOF 11-11-2020

   VIII. Constitución: a la Constitución Política de los Estados Unidos Mexicanos;
                                                                                  Fracción recorrida DOF 11-11-2020

    IX. Cuota: al número máximo de extranjeros para ingresar a trabajar al país ya sea en general por
actividad económica o por zona de residencia.
                                                                                  Fracción recorrida DOF 11-11-2020




                                                                 3 de 67
                                                                                              Haiti AR_001432
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 129 of 382

                                                                                                 LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                             Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   X. Defensor de derechos humanos: a toda persona u organización de la sociedad civil que individual o
colectivamente promueva o procure la protección o realización de los derechos humanos, libertades
fundamentales y garantías individuales en los planos nacional o internacional.
                                                                                      Fracción recorrida DOF 11-11-2020

   XI. Estación Migratoria: a la instalación física que establece el Instituto para alojar temporalmente a los
extranjeros que no acrediten su situación migratoria regular, en tanto se resuelve su situación migratoria;
                                                                                      Fracción recorrida DOF 11-11-2020

    XII. Extranjero: a la persona que no pasea la calidad de mexicano, conforme a lo previsto en el
artículo 30 de la Constitución;
                                                                                      Fracción recorrida DOF 11-11-2020

   XIII. Filtro de revisión migratoria: al espacio ubicado en el lugar destinado al tránsito internacional de
personas, donde el Instituto autoriza o rechaza la internación regular de personas al territorio de los
Estados Unidos Mexicanos;
                                                                                      Fracción recorrida DOF 11-11-2020

   XIV. Instituto: al Instituto Nacional de Migración;
                                                                                      Fracción recorrida DOF 11-11-2020

   XV. Ley: a la presente Ley;
                                                                                      Fracción recorrida DOF 11-11-2020

   XVI. Lugar destinado al tránsito internacional de personas: al espacio físico fijado por la Secretaría
para el paso de personas de un país a otro;
                                                                                      Fracción recorrida DOF 11-11-2020

  XVII. Mexicano: a la persona que posea las calidades determinadas en el artículo 30 de la
Constitución;
                                                                                      Fracción recorrida DOF 11-11-2020

   XVIII. Migrante: al individuo que sale, transita o llega al territorio de un Estado distinto al de su
residencia por cualquier tipo de motivación.
                                                                                      Fracción recorrida DOF 11-11-2020

   XIX. Niña, niño o adolescente migrante: cualquier persona migrante, nacional o extranjera, menor de
dieciocho años de edad. Son niñas y niños los menores de doce años, y adolescentes las personas entre
doce años cumplidos y menos de dieciocho años de edad.

   Cuando exista la duda de si se trata de una persona mayor de dieciocho años de edad, se presumirá
que es adolescente. Cuando exista la duda de si se trata de una persona mayor o menor a doce años, se
presumirá que es niña o niño;
                                                                           Fracción reformada y recorrida DOF 11-11-2020

   XX. Niña, niño o adolescente migrante no acompañado: cualquier persona migrante menor de
dieciocho años de edad que no se encuentra acompañada por la persona adulta que ejerce la patria
potestad, que la tenga bajo su guarda y custodia, por su tutor o persona adulta bajo cuyos cuidados se
encuentre habitualmente por costumbre;
                                                                                     Fracción adicionada DOF 11-11-2020

   XXI. Niña, niño o adolescente migrante acompañado: cualquier persona migrante menor de dieciocho
años de edad que se encuentra acompañada por la persona adulta que ejerce la patria potestad, la tenga
bajo su guarda y custodia o por su tutor;



                                                                 4 de 67
                                                                                                  Haiti AR_001433
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 130 of 382

                                                                                                                 LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                            Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




                                                                                                    Fracción adicionada DOF 11-11-2020

   XXII. Niña, niño o adolescente migrante separado: cualquier persona migrante menor de dieciocho
años de edad que se encuentra acompañada de una persona adulta bajo cuyos cuidados se encuentra
habitualmente por costumbre y no en virtud de ley;
                                                                                                    Fracción adicionada DOF 11-11-2020

   XXIII. Oficina consular: a las representaciones del Estado mexicano ante el gobierno de otro país en
las que se realizan de carácter permanente las siguientes funciones: proteger a los mexicanos que se
localizan en su circunscripción, fomentar las relaciones comerciales, económicas, culturales y científicas
entre ambos países y expedir la documentación a mexicanos y extranjeros en términos de la Ley del
Servicio Exterior Mexicano y su Reglamento;
                                                                                                      Fracción recorrida DOF 11-11-2020

    XXIV. Presentación: a la medida dictada por el Instituto mediante la cual se acuerda el alojamiento
temporal de un extranjero que no acredita su situación migratoria para la regularización de su estancia o
la asistencia para el retorno.
                                                                                                      Fracción recorrida DOF 11-11-2020

   XXV. Procuradurías de Protección: la Procuraduría Federal de Protección de Niñas, Niños y
Adolescentes y las procuradurías de protección de niñas, niños y adolescentes de cada entidad
federativa;
                                                                                                    Fracción adicionada DOF 11-11-2020

   XXVI. Protección complementaria: a la protección que la Secretaría otorga al extranjero que no ha
sido reconocido como refugiado, consistente en no devolverlo al territorio de otro país en donde su vida
se vería amenazada o se encontraría en peligro de ser sometido a tortura u otros tratos o penas crueles,
inhumanos o degradantes;
                                                                                                      Fracción recorrida DOF 11-11-2020

    XXVII. Refugiado: a todo extranjero que se encuentre en territorio nacional y que sea reconocido
como refugiado por parte de las autoridades competentes, conforme a los tratados y convenios
internacionales de que es parte el Estado Mexicano y a la legislación vigente;
                                                                                                      Fracción recorrida DOF 11-11-2020

   XXVIII. Reglamento: al Reglamento de la presente Ley;
                                                                                                      Fracción recorrida DOF 11-11-2020

   XXIX. Retorno asistido es el procedimiento por el que el Instituto Nacional de Migración hace
abandonar el territorio nacional a un extranjero, remitiéndolo a su país de origen o de residencia habitual;
                                                                                                      Fracción recorrida DOF 11-11-2020

   XXX. Remuneración: a las percepciones que reciban las personas en el territorio de los Estados
Unidos Mexicanos por la prestación de un servicio personal subordinado o por la prestación de un
servicio profesional independiente;
                                                                                                      Fracción recorrida DOF 11-11-2020

   XXXI. Secretaría: a la Secretaría de Gobernación;
                                                                                                      Fracción recorrida DOF 11-11-2020

   XXXII. Servicio Profesional de Carrera Migratoria: al mecanismo que garantiza la igualdad de
oportunidades para el ingreso, permanencia y desarrollo de los servidores públicos con cargos de
confianza del Instituto.
                                                                           Fracción adicionada DOF 07-06-2013. Recorrida DOF 11-11-2020




                                                                 5 de 67
                                                                                                                 Haiti AR_001434
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 131 of 382

                                                                                                                       LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                                   Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   XXXIII. Situación migratoria: a la hipótesis jurídica en la que se ubica un extranjero en función del
cumplimiento o incumplimiento de las disposiciones migratorias para su internación y estancia en el país.
Se considera que el extranjero tiene situación migratoria regular cuando ha cumplido dichas
disposiciones y que tiene situación migratoria irregular cuando haya incumplido con las mismas;
                                                        Fracción recorrida DOF 07-06-2013. Reformada DOF 12-07-2018. Recorrida DOF 11-11-2020

   XXXIV. Tarjeta de residencia: al documento que expide el Instituto con el que los extranjeros acreditan
su situación migratoria regular de residencia temporal o permanente;
                                                                                                 Fracción recorrida DOF 07-06-2013, 11-11-2020

    XXXV. Trámite migratorio: Cualquier solicitud o entrega de información que formulen las personas
físicas y morales ante la autoridad migratoria, para cumplir una obligación, obtener un beneficio o servicio
de carácter migratorio a fin de que se emita una resolución, así como cualquier otro documento que
dichas personas estén obligadas a conservar, no comprendiéndose aquélla documentación o información
que solo tenga que presentarse en caso de un requerimiento del Instituto, y
                                                                                                 Fracción recorrida DOF 07-06-2013, 11-11-2020

    XXXVI. Visa: a la autorización que se otorga en una oficina consular que evidencia la acreditación de
los requisitos para obtener una condición de estancia en el país y que se expresa mediante un
documento que se imprime, adhiere o adjunta a un pasaporte u otro documento. La visa también se
puede otorgar a través de medios y registros electrónicos pudiéndose denominar visa electrónica o
virtual. La visa autoriza al extranjero para presentarse a un lugar destinado al tránsito internacional de
personas y solicitar, según el tipo de visado su estancia, siempre que se reúnan los demás requisitos
para el ingreso.
                                                                                                 Fracción recorrida DOF 07-06-2013, 11-11-2020

    Artículo 4. La aplicación de esta Ley corresponde a la Secretaría, para lo cual podrá auxiliarse y
coordinarse con las demás dependencias y entidades de la Administración Pública Federal cuyas
atribuciones estén vinculadas con la materia migratoria.

   Artículo 5. Quedan exceptuados de la inspección migratoria los representantes y funcionarios de
gobiernos extranjeros y de organismos internacionales que se internen al país en comisión oficial, sus
familiares y los miembros del personal de servicio, así como las personas que, conforme a los tratados y
convenios de los cuales sea parte el Estado Mexicano, a las leyes y a las prácticas internacionales
reconocidas por el Estado Mexicano, gocen de inmunidades respecto de la jurisdicción territorial,
atendiendo siempre a la reciprocidad internacional.

    Los extranjeros que concluyan su encargo oficial en los Estados Unidos Mexicanos y deseen
permanecer en el país, así como aquéllos que gocen de inmunidad y renuncien a ella con el fin de
realizar actividades lucrativas, deberán cumplir con lo dispuesto en esta Ley y demás disposiciones
jurídicas aplicables.

                                        TÍTULO SEGUNDO
                            DERECHOS Y OBLIGACIONES DE LOS MIGRANTES

                                                       CAPÍTULO ÚNICO
                                                   DERECHOS Y OBLIGACIONES

    Artículo 6. El Estado mexicano garantizará a toda persona extranjera el ejercicio de los derechos y
libertades reconocidos en la Constitución, en los tratados y convenios internacionales de los cuales sea
parte el Estado mexicano y en las disposiciones jurídicas aplicables, con independencia de su situación
migratoria.




                                                                         6 de 67
                                                                                                                        Haiti AR_001435
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 132 of 382

                                                                                         LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                     Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   En el caso de niñas, niños y adolescentes migrantes se garantizarán, de manera adicional a lo
establecido en el párrafo anterior, los derechos y principios establecidos en la Ley General de los
Derechos de Niñas, Niños y Adolescentes y su Reglamento, incluyendo el de la no privación de la libertad
por motivos migratorios.
                                                                               Artículo reformado DOF 11-11-2020

   Artículo 7. La libertad de toda persona para ingresar, permanecer, transitar y salir del territorio
nacional tendrá las limitaciones establecidas en la Constitución, los tratados y convenios internacionales
de los cuales sea parte el Estado mexicano, esta Ley y demás disposiciones jurídicas aplicables.

    El libre tránsito es un derecho de toda persona y es deber de cualquier autoridad promoverlo y
respetarlo. Ninguna persona será requerida de comprobar su nacionalidad y situación migratoria en el
territorio nacional, más que por la autoridad competente en los casos y bajo las circunstancias
establecidos en la presente Ley.

   Artículo 8. Los migrantes podrán acceder a los servicios educativos provistos por los sectores público
y privado, independientemente de su situación migratoria y conforme a las disposiciones legales y
reglamentarias aplicables.

   Los migrantes tendrán derecho a recibir cualquier tipo de atención médica, provista por los sectores
público y privado, independientemente de su situación migratoria, conforme a las disposiciones legales y
reglamentarias aplicables.

   Los migrantes independientemente de su situación migratoria, tendrán derecho a recibir de manera
gratuita y sin restricción alguna, cualquier tipo de atención médica urgente que resulte necesaria para
preservar su vida.

   En la prestación de servicios educativos y médicos, ningún acto administrativo establecerá
restricciones al extranjero, mayores a las establecidas de manera general para los mexicanos.

   Artículo 9. Los jueces u oficiales del Registro Civil no podrán negar a los migrantes,
independientemente de su situación migratoria, la autorización de los actos del estado civil ni la
expedición de las actas relativas a nacimiento, reconocimiento de hijos, matrimonio, divorcio y muerte.

   Artículo 10. El Estado mexicano garantizará a los migrantes que pretendan ingresar de forma regular
al país o que residan en territorio nacional con situación migratoria regular, así como a aquéllos que
pretendan regularizar su situación migratoria en el país, el derecho a la preservación de la unidad
familiar.

   Artículo 11. En cualquier caso, independientemente de su situación migratoria, los migrantes tendrán
derecho a la procuración e impartición de justicia, respetando en todo momento el derecho al debido
proceso, así como a presentar quejas en materia de derechos humanos, de conformidad con las
disposiciones contenidas en la Constitución y demás leyes aplicables.

    Los procedimientos aplicables a niñas, niños y adolescentes migrantes, se regirán por los derechos y
principios establecidos en la Constitución, los tratados internacionales, la Ley General de los Derechos de
Niñas, Niños y Adolescentes y demás disposiciones normativas aplicables en la materia. Previo al inicio
de dichos procedimientos, se dará aviso inmediato a la Procuraduría de Protección. En todo momento se
observará el principio de la no privación de la libertad de niñas, niños y adolescentes por motivos
migratorios.
                                                                               Artículo reformado DOF 11-11-2020




                                                                 7 de 67
                                                                                          Haiti AR_001436
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 133 of 382

                                                                                          LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                      Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




    Artículo 12. Los migrantes, independientemente de su situación migratoria, tendrán derecho al
reconocimiento de su personalidad jurídica, de conformidad con lo dispuesto en la Constitución y en los
tratados y convenios internacionales de los cuales sea parte el Estado mexicano.

  Artículo 13. Los migrantes y sus familiares que se encuentren en el territorio de los Estados Unidos
Mexicanos tendrán derecho a que se les proporcione información acerca de:

   I. Sus derechos y obligaciones, conforme a la legislación vigente;

   II. Los requisitos establecidos por la legislación aplicable para su admisión, permanencia y salida, y

    III. La posibilidad de solicitar el reconocimiento de la condición de refugiado, del otorgamiento de
protección complementaria o de la concesión de asilo político y la determinación de apátrida, así como
los procedimientos respectivos para obtener dichas condiciones.

  La Secretaría adoptará las medidas que considere apropiadas para dar a conocer la información
mencionada, de conformidad con la legislación aplicable.

    Artículo 14. Cuando el migrante, independientemente de su situación migratoria, no hable o no
entienda el idioma español, se le nombrará de oficio un traductor o intérprete que tenga conocimiento de
su lengua, para facilitar la comunicación.

    Cuando el migrante sea sordo y sepa leer y escribir, se le interrogará por escrito o por medio de un
intérprete. En caso contrario, se designará como intérprete a una persona que pueda entenderlo.

    En caso de dictarse sentencia condenatoria a un migrante, independientemente de su condición
migratoria, las autoridades judiciales estarán obligadas a informarle de los tratados y convenios
internacionales suscritos por el Estado mexicano en materia de traslado de reos, así como de cualquier
otro que pudiera beneficiarlo.

    Artículo 15. El Estado mexicano promoverá el acceso y la integración de los migrantes que obtengan
la condición de estancia de residentes temporales y residentes permanentes, a los distintos ámbitos de la
vida económica y social del país, garantizando el respeto a su identidad y a su diversidad étnica y
cultural.

   Artículo 16. Los migrantes deberán cumplir con las siguientes obligaciones:

   I. Cuando se trate de extranjeros con, situación migratoria regular, resguardar y custodiar la
documentación que acredite su identidad y su situación.

   II. Mostrar la documentación que acredite su identidad o su situación migratoria regular, cuando les
sea requerida por las autoridades migratorias;

   III. Proporcionar la información y datos personales que les sean solicitados por las autoridades
competentes, en el ámbito de sus atribuciones, lo anterior sin perjuicio de lo previsto en la Ley Federal de
Transparencia y Acceso a la Información Pública Gubernamental y demás disposiciones aplicables en la
materia, y

  IV. Las demás obligaciones establecidas en la Constitución, en la presente Ley, su Reglamento y
demás disposiciones aplicables.

   Artículo 17. Sólo las autoridades migratorias podrán retener la documentación que acredite la
identidad o situación migratoria de los migrantes cuando existan elementos para presumir que son


                                                                 8 de 67
                                                                                           Haiti AR_001437
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 134 of 382

                                                                                           LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                       Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




apócrifas, en cuyo caso deberán inmediatamente hacerlo del conocimiento de las autoridades
competentes para que éstas resuelvan lo conducente.

                                          TÍTULO TERCERO
                             DE LAS AUTORIDADES EN MATERIA MIGRATORIA

                                                     CAPÍTULO I
                                           DE LA AUTORIDADES MIGRATORIAS

   Artículo 18. La Secretaría tendrá las siguientes atribuciones en materia migratoria:

   I. Formular y dirigir la política migratoria del país, tomando en cuenta la opinión de las autoridades que
al efecto se establezcan en el Reglamento, así como las demandas y posicionamientos de los otros
Poderes de la Unión, de los Gobiernos de las entidades federativas y de la sociedad civil;

    II. Fijar las cuotas, requisitos o procedimientos para la emisión de visas y la autorización de
condiciones de estancia, siempre que de ellas se desprenda para su titular la posibilidad de realizar
actividades a cambio de una remuneración; así como determinar los municipios o entidades federativas
que conforman las regiones fronterizas o aquellas que reciben trabajadores temporales y la vigencia
correspondiente de las autorizaciones para la condición de estancia expedida en esas regiones, en los
términos de la presente Ley. En todos estos supuestos la Secretaría deberá obtener previamente la
opinión favorable de la Secretaría del Trabajo y Previsión Social y tomará en cuenta la opinión de las
demás autoridades que al efecto se establezcan en el Reglamento;

   III. Establecer o suprimir requisitos para el ingreso de extranjeros al territorio nacional, mediante
disposiciones de carácter general publicadas en el Diario Oficial de la Federación, tomando en cuenta la
opinión de las autoridades que al efecto se establezcan en el Reglamento;

   IV. Suspender o prohibir el ingreso de extranjeros, en términos de la presente Ley y su Reglamento;

    V. En coordinación con la Secretaría de Relaciones Exteriores, promover y suscribir instrumentos
internacionales en materia de retorno asistido tanto de mexicanos como de extranjeros;

   VI. Fijar y suprimir los lugares destinados al tránsito internacional de personas, en términos de esta
Ley y su Reglamento;

   VII. Dictar los Acuerdos de readmisión, en los supuestos previstos en esta Ley, y

   VIII. Las demás que le señale la Ley General de Población, esta Ley, su Reglamento y otras
disposiciones jurídicas aplicables.

    Artículo 19. El Instituto es un órgano administrativo desconcentrado de la Secretaría, que tiene por
objeto la ejecución, control y supervisión de los actos realizados por las autoridades migratorias en
territorio nacional, así como la instrumentación de políticas en la materia, con base en los lineamientos
que expida la misma Secretaría.

   Artículo 20. El Instituto tendrá las siguientes atribuciones en materia migratoria:

   I. Instrumentar la política en materia migratoria;

   II. Vigilar la entrada y salida de personas al territorio de los Estados Unidos Mexicanos y revisar su
documentación;



                                                                 9 de 67
                                                                                            Haiti AR_001438
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 135 of 382

                                                                                           LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                       Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   III. En los casos señalados en esta Ley, tramitar y resolver sobre la internación, estancia y salida del
país de los extranjeros;

   IV. Conocer, resolver y ejecutar la deportación o el retorno asistido de personas extranjeras, en los
términos y condiciones establecidos en la presente Ley y en su Reglamento; salvo que, en el caso de
deportación o retorno asistido de niñas, niños y adolescentes migrantes, el plan de restitución de
derechos que emita la Procuraduría de Protección determine lo contrario;
                                                                                Fracción reformada DOF 11-11-2020

   V. Imponer las sanciones previstas por esta Ley y su Reglamento;

   VI. Llevar y mantener actualizado el Registro Nacional de Extranjeros;

   VII. Presentar en las estaciones migratorias o en los lugares habilitados para tal fin, a las personas
extranjeras que lo ameriten conforme a las disposiciones de esta Ley, respetando en todo momento sus
derechos humanos;
                                                                                Fracción reformada DOF 11-11-2020

   VIII. Coordinar la operación de los grupos de atención a migrantes que se encuentren en territorio
nacional;

    IX. Proporcionar información contenida en las bases de datos de los distintos sistemas informáticos
que administra, a las diversas instituciones de seguridad nacional que así lo soliciten, de conformidad con
las disposiciones jurídicas aplicables;
                                                                                Fracción reformada DOF 11-11-2020

   X. Gestionar ante la autoridad correspondiente la asignación de la clave única del registro de
población para niñas, niños y adolescentes a quienes se les otorgue autorización de estancia como
Visitante por Razones Humanitarias o como Residente;
                                                                               Fracción adicionada DOF 11-11-2020

   XI. Recibir a niñas, niños y adolescentes mexicanos repatriados y de manera inmediata notificar a la
Procuraduría de Protección y canalizar a la niña, niño o adolescente al Sistema DIF correspondiente, y
                                                                               Fracción adicionada DOF 11-11-2020

   XII. Las demás que le señale esta Ley, su Reglamento y demás disposiciones jurídicas aplicables.
                                                                                 Fracción recorrida DOF 11-11-2020

   Artículo 21. La Secretaría de Relaciones Exteriores tendrá las siguientes atribuciones en materia
migratoria:

   I. Aplicar en el ámbito de su competencia las disposiciones de esta Ley, su Reglamento y demás
disposiciones legales;

  II. Promover conjuntamente con la Secretaría la suscripción de instrumentos internacionales en
materia de retorno asistido de mexicanos y extranjeros;

   III. Promover conjuntamente con la Secretaría de Gobernación, la suscripción de acuerdos bilaterales
que regulen el flujo migratorio;

   IV. En los casos previstos en esta Ley, tramitar y resolver la expedición de visas, y

   V. Las demás que le señale esta Ley, su Reglamento y otras disposiciones jurídicas aplicables.



                                                                 10 de 67
                                                                                            Haiti AR_001439
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 136 of 382

                                                                                        LEY DE MIGRACIÓN
              CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                     Última Reforma DOF 29-04-2022
              Secretaría General
              Secretaría de Servicios Parlamentarios




                               CAPÍTULO II
   DE LA PROFESIONALIZACIÓN Y CERTIFICACIÓN DEL PERSONAL DEL INSTITUTO

    Artículo 22. La actuación de los servidores públicos del Instituto se sujetará, invariablemente, a los
principios de legalidad, objetividad, eficiencia, profesionalismo, honradez y respeto a los derechos
humanos reconocidos en la Constitución y en la presente Ley.

    Artículo 23. En términos del artículo 96 de la Ley General del Sistema Nacional de Seguridad Pública,
los servidores públicos del Instituto están obligados a someterse al proceso de certificación que consiste
en la comprobación del cumplimiento de los perfiles de personalidad, éticos, socioeconómicos y médicos,
necesarios para el ejercicio de sus funciones, en los procedimientos de ingreso, promoción y
permanencia, en los términos del Reglamento.

   La certificación es requisito indispensable de ingreso, permanencia y promoción.

  Para efectos de la certificación, el Instituto, contará con un Centro de Evaluación acreditado por el
Centro Nacional de Certificación y Acreditación, en términos de la Ley General del Sistema Nacional de
Seguridad Pública y demás disposiciones jurídicas aplicables.

   El Centro de Evaluación se integrará con el personal de las áreas técnicas y administrativas necesario
para el cumplimiento de sus atribuciones.

   Artículo 24. El Centro de Evaluación tendrá las siguientes atribuciones:

   I. Llevar a cabo las evaluaciones periódicas a los Integrantes del Instituto, a fin de comprobar el
cumplimiento de los perfiles de personalidad, éticos, socioeconómicos y médicos, en los procedimientos
de ingreso, promoción y permanencia necesarios para el cumplimiento de sus funciones;

   II. Comunicar a las unidades administrativas competentes los resultados de las evaluaciones que
practique, para los efectos del ingreso, promoción o permanencia de los servidores públicos del Instituto,
según corresponda;

   III. Emitir y actualizar el certificado correspondiente al personal del Instituto que acredite las
evaluaciones correspondientes;

    IV. Contribuir a identificar los factores de riesgo que repercutan o pongan en peligro el desempeño de
las funciones migratorias, con el fin de garantizar la adecuada operación de los servicios migratorios;

   V. Establecer una base de datos que contenga los archivos de los procesos de certificación de las
personas a quienes se les hayan practicado e implementar las medidas de seguridad necesarias para el
resguardo de la información contenida en dichas bases;

   VI. Recomendar la capacitación y la implementación de las medidas que se deriven de los resultados
de las evaluaciones practicadas, y

   VII. Las demás que le señale esta Ley, su Reglamento y otras disposiciones jurídicas aplicables.

   Artículo 25. Los servidores públicos del Instituto para su ingreso, desarrollo y permanencia deberán
cursar y aprobar los programas de formación, capacitación y profesionalización, incluyendo normatividad
en materia migratoria y derechos humanos impartidos a través del Servicio Profesional de Carrera
Migratoria, posterior a contar con la certificación a que hace referencia el artículo 23 de esta Ley.



                                                                11 de 67
                                                                                         Haiti AR_001440
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 137 of 382

                                                                                            LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                        Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   Para la eficiencia y eficacia de la gestión migratoria, los procedimientos para la selección, ingreso,
formación, capacitación, adiestramiento, desarrollo, actualización, permanencia y promoción de los
servidores públicos del Instituto, así como los relativos a la organización y funcionamiento del Servicio
Profesional de Carrera Migratoria, serán establecidos en el Reglamento de esta Ley.
                                                                                  Artículo reformado DOF 07-06-2013

                                   CAPÍTULO III
               DE LAS AUTORIDADES AUXILIARES EN MATERIA MIGRATORIA

   Artículo 26. Corresponde a la Secretaría de Turismo:

    I. Difundir información oficial de los trámites y requisitos migratorios que se requieran para la
internación, tránsito, estancia regular y salida de los extranjeros que pretendan visitar el país;

   II. Participar en las acciones interinstitucionales en materia migratoria, que coadyuven en la
implementación de programas que fomenten y promuevan el turismo en destinos nacionales, para el
desarrollo y beneficio del país, y

   III. Las demás que señale esta Ley, su Reglamento y demás disposiciones jurídicas aplicables.

   Artículo 27. Corresponde a la Secretaría de Salud:

    I. Promover en coordinación con las autoridades sanitarias de los diferentes niveles de gobierno que,
la prestación de servicios de salud que se otorgue a los extranjeros, se brinde sin importar su situación
migratoria y conforme a las disposiciones jurídicas aplicables;

   II. Establecer requisitos sanitarios para la internación de personas al territorio nacional, conforme a las
disposiciones jurídicas aplicables;

   III. Ejercer la vigilancia de los servicios de sanidad en los lugares destinados al tránsito internacional
de personas, en transportes nacionales o extranjeros, marítimos, aéreos y terrestres, mediante visitas de
inspección conforme a las disposiciones jurídicas aplicables;

    IV. Diseñar y difundir campañas en los lugares destinados al tránsito internacional de personas, para
la prevención y control de enfermedades, conforme a las disposiciones jurídicas aplicables, y

   V. Las demás que señale esta Ley, su Reglamento y demás disposiciones jurídicas aplicables.

   Artículo 28. Corresponde a la Fiscalía General de la República:
                                                                                  Párrafo reformado DOF 20-05-2021

   I. Promover la formación y especialización de Agentes de la Policía Federal Ministerial, Agentes del
Ministerio Público y Oficiales Ministeriales en materia de derechos humanos;

   II. Proporcionar a los migrantes orientación y asesoría para su eficaz atención y protección, de
conformidad con la Ley de la Fiscalía General de la República, su Estatuto Orgánico y demás
ordenamientos aplicables;
                                                                                 Fracción reformada DOF 20-05-2021

   III. Proporcionar a las instancias encargadas de realizar estadísticas las referencias necesarias sobre
el número de averiguaciones previas, carpetas de investigación y procesos penales respecto de los
delitos de los que son víctimas los migrantes;



                                                                 12 de 67
                                                                                             Haiti AR_001441
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 138 of 382

                                                                                                  LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                              Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




                                                                                      Fracción reformada DOF 20-05-2021

    IV. Celebrar convenios de cooperación y coordinación, así como realizar en el ámbito de sus
atribuciones, las acciones necesarias para lograr una eficaz investigación y persecución de los delitos de
los que son víctimas u ofendidos los migrantes;
                                                                                      Fracción reformada DOF 04-05-2021

   V. Conocer respecto de los delitos previstos en los artículos 159 y 161 de esta Ley, y

   VI. Las demás que señale esta Ley, su Reglamento y demás disposiciones jurídicas aplicables.

   Artículo 29. Corresponde al Sistema Nacional para el Desarrollo Integral de la Familia, a los Sistemas
Estatales DIF y al de la Ciudad de México:

   I. Proporcionar asistencia social para la atención de niñas, niños y adolescentes migrantes que
requieran servicios para su protección;

    II. Otorgar facilidades de estancia y garantizar la protección y los derechos de niñas, niños y
adolescentes migrantes, independientemente de su nacionalidad y situación migratoria, garantizando el
principio de unidad familiar y el cumplimiento de las medidas de protección para la restitución integral de
derechos vulnerados de niñas, niños y adolescentes de conformidad con los artículos 122 y 123 de la Ley
General de los Derechos de Niñas, Niños y Adolescentes;

    III. El Sistema Nacional DIF y los sistemas de las entidades federativas, en coordinación con las
instituciones competentes, deberán identificar a las niñas, niños y adolescentes extranjeros que requieren
de protección internacional, ya sea como refugiado o de algún otro tipo, a través de una evaluación inicial
con garantías de seguridad y privacidad, con el fin de proporcionarles el tratamiento adecuado e
individualizado que sea necesario mediante la adopción de medidas de protección especial;

   IV. Coadyuvar con el Instituto en la implementación de acciones que permitan brindar una atención
adecuada a los migrantes que por diferentes factores o la combinación de ellos, enfrentan situaciones de
mayor vulnerabilidad;

  V. Coadyuvar con defensores de derechos humanos y la Comisión Nacional de los Derechos
Humanos para garantizar la protección integral de los derechos de niñas, niños y adolescentes;

   VI. Establecer convenios de coordinación con dependencias y entidades de la Administración Pública
Federal, de las entidades federativas, municipios y demarcaciones territoriales y con las organizaciones
de la sociedad civil especializadas para garantizar la protección integral de los derechos de niñas, niños y
adolescentes, y

   VII. Las demás que señale esta Ley, su Reglamento, la Ley General de los Derechos de Niñas, Niños
y Adolescentes y su Reglamento y otras disposiciones jurídicas aplicables.
                                                                            Artículo reformado DOF 09-11-2017, 11-11-2020

   Artículo 30. Corresponde al Instituto Nacional de las Mujeres:

   I. Realizar acciones interinstitucionales, de manera coordinada con el Instituto, que permitan atender
la problemática, así como la prevención de la violencia contra las mujeres migrantes, y avanzar en el
cumplimiento de los tratados y convenios internacionales de los cuales sea parte el Estado Mexicano.
                                                                                      Fracción reformada DOF 25-06-2018




                                                                 13 de 67
                                                                                                   Haiti AR_001442
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 139 of 382

                                                                                          LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                      Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   II. Promover acciones dirigidas a mejorar la condición social de la población femenina migrante y la
erradicación de todas las formas de discriminación en su contra;

   III. Proporcionar a las autoridades migratorias capacitación en materia de igualdad de género, con
énfasis en el respeto y protección de los derechos humanos de las migrantes, y

   IV. Las demás que señale esta Ley, su Reglamento y demás disposiciones jurídicas aplicables.

                             TÍTULO CUARTO
DEL MOVIMIENTO INTERNACIONAL DE PERSONAS Y LA ESTANCIA DE EXTRANJEROS
                        EN TERRITORIO NACIONAL

                                        CAPÍTULO I
                      DE LA ENTRADA Y SALIDA DEL TERRITORIO NACIONAL

    Artículo 31. Es facultad exclusiva de la Secretaría fijar y suprimir los lugares destinados al tránsito
internacional de personas por tierra, mar y aire, previa opinión de las Secretarías de Hacienda y Crédito
Público; de Comunicaciones y Transportes; de Salud; de Relaciones Exteriores; de Agricultura,
Ganadería, Desarrollo Rural, Pesca y Alimentación, y en su caso, de Marina. Asimismo, consultará a las
dependencias que juzgue conveniente.

   Las dependencias que se mencionan están obligadas a proporcionar los elementos necesarios para
prestar los servicios correspondientes a sus respectivas competencias.

   Artículo 32. La Secretaría, podrá cerrar temporalmente los lugares destinados al tránsito internacional
de personas por tierra, mar y aire, por causas de interés público.

    Artículo 33. Los concesionarios o permisionarios que operen o administren lugares destinados al
tránsito internacional de personas por tierra, mar y aire, estarán obligados a poner a disposición del
Instituto las instalaciones necesarias para el adecuado desempeño de sus funciones, así como cumplir
con los lineamientos que al efecto se emitan.

    Las características que deberán tener las instalaciones del Instituto en los lugares destinados al
tránsito internacional de personas por tierra, mar y aire, se especificarán en el Reglamento.

   Artículo 34. Los mexicanos y extranjeros sólo pueden entrar y salir del territorio nacional por los
lugares destinados al tránsito internacional de personas por tierra, mar y aire.

   La internación regular al país se efectuará en el momento en que la persona pasa por los filtros de
revisión migratoria ubicados en los lugares destinados al tránsito internacional de personas por tierra, mar
y aire, dentro de los horarios establecidos para tal efecto y con intervención de las autoridades
migratorias.

   Artículo 35. Para entrar y salir del país, los mexicanos y extranjeros deben cumplir con los requisitos
exigidos por la presente Ley, su Reglamento y demás disposiciones jurídicas aplicables.

   Corresponde de forma exclusiva al personal del Instituto vigilar la entrada y salida de los nacionales y
extranjeros y revisar la documentación de los mismos, para lo cual se podrán auxiliar de herramientas
tecnológicas automatizadas, observando lo dispuesto en el artículo 16 de esta Ley.
                                                                                Artículo reformado DOF 29-04-2022




                                                                 14 de 67
                                                                                           Haiti AR_001443
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 140 of 382

                                                                                             LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                         Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




    Artículo 36. Los mexicanos no podrán ser privados del derecho a ingresar a territorio nacional. Para
tal efecto, deben acreditar su nacionalidad además de cumplir con los demás requisitos que se
establecen en esta Ley, su Reglamento y demás disposiciones jurídicas aplicables.

   Los mexicanos comprobarán su nacionalidad, con alguno de los documentos siguientes:

   I. Pasaporte;

   II. Cédula de Identidad Ciudadana o Cédula de Identidad Personal o su equivalente;

   III. Copia certificada del Acta de Nacimiento;

   IV. Matrícula consular;

   V. Carta de Naturalización, o

   VI. Certificado de Nacionalidad Mexicana.

   En su caso, podrá identificarse con credencial para votar con fotografía, expedida por la autoridad
electoral nacional, o cualquier otro documento expedido por la autoridad en el ejercicio de sus funciones.

   A falta de los documentos probatorios mencionados en las fracciones anteriores, para los efectos de
lo dispuesto en este artículo, se podrá acreditar la nacionalidad mexicana mediante cualquier otro
elemento objetivo de convicción que permita al Instituto determinar que se cumplen con los supuestos de
acreditación de la nacionalidad mexicana.

   En los casos en que el Instituto cuente con elementos suficientes para presumir la falta de
autenticidad de los documentos o de veracidad de los elementos aportados para acreditar la nacionalidad
mexicana, determinará el ingreso o rechazo de la persona de que se trate, después de realizar la
investigación respectiva. Este procedimiento deberá ser racional y en ningún caso excederá de 4 horas.

   De igual forma, al ingresar al país, los mexicanos estarán obligados a proporcionar la información y los
datos personales que, en el ámbito de sus atribuciones, les sea solicitada por las autoridades
competentes y tendrán derecho a ser informados sobre los requerimientos legales establecidos para su
ingreso y salida del territorio nacional.

   Artículo 37. Para internarse al país, los extranjeros deberán:

   I. Presentar en el filtro de revisión migratoria ante el Instituto, los documentos siguientes:

    a) Pasaporte o documento de identidad y viaje que sea válido de conformidad con el derecho
internacional vigente, y

   b) Cuando así se requiera, visa válidamente expedida y en vigor, en términos del artículo 40 de esta
Ley; o

    c) Tarjeta de residencia o autorización en la condición de estancia de visitante regional, visitante
trabajador fronterizo o visitante por razones humanitarias.

  II. Proporcionar la información y los datos personales que las autoridades competentes soliciten en el
ámbito de sus atribuciones.

   III. No necesitan visa los extranjeros que se ubiquen en alguno de los siguientes supuestos:


                                                                 15 de 67
                                                                                              Haiti AR_001444
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 141 of 382

                                                                                            LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                        Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   a) Nacionales de países con los que se haya suscrito un acuerdo de supresión de visas o que no se
requiera de visado en virtud de una decisión unilateral asumida por el Estado mexicano;

   b) Solicitantes de la condición de estancia de visitante regional y visitante trabajador fronterizo;

   c) Titulares de un permiso de salida y regreso;

  d) Titulares de una condición de estancia autorizada, en los casos que previamente determine la
Secretaría;

   e) Solicitantes de la condición de refugiado, de protección complementaria y de la determinación de
apátrida, o por razones humanitarias o causas de fuerza mayor, y

    f) Miembros de la tripulación de embarcaciones o aeronaves comerciales conforme a los compromisos
internacionales asumidos por México.

  Artículo 38. La Secretaría, por causas de interés público y mientras subsistan las causas que la
motiven podrá suspender o prohibir la admisión de extranjeros mediante la expedición de disposiciones
administrativas de carácter general, que deberán ser publicadas en el Diario Oficial de la Federación.

   Artículo 39. En los términos de esta Ley y su Reglamento, en el procedimiento de trámite y
expedición de visas y autorización de condiciones de estancia intervendrán:

   I. Las oficinas establecidas por la Secretaría en territorio nacional, y

   II. Las oficinas consulares, de conformidad con la Ley del Servicio Exterior Mexicano y su Reglamento.

    Artículo 40. Los extranjeros que pretendan ingresar al país deben presentar alguno de los siguientes
tipos de visa, válidamente expedidas y vigentes:

    I. Visa de visitante sin permiso para realizar actividades remuneradas, que autoriza al extranjero para
presentarse en cualquier lugar destinado al tránsito internacional de personas y solicitar su ingreso a
territorio nacional, con el objeto de permanecer por un tiempo ininterrumpido no mayor a ciento ochenta
días, contados a partir de la fecha de entrada.

    II. Visa de visitante con permiso para realizar actividades remuneradas, que autoriza al extranjero para
presentarse en cualquier lugar destinado al tránsito internacional de personas y solicitar su ingreso a
territorio nacional, con el objeto de permanecer por un tiempo ininterrumpido no mayor a ciento ochenta
días, contados a partir de la fecha de entrada y realizar actividades remuneradas.

    III. Visa de visitante para realizar trámites de adopción, que autoriza al extranjero vinculado con un
proceso de adopción en los Estados Unidos Mexicanos, a presentarse en cualquier lugar destinado al
tránsito internacional de personas y solicitar su ingreso a territorio nacional, con el objeto de permanecer
en el país hasta en tanto se dicte la resolución ejecutoriada y, en su caso, se inscriba en el Registro Civil
la nueva acta del niño, niña o adolescente adoptado, así como se expida el pasaporte respectivo y todos
los trámites necesarios para garantizar la salida del niño, niña o adolescente del país. La expedición de
esta autorización, sólo procederá respecto de ciudadanos de países con los que los Estados Unidos
Mexicanos hayan suscrito algún convenio en la materia.

   IV. Visa de residencia temporal, que autoriza al extranjero para presentarse en cualquier lugar
destinado al tránsito internacional de personas y solicitar su ingreso a territorio nacional, con el objeto de
permanecer por un tiempo no mayor a cuatro años.


                                                                 16 de 67
                                                                                             Haiti AR_001445
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 142 of 382

                                                                                              LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                          Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




    V. Visa de residente temporal estudiante, que autoriza al extranjero para presentarse en cualquier
lugar destinado al tránsito internacional de personas y solicitar su ingreso a territorio nacional, con el
objeto de permanecer por el tiempo que duren los cursos, estudios, proyectos de investigación o
formación que acredite que se llevarán a cabo en instituciones educativas pertenecientes al sistema
educativo nacional, y realizar actividades remuneradas conforme a lo dispuesto por la fracción VIII del
artículo 52 de esta Ley.

   VI. Visa de residencia permanente, que autoriza al extranjero para presentarse en cualquier lugar
destinado al tránsito internacional de personas y solicitar su ingreso a territorio nacional, con el objeto de
permanecer de manera indefinida.

    Los criterios para emitir visas serán establecidos en el Reglamento y los lineamientos serán
determinados en conjunto por la Secretaría y la Secretaría de Relaciones Exteriores, privilegiando una
gestión migratoria congruente que otorgue facilidades en la expedición de visas a fin de favorecer los
flujos migratorios ordenados y regulares privilegiando la dignidad de los migrantes.

   Ninguna de las visas otorga el permiso para trabajar a cambio de una remuneración, a menos que sea
explícitamente referido en dicho documento.

   La visa acredita requisitos para una condición de estancia y autoriza al extranjero para presentarse en
cualquier lugar destinado al tránsito internacional de personas y solicitar su ingreso al país en dicha
condición de estancia, sin perjuicio de que posteriormente obtenga una tarjeta de residencia.

   Artículo 41. Los extranjeros solicitarán la visa en las oficinas consulares. Estas autorizarán y
expedirán las visas, de conformidad con las disposiciones jurídicas aplicables.

   En los casos del derecho a la preservación de la unidad familiar, por oferta de empleo o por razones
humanitarias, la solicitud de visa se podrá realizar en las oficinas del Instituto. En estos supuestos,
corresponde al Instituto la autorización y a las oficinas consulares de México en el exterior, la expedición
de la visa conforme se instruya.

    La oficina consular podrá solicitar al Instituto la reconsideración de la autorización si a su juicio el
solicitante no cumple con los requisitos establecidos en esta Ley, su Reglamento y demás disposiciones
jurídicas aplicables.

   El Instituto resolverá en definitiva sin responsabilidad para la oficina consular.

    Artículo 42. La Secretaría podrá autorizar el ingreso de extranjeros que soliciten el reconocimiento de
la condición de refugiado, asilo político, determinación de apátrida, o por causas de fuerza mayor o por
razones humanitarias, sin cumplir con alguno de los requisitos establecidos en el artículo 37 de esta Ley.

   Artículo 43. Sin perjuicio de lo dispuesto en el artículo 42 de este ordenamiento, las autoridades
migratorias podrán negar la expedición de la visa, la internación regular a territorio nacional o su
permanencia a los extranjeros que se ubiquen en alguno de los siguientes supuestos:

   I.     Cuando derivado de sus antecedentes en México o en el extranjero se comprometa la
          seguridad nacional o la seguridad pública;
                                                                                  Fracción reformada DOF 07-01-2021

   II.    Cuando no cumplan con los requisitos establecidos en esta Ley, su Reglamento y otras
          disposiciones jurídicas aplicables;




                                                                 17 de 67
                                                                                               Haiti AR_001446
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 143 of 382

                                                                                              LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                          Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   III.   Cuando se verifique que los documentos o los elementos aportados no son auténticos;
                                                                                  Fracción reformada DOF 07-01-2021

   IV.    Estar sujeto a prohibiciones expresas de autoridad competente, o

   V.     Lo prevean otras disposiciones jurídicas.

   Las autoridades migratorias, en el ámbito de sus atribuciones, contarán con los medios necesarios
para verificar los supuestos anteriores y para este fin podrán solicitar al extranjero la información o datos
que se requieran.

    El hecho de que el extranjero haya incumplido con lo dispuesto en la fracción II de este artículo, no
impedirá a la autoridad migratoria analizar de nueva cuenta su solicitud de visa, siempre que cumpla con
lo dispuesto en esta Ley, su Reglamento y demás disposiciones jurídicas aplicables.

   En los casos en que la autoridad judicial imponga a la persona extranjera sentencia firme
condenatoria, el Instituto valorará su condición migratoria atendiendo los principios de la reinserción
social, así como los relativos a la reunificación familiar.
                                                                                   Párrafo reformado DOF 07-01-2021

   Artículo 44. Las empresas de transporte internacional de pasajeros marítimo o aéreo, tienen la
obligación de verificar que los extranjeros que transporten, cuenten con la documentación válida y vigente
que se requiere para internarse al territorio nacional o al país de destino final.

    Artículo 45. Los tripulantes extranjeros de empresas en tránsito internacional de transportes aéreos,
terrestres o marítimos que lleguen al territorio nacional en servicio activo, sólo podrán permanecer en el
país por el tiempo necesario para reiniciar el servicio en la próxima salida que tengan asignada.

   Los gastos que origine la presentación, deportación o salida del país de tripulantes que no cumplan
con esta disposición, serán cubiertos por la empresa de transporte para la cual laboran.

    Artículo 46. Las empresas aéreas y marítimas, así como las aeronaves y los barcos de carácter
privado que efectúen el transporte internacional de pasajeros deberán transmitir electrónicamente al
Instituto la información relativa a los pasajeros, tripulación y medios de transporte que entren o salgan del
país.

   En el Reglamento se especificará la información que se solicitará, y los términos para su envío serán
determinados en las disposiciones administrativas de carácter general que expida el Instituto.

   Artículo 47. Para la salida de personas del territorio nacional, éstas deberán:

   I. Hacerlo por lugares destinados al tránsito internacional de personas;

   II. Identificarse mediante la presentación del pasaporte o documento de identidad o viaje válido y
vigente;

   III. Presentar al Instituto la información que se requiera con fines estadísticos;

   IV. En el caso de extranjeros, acreditar su situación migratoria regular en el país, o el permiso
expedido por la autoridad migratoria en los términos del artículo 137 de esta Ley, y

   V. Sujetarse a lo que establezcan otras disposiciones aplicables en la materia.




                                                                 18 de 67
                                                                                               Haiti AR_001447
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 144 of 382

                                                                                            LEY DE MIGRACIÓN
                CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                      Última Reforma DOF 29-04-2022
                Secretaría General
                Secretaría de Servicios Parlamentarios




   Artículo 48. La salida de mexicanos y extranjeros del territorio nacional podrá realizarse libremente,
excepto en los siguientes casos:

   I.     Se le haya dictado por autoridad judicial, providencia precautoria o medida cautelar, siempre que
          tenga por objeto restringir la libertad de tránsito de la persona;

   II.    Que se encuentre bajo libertad caucional por vinculación a proceso;

   III.   Que goce de libertad preparatoria o condicional, salvo con permiso de la autoridad competente;

   IV. Por razones de seguridad nacional, de conformidad con las disposiciones jurídicas aplicables;
                                                                                Fracción reformada DOF 21-04-2016

   V.     Tratándose de niñas, niños y adolescentes sujetos a un procedimiento de restitución
          internacional, de conformidad con lo establecido en los tratados y convenios internacionales de
          los cuales sea parte el Estado mexicano, y
                                                                                Fracción reformada DOF 21-04-2016

   VI. Las personas que, en su carácter de deudoras alimentarias, dejen de cumplir con las
       obligaciones que impone la legislación civil en materia de alimentos por un período mayor de
       sesenta días, previa solicitud de la autoridad judicial competente, sin perjuicio de las excepciones
       previstas por la legislación civil aplicable, así como de aquellas conductas consideradas como
       delitos por las leyes penales correspondientes. Para efectos de esta fracción y tratándose de
       extranjeros, el Instituto definirá su situación migratoria y resolverá con base en lo que se
       establezca en otros ordenamientos y en el reglamento de esta Ley.
                                                                                Fracción adicionada DOF 21-04-2016

   El Instituto contará con los medios adecuados para verificar los supuestos anteriores, de conformidad
con lo dispuesto en el Reglamento.

   Artículo 49. La salida del país de niñas, niños y adolescentes o de personas bajo tutela jurídica en
términos de la legislación civil, sean mexicanos o extranjeros, se sujetará además a las siguientes reglas:

    I. Deberán ir acompañados de alguna de las personas que ejerzan sobre ellos la patria potestad o la
tutela, y cumpliendo los requisitos de la legislación Civil.

   II. En el caso de que vayan acompañados por un tercero mayor de edad o viajen solos, se deberá
presentar el pasaporte y el documento en el que conste la autorización de quiénes ejerzan la patria
potestad o la tutela, ante fedatario público o por las autoridades que tengan facultades para ello.

   Artículo 50. El Instituto verificará la situación migratoria de los polizones que se encuentren en
transportes aéreos, marítimos o terrestres y determinará lo conducente, de conformidad con lo dispuesto
en el Reglamento.

   Artículo 51. La Secretaría estará facultada para emitir políticas y disposiciones administrativas de
carácter general, que se publicarán en el Diario Oficial de la Federación, con el objeto de atender las
necesidades migratorias del país, tomando en cuenta la opinión del Consejo Nacional de Población.

                                    CAPÍTULO II
             DE LA ESTANCIA DE EXTRANJEROS EN EL TERRITORIO NACIONAL

   Artículo 52. Los extranjeros podrán permanecer en el territorio nacional en las condiciones de
estancia de visitante, residente temporal y residente permanente, siempre que cumplan con los requisitos



                                                                  19 de 67
                                                                                             Haiti AR_001448
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 145 of 382

                                                                                            LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                        Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




establecidos en esta Ley, su Reglamento y demás disposiciones jurídicas aplicables, de conformidad con
lo siguiente:

   I. VISITANTE SIN PERMISO PARA REALIZAR ACTIVIDADES REMUNERADAS. Autoriza al
extranjero para transitar o permanecer en territorio nacional por un tiempo ininterrumpido no mayor a
ciento ochenta días, contados a partir de la fecha de entrada, sin permiso para realizar actividades
sujetas a una remuneración en el país.

    II. VISITANTE CON PERMISO PARA REALIZAR ACTIVIDADES REMUNERADAS. Autoriza al
extranjero que cuente con una oferta de empleo, con una invitación por parte de alguna autoridad o
institución académica, artística, deportiva o cultural por la cual perciba una remuneración en el país, o
venga a desempeñar una actividad remunerada por temporada estacional en virtud de acuerdos
interinstitucionales celebrados con entidades extranjeras, para permanecer en territorio nacional por un
tiempo ininterrumpido no mayor a ciento ochenta días, contados a partir de la fecha de entrada.

    III. VISITANTE REGIONAL. Autoriza al extranjero nacional o residente de los países vecinos para
ingresar a las regiones fronterizas con derecho a entrar y salir de las mismas cuantas veces lo deseen,
sin que su permanencia exceda de siete días y sin permiso para recibir remuneración en el país.
                                                                                  Párrafo reformado DOF 19-05-2017

   Mediante disposiciones de carácter administrativo, la Secretaría establecerá la vigencia de las
autorizaciones y los municipios y entidades federativas que conforman las regiones fronterizas, para
efectos del otorgamiento de la condición de estancia de visitante regional.

   IV. VISITANTE TRABAJADOR FRONTERIZO. Autoriza al extranjero que sea nacional de los países
con los cuales los Estados Unidos Mexicanos comparten límites territoriales, para permanecer hasta por
un año en las entidades federativas que determine la Secretaría. El visitante trabajador fronterizo contará
con permiso para trabajar a cambio de una remuneración en el país, en la actividad relacionada con la
oferta de empleo con que cuente y con derecho a entrar y salir del territorio nacional cuantas veces lo
desee.

   V. VISITANTE POR RAZONES HUMANITARIAS. Se autorizará esta condición de estancia a los
extranjeros que se encuentren en cualquiera de los siguientes supuestos:

   a) Ser ofendido, víctima o testigo de algún delito cometido en territorio nacional.

   Para efectos de esta Ley, sin perjuicio de lo establecido en otras disposiciones jurídicas aplicables, se
considerará ofendido o víctima a la persona que sea el sujeto pasivo de la conducta delictiva,
independientemente de que se identifique, aprehenda, enjuicie o condene al perpetrador e
independientemente de la relación familiar entre el perpetrador y la víctima.

    Al ofendido, víctima o testigo de un delito a quien se autorice la condición de estancia de Visitante por
Razones Humanitarias, se le autorizará para permanecer en el país hasta que concluya el proceso, al
término del cual deberán salir del país o solicitar una nueva condición de estancia, con derecho a entrar y
salir del país cuantas veces lo desee y con permiso para trabajar a cambio de una remuneración en el
país. Posteriormente, podrá solicitar la condición de estancia de residente permanente;

   b) Ser niña, niño o adolescente migrante, en términos del artículo 74 de esta Ley.

   La autorización de la condición de estancia por razones humanitarias deberá ser inmediata y no podrá
negarse o condicionarse a la presentación de documental alguna ni al pago de derechos.




                                                                 20 de 67
                                                                                             Haiti AR_001449
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 146 of 382

                                                                                          LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                     Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   Esta condición de estancia se otorgará como medida de carácter temporal en tanto la Procuraduría de
Protección determina el plan de restitución de derechos en los términos establecidos en la Ley General
de los Derechos de Niñas, Niños y Adolescentes.

   La expedición del documento migratorio con dicha autorización deberá contener la CURP que la
autoridad competente hubiera asignado y señalar expresamente la razón humanitaria de que se trata.

   En el caso de niñas, niños y adolescentes acompañados y separados, la autorización de esta
condición de estancia beneficiará de manera solidaria a la persona adulta a cargo de su cuidado.

   El Instituto podrá negar el otorgamiento de la autorización a aquellas personas adultas de quien la
Procuraduría de Protección hubiera determinado ser contrarios al interés superior de la niña, niño o
adolescente de quien se trate.
                                                                                 Inciso reformado DOF 11-11-2020

    c) Ser solicitante de asilo político, de reconocimiento de la condición de refugiado o de protección
complementaria del Estado Mexicano, hasta en tanto no se resuelva su situación migratoria. Si la
solicitud es positiva se les otorgará la condición de estancia de residente permanente, en términos del
artículo 54 de esta Ley.

    También la Secretaría podrá autorizar la condición de estancia de visitante por razones humanitarias a
los extranjeros que no se ubiquen en los supuestos anteriores, cuando exista una causa humanitaria o de
interés público que haga necesaria su internación o regularización en el país, en cuyo caso contarán con
permiso para trabajar a cambio de una remuneración.

    VI. VISITANTE CON FINES DE ADOPCIÓN. Autoriza al extranjero vinculado con un proceso de
adopción en los Estados Unidos Mexicanos, a permanecer en el país hasta en tanto se dicte la resolución
ejecutoriada y en su caso, se inscriba en el registro civil la nueva acta del niño, niña o adolescente
adoptado, así como se expida el pasaporte respectivo y todos los trámites necesarios para garantizar la
salida del niño, niña o adolescente del país. La expedición de esta autorización solo procederá respecto
de ciudadanos de países con los que los Estados Unidos Mexicanos haya suscrito algún convenio en la
materia.

   VII. RESIDENTE TEMPORAL. Autoriza al extranjero para permanecer en el país por un tiempo no
mayor a cuatro años, con la posibilidad de obtener un permiso para trabajar a cambio de una
remuneración en el país, sujeto a una oferta de empleo con derecho a entrar y salir del territorio nacional
cuantas veces lo desee y con derecho a la preservación de la unidad familiar por lo que podrá ingresar
con o solicitar posteriormente la internación de las personas que se señalan a continuación, quienes
podrán residir regularmente en territorio nacional por el tiempo que dure el permiso del residente
temporal:

   a) Hijos del residente temporal y los hijos del cónyuge, concubinario o concubina, siempre y cuando
sean niñas, niños y adolescentes y no hayan contraído matrimonio, o se encuentren bajo su tutela o
custodia;

   b) Cónyuge;

   c) Concubinario, concubina o figura equivalente, acreditando dicha situación jurídica conforme a los
supuestos que señala la legislación mexicana, y

   d) Padre o madre del residente temporal.




                                                                 21 de 67
                                                                                          Haiti AR_001450
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 147 of 382

                                                                                          LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                      Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




    Las personas a que se refieren los incisos anteriores serán autorizados para residir regularmente en
territorio nacional bajo la condición de estancia de residente temporal, con la posibilidad de obtener un
permiso para trabajar a cambio de una remuneración en el país sujeto a una oferta de empleo, y con
derecho a entrar y salir del territorio nacional cuantas veces lo deseen.

    En el caso de que el residente temporal cuente con una oferta de empleo, se le otorgará permiso para
trabajar a cambio de una remuneración en el país, en la actividad relacionada con dicha oferta de
empleo.

    Los extranjeros a quienes se les otorgue la condición de estancia de residentes temporales podrán
introducir sus bienes muebles, en la forma y términos que determine la legislación aplicable.

    VIII. RESIDENTE TEMPORAL ESTUDIANTE. Autoriza al extranjero para permanecer en el territorio
nacional por el tiempo que duren los cursos, estudios, proyectos de investigación o formación que
acredite que va a realizar en instituciones educativas pertenecientes al sistema educativo nacional, hasta
la obtención del certificado, constancia, diploma, título o grado académico correspondiente, con derecho
a entrar y salir del territorio nacional cuantas veces lo desee, con permiso para realizar actividades
remuneradas cuando se trate de estudios de nivel superior, posgrado e investigación.

    La autorización de estancia de los estudiantes está sujeta a la presentación por parte del extranjero de
la carta de invitación o de aceptación de la institución educativa correspondiente y deberá renovarse
anualmente, para lo cual el extranjero acreditará que subsisten las condiciones requeridas para la
expedición de la autorización inicial. La autorización para realizar actividades remuneradas se otorgará
por el Instituto cuando exista carta de conformidad de la institución educativa correspondiente y estará
sujeta a una oferta de trabajo en actividades relacionadas con la materia de sus estudios. El residente
temporal estudiante tendrá derecho a entrar y salir del territorio nacional cuantas veces lo desee y
contará también con el derecho a la preservación de la unidad familiar, por lo que podrá ingresar con o
solicitar posteriormente el ingreso de las personas que se señalan en la fracción anterior.

  IX. RESIDENTE PERMANENTE. Autoriza al extranjero para permanecer en el territorio nacional de
manera indefinida, con permiso para trabajar a cambio de una remuneración en el país.

   Artículo 53. Los visitantes, con excepción de aquéllos por razones humanitarias y de quienes tengan
vínculo con mexicano o con extranjero con residencia regular en México, no podrán cambiar de condición
de estancia y tendrán que salir del país al concluir el período de permanencia autorizado.

   Artículo 54. Se otorgará la condición de residente permanente al extranjero que se ubique en
cualquiera de los siguientes supuestos:

   I. Por razones de asilo político, reconocimiento de la condición de refugiado y protección
complementaria o por la determinación de apátrida, previo cumplimiento de los requisitos establecidos en
esta Ley, su Reglamento y demás disposiciones jurídicas aplicables;

   II. Por el derecho a la preservación de la unidad familiar en los supuestos del artículo 55 de esta Ley;

    III. Que sean jubilados o pensionados que perciban de un gobierno extranjero o de organismos
internacionales o de empresas particulares por servicios prestados en el exterior, un ingreso que les
permita vivir en el país;

   IV. Por decisión del Instituto, conforme al sistema de puntos que al efecto se establezca, en términos
del artículo 57 de esta Ley;




                                                                 22 de 67
                                                                                           Haiti AR_001451
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 148 of 382

                                                                                          LEY DE MIGRACIÓN
                CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                     Última Reforma DOF 29-04-2022
                Secretaría General
                Secretaría de Servicios Parlamentarios




   V. Porque hayan transcurrido cuatro años desde que el extranjero cuenta con un permiso de
residencia temporal;

   VI. Por tener hijos de nacionalidad mexicana por nacimiento, y

   VII. Por ser ascendiente o descendiente en línea recta hasta el segundo grado de un mexicano por
nacimiento.

    Los extranjeros a quienes se les otorgue la condición de estancia de residentes permanentes tendrán
la posibilidad de obtener un permiso para trabajar a cambio de una remuneración en el país sujeto a una
oferta de empleo, y con derecho a entrar y salir del territorio nacional cuantas veces lo deseen.

   Asimismo, los residentes permanentes podrán introducir sus bienes muebles, en la forma y términos
que determine la legislación aplicable.

   Las cuestiones relacionadas con el reconocimiento de la condición de refugiado, el otorgamiento de la
protección complementaria y la determinación de apátrida, se regirán por lo dispuesto en los tratados y
convenios internacionales de los cuales sea parte el Estado mexicano y demás leyes aplicables.

    Artículo 55. Los residentes permanentes tendrán derecho a la preservación de la unidad familiar por
lo que podrán ingresar con o solicitar posteriormente el ingreso de las siguientes personas, mismas que
podrán residir en territorio nacional bajo la misma condición de estancia y con las prerrogativas señaladas
en el artículo anterior:

   I.     Padre o madre del residente permanente;

   II.    Cónyuge, al cual se le concederá la condición de estancia de residente temporal por dos años,
          transcurridos los cuales podrá obtener la condición de estancia de residente permanente,
          siempre y cuando subsista el vínculo matrimonial;

   III.   Concubinario, concubina, o figura equivalente al cual se le concederá la condición de estancia de
          residente temporal por dos años, transcurridos los cuales podrá obtener la condición de estancia
          de residente permanente, siempre y cuando subsista el concubinato;

   IV. Hijos del residente permanente y los hijos del cónyuge o concubinario o concubina, siempre y
       cuando sean niñas, niños y adolescentes y no hayan contraído matrimonio, o se encuentren bajo
       su tutela o custodia, y

   V.     Hermanos del residente permanente, siempre y cuando sean niñas, niños y adolescentes y no
          hayan contraído matrimonio, o estén bajo su representación legal.

    Para el ejercicio del derecho consagrado en el presente artículo de las personas que se les otorgue
asilo político u obtengan el reconocimiento de la condición de refugiado, se atenderá a lo dispuesto en los
tratados internacionales de los que el Estado Mexicano sea parte y demás legislación aplicable.
                                                                                Párrafo reformado DOF 30-10-2014

   Artículo 56. Los mexicanos tendrán el derecho a la preservación de la unidad familiar por lo que
podrán ingresar con o solicitar posteriormente el ingreso de las siguientes personas extranjeras:

   I. Padre o madre;




                                                                  23 de 67
                                                                                           Haiti AR_001452
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 149 of 382

                                                                                           LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                       Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




    II. Cónyuge, al cual se le concederá la condición de estancia de residente temporal por dos años,
transcurridos los cuales podrá obtener la condición de estancia de residente permanente, siempre y
cuando subsista el vínculo matrimonial;

   III. Concubinario o concubina, acreditando dicha situación jurídica conforme a los supuestos que
señala la legislación civil mexicana, al cual se le concederá la condición de estancia de residente
temporal por dos años, transcurridos los cuales podrá obtener la condición de estancia de residente
permanente, siempre y cuando subsista el concubinato;

   IV. Hijos nacidos en el extranjero, cuando de conformidad con el artículo 30 de la Constitución no
sean mexicanos;

   V. Hijos del cónyuge, concubinario o concubina extranjeros, siempre y cuando sean niñas, niños y
adolescentes y no hayan contraído matrimonio, o estén bajo su representación legal, y

   VI. Hermanos, siempre y cuando sean niñas, niños y adolescentes y no hayan contraído matrimonio, o
estén bajo su representación legal.

   Artículo 57. La Secretaría, podrá establecer mediante disposiciones administrativas de carácter
general que se publicarán en el Diario Oficial de la Federación, un sistema de puntos para que los
extranjeros puedan adquirir la residencia permanente sin cumplir con los cuatro años de residencia
previa. Los extranjeros que ingresen a territorio nacional por la vía del sistema de puntos contarán con
permiso de trabajo y tendrán derecho a la preservación de la unidad familiar por lo que podrán ingresar
con o solicitar posteriormente el ingreso de las personas señaladas en el artículo 55 de esta Ley.

   La Secretaría a través del Sistema de Puntos, permitirá a los extranjeros adquirir la residencia
permanente en el país. Dicho sistema deberá considerar como mínimo lo siguiente:

    I. Los criterios para el ingreso por la vía del sistema de puntos, tomando en cuenta lo establecido en el
artículo 18, fracción II de esta Ley para el establecimiento de cuotas para el ingreso de extranjeros al
territorio nacional;

   II. Las capacidades del solicitante tomando en cuenta entre otros aspectos el nivel educativo; la
experiencia laboral; las aptitudes en áreas relacionadas con el desarrollo de la ciencia y la tecnología; los
reconocimientos internacionales, así como las aptitudes para desarrollar actividades que requiera el país,
y

   III. El procedimiento para solicitar el ingreso por dicha vía.

    Artículo 58. Los extranjeros tienen derecho a que las autoridades migratorias les expidan la
documentación que acredite su situación migratoria regular una vez cubiertos los requisitos establecidos
en esta Ley y su Reglamento. Cuando la documentación que expidan las autoridades migratorias no
contenga fotografía, el extranjero deberá exhibir adicionalmente su pasaporte o documento de identidad y
viaje vigente.

    Artículo 59. Los residentes temporales y permanentes, con excepción de aquellos que soliciten asilo
político, reconocimiento de la condición de refugiado o determinación de apátridas, tendrán un plazo de
treinta días naturales contados a partir de su ingreso a territorio nacional, para gestionar ante el Instituto
la tarjeta de residencia correspondiente, misma que permanecerá vigente por el tiempo que se haya
autorizado la estancia. Con esta tarjeta acreditarán su situación migratoria regular en territorio nacional
mientras esté vigente.




                                                                 24 de 67
                                                                                            Haiti AR_001453
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 150 of 382

                                                                                          LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                      Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   Los solicitantes de asilo político, reconocimiento de la condición de refugiado, que sean determinados
como apátridas o que se les otorgue protección complementaria, obtendrán su tarjeta de residencia
permanente a la conclusión del procedimiento correspondiente.

   Obtenida la tarjeta de residencia, los residentes temporales y permanentes tendrán derecho a obtener
de la Secretaría la Clave Única de Registro de Población.

   Los requisitos y procedimientos para obtener la tarjeta de residencia correspondiente serán
establecidos en el Reglamento.

   Artículo 60. Los extranjeros independientemente de su condición de estancia, por sí o mediante
apoderado, podrán, sin que para ello requieran permiso del Instituto, adquirir valores de renta fija o
variable y realizar depósitos bancarios, así como adquirir bienes inmuebles urbanos y derechos reales
sobre los mismos, con las restricciones señaladas en el artículo 27 de la Constitución y demás
disposiciones aplicables.

   Artículo 61. Ningún extranjero podrá tener dos condiciones de estancia simultáneamente.

   Artículo 62. Los extranjeros a quienes se autorice la condición de estancia de residentes temporales
podrán solicitar al Instituto que autorice el cambio de su condición de estancia, previo cumplimiento de los
requisitos establecidos en el Reglamento.

   Artículo 63. El Registro Nacional de Extranjeros, se integra por la información relativa a todos
aquellos extranjeros que adquieren la condición de estancia de residente temporal o de residente
permanente.

   Los extranjeros tendrán la obligación de comunicar al Instituto de cualquier cambio de estado civil,
cambio de nacionalidad por una diversa a la cual ingresó, domicilio o lugar de trabajo dentro de los
noventa días posteriores a que ocurra dicho cambio.

   Artículo 64. El Instituto deberá cancelar la condición de residente temporal o permanente, por las
siguientes causas:

   I. Manifestación del extranjero de que su salida es definitiva;

   II. Autorización al extranjero de otra condición de estancia;

   III. Proporcionar información falsa o exhibir ante el Instituto documentación oficial apócrifa o legítima
pero que haya sido obtenida de manera fraudulenta;

   IV. Perder el extranjero su condición de estancia por las demás causas establecidas en esta Ley;

   V. Perder el extranjero el reconocimiento de su condición de refugiado o protección complementaria,
de conformidad con las disposiciones jurídicas que resulten aplicables, y

   VI. Cuando derivado de sus antecedentes en México o en el extranjero se comprometa la seguridad
nacional o la seguridad pública.
                                                                               Fracción reformada DOF 07-01-2021

    Artículo 65. Los extranjeros deberán acreditar su situación migratoria regular en el país, en los actos
jurídicos en los que se requiera de la intervención de los notarios públicos, los que sustituyan a éstos o
hagan sus veces, en lo relativo a cuestiones inmobiliarias, y los corredores de comercio.




                                                                 25 de 67
                                                                                           Haiti AR_001454
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 151 of 382

                                                                                             LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                       Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




  De conformidad con lo dispuesto en el artículo 27 de la Constitución, la Ley de Inversión Extranjera y
demás leyes y disposiciones aplicables, los extranjeros deberán formular las renuncias correspondientes.

                               TÍTULO QUINTO
     DE LA PROTECCIÓN A LOS MIGRANTES QUE TRANSITAN POR EL TERRITORIO
                                  NACIONAL

                                                        CAPÍTULO ÚNICO
                                                   DISPOSICIONES GENERALES

    Artículo 66. La situación migratoria de un migrante no impedirá el ejercicio de sus derechos y
libertades reconocidos en la Constitución, en los tratados y convenios internacionales de los cuales sea
parte el Estado mexicano, así como en la presente Ley.

   El Estado mexicano garantizará el derecho a la seguridad personal de los migrantes, con
independencia de su situación migratoria.

   Artículo 67. Todos los migrantes en situación migratoria irregular tienen derecho a ser tratados sin
discriminación alguna y con el debido respeto a sus derechos humanos.

   Artículo 68. La presentación de los migrantes en situación migratoria irregular sólo puede realizarse
por el Instituto en los casos previstos en esta Ley; deberá constar en actas y no podrá exceder del
término de 36 horas contadas a partir de su puesta a disposición.

    Durante el procedimiento administrativo migratorio que incluye la presentación, el alojamiento en las
estaciones migratorias o en los Centros de Asistencia Social para el caso de niñas, niños y adolescentes
migrantes, el retorno asistido y la deportación, los servidores públicos del Instituto deberán de respetar
los derechos reconocidos a los migrantes en situación migratoria irregular establecidos en el Título Sexto
de la presente Ley.
                                                                                 Párrafo reformado DOF 11-11-2020

   Artículo 69. Los migrantes que se encuentren en situación migratoria irregular en el país tendrán
derecho a que las autoridades migratorias, al momento de su presentación, les proporcionen información
acerca de:

   I. Sus derechos y garantías de acuerdo con lo establecido en la legislación aplicable y en los tratados
y convenios internacionales de los cuales sea parte el Estado mexicano;

   II. El motivo de su presentación;

   III. Los requisitos establecidos para su admisión, sus derechos y obligaciones de acuerdo con lo
establecido por la legislación aplicable;

   IV. La notificación inmediata de su presentación por parte de la autoridad migratoria, al consulado del
país del cual manifiesta ser nacional, excepto en el caso de que el extranjero pudiera acceder al asilo
político o al reconocimiento de la condición de refugiado;

   V. La posibilidad de regularizar su situación migratoria, en términos de lo dispuesto por los artículos
132, 133 y 134 de esta Ley, y

   VI. La posibilidad de constituir garantía en los términos del artículo 102 de esta Ley.




                                                                 26 de 67
                                                                                             Haiti AR_001455
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 152 of 382

                                                                                          LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                      Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   Artículo 70. Todo migrante tiene derecho a ser asistido o representado legalmente por la persona que
designe durante el procedimiento administrativo migratorio. El Instituto podrá celebrar los convenios de
colaboración que se requieran y establecerá facilidades para que las organizaciones de la sociedad civil
ofrezcan servicios de asesoría y representación legal a los migrantes en situación migratoria irregular a
quienes se les haya iniciado un procedimiento administrativo migratorio.

   Durante el procedimiento administrativo migratorio los migrantes tendrán derecho al debido proceso
que consiste en que el procedimiento sea sustanciado por autoridad competente; el derecho a ofrecer
pruebas y alegar lo que a su derecho convenga, a tener acceso a las constancias del expediente
administrativo migratorio; a contar con un traductor o intérprete para facilitar la comunicación, en caso de
que no hable o no entienda el español y a que las resoluciones de la autoridad estén debidamente
fundadas y motivadas.

   Artículo 71. La Secretaría creará grupos de protección a migrantes que se encuentren en territorio
nacional, los que tendrán por objeto la promoción, protección y defensa de sus derechos, con
independencia de su nacionalidad o situación migratoria.

   La Secretaría celebrará convenios de colaboración y concertación con las dependencias y entidades
de la Administración Pública Federal, de las entidades federativas o municipios, con las organizaciones
de la sociedad civil o con los particulares, con el objeto de que participen en la instalación y
funcionamiento de los grupos de protección a migrantes.

   En el caso de niñas, niños y adolescentes migrantes los convenios deberán regirse por lo establecido
en la presente Ley, la Ley General de los Derechos de Niñas, Niños y Adolescentes y demás
disposiciones aplicables.
                                                                                Artículo reformado DOF 11-11-2020

   Artículo 72. La Secretaría celebrará convenios con las dependencias y entidades del Gobierno
Federal, de las entidades federativas y de los municipios para implementar acciones tendientes a
coadyuvar con los actos humanitarios, de asistencia o de protección a los migrantes que realizan las
organizaciones de la sociedad civil legalmente constituidas.

   Artículo 73. La Secretaría deberá implementar acciones que permitan brindar una atención adecuada
a los migrantes que por diferentes factores o la combinación de ellos, enfrentan situaciones de
vulnerabilidad como son las niñas, niños y adolescentes, las mujeres, las víctimas de delitos, las
personas con discapacidad y las adultas mayores.

   Para tal efecto, la Secretaría podrá establecer convenios de coordinación con dependencias y
entidades de la Administración Pública Federal, de las entidades federativas, municipios o
demarcaciones territoriales y con las organizaciones de la sociedad civil especializadas en la atención de
personas en situación de vulnerabilidad.

   En el caso de las niñas, niños y adolescentes migrantes, la atención diferenciada se prestará con
independencia de su situación migratoria, y no podrá condicionarse o restringirse al inicio, suspensión o
continuidad de trámite administrativo o judicial alguno. Dicha atención deberá prestarse de conformidad
con lo dispuesto en la Ley General de los Derechos de Niñas, Niños y Adolescentes, su Reglamento y
demás disposiciones aplicables.
                                                                                Artículo reformado DOF 11-11-2020

   Artículo 74. En tanto la Procuraduría de Protección determina el interés superior de la niña, niño o
adolescente y presenta al Instituto el Plan de Restitución de Derechos, toda niña, niño o adolescente será
documentada como Visitante por Razones Humanitarias, en términos del artículo 52, fracción V, de esta




                                                                 27 de 67
                                                                                           Haiti AR_001456
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 153 of 382

                                                                                           LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                       Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




Ley y recibirá protección conforme a lo establecido por la Ley General de los Derechos de Niñas, Niños y
Adolescentes, su reglamento y demás disposiciones aplicables.

   La vigencia de esta autorización se extenderá hasta que se concrete el acto administrativo migratorio
que dicten las medidas de protección especial.

   En ningún caso la autoridad migratoria podrá devolver, expulsar, deportar, retornar, rechazar en
frontera o no admitir a una niña, niño o adolescente sin que antes la autoridad competente valore si su
vida, libertad o seguridad se encuentra en peligro. Para ello, la autoridad migratoria en contacto con la
niña, niño o adolescente deberá notificarle a la Procuraduría de Protección de manera inmediata.
                                                                                 Artículo reformado DOF 11-11-2020

    Artículo 75. La Secretaría celebrará convenios de colaboración con dependencias y entidades del
Gobierno Federal, de las entidades federativas y de los municipios para el efecto de establecer acciones
de coordinación en materia de prevención, persecución, combate y atención a los migrantes que son
víctimas del delito.

   Artículo 76. El Instituto no podrá realizar visitas de verificación migratoria en los lugares donde se
encuentre migrantes albergados por organizaciones de la sociedad civil o personas que realicen actos
humanitarios, de asistencia o de protección a los migrantes.

                                       TÍTULO SEXTO
                        DEL PROCEDIMIENTO ADMINISTRATIVO MIGRATORIO

                                CAPÍTULO I
       DISPOSICIONES COMUNES EN MATERIA DE VERIFICACIÓN Y REGULACIÓN
                                MIGRATORIA

   Artículo 77. El procedimiento administrativo migratorio se regirá por las disposiciones contenidas en
este Título, en el Reglamento y en las disposiciones administrativas de carácter general que emita la
Secretaría, y en forma supletoria por la Ley Federal de Procedimiento Administrativo. Durante su
sustanciación se respetarán plenamente los derechos humanos de los migrantes.

   Artículo 78. Los interesados podrán solicitar copia certificada de las promociones y documentos que
hayan presentado en el procedimiento administrativo migratorio y de las resoluciones que recaigan a
éstos, las que serán entregadas en un plazo no mayor de quince días hábiles.

  Lo anterior sin perjuicio de lo previsto en la Ley Federal de Transparencia y Acceso a la Información
Pública Gubernamental respecto de información reservada y confidencial.

   Artículo 79. El Instituto podrá allegarse de los medios de prueba que considere necesarios para mejor
proveer, sin más limitaciones que las establecidas en esta Ley.

   En el caso de procedimientos en los que esté involucrada directa o indirectamente una niña, niño o
adolescente, el Instituto deberá implementar las medidas migratorias que correspondan para coadyuvar
en el cumplimiento e implementación del plan de restitución de derechos que emita la Procuraduría de
Protección.
                                                                                 Artículo reformado DOF 11-11-2020

   Artículo 80. Al ejercer sus facultades de control, verificación y revisión migratoria, el Instituto deberá
consultar e informar a las autoridades responsables de la Seguridad Nacional sobre la presentación o
identificación de sujetos que tengan vínculos con el terrorismo o la delincuencia organizada, o cualquier



                                                                 28 de 67
                                                                                            Haiti AR_001457
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 154 of 382

                                                                                         LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                     Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




otra actividad que ponga en riesgo la Seguridad Nacional y deberá, adicionalmente, coadyuvar en las
investigaciones que dichas autoridades le requieran.

                                                          CAPÍTULO II
                                                    DEL CONTROL MIGRATORIO

    Artículo 81. Son acciones de control migratorio, la revisión de documentación de personas que
pretendan internarse o salir del país, así como la inspección de los medios de transporte utilizados para
tales fines. En dichas acciones, la Policía Federal actuará en auxilio y coordinación con el Instituto.

   El Instituto podrá llevar a cabo sus funciones de control migratorio en lugares distintos a los
destinados al tránsito internacional de personas por mar y aire, a solicitud expresa debidamente fundada
y motivada de la Secretaría de Comunicaciones y Transportes.

   Artículo 82. El personal del Instituto tiene prioridad, con excepción del servicio de sanidad, para
inspeccionar la entrada o salida de personas en cualquier forma que lo hagan, ya sea en medios de
transportes nacionales o extranjeros, marítimos, aéreos o terrestres, en los puertos, fronteras y
aeropuertos.

   Artículo 83. Ningún pasajero o tripulante de transporte marítimo podrá desembarcar antes de que el
Instituto efectúe la inspección correspondiente.

   Artículo 84. Ningún transporte aéreo o marítimo en tránsito internacional podrá salir de aeropuertos o
puertos, antes de que se realice la inspección de salida por el Instituto y de haberse recibido de éstas la
autorización para su despacho.

    Artículo 85. Quedan exceptuadas de la inspección, las aeronaves oficiales de gobiernos extranjeros y
las de organismos internacionales que se internen en el país en comisión oficial, así como los
funcionarios de dichos gobiernos u organismos, sus familias y empleados, y aquellas personas que se
encuentren a bordo de dichas aeronaves y que, conforme a las leyes, tratados y convenios
internacionales de los cuales sea parte el Estado mexicano, gocen de inmunidades.

   De acuerdo con la costumbre internacional, a los funcionarios de gobiernos extranjeros y de
organismos internacionales en comisión oficial se les darán las facilidades necesarias para internarse al
país, cumpliendo con los requisitos de control migratorio.

   Artículo 86. El extranjero cuya internación sea rechazada por el Instituto por no cumplir con los
requisitos establecidos en el artículo 37 de la presente Ley, deberá abandonar el país por cuenta de la
empresa que lo transportó, sin perjuicio de las sanciones que correspondan de acuerdo con esta Ley.

     El rechazo a que se refiere el párrafo anterior, es la determinación adoptada por el Instituto en los
filtros de revisión migratoria ubicados en los lugares destinados al tránsito internacional de personas por
tierra, mar y aire, por la que se niega la internación regular de una persona a territorio nacional por no
cumplir con los requisitos que establecen esta Ley, su Reglamento y demás disposiciones jurídicas
aplicables.

   En el caso de transporte marítimo, cuando se determine el rechazo del extranjero, no se autorizará su
desembarco. Cuando exista imposibilidad material de salida de la embarcación de territorio nacional, el
extranjero será presentado y se procederá a su inmediata salida del país con cargo a la empresa naviera.




                                                                 29 de 67
                                                                                          Haiti AR_001458
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 155 of 382

                                                                                           LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                       Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   Artículo 87. Cuando las autoridades migratorias adviertan alguna irregularidad en la documentación
que presente una persona que se pretenda internar al territorio nacional, o no satisfaga los requisitos
exigidos en esta Ley o tenga algún impedimento legal, se procederá a efectuar una segunda revisión.

   Artículo 88. En el caso de que el Instituto determine el rechazo del extranjero, se levantará
constancia por escrito en la que se funde y motive la causa de inadmisibilidad al país de la persona de
que se trate.

   Artículo 89. Los lugares destinados al tránsito internacional de personas por tierra, mar y aire deberán
contar con espacios adecuados para la estancia temporal de éstas en tanto se autoriza su ingreso, o
bien, se resuelve el rechazo a que hubiere lugar, conforme a las disposiciones jurídicas aplicables.

   Artículo 90. No se permitirá la visita a ningún transporte marítimo en tránsito internacional sin la
autorización previa de las autoridades sanitarias y del personal del Instituto.

   Artículo 91. Las empresas de transporte responderán pecuniariamente de las violaciones que a la
presente Ley y su Reglamento cometan sus empleados, agentes o representantes, sin perjuicio de la
responsabilidad directa en que incurran éstos.

                                                       CAPÍTULO III
                                             DE LA VERIFICACIÓN MIGRATORIA

   Artículo 92. El Instituto realizará visitas de verificación para comprobar que los extranjeros que se
encuentren en territorio nacional cumplan con las obligaciones previstas en esta Ley y su Reglamento.

   Los supuestos para que el Instituto lleve a cabo una visita de verificación son los siguientes:

   I. Confirmar la veracidad de los datos proporcionados en trámites migratorios;

   II. Cuando se advierta que ha expirado la vigencia de estancia de extranjeros en el país, y

   III. Para la obtención de elementos necesarios para la aplicación de esta Ley, su Reglamento y demás
disposiciones jurídicas aplicables, siempre que funde y motive su proceder.

   La facultad para realizar visitas de verificación se ejercitará de oficio por tratarse de cuestiones de
orden público.

    La orden por la que se disponga la verificación migratoria deberá ser expedida por el Instituto y
precisar el responsable de la diligencia y el personal asignado para la realización de la misma, el lugar o
zona que ha de verificarse, el objeto de la verificación, el alcance que deba tener y las disposiciones
jurídicas aplicables que la fundamenten y la motiven.

    Artículo 93. El Instituto solicitará información al Ministerio Público sobre las denuncias formuladas en
contra de los extranjeros por la presunta comisión de los delitos, solo para efectos de control, verificación
o revisión migratoria.

   Cuando los particulares presenten denuncias ante él, deberá informar a los particulares que no es la
autoridad competente para conocer y enviará de forma inmediata al particular ante la autoridad
competente para que presente la denuncia correspondiente.
                                                                                 Artículo reformado DOF 13-04-2020

   Artículo 94. Los extranjeros, cuando sean requeridos por el Instituto deberán comprobar su situación
migratoria regular en el país, en los términos señalados en esta Ley y su Reglamento.


                                                                 30 de 67
                                                                                            Haiti AR_001459
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 156 of 382

                                                                                           LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                      Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   Artículo 95. Si con motivo de la visita de verificación se detecta que algún extranjero no cuenta con
documentos que acrediten su situación migratoria regular en el país, se pondrá al extranjero a disposición
del Instituto para que resuelva su situación migratoria, en los términos previstos en el Capítulo V del
presente Título.

   Fuera de los casos a que se refiere el párrafo anterior, el acta que al efecto se levante deberá
contener los datos necesarios para que se proceda a citar al extranjero para continuar el procedimiento
de que se trate.

    En caso de detectar niñas, niños o adolescentes migrantes, la autoridad migratoria deberá, en
coadyuvancia, notificar inmediatamente a la Procuraduría de Protección y hacer la canalización al
Sistema DIF correspondiente. En ningún caso se llevará a cabo la presentación de una niña, niño o
adolescente ni se iniciará el Procedimiento Administrativo Migratorio previo a dicha notificación. El
Instituto emitirá un acta de canalización en la que conste la notificación a la Procuraduría de Protección y
la canalización de la niña, niño o adolescente al Sistema DIF.
                                                                                Párrafo adicionado DOF 11-11-2020

   La presentación de la persona extranjera a cuyo cuidado se encuentren niñas, niños o adolescentes
presentes durante la verificación, se pospondrá hasta el momento en que se apersone la Procuraduría de
Protección y se levante el correspondiente oficio de canalización del caso de las niñas, niños o
adolescentes de que se trate a la Procuraduría.
                                                                                Párrafo adicionado DOF 11-11-2020

    Si de la visita de verificación se determina la presentación de una persona extranjera y ésta manifiesta
la existencia de niñas, niños o adolescentes a su cargo, quienes derivado de la presentación de la
persona ante el Instituto, pudieran quedar en desamparo, las autoridades migratorias deberán tomar toda
la información conducente y notificar inmediatamente a la Procuraduría de Protección para que proceda
de conformidad con la Ley General de los Derechos de Niñas, Niños y Adolescentes.
                                                                                Párrafo adicionado DOF 11-11-2020

   Artículo 96. Las autoridades colaborarán con el Instituto para el ejercicio de sus funciones, cuando
éste así lo solicite, sin que ello implique que puedan realizar de forma independiente funciones de control,
verificación y revisión migratoria.

                                                          CAPÍTULO IV
                                                   DE LA REVISIÓN MIGRATORIA

   Artículo 97. Además de los lugares destinados al tránsito internacional de personas establecidos, el
Instituto podrá llevar a cabo revisiones de carácter migratorio dentro del territorio nacional a efecto de
comprobar la situación migratoria de los extranjeros.

   La orden por la que se disponga la revisión migratoria deberá estar fundada y motivada; ser expedida
por el Instituto y precisar el responsable de la diligencia y el personal asignado para la realización de la
misma; la duración de la revisión y la zona geográfica o el lugar en el que se efectuará.

    Artículo 98. Si con motivo de la revisión migratoria se detecta que algún extranjero no cuenta con
documentos que acrediten su situación migratoria regular en el país, se procederá en los términos del
artículo 100 de esta Ley.

   En caso de detectar niñas, niños o adolescentes migrantes, la autoridad migratoria deberá, en
coadyuvancia, notificar inmediatamente a la Procuraduría de Protección y hacer la canalización al
Sistema DIF correspondiente. En ningún caso se llevará a cabo la presentación de una niña, niño o



                                                                 31 de 67
                                                                                            Haiti AR_001460
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 157 of 382

                                                                                           LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                       Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




adolescente ni se iniciará el Procedimiento Administrativo Migratorio previo a dicha notificación. El
Instituto emitirá un acta de canalización en la que conste la notificación a la Procuraduría de Protección y
la canalización de la niña, niño o adolescente al Sistema DIF.

   La presentación de la persona extranjera a cuyo cuidado se encuentren niñas, niños o adolescentes
presentes durante la revisión migratoria, se pospondrá hasta el momento en que se apersone la
Procuraduría de Protección y se levante el correspondiente oficio de canalización del caso de las niñas,
niños o adolescentes de que se trate a la Procuraduría.

    Si de la revisión migratoria se determina la presentación de una persona extranjera y ésta manifiesta
la existencia de niñas, niños o adolescentes a su cargo, quienes derivado de la presentación de la
persona ante el Instituto, pudieran quedar en desamparo, las autoridades migratorias deberán tomar toda
la información conducente y notificar inmediatamente a la Procuraduría de Protección para que proceda
de conformidad con la Ley General de los Derechos de Niñas, Niños y Adolescentes.
                                                                                 Artículo reformado DOF 11-11-2020

                                                 CAPÍTULO V
                                     DE LA PRESENTACIÓN DE EXTRANJEROS

   Artículo 99. Es de orden público la presentación de los extranjeros adultos en estaciones migratorias
o en lugares habilitados para ello, en tanto se determina su situación migratoria en territorio nacional.

    La presentación de extranjeros es la medida dictada por el Instituto mediante la cual se acuerda el
alojamiento temporal de un extranjero adulto que no acredita su situación migratoria para la
regularización de su estancia o la asistencia para el retorno.

   En ningún caso, el Instituto presentará ni alojará a niñas, niños o adolescentes migrantes en
estaciones migratorias ni en lugares habilitados para ello.

   La presentación de las personas adultas bajo cuyo cuidado estén niñas, niños o adolescentes
migrantes deberá evitarse atendiendo al principio de unidad familiar y del interés superior de niñas, niños
y adolescentes.
                                                                                 Artículo reformado DOF 11-11-2020

   Artículo 100. Cuando un extranjero sea puesto a disposición del Instituto, derivado de diligencias de
verificación o revisión migratoria, y se actualice alguno de los supuestos previstos en el artículo 144 de la
presente Ley, se emitirá el acuerdo de presentación correspondiente dentro de las veinticuatro horas
siguientes a la puesta a disposición.

    Artículo 101. Una vez emitido el acuerdo de presentación, y hasta que no se dicte resolución
respecto de la situación migratoria del extranjero, en los casos y de conformidad con los requisitos que se
señalen en el Reglamento, el extranjero podrá ser entregado en custodia a la representación diplomática
del país del que sea nacional, o bien a persona moral o institución de reconocida solvencia cuyo objeto
esté vinculado con la protección a los derechos humanos, con la obligación del extranjero de permanecer
en un domicilio ubicado en la circunscripción territorial en donde se encuentre la estación migratoria, con
el objeto de dar debido seguimiento al procedimiento administrativo migratorio.

   Artículo 102. El extranjero sometido a un procedimiento administrativo, a fin de lograr su estancia
regular en el país, en lo que se dicta resolución definitiva, podrá:

   a) Otorgar garantía suficiente y a satisfacción de la autoridad;

   b) Establecer domicilio o lugar en el que permanecerá;



                                                                 32 de 67
                                                                                            Haiti AR_001461
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 158 of 382

                                                                                          LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                      Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   c) No ausentarse del mismo sin previa autorización de la autoridad, y

   d) Presentar una solicitud con responsiva firmada por un ciudadano u organización social mexicana.

   La garantía podrá constituirse en póliza de fianza, billete de depósito o por cualquier otro medio
permitido por la ley.

    Artículo 103. Las autoridades judiciales deberán dar a conocer al Instituto la filiación del extranjero
que se encuentre sujeto a providencias precautorias o medidas cautelares, o bien, que cuente con una
orden de presentación, orden de aprehensión o auto de vinculación a proceso, en el momento en que se
dicten, informando del delito del que sean presuntos responsables.

   En el caso del auto de vinculación a proceso y la sentencia firme condenatoria o absolutoria, deberán
notificarlo al Instituto, dentro de las veinticuatro horas siguientes a que ésta se dicte.

   Artículo 104. Una vez que se haya cumplimentado la sentencia a que se refiere el artículo anterior, la
autoridad judicial o administrativa competente de inmediato pondrá al extranjero con el certificado médico
que haga constar su estado físico, a disposición del Instituto para que se resuelva su situación migratoria,
en los términos previstos en el Capítulo V del presente Título.

   Artículo 105. En los traslados de extranjeros presentados o en proceso de retorno voluntario, el
Instituto podrá solicitar el apoyo de la Policía Federal de conformidad con el artículo 96 de esta Ley y
demás disposiciones jurídicas aplicables.

                               CAPÍTULO VI
      DE LOS DERECHOS DE LOS ALOJADOS EN LAS ESTACIONES MIGRATORIAS

   Artículo 106. Para la presentación de migrantes, el Instituto establecerá estaciones migratorias o
habilitará estancias provisionales en los lugares de la República que estime convenientes.

   No se alojará a un número de migrantes que supere la capacidad física de la estación migratoria
asignada. En ningún caso se podrán habilitar como estaciones migratorias los centros de
encarcelamiento, de reclusión preventiva o de ejecución de sentencias, o cualquier otro inmueble que no
cumpla con las características, ni preste los servicios descritos en el artículo siguiente.

   Artículo 107. Las estaciones migratorias, deberán cumplir al menos los siguientes requisitos:

   I. Prestar servicios de asistencia médica, psicológica y jurídica;

    II. Atender los requerimientos alimentarios del extranjero presentado, ofreciéndole tres alimentos al
día. El Instituto deberá supervisar que la calidad de los alimentos sea adecuada. Las personas con
necesidades especiales de nutrición, como personas de la tercera edad y mujeres embarazadas,
recibirán una dieta adecuada, con el fin de que su salud no se vea afectada en tanto se define su
situación migratoria.
                                                                                Párrafo reformado DOF 11-11-2020

   Asimismo, cuando así lo requiera el tratamiento médico que se haya; prescrito al alojado, se
autorizarán dietas especiales de alimentación. De igual manera se procederá con las personas que por
cuestiones religiosas así lo soliciten;

   III. Mantener en lugares separados y con medidas que aseguran la integridad física de las personas
extranjeras, a hombres y mujeres;


                                                                 33 de 67
                                                                                           Haiti AR_001462
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 159 of 382

                                                                                          LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                      Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




                                                                               Fracción reformada DOF 11-11-2020

   IV. Promover el derecho a la preservación de la unidad familiar;

   V. Garantizar el respeto de los derechos humanos del extranjero presentado;

   VI. Mantener instalaciones adecuadas que eviten el hacinamiento;

   VII. Contar con espacios de recreación deportiva y cultural;

   VIII. Permitir el acceso de representantes legales, o persona de su confianza y la asistencia consular;

    IX. Permitir la visita de las personas que cumplan con los requisitos establecidos en las disposiciones
jurídicas aplicables. En caso de negativa de acceso, ésta deberá entregarse por escrito debidamente
fundado y motivado, y

   X. Las demás que establezca el Reglamento.

    El Instituto facilitará la verificación de la Comisión Nacional de los Derechos Humanos del
cumplimiento de los requisitos señalados en este artículo, y el acceso de organizaciones de la sociedad
civil, conforme a lo dispuesto en las disposiciones jurídicas aplicables.

    Artículo 108. A fin de lograr una convivencia armónica y preservar la seguridad de los extranjeros
alojados en las estaciones migratorias, el orden y la disciplina se mantendrán con apego a las
disposiciones administrativas que emita la Secretaría y respetando en todo momento sus derechos
humanos.

   Artículo 109. Todo presentado, en su caso, tendrá los siguientes derechos desde su ingreso a la
estación migratoria:

   I. Conocer la ubicación de la estación migratoria en la que se encuentra alojado, de las reglas
aplicables y los servicios a los que tendrá acceso;

   II. Ser informado del motivo de su ingreso a la estación migratoria; del procedimiento migratorio; de su
derecho a solicitar el reconocimiento de la condición de refugiado o la determinación de apátrida; del
derecho a regularizar su estancia en términos de los artículos 132, 133 y 134 de la presente ley, en su
caso, de la posibilidad de solicitar voluntariamente el retorno asistido a su país de origen; así como del
derecho de interponer un recurso efectivo contra las resoluciones del Instituto;

   III. Recibir protección de su representación consular y comunicarse con ella. En caso de que el
extranjero desee recibir la protección de su representación consular, se le facilitarán los medios para
comunicarse con ésta lo antes posible;

   IV. Recibir por escrito sus derechos y obligaciones, así como las instancias donde puede presentar
sus denuncias y quejas;

   V. Que el procedimiento sea sustanciado por autoridad competente y el derecho a recibir asesoría
legal, ofrecer pruebas y alegar lo que a su derecho convenga, así como tener acceso a las constancias
del expediente administrativo migratorio;

   VI. Contar con un traductor o intérprete para facilitar la comunicación, en caso de que no hable o no
entienda el español;




                                                                 34 de 67
                                                                                           Haiti AR_001463
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 160 of 382

                                                                                                                    LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                                Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   VII. Acceder a comunicación telefónica;

   VIII. A recibir durante su estancia un espacio digno, alimentos, enseres básicos para su aseo personal
y atención médica en caso de ser necesario;

   IX. Ser visitado por sus familiares y por su representante legal;

    X. Participar en actividades recreativas, educativas y culturales que se organicen dentro de las
instalaciones;

   XI. No ser discriminado por las autoridades a causa de su origen étnico o nacional, sexo, género,
edad, discapacidad, condición social o; económica, estado de salud, embarazo, lengua, religión,
opiniones, preferencias sexuales, estado civil o cualquier otra circunstancia que tenga por objeto impedir
o anular el reconocimiento o el ejercicio de los derechos y la igualdad real de oportunidades de las
personas;

   XII. Recibir un trato digno y humano durante toda su estancia en la Estación Migratoria;

  XIII. Que las Estaciones Migratorias cuenten con áreas de estancia separadas para mujeres y
hombres, garantizando en todo momento el derecho a la preservación de la unidad familiar, y
                                                                                                        Fracción reformada DOF 11-11-2020

   XIV. Las demás que se establezcan en disposiciones de carácter general que expida la Secretaría.
                                                                 Fracción reformada DOF 03-07-2019. Reformada y recorrida DOF 11-11-2020
                                                                      Reforma DOF 11-11-2020: Suprimió del artículo la entonces fracción XIV

   Artículo 110. El personal de seguridad, vigilancia y custodia que realice sus funciones en los
dormitorios de mujeres, será exclusivamente del sexo femenino.

   Artículo 111. El Instituto resolverá la situación migratoria de los extranjeros presentados en un plazo
no mayor de 15 días hábiles, contados a partir de su presentación.
                                                                                                         Párrafo reformado DOF 12-07-2018

   El alojamiento en las estaciones migratorias únicamente podrá exceder de los 15 días hábiles a que
se refiere el párrafo anterior cuando se actualicen cualquiera de los siguientes supuestos:

   I.     Que no exista información fehaciente sobre su identidad y/o nacionalidad, o exista dificultad para
          la obtención de los documentos de identidad y viaje;

   II.    Que los consulados o secciones consulares del país de origen o residencia requieran mayor
          tiempo para la expedición de los documentos de identidad y viaje;

   III.   Que exista impedimento para su tránsito por terceros países u obstáculo para establecer el
          itinerario de viaje al destino final;

   IV.    Que exista enfermedad o discapacidad física o mental médicamente acreditada que imposibilite
          viajar al migrante presentado, y

   V.     Que se haya interpuesto un recurso administrativo o judicial en que se reclamen cuestiones
          inherentes a su situación migratoria en territorio nacional; o se haya interpuesto un juicio de
          amparo y exista una prohibición expresa de la autoridad competente para que el extranjero
          pueda ser trasladado o para que pueda abandonar el país.




                                                                   35 de 67
                                                                                                                     Haiti AR_001464
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 161 of 382

                                                                                            LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                        Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   En los supuestos de las fracciones I, II, III y IV de este artículo el alojamiento de los extranjeros en las
estaciones migratorias no podrá exceder de 60 días hábiles.

   Transcurrido dicho plazo, el Instituto les otorgará la condición de estancia de visitante con permiso
para recibir una remuneración en el país, mientras subsista el supuesto por el que se les otorgó dicha
condición de estancia. Agotado el mismo, el Instituto deberá determinar la situación migratoria del
extranjero.

                                 CAPÍTULO VII
        DEL PROCEDIMIENTO EN LA ATENCIÓN DE PERSONAS EN SITUACIÓN DE
                              VULNERABILIDAD

   Artículo 112. Cuando alguna niña, niño o adolescente sea puesta a disposición del Instituto, quedará
bajo su total responsabilidad en tanto procede la notificación inmediata a la Procuraduría de Protección y
la canalización al Sistema DIF correspondiente, y se deberá garantizar el respeto a sus derechos
humanos, sujetándose particularmente a lo siguiente:

   I. Por lo que respecta a la seguridad y cuidado de niñas, niños y adolescentes, el Instituto deberá
ponerles de inmediato a disposición del Sistema Nacional DIF o su equivalente en las diferentes
entidades federativas, municipios o demarcaciones territoriales y notificar del caso a la Procuraduría de
Protección, para proceder a su gestión conforme a lo establecido en la Ley General de los Derechos de
Niñas, Niños y Adolescentes.

   De manera cautelar, el Instituto reconocerá a toda niña, niño y adolescente migrante la condición de
Visitante por Razones Humanitarias, en los términos establecidos en la presente Ley y su Reglamento.

   El Instituto emitirá un acta de canalización de la niña, niño o adolescente en la que conste la
notificación a la Procuraduría de Protección y la canalización de la niña, niño o adolescente al Sistema
DIF correspondiente;

   II. Por lo que respecta a la determinación y resolución de la situación administrativa migratoria de
niñas, niños y adolescentes, el Instituto deberá iniciar el procedimiento administrativo migratorio previa
notificación a la Procuraduría de Protección para su oportuna intervención;

    III. Será el Instituto quien determine y resuelva el procedimiento administrativo correspondiente,
atendiendo las determinaciones que en ese sentido provea el plan de restitución de derechos emitido por
la Procuraduría de Protección.

   En el caso de que el plan de restitución de derechos que emita la Procuraduría de Protección
recomiende la permanencia de la niña, niño o adolescente, el Instituto lo podrá regularizar bajo los
supuestos establecidos en los artículos 132, 133 y 134 de esta Ley, y tendrá derecho a la preservación
de la unidad familiar.

    En el caso de que el plan de restitución de derechos que emita la Procuraduría de Protección estipule
la posibilidad de que la niña, niño o adolescente salga del país, el Instituto procederá al retorno asistido y
se notificará de esta situación al Consulado correspondiente, con tiempo suficiente para la recepción del
niño, niña o adolescente en su país de nacionalidad o residencia.

   El retorno asistido de la niña, niño o adolescente migrante a su país de nacionalidad o residencia se
realizará atendiendo al interés superior de la niña, niño y adolescente y su situación de vulnerabilidad,
con pleno respeto a sus derechos humanos y con la intervención de la autoridad competente del país de
nacionalidad o residencia.



                                                                 36 de 67
                                                                                             Haiti AR_001465
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 162 of 382

                                                                                                              LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                         Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




    Todo traslado y retorno asistido deberá de hacerse en acompañamiento de personal especializado en
el tema de infancia.

    Tratándose de niña, niño o adolescente nacional no acompañado, corresponderá al Sistema Nacional
para el Desarrollo Integral de la Familia, en coordinación y coadyuvancia con los Sistemas Estatales DIF
y de la Ciudad de México que correspondan, garantizar el eficaz retorno asistido de la niña, niño o
adolescente con sus familiares adultos o personas adultas bajo cuyos cuidados se encuentre
habitualmente ya sea en virtud de ley o por costumbre, atendiéndose en todo momento el interés superior
de la niña, niño y adolescente y su situación de vulnerabilidad, considerando las causas de su migración:
reunificación familiar, en busca de empleo, violencia intrafamiliar, violencia e inseguridad social, entre
otras;

   IV. Se informará en lenguaje claro y conforme a su edad y madurez a la niña, niño o adolescente de
las implicaciones de la canalización al Sistema DIF, la notificación de su caso a la Procuraduría de
Protección, del proceso administrativo migratorio, de sus derechos y del proceso de retorno a su país o
comunidad de origen, en el caso de las niñas, niños y adolescentes nacionales repatriados;

   V. Se le pondrá en contacto con el consulado de su país, salvo que a juicio del Instituto o a solicitud
de la niña, niño o adolescente pudiera acceder al asilo político, al reconocimiento de la condición de
refugiado, o se identifiquen indicios de necesidad de protección internacional, en cuyo caso no se
entablará contacto con la representación consular.

  En estos casos, además de a la Procuraduría de Protección, el Instituto deberá notificar a la Comisión
Mexicana de Ayuda a Refugiados de manera inmediata.

   En los casos en que corresponda, se notificará al consulado del país de nacionalidad o residencia del
niño, niña o adolescente, sobre la canalización al Sistema DIF y la notificación a la Procuraduría de
Protección, incluyendo los datos de contacto para ambos casos;

   VI. Personal del Instituto, especializado en la protección de la infancia, capacitado en los derechos de
niñas, niños y adolescentes, podrá entrevistarles con el único objeto de conocer su identidad, su país de
nacionalidad o residencia, su situación migratoria, el paradero de sus familiares y sus necesidades
particulares de protección, de atención médica y psicológica. Dicha información se compartirá con los
Sistemas DIF y la Procuraduría Federal en los términos que establecen la Ley General de los Derechos
de Niñas, Niños y Adolescentes y su Reglamento.

   Un representante de la Comisión Nacional de los Derechos Humanos podrá estar presente en estas
entrevistas, sin perjuicio de las facultades que le corresponden al representante legal o persona de
confianza del niño, niña o adolescente.
                                                                            Artículo reformado DOF 04-06-2013, 09-11-2017, 11-11-2020

    Artículo 113. En el caso de que los extranjeros sean mujeres embarazadas, adultos mayores,
personas con discapacidad, e indígenas. O bien, víctimas o testigos de delitos graves cometidos en
territorio nacional cuyo estado emocional no les permita tomar una decisión respecto a si desean retornar
a su país de origen o permanecer en territorio nacional, el Instituto tomará las medidas pertinentes a fin
de que si así lo requieren se privilegie su estancia en instituciones públicas o privadas especializadas que
puedan brindarles la atención que requieren.

   En el caso de que los extranjeros víctimas de delito tengan situación migratoria regular en el país o
hayan sido regularizados por el Instituto en términos de lo dispuesto por la presente Ley, el Instituto podrá
canalizarlos a las instancias especializadas para su debida atención.




                                                                 37 de 67
                                                                                                               Haiti AR_001466
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 163 of 382

                                                                                               LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                         Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   El procedimiento que deberá seguir el Instituto para la detección, identificación y atención de
extranjeros víctimas del delito se regulará en el Reglamento.

                                 CAPÍTULO VIII
        DEL RETORNO ASISTIDO Y LA DEPORTACIÓN DE EXTRANJEROS QUE SE
             ENCUENTREN IRREGULARMENTE EN TERRITORIO NACIONAL

    Artículo 114. Corresponde de manera exclusiva al titular del Poder Ejecutivo Federal expulsar del
territorio nacional al extranjero cuya permanencia juzgue inconveniente, conforme a lo dispuesto en el
artículo 33 de la Constitución Política de los Estados Unidos Mexicanos.

   Artículo 115. El Instituto contará con los mecanismos de retorno asistido y deportación para hacer
abandonar el territorio nacional a aquél extranjero que no observó las disposiciones contenidas en esta
Ley y su Reglamento.

    Artículo 116. La Secretaría en· coordinación con la Secretaría de Relaciones Exteriores podrá
suscribir instrumentos internacionales con dependencias u órganos de otros países y con organismos
internacionales, en materia de retorno asistido, seguro, digno, ordenado y humano de extranjeros que se
encuentren irregularmente en territorio nacional, de conformidad con las disposiciones jurídicas
aplicables.

    Artículo 117. El Reglamento establecerá los lineamientos que deben contener los instrumentos
interinstitucionales a que se refiere el artículo anterior, así como las previsiones necesarias para la
regulación de este Capítulo.

   Artículo 118. Podrán solicitar el beneficio del retorno asistido, sin perjuicio de lo que al efecto se
establezca en los instrumentos interinstitucionales, los extranjeros que se ubiquen en los siguientes
supuestos:

   I. Se encuentren irregularmente en el territorio nacional, a disposición del Instituto, y

   II. No exista restricción legal emitida por autoridad competente para que abandonen el país.

   En el caso de que el extranjero decida no solicitar el beneficio del retorno asistido, se procederá a su
presentación, conforme a lo dispuesto en esta Ley.

    Artículo 119. El retorno asistido de mayores de dieciocho años que se encuentren irregularmente en
territorio nacional se llevará a cabo a petición expresa del extranjero y durante el procedimiento se
garantizará el pleno respeto de sus derechos humanos. Previo al retorno asistido, el extranjero tendrá
derecho a:

    I. Ser informado de su derecho a recibir protección de su representación consular y comunicarse con
ella. En caso de que el extranjero desee recibir la protección de su representación consular, se le
facilitarán los medios para comunicarse con ésta lo antes posible;

   II. Recibir información acerca de la posibilidad de permanecer en el país de manera regular, así como
del procedimiento de retorno asistido, incluyendo aquella relativa a los recursos jurídicos disponibles;

    III. Avisar a sus familiares, representante legal o persona de su confianza, ya sea en territorio nacional
o fuera de éste, para tal efecto, se le facilitarán los medios para comunicarse con ésta lo antes posible;




                                                                 38 de 67
                                                                                               Haiti AR_001467
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 164 of 382

                                                                                          LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                      Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   IV. Contar con un traductor o intérprete para facilitar la comunicación, para el caso de que no hable o
no entienda el español;

   V. Que el procedimiento sea sustanciado por autoridad competente y el derecho a recibir asesoría
legal, ofrecer pruebas y alegar lo que a su derecho convenga, así como tener acceso a las constancias
del expediente administrativo migratorio;

   VI. Que el Instituto se cerciore que el extranjero posee la nacionalidad o residencia regular del país
receptor;

   VII. Ser trasladado junto con sus efectos personales, y

    VIII. Que en el caso de que el extranjero sea rechazado por el país de destino, sea devuelto al
territorio de los Estados Unidos Mexicanos para que el Instituto defina su situación migratoria.

    Artículo 120. En el procedimiento de retorno asistido se privilegiarán los principios de preservación de
la unidad familiar y de especial atención a personas en situación de vulnerabilidad, procurando que los
integrantes de la misma familia viajen juntos.

   En el caso de niñas, niños y adolescentes, mujeres embarazadas, víctimas o testigos de delitos
cometidos en territorio nacional, personas con discapacidad y adultos mayores, se aplicará el
procedimiento de retorno asistido con la intervención de los funcionarios consulares o migratorios del país
receptor. Asimismo, se deberán tomar en consideración:

   I. El interés superior de niñas, niños y adolescentes para garantizar su mayor protección, y

   II. Su situación de vulnerabilidad para establecer la forma y términos en que serán trasladados a su
país de origen.

   En el caso de niñas, niños y adolescentes y el de víctimas o testigos de delitos cometidos en territorio
nacional, no serán deportados y atendiendo a su voluntad o al interés superior para garantizar su mayor
protección, podrán sujetarse al procedimiento de retorno asistido o de regularización de su situación
migratoria.
                                                                                Artículo reformado DOF 11-11-2020

   Artículo 121. El extranjero que es sujeto a un procedimiento administrativo migratorio de retorno
asistido o de deportación, permanecerá presentado en la estación migratoria, observándose lo dispuesto
en el artículo 111 de la presente Ley.

   El retorno asistido y la deportación no podrán realizarse más que al país de origen o de residencia del
extranjero, exceptuando el caso de quiénes hayan solicitado el asilo político o el reconocimiento de la
condición de refugiado, en cuyo caso se observará el principio de no devolución.

   Artículo 122. En el procedimiento de deportación, los extranjeros tendrán derecho a:

   I. Ser notificados del inicio del procedimiento administrativo migratorio;

   II. Recibir protección de su representación consular y comunicarse con ésta, excepto en el caso de
que hayan solicitado el asilo político o el reconocimiento de la condición de refugiado. En caso de que el
extranjero desee recibir la protección de su representación consular, se le facilitarán los medios para
comunicarse con ésta lo antes posible;




                                                                 39 de 67
                                                                                           Haiti AR_001468
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 165 of 382

                                                                                           LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                       Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




    III. Avisar a sus familiares o persona de confianza, ya sea en territorio nacional o fuera de éste, para
tal efecto se le facilitarán los medios para comunicarse con ésta lo antes posible;

   IV. Recibir información acerca del procedimiento de deportación, así como del derecho de interponer
un recurso efectivo contra las resoluciones del Instituto;

   V. Contar con un traductor o intérprete para facilitar la comunicación, para el caso de que no hable o
no entienda el español, y

   VI. Recibir asesoría legal.

    Artículo 123. En todo caso, el Instituto proporcionará los medios de transporte necesarios para el
traslado de los extranjeros al país de origen o de residencia. Asimismo, deberá preverse de ser el caso,
el suministro de agua potable y los alimentos necesarios durante el trayecto, conforme a las
disposiciones jurídicas aplicables.

   En los mecanismos contenidos en este capítulo, los extranjeros deberán estar acompañados por las
autoridades migratorias mexicanas, las cuales deberán en todo momento respetar los derechos humanos
de los extranjeros.

   Artículo 124. Los extranjeros que con motivo del procedimiento administrativo migratorio de retorno
asistido regresen a su país de origen o de residencia, serán puestos a disposición de la autoridad
competente en el país receptor, en la forma y términos pactados en los instrumentos interinstitucionales
celebrados con los países de origen.

    Artículo 125. Sólo por caso fortuito o fuerza mayor podrá suspenderse temporalmente el traslado de
extranjeros que soliciten el retorno asistido, reanudándose una vez que sea superada la causa que
originó la suspensión.

                              CAPÍTULO IX
 DEL PROCEDIMIENTO ADMINISTRATIVO MIGRATORIO EN MATERIA DE REGULACIÓN
                             MIGRATORIA

   Artículo 126. Las solicitudes de trámite migratorio deberán contener los datos y requisitos que se
precisen en la Ley, el Reglamento y en otras disposiciones administrativas de carácter general.

    Artículo 127. La solicitud de visa deberá presentarla personalmente el extranjero interesado en las
oficinas consulares, con excepción de los casos de derecho a la preservación de la unidad familiar, oferta
de empleo o razones humanitarias, que podrán tramitar en territorio nacional, en los términos
establecidos en el artículo 41 de esta Ley.

   Artículo 128. La autoridad migratoria deberá dictar resolución en los trámites migratorios en un plazo
no mayor a veinte días hábiles contados a partir de la fecha en que el solicitante cumpla con todos los
requisitos formales exigidos por esta Ley, su Reglamento y demás disposiciones administrativas
aplicables. Transcurrido dicho plazo sin que la resolución se dicte, se entenderá que es en sentido
negativo.

   Si el particular lo requiere, la autoridad emitirá constancia de tal hecho, dentro de los dos días hábiles
siguientes a la presentación de la solicitud de expedición de la referida constancia.

   Artículo 129. Las solicitudes de expedición de visa presentadas en las oficinas consulares deberán
resolverse en un plazo de diez días hábiles.



                                                                 40 de 67
                                                                                            Haiti AR_001469
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 166 of 382

                                                                                           LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                       Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   Artículo 130. Si el interesado no cumple con los requisitos aplicables al trámite migratorio que solicita,
la autoridad migratoria lo prevendrá conforme a lo dispuesto en la Ley Federal de Procedimiento
Administrativo y le otorgará un plazo de diez días hábiles a partir de que se le notifique dicha prevención
para que subsane los requisitos omitidos. En caso de que no se subsanen los requisitos, se desechará el
trámite.

   Artículo 131. Los informes u opiniones necesarios para la resolución de algún trámite migratorio que
se soliciten a otras autoridades deberán emitirse en un plazo no mayor a diez días naturales. En caso de
no recibirse el informe u opinión en dicho plazo, el Instituto entenderá que no existe objeción a las
pretensiones del interesado.

   Artículo 132. Los extranjeros tendrán derecho a solicitar la regularización de su situación migratoria,
cuando se encuentren en alguno de los siguientes supuestos:

   I. Que carezcan de la documentación necesaria para acreditar su situación migratoria regular;

   II. Que la documentación con la que acrediten su situación migratoria se encuentre vencida, o

   III. Que hayan dejado de satisfacer los requisitos en virtud de los cuales se les otorgó una
determinada condición de estancia.

    Artículo 133. El Instituto podrá regularizar la situación migratoria de los extranjeros que se ubiquen en
territorio nacional y manifiesten su interés de residir de forma temporal o permanente en territorio
nacional, siempre y cuando cumplan con los requisitos de esta Ley, su Reglamento y demás
disposiciones jurídicas aplicables. La regularización se podrá otorgar concediendo al extranjero la
condición de estancia que corresponda conforme a esta Ley.

   Con independencia de lo anterior, tienen derecho a la regularización de su situación migratoria los
extranjeros que se ubiquen en territorio nacional y se encuentren en alguno de los siguientes supuestos:

   I. Acredite ser cónyuge, concubina o concubinario de persona mexicana o de persona extranjera con
condición de estancia de residente;

   II. Acredite ser padre, madre o hijo, o tener la representación legal o custodia de persona mexicana o
extranjera con condición de estancia de residente;

   III. Que el extranjero sea identificado por el Instituto o por autoridad competente, como víctima o
testigo de algún delito grave cometido en territorio nacional;

    IV. Que se trate de personas cuyo grado de vulnerabilidad dificulte o haga imposible su deportación o
retorno asistido, y

   V. Cuando se trate de niñas, niños y adolescentes que se encuentren sujetos al procedimiento de
sustracción y restitución internacional de niños, niñas o adolescentes.

   Artículo 134. Los extranjeros también podrán solicitar la regularización de su situación migratoria,
salvo lo dispuesto en el artículo 43 de esta Ley, cuando:

   I. Habiendo obtenido autorización para internarse de forma regular al país, hayan excedido el período
de estancia inicialmente otorgado, siempre y cuando presenten su solicitud dentro de los sesenta días
naturales siguientes al vencimiento del período de estancia autorizado, o



                                                                 41 de 67
                                                                                            Haiti AR_001470
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 167 of 382

                                                                                              LEY DE MIGRACIÓN
                CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                         Última Reforma DOF 29-04-2022
                Secretaría General
                Secretaría de Servicios Parlamentarios




   II. Realicen actividades distintas a las que les permita su condición de estancia.

  Para el efecto anterior, deberán cumplir los requisitos que establecen esta Ley, su Reglamento y
demás disposiciones jurídicas aplicables.

  Artículo 135. Para realizar el trámite de regularización de la situación migratoria, el extranjero deberá
cumplir con lo siguiente:

   I. Presentar ante el Instituto un escrito por el que solicite la regularización de su situación migratoria,
especificando la irregularidad en la que incurrió;

   II. Presentar documento oficial que acredite su identidad;

    III. Para el caso de que tengan vínculo con mexicano o persona extranjera con residencia regular en
territorio nacional, deberán exhibir los documentos que así lo acrediten;

   IV. Para el supuesto de que se hayan excedido el período de estancia inicialmente otorgado, deberán
presentar el documento migratorio vencido;

   V. Acreditar el pago de la multa determinada en esta Ley, y

   VI. Los previstos en esta Ley y su Reglamento para la condición de estancia que desea adquirir.

   Artículo 136. El Instituto no podrá presentar al extranjero que acuda ante el mismo a solicitar la
regularización de su situación migratoria.

    Para el caso de que el extranjero se encuentre en una estación migratoria y se ubique en los
supuestos previstos en los artículos 133 y 134 de esta Ley, se les extenderá dentro de las veinticuatro
horas siguientes, contadas a partir de que el extranjero acredite que cumple con los requisitos
establecidos en esta Ley y su Reglamento, el oficio de salida de la estación para el efecto de que acudan
a las oficinas del Instituto a regularizar su situación migratoria, salvo lo previsto en el artículo 113 en el
que se deberá respetar el período de reflexión a las víctimas o testigos de delito.

   El Instituto contará con un término de treinta días naturales, contados a partir del ingreso del trámite
correspondiente, para resolver sobre la solicitud de regularización de la situación migratoria.

   Artículo 137. El Instituto podrá expedir permisos de salida y regreso por un periodo determinado a los
extranjeros que tengan un trámite pendiente de resolución que no haya causado estado.

   El Instituto expedirá una orden de salida del país a los extranjeros, cuando:

   I. Se desistan de su trámite migratorio;

   II. El trámite migratorio le sea negado, y

   III. Así lo solicite el extranjero.

   En estos casos, el extranjero deberá abandonar el territorio nacional en el plazo concedido por el
Instituto y podrá reingresar de forma inmediata, previo cumplimiento de los requisitos que establece esta
Ley.

                                                           TÍTULO SÉPTIMO



                                                                  42 de 67
                                                                                               Haiti AR_001471
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 168 of 382

                                                                                           LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                       Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




                                                        DE LAS SANCIONES

                                     CAPÍTULO I
                 DISPOSICIONES GENERALES RELATIVAS A LAS SANCIONES

    Artículo 138. El Instituto impondrá las sanciones a que se refiere esta Ley, dentro de los límites
señalados para cada infracción, con base en la gravedad de la misma y el grado de responsabilidad del
infractor, tomando en cuenta:

   I. Las circunstancias socioeconómicas del infractor;

   II. Las condiciones exteriores, los antecedentes del infractor y los medios de ejecución;

   III. La reincidencia en el incumplimiento de obligaciones;

   IV. El monto del beneficio, lucro o daño o perjuicio derivado del incumplimiento de obligaciones, y

   V. El nivel jerárquico del infractor y su antigüedad en el servicio, tratándose de autoridades distintas al
Instituto.

   Artículo 139. Los ingresos que la Federación obtenga efectivamente de multas por infracción a esta
Ley, se destinarán al Instituto para mejorar los servicios que en materia migratoria proporciona.

                              CAPÍTULO II
  DE LAS CAUSAS PARA SANCIONAR A LOS SERVIDORES PÚBLICOS DEL INSTITUTO

   Artículo 140. Los servidores públicos del Instituto serán sancionados por las siguientes conductas:

   I.     Sin estar autorizados, den a conocer cualquier información de carácter confidencial o
          reservado;

   II.    Dolosamente o por negligencia retrasen el trámite normal de los asuntos migratorios;

   III.   Por sí o por intermediarios intervengan de cualquier forma en la gestión de los asuntos a que se
          refiere esta Ley o su Reglamento o patrocinen o aconsejen la manera de evadir las
          disposiciones o trámites migratorios a los interesados o a sus representantes;

   IV.    Dolosamente hagan uso indebido o proporcionen a terceras personas documentación
          migratoria;

   V.     Faciliten a los extranjeros sujetos al control migratorio los medios para evadir el cumplimiento
          de esta Ley y su Reglamento;

   VI.    Por violación a los derechos humanos de los migrantes, acreditada ante la autoridad
          competente, y

   VII.   Las demás que establezcan otras disposiciones jurídicas aplicables.

    Se considerará infracción grave y se sancionará con la destitución e inhabilitación, la actualización de
las conductas previstas en las fracciones IV y VI del presente artículo, de conformidad con lo previsto en
la Ley General de Responsabilidades Administrativas y sin perjuicio de lo previsto en otras disposiciones
jurídicas aplicables.



                                                                 43 de 67
                                                                                            Haiti AR_001472
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 169 of 382

                                                                                          LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                      Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




                                                                                Párrafo reformado DOF 03-07-2019

    Artículo 141. Las sanciones a los servidores públicos del Instituto, serán aplicadas en los términos de
la Ley Federal de Responsabilidades Administrativas de los Servidores Públicos.

   Artículo 142. Se impondrá multa de cien a un mil días de salario mínimo general vigente en el Distrito
Federal, al que sin permiso del Instituto autorice u ordene el despacho de un transporte que haya de salir
del territorio nacional.

                                     CAPÍTULO III
                 DE LAS SANCIONES A LAS PERSONAS FÍSICAS Y MORALES

   Artículo 143. La aplicación de las sanciones a las personas físicas y morales se regirá por las
disposiciones contenidas en este capítulo y en forma supletoria por la Ley Federal de Procedimiento
Administrativo. En su sustanciación se respetarán plenamente los derechos humanos de los migrantes.

   Son de orden público para todos los efectos legales, la deportación de los extranjeros y las medidas
que dicte la Secretaría conforme a la presente Ley.

   La deportación es la medida dictada por el Instituto mediante la cual se ordena la salida del territorio
nacional de un extranjero y se determina el período durante el cual no podrá reingresar al mismo, cuando
incurra en los supuestos previstos en el artículo 144 de esta Ley.

   Artículo 144. Será deportado del territorio nacional el extranjero presentado que:

   I.     Se haya internado al país sin la documentación requerida o por un lugar no autorizado para el
          tránsito internacional de personas;

   II.    Habiendo sido deportado, se interne nuevamente al territorio nacional sin haber obtenido el
          Acuerdo de readmisión, aún y cuando haya obtenido una condición de estancia;

   III.   Se ostente como mexicano ante el Instituto sin serlo;

   IV.    Cuando derivado de sus antecedentes en México o en el extranjero se comprometa la
          seguridad nacional o la seguridad pública;
                                                                               Fracción reformada DOF 07-01-2021

   V.     Proporcione información falsa o exhiba ante el Instituto documentación apócrifa, alterada o
          legítima, pero que haya sido obtenida de manera fraudulenta, y

   VI.    Haya incumplido con una orden de salida de territorio nacional expedida por el Instituto.

   En todos estos casos, el Instituto determinará el período durante el cual el extranjero deportado no
deberá reingresar al país, conforme a lo establecido en el Reglamento. Durante dicho periodo, sólo podrá
ser readmitido por acuerdo expreso de la Secretaría.

   En el supuesto de que el extranjero, por sus antecedentes en los Estados Unidos Mexicanos o en el
extranjero, pudiera comprometer la soberanía nacional, la seguridad nacional o la seguridad pública, la
deportación será definitiva.

   Artículo 145. A los extranjeros que soliciten la regularización de su situación migratoria en los
términos previstos en las fracciones I y II del artículo 133 de esta Ley, se les impondrá una multa de
veinte a cuarenta días de salario mínimo general vigente en el Distrito Federal.



                                                                 44 de 67
                                                                                           Haiti AR_001473
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 170 of 382

                                                                                           LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                       Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   Los extranjeros que se encuentren en los supuestos de las fracciones III, IV y V del artículo 133 de
esta Ley no serán acreedores a ninguna multa.

   Artículo 146. A los extranjeros que se les autorice la regularización de su situación migratoria en los
términos previstos en el artículo 134 de esta Ley, se les impondrá una multa de veinte a cien días de
salario mínimo general vigente en el Distrito Federal.

    Artículo 147. Salvo que se trate de autoridad competente a quien, sin autorización de su titular
retenga la documentación que acredite la identidad o la situación migratoria de un extranjero en el país,
se impondrá multa de un mil a diez mil días de salario mínimo general vigente en el Distrito Federal.

   Artículo 148. El servidor público que, sin mediar causa justificada o de fuerza mayor, niegue a los
migrantes la prestación de los servicios o el ejercicio de los derechos previstos en esta Ley, así como los
que soliciten requisitos adicionales a los previstos en las disposiciones legales y reglamentarias
aplicables, se harán acreedores a una multa de veinte a mil días de salario mínimo general vigente en el
Distrito Federal, con independencia de las responsabilidades de carácter administrativo en que incurran.

   Esta sanción será aplicada en términos de la Ley Federal de Responsabilidades Administrativas de
los Servidores Públicos, o de la ley que corresponda, de acuerdo con el carácter del servidor público
responsable.

   Artículo 149. A cualquier particular que reciba en custodia a un extranjero y permita que se sustraiga
del control del Instituto, se le sancionará con multa de quinientos a dos mil días de salario mínimo general
vigente en el Distrito Federal, sin perjuicio de las responsabilidades en que incurra cuando ello constituya
un delito y de que se le haga efectiva la garantía prevista en el artículo 102 de esta Ley.

    Artículo 150. Se impondrá multa de cien a quinientos días de salario mínimo general vigente en el
Distrito Federal al mexicano que contraiga matrimonio con extranjero sólo con el objeto de que éste
último pueda radicar en el país, acogiéndose a los beneficios que esta Ley establece para estos casos.

   Igual sanción se impondrá al extranjero que contraiga matrimonio con mexicano en los términos del
párrafo anterior.

    Artículo 151. Se impondrá multa de mil a diez mil días de salario mínimo general vigente en el Distrito
Federal a las empresas de transportes marítimos, cuando permitan que los pasajeros o tripulantes bajen
a tierra antes de que el Instituto otorgue el permiso correspondiente.

    Artículo 152. El desembarco de personas de transportes procedentes del extranjero, efectuado en
lugares distintos a los destinados al tránsito internacional de personas, se castigará con multa de mil a
diez mil días de salario mínimo general vigente en el Distrito Federal, que se impondrá a las personas
físicas o morales con actividades comerciales dedicadas al transporte internacional de personas, sin
perjuicio de las sanciones previstas en otras leyes.

    Artículo 153. Las empresas dedicadas al transporte internacional terrestre, marítimo o aéreo que
trasladen al país extranjeros sin documentación migratoria vigente, serán sancionadas con multa de mil a
diez mil días de salario mínimo general vigente en el Distrito Federal, sin perjuicio de que el extranjero de
que se trate sea rechazado y de que la empresa lo regrese, por su cuenta, al lugar de procedencia.

   Artículo 154. Serán responsables solidarios, la empresa propietaria, los representantes, sus
consignatarios, así como los capitanes o quienes se encuentren al mando de transportes marítimos, que
desobedezcan la orden de conducir pasajeros extranjeros que hayan sido rechazados o deportados por



                                                                 45 de 67
                                                                                            Haiti AR_001474
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 171 of 382

                                                                                            LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                        Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




la autoridad competente de territorio nacional, y serán sancionados con multa de mil a diez mil días de
salario mínimo general vigente en el Distrito Federal.

   A las empresas propietarias de transportes aéreos se les impondrá la misma sanción. En ambos
supuestos se levantará acta circunstanciada en la que se hará constar las particularidades del caso.

   Artículo 155. Se impondrá multa de mil a diez mil días de salario mínimo general vigente en el Distrito
Federal a la empresa propietaria, sus representantes o sus consignatarios cuando la embarcación salga
de puertos nacionales en tráfico de altura antes de que se realice la inspección de salida por el Instituto y
de haber recibido de éstas, la autorización para efectuar el viaje.

   Artículo 156. La persona que visite un transporte marítimo extranjero, sin permiso de las autoridades
migratorias, será castigada con multa de diez hasta cien días de salario mínimo general vigente en el
Distrito Federal o arresto hasta por treinta y seis horas.

    La misma sanción se impondrá a la persona que, sin facultades para ello autorice la visita a que se
refiere el párrafo anterior.

    Artículo 157. Se impondrá multa de mil a diez mil días de salario mínimo general vigente en el Distrito
Federal, a la empresa de transporte internacional aéreo o marítimo que incumpla con la obligación de
transmitir electrónicamente la información señalada en el artículo 46 de esta Ley.

   Igual sanción podrá imponerse para el caso de que la transmisión electrónica sea extemporánea,
incompleta o contenga información incorrecta.

   Artículo 158. Se impondrá multa de veinte hasta cien días de salario mínimo general vigente en el
Distrito Federal, a los residentes temporales y permanentes que se abstengan de informar al Instituto de
su cambio de estado civil, domicilio, nacionalidad o lugar de trabajo, o lo hagan de forma extemporánea.

                                               TÍTULO OCTAVO
                                   DE LOS DELITOS EN MATERIA MIGRATORIA

                                                         CAPÍTULO ÚNICO
                                                         DE LOS DELITOS

   Artículo 159. Se impondrá pena de ocho a dieciséis años de prisión y multa de cinco mil a quince mil
días de salario mínimo general vigente en el Distrito Federal, a quien:

   I. Con propósito de tráfico lleve a una o más personas a internarse en otro país sin la documentación
correspondiente, con objeto de obtener directa o indirectamente un lucro;

   II. Introduzca, sin la documentación correspondiente, a uno o varios extranjeros a territorio mexicano,
con objeto de obtener directa o indirectamente un lucro, o

    III. Albergue o transporte por el territorio nacional, con el objeto de obtener directa o indirectamente un
lucro, a uno o varios extranjeros con el fin de evadir la revisión migratoria.

    Para efectos de la actualización del delito previsto en este artículo, será necesario que quede
demostrada la intención del sujeto activo de obtener un beneficio económico en dinero o en especie,
cierto, actual o inminente.




                                                                 46 de 67
                                                                                             Haiti AR_001475
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 172 of 382

                                                                                              LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                          Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




  No se impondrá pena a las personas de reconocida solvencia moral, que por razones estrictamente
humanitarias y sin buscar beneficio alguno, presten ayuda a la persona que se ha internado en el país de
manera irregular, aun cuando reciban donativos o recursos para la continuación de su labor humanitaria.

    Artículo 160. Se aumentarán hasta en una mitad las penas previstas en el artículo anterior, cuando
las conductas descritas en el mismo se realicen:

   I. Respecto de niñas, niños y adolescentes o cuando se induzca, procure, facilite u obligue a un niño,
niña o adolescente o a quien no tenga capacidad para comprender el significado del hecho, a realizar
cualquiera de las conductas descritas en el artículo anterior;

   II. En condiciones o por medios que pongan o puedan poner en peligro la salud, la integridad, la
seguridad o la vida o den lugar a un trato inhumano o degradante de las personas en quienes recaiga la
conducta, o

   III. Cuando el autor material o intelectual sea servidor público.

   Artículo 161. Al servidor público que auxilie, encubra o induzca a cualquier persona a violar las
disposiciones contenidas en la presente Ley, con el objeto de obtener directa o indirectamente un lucro
en dinero o en especie, se le impondrá una pena de cuatro a ocho años de prisión y multa de quinientos
hasta un mil días de salario mínimo general vigente en el Distrito Federal.

   Artículo 162. En los casos de los delitos a que esta Ley se refiere, el ejercicio de la acción penal por
parte del Ministerio Público de la Federación se realizará de oficio. El Instituto estará obligado a
proporcionar al Ministerio Público de la Federación todos los elementos necesarios para la persecución
de estos delitos.

                                                           TRANSITORIOS

   PRIMERO. La Ley de Migración entrará en vigor al día siguiente de su publicación en el Diario Oficial
de la Federación, excepto las disposiciones que están sujetas a la vacancia prevista en el artículo
Segundo Transitorio.

   SEGUNDO. El artículo 10; las fracciones I, II, III y VI del artículo 18; el artículo 21; los Capítulos I y II
del Título Cuarto; el último párrafo del artículo 74; los artículos 101 y 102; el artículo 117; el último párrafo
del artículo 112; los artículos 126 y 127, y los artículos 149, 157 y 158 de la Ley de Migración, entrarán en
vigor hasta que se encuentre vigente el Reglamento de la misma Ley.

   TERCERO. Dentro del término de ciento ochenta días contados a partir de la entrada en vigor de la
presente Ley, el Ejecutivo Federal deberá expedir el Reglamento de la Ley de Migración, en tanto,
continuará aplicándose en lo que no se oponga, el Reglamento de la Ley General de Población.

   CUARTO. Las disposiciones administrativas de carácter general en materia migratoria emitidas con
anterioridad a la entrada en vigor de la Ley de Migración, continuarán vigentes en todo lo que no se le
opongan, hasta en tanto se expidan las disposiciones que las sustituyan con arreglo a la misma.

    QUINTO. Las erogaciones que las dependencias y entidades de la Administración Pública Federal,
así como la Procuraduría General de la República, deban realizar para dar cumplimiento a las acciones
establecidas en la Ley de Migración, se sujetarán a su disponibilidad presupuestaria aprobada para ese
fin por la Cámara de Diputados en el Decreto de Presupuesto de Egresos de la Federación.

   SEXTO. Para efectos de la aplicación de la Ley de Migración, se deberá tener en cuenta lo siguiente:



                                                                 47 de 67
                                                                                               Haiti AR_001476
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 173 of 382

                                                                                               LEY DE MIGRACIÓN
                CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                          Última Reforma DOF 29-04-2022
                Secretaría General
                Secretaría de Servicios Parlamentarios




   I. Los extranjeros que hayan obtenido la calidad migratoria de No inmigrante, dentro de las
características de turista, transmigrante, visitante en todas sus modalidades excepto los extranjeros que
hayan obtenido la calidad migratoria de No inmigrante dentro de la característica de Visitante Local,
otorgada a los nacionales de los países vecinos para su visita a las poblaciones fronterizas de los
Estados Unidos Mexicanos, ministro de culto, visitante distinguido, visitante provisional y corresponsal, se
equipararán al Visitante sin permiso para realizar actividades remuneradas;

   II. Los extranjeros que hayan obtenido la calidad migratoria de No inmigrante dentro de la
característica de Visitante Local, otorgada a los nacionales de los países vecinos para su visita a las
poblaciones fronterizas de los Estados Unidos Mexicanos, se equipararán al Visitante Regional;

   III. Los extranjeros que hayan obtenido la calidad migratoria de No inmigrante, dentro la característica
de estudiante, se equipararán al Residente temporal Estudiante;

   IV. Los extranjeros que hayan obtenido la calidad migratoria de No inmigrante, dentro las
características de asilado político y refugiado, se equipararán al Residente permanente;

   V. Los extranjeros que hayan obtenido la calidad migratoria de Inmigrante, dentro las características
de rentista, inversionista, profesional, cargo de confianza, científico, técnico, familiar, artista y deportista o
asimilados, se equipararán al Residente temporal, y

  VI. Los extranjeros que hayan obtenido la calidad migratoria de inmigrado, se equipararán al
Residente permanente.

   SÉPTIMO. Las referencias realizadas en la Ley de Migración al auto de vinculación a proceso,
quedarán entendidas al término vigente de auto de formal prisión, toda vez que con este Decreto no entra
en vigor el artículo 19 constitucional sujeto a la vacancia prevista en el artículo Segundo Transitorio del
Decreto por el que se reforman y adicionan diversas disposiciones de la Constitución Política de los
Estados Unidos Mexicanos, publicado en el Diario Oficial de la Federación el 18 de junio de 2008.

    OCTAVO. La Secretaría de Gobernación publicará en el Diario Oficial de la Federación, las reglas
relativas al Sistema de Puntos previsto en la Ley de Migración, dentro del término de ciento ochenta días
contados a partir de su entrada en vigor.

   NOVENO. Los trámites migratorios que se encuentren en proceso o pendientes de resolución a la
fecha de entrada en vigor de la Ley de Migración, deberán concluirse de conformidad con las
disposiciones vigentes al momento en que se iniciaron.

    DÉCIMO. Los procedimientos penales iniciados antes de la entrada en vigor de la Ley de Migración,
por el delito previsto en el artículo 138 de la Ley General de Población, se seguirán tramitando hasta su
conclusión conforme a las disposiciones vigentes al momento de la comisión de los hechos que le dieron
origen. Lo mismo se observará respecto de la ejecución de las penas correspondientes.

   ARTÍCULOS SEGUNDO A NOVENO. ……….

  TRANSITORIOS DEL DECRETO POR EL QUE EXPIDE LA LEY DE MIGRACIÓN Y SE
REFORMAN, DEROGAN Y ADICIONAN DIVERSAS DISPOSICIONES DE LA LEY GENERAL
DE POBLACIÓN, DEL CÓDIGO PENAL FEDERAL, DEL CÓDIGO FEDERAL DE
PROCEDIMIENTOS PENALES, DE LA LEY FEDERAL CONTRA LA DELINCUENCIA
ORGANIZADA, DE LA LEY DE LA POLICÍA FEDERAL, DE LA LEY DE ASOCIACIONES
RELIGIOSAS Y CULTO PÚBLICO, DE LA LEY DE INVERSIÓN EXTRANJERA, Y DE LA LEY
GENERAL DE TURISMO.


                                                                  48 de 67
                                                                                                Haiti AR_001477
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 174 of 382

                                                                                         LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                     Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




   PRIMERO. El presente Decreto entrará en vigor al día siguiente de su publicación en el Diario Oficial
de la Federación.

    SEGUNDO. Las reformas a la Ley General de Población entrarán en vigor al día siguiente de su
publicación en el Diario Oficial de la Federación, excepto las derogaciones a las fracciones VII y VIII del
artículo 3o. y a los artículos 7 a 75, que entrarán en vigor hasta que se encuentre vigente el Reglamento
de la Ley de Migración.

   Las reformas a la Ley de Asociaciones Religiosas y Culto Público, a la Ley de Inversión Extranjera y la
Ley General de Turismo, entrarán en vigor hasta que se encuentre vigente el Reglamento de la Ley de
Migración.

   TERCERO. Las referencias que en otras leyes y demás disposiciones jurídicas se realicen a la Ley
General de Población por lo que hace a cuestiones de carácter migratorio, se entenderán referidas a la
Ley de Migración.

   CUARTO. Las resoluciones dictadas por la autoridad migratoria durante la vigencia de las
disposiciones de la Ley General de Población que se derogan, surtirán sus plenos efectos jurídicos.

  México, D. F., a 29 de abril de 2011.- Sen. Manlio Fabio Beltrones Rivera, Presidente.- Dip. Jorge
Carlos Ramírez Marín, Presidente.- Sen. Renan Cleominio Zoreda Novelo, Secretario.- Dip. María
Dolores Del Río Sánchez, Secretaria.- Rúbricas."

   En cumplimiento de lo dispuesto por la fracción I del Artículo 89 de la Constitución Política de los
Estados Unidos Mexicanos, y para su debida publicación y observancia, expido el presente Decreto en la
Residencia del Poder Ejecutivo Federal, en la Ciudad de México, Distrito Federal, a veinticuatro de mayo
de dos mil once.- Felipe de Jesús Calderón Hinojosa.- Rúbrica.- El Secretario de Gobernación, José
Francisco Blake Mora.- Rúbrica.




                                                                 49 de 67
                                                                                          Haiti AR_001478
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 175 of 382

                                                                                                                 LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                             Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




                    ARTÍCULOS TRANSITORIOS DE DECRETOS DE REFORMA

DECRETO por el que se reforma y adiciona el artículo 112 de la Ley de Migración.
                                   Publicado en el Diario Oficial de la Federación el 4 de junio de 2013

    ARTÍCULO ÚNICO.- Se reforman el primer párrafo; la fracción I y se adiciona un tercer párrafo a la
fracción VI del artículo 112 de la Ley de Migración, para quedar como sigue:

   ………

                                                            TRANSITORIO

    ÚNICO.- El presente Decreto entrará en vigor al día siguiente de su publicación en el Diario Oficial de
la Federación.

  México, D.F., a 24 de abril de 2013.- Dip. Francisco Arroyo Vieyra, Presidente.- Sen. Ernesto
Cordero Arroyo, Presidente.- Dip. Angel Cedillo Hernandez, Secretario.- Sen. Lilia Guadalupe
Merodio Reza, Secretaria.- Rúbricas."

   En cumplimiento de lo dispuesto por la fracción I del Artículo 89 de la Constitución Política de los
Estados Unidos Mexicanos, y para su debida publicación y observancia, expido el presente Decreto en la
Residencia del Poder Ejecutivo Federal, en la Ciudad de México, Distrito Federal, a treinta y uno de mayo
de dos mil trece.- Enrique Peña Nieto.- Rúbrica.- El Secretario de Gobernación, Miguel Ángel Osorio
Chong.- Rúbrica.




                                                                 50 de 67
                                                                                                                  Haiti AR_001479
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 176 of 382

                                                                                                                 LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                             Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




DECRETO por el que se reforman los artículos 3 y 25 de la Ley de Migración.
                                   Publicado en el Diario Oficial de la Federación el 7 de junio de 2013

    Artículo Único. Se adiciona una fracción XXVII, recorriéndose las subsecuentes en su orden, al
artículo 3 y se reforma el artículo 25 de la Ley de Migración, para quedar como sigue:

   ………

                                                                 Transitorios

   Primero. El presente Decreto entrará en vigor el día siguiente al de su publicación en el Diario Oficial
de la Federación.

  Segundo. Dentro de un plazo de noventa días naturales, contados a partir de la vigencia de este
Decreto, el Ejecutivo Federal publicará las modificaciones que sean necesarias.

   México, D.F., a 29 de abril de 2013.- Sen. Ernesto Cordero Arroyo, Presidente.- Dip. Francisco
Arroyo Vieyra, Presidente.- Sen. Rosa Adriana Díaz Lizama, Secretaria.- Dip. Tanya Rellstab Carreto,
Secretaria.- Rúbricas."

   En cumplimiento de lo dispuesto por la fracción I del Artículo 89 de la Constitución Política de los
Estados Unidos Mexicanos, y para su debida publicación y observancia, expido el presente Decreto en la
Residencia del Poder Ejecutivo Federal, en la Ciudad de México, Distrito Federal, a cinco de junio de dos
mil trece.- Enrique Peña Nieto.- Rúbrica.- El Secretario de Gobernación, Miguel Ángel Osorio Chong.-
Rúbrica.




                                                                    51 de 67
                                                                                                                  Haiti AR_001480
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 177 of 382

                                                                                                                 LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                             Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




DECRETO por el que se reforman y adicionan diversas disposiciones, así como la
denominación de la Ley sobre Refugiados y Protección Complementaria; y se reforman y
adicionan diversos artículos de la Ley de Migración.
                                Publicado en el Diario Oficial de la Federación el 30 de octubre de 2014

   Artículo Segundo.- Se reforman los artículos 3, fracción III; y 55, segundo párrafo de la Ley de
Migración, para quedar como sigue:

   ……….

                                                                 Transitorios

   Primero. El presente Decreto entrará en vigor el día siguiente al de su publicación en el Diario Oficial
de la Federación.

    Segundo. Los asilados reconocidos anteriormente a la entrada en vigor del presente Decreto podrán
solicitar que se les expida el documento migratorio, que acredite su condición de estancia en el país de
conformidad con lo establecido en la Ley de Migración.

   Tercero. La Secretaría de Gobernación y la Secretaría de Relaciones Exteriores realizarán las
acciones necesarias para que la implementación de las presentes modificaciones se lleven a cabo con
los recursos aprobados en su presupuesto, por lo que no requerirán recursos adicionales para tales
efectos y no incrementarán su presupuesto regularizable para el presente ejercicio fiscal y los
subsecuentes.

    Cuarto. Se deberá establecer en los reglamentos respectivos el procedimiento por medio del cual la
Comisión Mexicana de Ayuda a Refugiados atenderá y desahogará los casos a los que hacen referencia
los artículos 35 Bis y 70 de la presente Ley.

  México, D.F., a 25 de septiembre de 2014.- Sen. Miguel Barbosa Huerta, Presidente.- Dip. Silvano
Aureoles Conejo, Presidente.- Sen. María Elena Barrera Tapia, Secretaria.- Dip. Javier Orozco
Gómez, Secretario.- Rúbricas."

   En cumplimiento de lo dispuesto por la fracción I del Artículo 89 de la Constitución Política de los
Estados Unidos Mexicanos, y para su debida publicación y observancia, expido el presente Decreto en la
Residencia del Poder Ejecutivo Federal, en la Ciudad de México, Distrito Federal, a veintisiete de octubre
de dos mil catorce.- Enrique Peña Nieto.- Rúbrica.- El Secretario de Gobernación, Miguel Ángel Osorio
Chong.- Rúbrica.




                                                                    52 de 67
                                                                                                                  Haiti AR_001481
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 178 of 382

                                                                                                                LEY DE MIGRACIÓN
              CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                             Última Reforma DOF 29-04-2022
              Secretaría General
              Secretaría de Servicios Parlamentarios




DECRETO por el que se adiciona una fracción VI al artículo 48 de la Ley de Migración.
                                 Publicado en el Diario Oficial de la Federación el 21 de abril de 2016

   Artículo Único.- Se adiciona una fracción VI al artículo 48 de la Ley de Migración, para quedar como
sigue:

   ……..

                                                           TRANSITORIO

   ÚNICO.- El presente Decreto entrará en vigor al día siguiente al de su publicación en el Diario Oficial
de la Federación.

  Ciudad de México, a 16 de marzo de 2016.- Dip. José de Jesús Zambrano Grijalva, Presidente.-
Sen. Roberto Gil Zuarth, Presidente.- Dip. Verónica Delgadillo García, Secretaria.- Sen. César
Octavio Pedroza Gaitán, Secretario.- Rúbricas."

   En cumplimiento de lo dispuesto por la fracción I del Artículo 89 de la Constitución Política de los
Estados Unidos Mexicanos, y para su debida publicación y observancia, expido el presente Decreto en la
Residencia del Poder Ejecutivo Federal, en la Ciudad de México, a dieciocho de abril de dos mil
dieciséis.- Enrique Peña Nieto.- Rúbrica.- El Secretario de Gobernación, Miguel Ángel Osorio Chong.-
Rúbrica.




                                                                53 de 67
                                                                                                                 Haiti AR_001482
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 179 of 382

                                                                                                              LEY DE MIGRACIÓN
              CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                           Última Reforma DOF 29-04-2022
              Secretaría General
              Secretaría de Servicios Parlamentarios




DECRETO por el que se reforma la fracción III del artículo 52 de la Ley de Migración.
                                Publicado en el Diario Oficial de la Federación el 19 de mayo de 2017

   Artículo Único.- Se reforma la fracción III del artículo 52 de la Ley de Migración, para quedar como
sigue:

   ………

                                                                Transitorio

   ÚNICO.- El presente Decreto entrará en vigor el día siguiente al de su publicación en el Diario Oficial
de la Federación.

  Ciudad de México, a 6 de abril de 2017.- Dip. María Guadalupe Murguía Gutiérrez, Presidenta.- Sen.
Pablo Escudero Morales, Presidente.- Dip. María Eugenia Ocampo Bedolla, Secretaria.- Sen. Lorena
Cuéllar Cisneros, Secretaria.- Rúbricas."

   En cumplimiento de lo dispuesto por la fracción I del Artículo 89 de la Constitución Política de los
Estados Unidos Mexicanos, y para su debida publicación y observancia, expido el presente Decreto en la
Residencia del Poder Ejecutivo Federal, en la Ciudad de México, a diecisiete de mayo de dos mil
diecisiete.- Enrique Peña Nieto.- Rúbrica.- El Secretario de Gobernación, Miguel Ángel Osorio Chong.-
Rúbrica.




                                                                  54 de 67
                                                                                                               Haiti AR_001483
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 180 of 382

                                                                                                                LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                            Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




DECRETO por el que se reforman los artículos 29 y 112 de la Ley de Migración.
                              Publicado en el Diario Oficial de la Federación el 9 de noviembre de 2017

    Artículo Único: Se reforman los artículos 29, primer párrafo, y 112, fracciones I y VI, tercer párrafo de
la Ley de Migración, para quedar como sigue:

   ……….

                                                                 Transitorio

    Único. El presente Decreto entrará en vigor el día siguiente al de su publicación en el Diario Oficial de
la Federación.

   Ciudad de México, a 26 de septiembre de 2017.- Dip. Jorge Carlos Ramírez Marín, Presidente.- Sen.
Ernesto Cordero Arroyo, Presidente.- Dip. Alejandra Noemi Reynoso Sánchez, Secretaria.- Sen. Itzel
S. Ríos de la Mora, Secretaria.- Rúbricas."

   En cumplimiento de lo dispuesto por la fracción I del Artículo 89 de la Constitución Política de los
Estados Unidos Mexicanos, y para su debida publicación y observancia, expido el presente Decreto en la
Residencia del Poder Ejecutivo Federal, en la Ciudad de México, a ocho de noviembre de dos mil
diecisiete.- Enrique Peña Nieto.- Rúbrica.- El Secretario de Gobernación, Miguel Ángel Osorio Chong.-
Rúbrica.




                                                                   55 de 67
                                                                                                                 Haiti AR_001484
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 181 of 382

                                                                                                                LEY DE MIGRACIÓN
              CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                             Última Reforma DOF 29-04-2022
              Secretaría General
              Secretaría de Servicios Parlamentarios




DECRETO por el que se reforma la fracción I del artículo 30 de la Ley de Migración.
                                 Publicado en el Diario Oficial de la Federación el 25 de junio de 2018

   Artículo Único.- Se reforma la fracción I del artículo 30 de la Ley de Migración, para quedar como
sigue:

   ………

                                                                Transitorio

   Único.- El presente Decreto entrará en vigor el día siguiente al de su publicación en el Diario Oficial
de la Federación.

  Ciudad de México, a 26 de abril de 2018.- Dip. Edgar Romo García, Presidente.- Sen. Ernesto
Cordero Arroyo, Presidente.- Dip. Sofía Del Sagrario De León Maza, Secretaria.- Sen. Juan G. Flores
Ramírez, Secretario.- Rúbricas."

   En cumplimiento de lo dispuesto por la fracción I del Artículo 89 de la Constitución Política de los
Estados Unidos Mexicanos, y para su debida publicación y observancia, expido el presente Decreto en la
Residencia del Poder Ejecutivo Federal, en la Ciudad de México, a veinte de junio de dos mil dieciocho.-
Enrique Peña Nieto.- Rúbrica.- El Secretario de Gobernación, Dr. Jesús Alfonso Navarrete Prida.-
Rúbrica.




                                                                  56 de 67
                                                                                                                 Haiti AR_001485
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 182 of 382

                                                                                                                 LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                             Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




DECRETO por el que se reforman los artículos 3 y 111 de la Ley de Migración.
                                  Publicado en el Diario Oficial de la Federación el 12 de julio de 2018

   Artículo Único.- Se reforma la fracción XXVIII del artículo 3 y el primer párrafo del artículo 111 de la
Ley de Migración, para quedar como sigue:

   ……….

                                                                 Transitorio

   Único. El presente Decreto entrará en vigor al día siguiente de su publicación en el Diario Oficial de la
Federación.

  Ciudad de México, a 26 de abril de 2018.- Dip. Edgar Romo García, Presidente.- Sen. Ernesto
Cordero Arroyo, Presidente.- Dip. Ana Guadalupe Perea Santos, Secretaria.- Sen. Juan G. Flores
Ramírez, Secretario.- Rúbricas."

   En cumplimiento de lo dispuesto por la fracción I del Artículo 89 de la Constitución Política de los
Estados Unidos Mexicanos, y para su debida publicación y observancia, expido el presente Decreto en la
Residencia del Poder Ejecutivo Federal, en la Ciudad de México, a seis de julio de dos mil dieciocho.-
Enrique Peña Nieto.- Rúbrica.- El Secretario de Gobernación, Dr. Jesús Alfonso Navarrete Prida.-
Rúbrica.




                                                                   57 de 67
                                                                                                                  Haiti AR_001486
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 183 of 382

                                                                                                                 LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                             Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




DECRETO por el que se reforman los artículos 109 y 140 de la Ley de Migración.
                                   Publicado en el Diario Oficial de la Federación el 3 de julio de 2019

    Artículo Único.- Se reforman la fracción XV del artículo 109 y el segundo párrafo del artículo 140 de
la Ley de Migración, para quedar como sigue:

   ………

                                                                 Transitorio

    Único. El presente Decreto entrará en vigor el día siguiente al de su publicación en el Diario Oficial de
la Federación.

  Ciudad de México, a 3 de abril de 2019.- Sen. Martí Batres Guadarrama, Presidente.- Dip. Porfirio
Muñoz Ledo, Presidente.- Sen. Antares G. Vázquez Alatorre, Secretaria.- Dip. Julieta Macías Rábago,
Secretaria.- Rúbricas."

   En cumplimiento de lo dispuesto por la fracción I del Artículo 89 de la Constitución Política de los
Estados Unidos Mexicanos, y para su debida publicación y observancia, expido el presente Decreto en la
Residencia del Poder Ejecutivo Federal, en la Ciudad de México, a 2 de julio de 2019.- Andrés Manuel
López Obrador.- Rúbrica.- La Secretaria de Gobernación, Dra. Olga María del Carmen Sánchez
Cordero Dávila.- Rúbrica.




                                                                   58 de 67
                                                                                                                  Haiti AR_001487
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 184 of 382

                                                                                                                 LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                             Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




DECRETO por el que se reforma el artículo 93 de la Ley de Migración.
                                  Publicado en el Diario Oficial de la Federación el 13 de abril de 2020

   Artículo Único.- Se reforma el artículo 93 de la Ley de Migración, para quedar como sigue:

   ……..

                                                                 Transitorio

    Único. El presente Decreto entrará en vigor el día siguiente al de su publicación en el Diario Oficial de
la Federación.

  Ciudad de México, a 27 de febrero de 2020.- Dip. Laura Angélica Rojas Hernández, Presidenta.-
Sen. Mónica Fernández Balboa, Presidenta.- Dip. Lizbeth Mata Lozano, Secretaria.- Sen. Primo
Dothé Mata, Secretario.- Rúbricas."

   En cumplimiento de lo dispuesto por la fracción I del Artículo 89 de la Constitución Política de los
Estados Unidos Mexicanos, y para su debida publicación y observancia, expido el presente Decreto en la
Residencia del Poder Ejecutivo Federal, en la Ciudad de México, a 7 de abril de 2020.- Andrés Manuel
López Obrador.- Rúbrica.- La Secretaria de Gobernación, Dra. Olga María del Carmen Sánchez
Cordero Dávila.- Rúbrica.




                                                                   59 de 67
                                                                                                                  Haiti AR_001488
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 185 of 382

                                                                                                            LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                        Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




DECRETO por el que se reforman diversos artículos de la Ley de Migración y de la Ley
sobre Refugiados, Protección Complementaria y Asilo Político, en materia de Infancia
Migrante.
                             Publicado en el Diario Oficial de la Federación el 11 de noviembre de 2020

    Artículo Primero.- Se adicionan las fracciones V, XX, XXI, XXII y XXV, recorriendo en su
numeración a las subsecuentes del artículo 3; un segundo párrafo al artículo 6; las fracciones X y XI,
recorriendo en su numeración a las subsecuentes del artículo 20; un párrafo tercero al artículo 71; un
párrafo segundo al artículo 79; los párrafos tercero, cuarto y quinto al artículo 95; los párrafos segundo,
tercero y cuarto al artículo 98; se reforman la fracción XIX recorrida del artículo 3; el primer párrafo del
artículo 6; el segundo párrafo del artículo 11; las fracciones IV, VII y IX del artículo 20; el artículo 29; el
inciso b) de la fracción V del artículo 52; el párrafo segundo del artículo 68; el primer párrafo del artículo
71; los artículos 73 y 74; el artículo 99; las fracciones II y III del artículo 107; la fracción XIII del artículo
109; el artículo 112; el párrafo segundo y sus fracciones I y II y el párrafo tercero del artículo 120; se
suprime la fracción XIV, recorriendo en su numeración las subsecuentes del artículo 109; de la Ley de
Migración, para quedar como sigue:

   ……..

                                                                 Transitorios

   Primero. El presente Decreto entrará en vigor a los 60 días de su publicación en el Diario Oficial de la
Federación.

  Segundo. El Ejecutivo Federal, a más tardar dentro de seis meses a partir de la publicación de este
Decreto, expedirá las reformas reglamentarias correspondientes.

   Tercero. El Congreso de la Unión deberá destinar los recursos necesarios para la operación de los
Centros de Asistencia Social, así como para el funcionamiento de las Procuradurías de Protección, de
conformidad con la Ley General de los Derechos de Niñas, Niños y Adolescentes y su Reglamento. Las
partidas presupuéstales deberán señalarse en el presupuesto inmediato siguiente a la entrada en vigor
del presente Decreto y en los presupuestos sucesivos.

  Ciudad de México, a 29 de septiembre de 2020.- Sen. Eduardo Ramírez Aguilar, Presidente.- Dip.
Dulce María Sauri Riancho, Presidenta.- Sen. Lilia Margarita Valdez Martínez, Secretaria.- Dip.
Martha Hortencia Garay Cadena, Secretaria.- Rúbricas."

   En cumplimiento de lo dispuesto por la fracción I del Artículo 89 de la Constitución Política de los
Estados Unidos Mexicanos, y para su debida publicación y observancia, expido el presente Decreto en la
Residencia del Poder Ejecutivo Federal, en la Ciudad de México, a 6 de noviembre de 2020.- Andrés
Manuel López Obrador.- Rúbrica.- La Secretaria de Gobernación, Dra. Olga María del Carmen
Sánchez Cordero Dávila.- Rúbrica.




                                                                    60 de 67
                                                                                                             Haiti AR_001489
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 186 of 382

                                                                                                                LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                            Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




DECRETO por el que se reforman los artículos 43, 64 y 144 de la Ley de Migración.
                                  Publicado en el Diario Oficial de la Federación el 7 de enero de 2021

   Artículo Único.- Se reforman los artículos 43, fracciones I y III y el párrafo cuarto; 64, fracción VI, y
144, fracción IV de la Ley de Migración, para quedar como sigue:

   ………

                                                                 Transitorios

   Primero.- El presente Decreto entrará en vigor el día siguiente al de su publicación en el Diario Oficial
de la Federación.

   Segundo.- Se derogan todas las disposiciones legales y reglamentarias contrarias a las disposiciones
del presente Decreto.

  Ciudad de México, a 26 de noviembre de 2020.- Sen. Eduardo Ramírez Aguilar, Presidente.- Dip.
Dulce María Sauri Riancho, Presidenta.- Sen. Lilia Margarita Valdez Martínez, Secretaria.- Dip.
Martha Hortencia Garay Cadena, Secretaria.- Rúbricas."

   En cumplimiento de lo dispuesto por la fracción I del Artículo 89 de la Constitución Política de los
Estados Unidos Mexicanos, y para su debida publicación y observancia, expido el presente Decreto en la
Residencia del Poder Ejecutivo Federal, en la Ciudad de México, a 4 de enero de 2021.- Andrés Manuel
López Obrador.- Rúbrica.- La Secretaria de Gobernación, Dra. Olga María del Carmen Sánchez
Cordero Dávila.- Rúbrica.




                                                                    61 de 67
                                                                                                                 Haiti AR_001490
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 187 of 382

                                                                                                              LEY DE MIGRACIÓN
              CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                           Última Reforma DOF 29-04-2022
              Secretaría General
              Secretaría de Servicios Parlamentarios




DECRETO por el que se reforman y adicionan los artículos 2 y 28 de la Ley de Migración.
                                 Publicado en el Diario Oficial de la Federación el 4 de mayo de 2021

   Artículo Único.- Se reforman los artículos 2, primer párrafo; 28, fracción IV y se adicionan los
párrafos quince y dieciséis, pasando el actual párrafo quince a ser diecisiete al artículo 2 de la Ley de
Migración, para quedar como sigue:

   ……….

                                                                Transitorio

   Único.- El presente Decreto entrará en vigor el día siguiente al de su publicación en el Diario Oficial
de la Federación.

  Ciudad de México, a 25 de marzo de 2021.- Sen. Oscar Eduardo Ramírez Aguilar, Presidente.- Dip.
Dulce María Sauri Riancho, Presidenta.- Sen. Lilia Margarita Valdez Martínez, Secretaria.- Dip. María
Guadalupe Díaz Avilez, Secretaria.- Rúbricas."

   En cumplimiento de lo dispuesto por la fracción I del Artículo 89 de la Constitución Política de los
Estados Unidos Mexicanos, y para su debida publicación y observancia, expido el presente Decreto en la
Residencia del Poder Ejecutivo Federal, en la Ciudad de México, a 28 de abril de 2021.- Andrés Manuel
López Obrador.- Rúbrica.- La Secretaria de Gobernación, Dra. Olga María del Carmen Sánchez
Cordero Dávila.- Rúbrica.




                                                                  62 de 67
                                                                                                               Haiti AR_001491
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 188 of 382

                                                                                                               LEY DE MIGRACIÓN
               CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                           Última Reforma DOF 29-04-2022
               Secretaría General
               Secretaría de Servicios Parlamentarios




DECRETO por el que se expide la Ley de la Fiscalía General de la República, se abroga la
Ley Orgánica de la Fiscalía General de la República y se reforman, adicionan y derogan
diversas disposiciones de distintos ordenamientos legales.
                                 Publicado en el Diario Oficial de la Federación el 20 de mayo de 2021

   Artículo Trigésimo Cuarto.- Se reforma el párrafo primero y las fracciones II y III del artículo 28 de la
Ley de Migración, para quedar como sigue:

   ……..

                                                                 Transitorios

    Primero. El presente Decreto entrará en vigor al día siguiente de su publicación en el Diario Oficial de
la Federación y se expide en cumplimento al artículo Décimo Tercero transitorio del Decreto por el que se
expidió la Ley Orgánica de la Fiscalía General de la República.

   Segundo. Se abroga la Ley Orgánica de la Fiscalía General de la República.

   Todas las referencias normativas a la Procuraduría General de la República o del Procurador General
de la República, se entenderán referidas a la Fiscalía General de la República o a su persona titular,
respectivamente, en los términos de sus funciones constitucionales vigentes.

    Tercero. Las designaciones, nombramientos y procesos en curso para designación, realizados de
conformidad con las disposiciones constitucionales y legales, relativos a la persona titular de la Fiscalía
General de la República, las Fiscalías Especializadas, el Órgano Interno de Control y las demás personas
titulares de las unidades administrativas, órganos desconcentrados y órganos que se encuentren en el
ámbito de la Fiscalía General de la República, así como de las personas integrantes del Consejo
Ciudadano de la Fiscalía General de la República, continuarán vigentes por el periodo para el cual fueron
designados o hasta la conclusión en el ejercicio de la función o, en su caso, hasta la terminación del
proceso pendiente.

    Cuarto. La persona titular de la Fiscalía General de la República contará con un término de noventa
días naturales siguientes a la entrada en vigor del presente Decreto, para expedir el Estatuto orgánico de
la Fiscalía General de la República y de ciento ochenta días naturales, contados a partir de la expedición
de éste, para expedir el Estatuto del Servicio Profesional de Carrera.

    En tanto se expiden los Estatutos y normatividad, continuarán aplicándose las normas y actos
jurídicos que se han venido aplicando, en lo que no se opongan al presente Decreto.

   Los instrumentos jurídicos, convenios, acuerdos interinstitucionales, contratos o actos equivalentes,
celebrados o emitidos por la Procuraduría General de la República o la Fiscalía General de la República
se entenderán como vigentes y obligarán en sus términos a la Institución, en lo que no se opongan al
presente Decreto, sin perjuicio del derecho de las partes a ratificarlos, modificarlos o rescindirlos
posteriormente o, en su caso, de ser derogados o abrogados.

   Quinto. A partir de la entrada en vigor de este Decreto quedará desincorporado de la Administración
Pública Federal el organismo descentralizado denominado Instituto Nacional de Ciencias Penales que
pasará a ser un órgano con personalidad jurídica y patrimonio propio, que gozará de autonomía técnica y
de gestión, dentro del ámbito de la Fiscalía General de la República.




                                                                    63 de 67
                                                                                                                Haiti AR_001492
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 189 of 382

                                                                                        LEY DE MIGRACIÓN
              CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                     Última Reforma DOF 29-04-2022
              Secretaría General
              Secretaría de Servicios Parlamentarios




    Las personas servidoras públicas que en ese momento se encuentren prestando sus servicios para el
Instituto Nacional de Ciencias Penales tendrán derecho a participar en el proceso de evaluación para
transitar al servicio profesional de carrera.

   Para acceder al servicio profesional de carrera, el personal que deseé continuar prestando sus
servicios al Instituto Nacional de Ciencias Penales deberá sujetarse al proceso de evaluación según
disponga el Estatuto del Servicio Profesional de Carrera, dándose por terminada aquella relación con
aquellos servidores públicos que no se sometan o no acrediten el proceso de evaluación.

    El Instituto Nacional de Ciencias Penales deberá terminar sus relaciones laborales con sus personas
trabajadoras una vez que se instale el servicio profesional de carrera, conforme al programa de
liquidación del personal que autorice la Junta de Gobierno, hasta que esto no suceda, las relaciones
laborales subsistirán.

   A la entrada en vigor de este Decreto, las personas integrantes de la Junta de Gobierno del Instituto
Nacional de Ciencias Penales pertenecientes a la Administración Pública Federal dejarán el cargo, y sus
lugares serán ocupados por las personas que determine la persona titular de la Fiscalía General de la
República.

   Dentro de los sesenta días naturales siguientes a la entrada en vigor de este Decreto, la Junta de
Gobierno emitirá un nuevo Estatuto orgánico y establecerá un servicio profesional de carrera, así como
un programa de liquidación del personal que, por cualquier causa, no transite al servicio profesional de
carrera que se instale.

   Los recursos materiales, financieros y presupuestales, incluyendo los bienes muebles, con los que
cuente el Instituto a la entrada en vigor del presente Decreto, pasarán al Instituto Nacional de Ciencias
Penales de la Fiscalía General de la República conforme al Décimo Primero Transitorio del presente
Decreto.

    Sexto. El conocimiento y resolución de los asuntos que se encuentren en trámite a la entrada en vigor
del presente Decreto o que se inicien con posterioridad a éste, corresponderá a las unidades
competentes, en términos de la normatividad aplicable o a aquellas que de conformidad con las
atribuciones que les otorga el presente Decreto, asuman su conocimiento, hasta en tanto se expiden los
Estatutos y demás normatividad derivada del presente Decreto.

    Séptimo. El personal que a la fecha de entrada en vigor del presente Decreto tenga nombramiento o
Formato Único de Personal expedido por la entonces Procuraduría General de la República, conservará
los derechos que haya adquirido en virtud de su calidad de persona servidora pública, con independencia
de la denominación que corresponda a sus actividades o naturaleza de la plaza que ocupe. Para acceder
al servicio profesional de carrera el personal que deseé continuar prestando sus servicios con la Fiscalía
General de la República deberá sujetarse al proceso de evaluación según disponga el Estatuto del
servicio profesional de carrera. Se dará por terminada aquella relación con aquellas personas servidoras
públicas que no se sometan o no acrediten el proceso de evaluación.

   El personal contratado por la Fiscalía General de la República se sujetará a la vigencia de su
nombramiento, de conformidad con los Lineamientos L/001/19 y L/003/19, por los que se regula la
contratación del personal de transición, así como al personal adscrito a la entonces Procuraduría General
de la República que continúa en la Fiscalía General de la República, así como para el personal de
transición.

   Octavo. Las personas servidoras públicas que cuenten con nombramiento o Formato Único de
Personal expedido por la entonces Procuraduría General de la República a la fecha de entrada en vigor



                                                                64 de 67
                                                                                         Haiti AR_001493
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 190 of 382

                                                                                        LEY DE MIGRACIÓN
              CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                     Última Reforma DOF 29-04-2022
              Secretaría General
              Secretaría de Servicios Parlamentarios




de este Decreto y que, por cualquier causa, no transiten al servicio profesional de carrera deberán
adherirse a los programas de liquidación que para tales efectos se expidan.

   Noveno. La persona titular de la Oficialía Mayor contará con el plazo de noventa días naturales para
constituir el Fideicomiso denominado “Fondo para el Mejoramiento de la Procuración de Justicia” o
modificar el objeto de cualquier instrumento jurídico ya existente de naturaleza igual, similar o análoga.

     Décimo. La persona titular de la Oficialía Mayor emitirá los lineamientos para la transferencia de
recursos humanos, materiales, financieros o presupuestales, incluyendo los muebles, con los que cuente
la Fiscalía General de la República en el momento de la entrada en vigor de este Decreto, así como para
la liquidación de pasivos y demás obligaciones que se encuentren pendientes respecto de la extinción de
la Procuraduría General de la República.

   Queda sin efectos el Plan Estratégico de Transición establecido en el artículo Noveno transitorio de la
Ley Orgánica de la Fiscalía General de la República que se abroga a través del presente Decreto.

   Décimo Primero. Los bienes inmuebles que sean propiedad de la Fiscalía General de la República, o
de los órganos que se encuentren dentro su ámbito o de la Federación que, a la fecha de entrada en
vigor del presente Decreto se encuentren dados en asignación o destino a la Fiscalía General de la
República, pasarán a formar parte de su patrimonio.

    Los bienes muebles y demás recursos materiales, financieros o presupuestales, que hayan sido
asignados o destinados, a la Fiscalía General de la República pasarán a formar parte de su patrimonio a
la entrada en vigor del presente Decreto.

    Décimo Segundo. La persona titular de la Fiscalía General de la República contará con un plazo de
un año a partir de la publicación del presente Decreto para emitir el Plan Estratégico de Procuración de
Justicia de la Fiscalía General de la República, con el que se conducirá la labor sustantiva de la
Institución conforme a la obligación a que refiere el artículo 88 del presente Decreto. Mismo que deberá
ser presentado por la persona titular de la Fiscalía General de la República en términos del párrafo
tercero del artículo 88 del presente Decreto.

    El Plan Estratégico de Procuración de Justicia se presentará ante el Senado de la República, durante
el segundo periodo ordinario de sesiones, en su caso, seis meses después de la entrada en vigor del
presente Decreto.

   Para la emisión del Plan Estratégico de Procuración de Justicia, la Fiscalía General de la República
contará con la opinión del Consejo Ciudadano. La falta de instalación de dicho Consejo Ciudadano no
impedirá la presentación del Plan Estratégico de Procuración de Justicia.

   Décimo Tercero. Las unidades administrativas de la Fiscalía General de la República que a la fecha
de entrada en vigor del presente Decreto se encargan de los procedimientos relativos a las
responsabilidades administrativas de las personas servidoras públicas de la Fiscalía General de la
República, tendrán el plazo de noventa días naturales para remitirlos al Órgano Interno de Control, para
que se encargue de su conocimiento y resolución, atendiendo a la competencia que se prevé en el
presente Decreto.

   Décimo Cuarto. Por lo que hace a la fiscalización del Instituto Nacional de Ciencias Penales,
corresponderá al Órgano Interno de Control de la Fiscalía General de la República, a la entrada en vigor
del presente Decreto, sin perjuicio de las atribuciones que correspondan a la Auditoría Superior de la
Federación.




                                                                65 de 67
                                                                                         Haiti AR_001494
  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 191 of 382

                                                                                      LEY DE MIGRACIÓN
              CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                   Última Reforma DOF 29-04-2022
              Secretaría General
              Secretaría de Servicios Parlamentarios




   Los expedientes iniciados y pendientes de trámite a la entrada en vigor del presente Decreto, serán
resueltos por la Secretaría de la Función Pública.

   Por cuanto hace a la estructura orgánica, así como a los recursos materiales, financieros o
presupuestales del Órgano Interno de Control en el Instituto Nacional de Ciencias Penales, pasarán al
Órgano Interno de Control de la Fiscalía General de la República.

   Décimo Quinto. Los bienes que hayan sido asegurados por la Procuraduría General de la República
o Fiscalía General de la República, con anterioridad a la entrada en vigor de este Decreto, que sean
susceptibles de administración o se determine su destino legal, se pondrán a disposición del Instituto
para Devolver al Pueblo lo Robado, conforme a la legislación aplicable.

   Décimo Sexto. Quedan derogadas todas las disposiciones que se opongan a este Decreto.

  Ciudad de México, a 29 de abril de 2021.- Dip. Dulce María Sauri Riancho, Presidenta.- Sen. Oscar
Eduardo Ramírez Aguilar, Presidente.- Dip. Lizbeth Mata Lozano, Secretaria.- Sen. María Merced
González González, Secretaria.- Rúbricas."

   En cumplimiento de lo dispuesto por la fracción I del Artículo 89 de la Constitución Política de los
Estados Unidos Mexicanos, y para su debida publicación y observancia, expido el presente Decreto en la
Residencia del Poder Ejecutivo Federal, en la Ciudad de México, a 18 de mayo de 2021.- Andrés
Manuel López Obrador.- Rúbrica.- La Secretaria de Gobernación, Dra. Olga María del Carmen
Sánchez Cordero Dávila.- Rúbrica.




                                                                66 de 67
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  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 192 of 382

                                                                                                                LEY DE MIGRACIÓN
              CÁMARA DE DIPUTADOS DEL H. CONGRESO DE LA UNIÓN                                             Última Reforma DOF 29-04-2022
              Secretaría General
              Secretaría de Servicios Parlamentarios




DECRETO por el que se reforma el segundo párrafo del artículo 35 de la Ley de
Migración.
                                 Publicado en el Diario Oficial de la Federación el 29 de abril de 2022

  Artículo Único.- Se reforma el segundo párrafo del artículo 35 de la Ley de Migración, para quedar
como sigue:

   ……..

                                                                Transitorio

   Único.- El presente Decreto entrará en vigor el día siguiente al de su publicación en el Diario Oficial
de la Federación, para que el personal del Instituto Nacional de Migración pueda auxiliarse de
herramientas tecnológicas automatizadas en la vigilancia de entrada y salida de nacionales y extranjeros.

   Ciudad de México, a 24 de marzo de 2022.- Dip. Sergio Carlos Gutiérrez Luna, Presidente.- Sen.
Olga Sánchez Cordero Dávila, Presidenta.- Dip. Jessica María Guadalupe Ortega De la Cruz,
Secretaria.- Sen. Verónica Delgadillo García, Secretaria.- Rúbricas."

   En cumplimiento de lo dispuesto por la fracción I del Artículo 89 de la Constitución Política de los
Estados Unidos Mexicanos, y para su debida publicación y observancia, expido el presente Decreto en la
Residencia del Poder Ejecutivo Federal, en la Ciudad de México, a 21 de abril de 2022.- Andrés Manuel
López Obrador.- Rúbrica.- El Secretario de Gobernación, Lic. Adán Augusto López Hernández.-
Rúbrica.




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                        Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 198 of 382


              Cuadro No. 001 TRÁNSITO IRREGULAR DE EXTRANJEROS POR LA FRONTERA CON COLOMBIA POR REGIÓN SEGÚN ORDEN DE IMPORTANCIA: AÑO 2022

             Región                      Total           Ene.         Feb.            Mar.           Abr.      May.          Jun.            Jul.         Ago.       Sep.     Oct.     Nov.     Dic.

              Total                     227,987          4,702         4,262           4,827          6,134    13,894        15,633          22,822       31,104     48,204   59,773   16,632          -

 América del Sur                        180,944          1,780         1,991           2,099          3,147    10,900        12,490          18,737       26,439     43,173   51,978    8,210          -
 Antillas                                24,674          1,012           817             876          1,311     1,493         1,369           1,789        2,501      3,049    4,926    5,531          -
 África                                  11,058          1,316         1,056           1,259          1,072       764           942           1,031        1,012        841      967      798          -
 Asia                                    11,186            576           378             588            600       734           808           1,252        1,145      1,131    1,886    2,088          -
 Europa                                      56             12             7               2              1         -            19               8            1          2        3        1          -
 América Central                             35              1             2               1              1         1             2               5            4          7       10        1          -
 Eurasia                                     16              3             4               -              -         2             2               -            -          1        2        2          -
 Oceanía                                     10              -             7               1              2         -             -               -            -          -        -        -          -
 América del Norte                            6              2             -               1              -         -             1               -            1          -        1        -          -
 Otras regiones                               2              -             -               -              -         -             -               -            1          -        -        1          -

Cifras preliminares al 30 de noviembre del 2022 sujetas a revisión y actualización.




                               Cuadro No. 002 TRÁNSITO IRREGULAR DE EXTRANJEROS POR LA FRONTERA CON COLOMBIA SEGÚN CONDICIÓN: AÑO 2022

            Condición                    Total           Ene.         Feb.            Mar.           Abr.      May.          Jun.            Jul.         Ago.       Sep.     Oct.     Nov.     Dic.

               Total                    227,987          4,702         4,262           4,827          6,134    13,894        15,633          22,822       31,104     48,204   59,773   16,632          -
Hombres                                 165,596          3,557         3,047           3,449          4,632    10,316        11,632          17,239       23,481     35,550   41,735   10,958          -
Mujeres                                  62,391          1,145         1,215           1,378          1,502     3,578         4,001           5,583        7,623     12,654   18,038    5,674          -



                                         Gráfico No. 001 TRÁNSITO IRREGULAR DE EXTRANJEROS POR LA FRONTERA CON COLOMBIA: AÑO 2022


                                                                                                                                                                   59,773

                                                                                                                                                      48,204


                                                                                                                                    31,104
                                                                                                                 22,822
                                                                                                     15,633                                                                   16,632
                                                                                  13,894
                4,702           4,262            4,827            6,134
                                                                                                                                                                                           -

                Ene.             Feb.             Mar.             Abr.               May.             Jun.       Jul.              Ago.               Sep.         Oct.      Nov.       Dic.




                                                     Gráfico No. 002 PORCENTAJE DE TRÁNSITO IRREGULAR DE EXTRANJEROS POR LA
                                                         FRONTERA CON COLOMBIA SEGÚN REGIÓN DE PROCEDENCIA: AÑO 2022




                                                                                                                        Antillas
                                                                                             América del Sur             11%
                                                                                                 79%
                                                                                                                       África
                                                                                                                        5%
                                                                                                                      Asia
                                                                                                                                         América Central
                                                                                                                      5%                       0%
                                                                                                                                       Oceanía
                                                                                                                                         0%
                                                                                                                                   Eurasia
                                                                                                                      Europa         0%
                                                                                                                        0%



                                                                                                                                                                       Haiti AR_001502
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            Cuadro No. 003 TRÁNSITO IRREGULAR DE EXTRANJEROS POR LA FRONTERA CON COLOMBIA POR PAÍS SEGÚN ORDEN DE IMPORTANCIA: AÑO 2022


            País             Total    Ene.        Feb.      Mar.       Abr.     May.       Jun.     Jul.     Ago.     Sep.     Oct.     Nov.     Dic.

            Total           227,987    4,702       4,262     4,827      6,134   13,894     15,633   22,822   31,104   48,204   59,773   16,632          -
Venezuela                   148,953    1,421       1,573     1,704      2,694    9,844     11,359   17,066   23,632   38,399   40,593      668          -
Ecuador                      21,535      100         156       121        181      527        555      883    1,581    2,594    8,487    6,350          -
Haití                        16,933      630         471       485        628      810        860    1,021    1,538    2,170    3,713    4,607          -
Cuba                          5,530      367         334       361        634      567        416      574      589      490      663      535          -
Colombia                      4,876       48          72        59         72      248        287      407      569    1,306    1,600      208          -
India                         3,248       67          74        88        172      179        228      431      332      350      604      723          -
Brasil                        2,614      168         139       160        134      150        121      149      271      282      488      552          -
Senegal                       1,928      589         280       264        328      127        109       77       95       34       18        7          -
Rep. Dominicana               2,183       15          12        30         48      115         88      194      373      388      542      378          -
Bangladesh                    1,829       70          81       201        126      254        210      236      150      189      143      169          -
Perú                          1,504       17          23        18         29       88        109      136      247      365      438       34          -
Nepal                         1,512      108          64        56        121       75        136      217      276      117      167      175          -
Afganistán                    1,624        1           3        40         31       67         82      162      128      180      551      379          -
Angola                        1,271      198         304       378        107       32         26       68       71       26       29       32          -
Somalia                       1,366       84          27        60         83      103        149      201      182      134      193      150          -
Ghana                         1,230      113          83        90        141       88        354       84       91       85       55       46          -
Camerún                       1,248       31          24        92         91      103         41      210      132      199      209      116          -
China                         1,310       32          39        56         59       67         66       85      119      136      274      377          -
Chile                         1,205        9          17        13         23       37         44       75      112      190      324      361          -
Congo                           610       69         141       143         38       24         13       64       47        5       27       39          -
Eritrea                         591       30          32        34         56       72         50       91       69       48       49       60          -
Nigeria                         615       23          54        45         53       41         49       31       63       72       72      112          -
Guinea                          457       40          10        44         40       39         37       31       39       57       72       48          -
Uzbekistán                      410      164          42        60         13        6         14       31       28       48        3        1          -
Mauritania                      300       18           7         8         21       15         17       31       53       28       74       28          -
Burkina Faso                    317       18          17        22         19       25         24       33       36       34       32       57          -
Pakistán                        253       27           9        20         18       30         24       17       24       16       29       39          -
Mali                            227       18          12        19         13       19         10       17       31       47       25       16          -
Tayikistán                      195       88          11        17          2        1          7       16       30       20        3        -          -
Etiopía                         210        9           7         4         21       20         15       23       26       27       37       21          -
Sri Lanka                       188        5          12        12         12       26         15        7       13       34       16       36          -
Kirguistán                      198        3          31         2         21        5         14       17       11        8       27       59          -
Sierra Leona                    153       18           6         9         27       10          8       23        6       10       22       14          -
Siria                            85        6           3        21          3       13          4        7        4       10       13        1          -
Togo                             82       18          16         6         12        2          5        4        4        3        4        8          -
Otros Países                  1,197       80          76        85         63       65         87      103      132      103      177      226          -




                       Cuadro No. 004 TRÁNSITO IRREGULAR DE EXTRANJEROS POR LA FRONTERA CON COLOMBIA SEGÚN CONDICIÓN: AÑO 2022

          Condición          Total    Ene.        Feb.      Mar.       Abr.     May.       Jun.     Jul.     Ago.     Sep.     Oct.     Nov.     Dic.

            Total           227,987    4,702       4,262     4,827      6,134   13,894     15,633   22,822   31,104   48,204   59,773   16,632          -
Adultos                     191,854    4,059       3,527     3,958      5,358   11,885     13,296   19,784   26,939   41,198   48,863   12,987          -
Menores                      36,133      643         735       869        776    2,009      2,337    3,038    4,165    7,006   10,910    3,645          -



                                             Gráfico No. 003 PORCENTAJE DE TRÁNSITO IRREGULAR DE EXTRANJEROS POR LA
                                                        FRONTERA CON COLOMBIA SEGÚN CONDICIÓN : AÑO 2022




                                                                                       Menores
                                                                                        16%
                                                                     Adultos
                                                                      84%




                                                                                                                        Haiti AR_001503
                                         MINISTERIO DE SEGURIDAD PÚBLICA
                                         SERVICIO NACIONAL DE MIGRACIÓN
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                  Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 202 of 382




                                     Irregulares en tránsito por Darién por país

          País           Total    Ene.    Feb.    Mar.     Abr.    May.     Jun.     Jul.     Ago.     Sep.     Oct.       Nov.       Dic.

         Total          151,582   4,702   4,262   4,827    6,134   13,894   15,633   22,822   31,104   48,204          -          -          -
Venezuela               107,692   1,421   1,573    1,704   2,694    9,844   11,359   17,066   23,632   38,399          -          -          -
Haití                     8,613     630     471      485     628      810      860    1,021    1,538    2,170          -          -          -
Ecuador                   6,698     100     156      121     181      527      555      883    1,581    2,594          -          -          -
Cuba                      4,332     367     334      361     634      567      416      574      589      490          -          -          -
Colombia                  3,068      48      72       59      72      248      287      407      569    1,306          -          -          -
India                     1,921      67      74       88     172      179      228      431      332      350          -          -          -
Senegal                   1,903     589     280      264     328      127      109       77       95       34          -          -          -
Brasil                    1,574     168     139      160     134      150      121      149      271      282          -          -          -
Bangladesh                1,517      70      81      201     126      254      210      236      150      189          -          -          -
Rep. Dominicana           1,263      15      12       30      48      115       88      194      373      388          -          -          -
Angola                    1,210     198     304      378     107       32       26       68       71       26          -          -          -
Nepal                     1,170     108      64       56     121       75      136      217      276      117          -          -          -
Ghana                     1,129     113      83       90     141       88      354       84       91       85          -          -          -
Perú                      1,032      17      23       18      29       88      109      136      247      365          -          -          -
Somalia                   1,023      84      27       60      83      103      149      201      182      134          -          -          -
Camerún                     923      31      24       92      91      103       41      210      132      199          -          -          -
Afganistán                  694       1       3       40      31       67       82      162      128      180          -          -          -
China                       659      32      39       56      59       67       66       85      119      136          -          -          -
Chile                       520       9      17       13      23       37       44       75      112      190          -          -          -
Congo                       544      69     141      143      38       24       13       64       47        5          -          -          -
Eritrea                     482      30      32       34      56       72       50       91       69       48          -          -          -
Nigeria                     431      23      54       45      53       41       49       31       63       72          -          -          -
Uzbekistán                  406     164      42       60      13        6       14       31       28       48          -          -          -
Guinea                      337      40      10       44      40       39       37       31       39       57          -          -          -
Burkina Faso                228      18      17       22      19       25       24       33       36       34          -          -          -
Mauritania                  198      18       7        8      21       15       17       31       53       28          -          -          -
Mali                        186      18      12       19      13       19       10       17       31       47          -          -          -
Tayikistán                  192      88      11       17       2        1        7       16       30       20          -          -          -
Pakistán                    185      27       9       20      18       30       24       17       24       16          -          -          -
Etiopía                     152       9       7        4      21       20       15       23       26       27          -          -          -
Sri Lanka                   136       5      12       12      12       26       15        7       13       34          -          -          -
Sierra Leona                117      18       6        9      27       10        8       23        6       10          -          -          -
Kirguistán                  112       3      31        2      21        5       14       17       11        8          -          -          -
Siria                        71       6       3       21       3       13        4        7        4       10          -          -          -
Togo                         70      18      16        6      12        2        5        4        4        3          -          -          -
Otros Países                794      80      76       85      63       65       87      103      132      103          -          -          -




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 203 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 204 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 205 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 206 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 207 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 208 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 209 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 210 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 211 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 212 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 213 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 214 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 215 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 216 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 217 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 218 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 219 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 220 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 221 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 222 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 223 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 224 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 225 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 226 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 227 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 228 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 229 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 230 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 231 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 232 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 233 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 234 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 235 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 236 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 237 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 238 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 239 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 240 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 241 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 242 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 243 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 246 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 247 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 248 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 249 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 250 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 251 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 252 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 253 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 254 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 255 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 256 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 257 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 258 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 259 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 260 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 261 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 262 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 263 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 265 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 266 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 267 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 268 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 270 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 271 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 272 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 273 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 274 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 275 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 276 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 278 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 279 of 382




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 280 of 382




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 Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 281 of 382




Killing with Impunity:
State-Sanctioned Massacres in Haiti
Harvard Law School International Human Rights Clinic
Observatoire Haïtien des crimes contre l’humanité Haiti AR_001585
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 282 of 382




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                                                                                   Haiti AR_001586
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 283 of 382




                         Killing with Impunity:
                  State-Sanctioned Massacres in Haiti




             Harvard Law School International Human Rights Clinic
               Observatoire Haïtien des crimes contre l’humanité




                                  April 2021




                                                                    Haiti AR_001587
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 284 of 382




 Table of Contents

 Acknowledgments                                                                            2

 Executive Summary                                                                          3
 A Pattern of Sustained Attacks                                                             3
 Legal Framework                                                                            4
 Findings                                                                                   5

 I. Political Context of the Attacks                                                        6
 President Moïse’s Consolidation of Power                                                   6
 Anti-Government Protests                                                                   7
 Repression of Government Opposition and Violence Against Civil Society                     7
 The Expanding Role of Gangs and Their Relationship to State Actors                         8

 II. Emblematic Attacks Against Civilians                                                   9
 The Attack on La Saline, November 13-14, 2018                                              9
     ࠮ Leadup to the Attack                                                                 9
     ࠮ The Attack                                                                          10
     ࠮ State Response                                                                      11
 Attack on Bel-Air, November 4-6, 2019                                                     11
     ࠮ Leadup to the Attack                                                                11
     ࠮ The Attack                                                                          12
     ࠮ State Response                                                                      13
 Attack on Cité Soleil, May-July 2020                                                      13
     ࠮ Leadup to the Attack                                                                13
     ࠮ The Attack                                                                          14
     ࠮ State Response                                                                      15

 III. Legal Analysis: There Is a Reasonable Basis to Conclude That the Attacks             16
 Amount to Crimes Against Humanity
 Crimes Against Humanity Under International Law                                           16
 The Attacks Involved Qualifying Acts of Violence                                          16
      ࠮ Murder                                                                             17
      ࠮ Rape                                                                               17
      ࠮ Torture                                                                            17
      ࠮ 7LYZLJ\[PVU(NHPUZ[HU0KLU[PÄHISL.YV\WVY*VSSLJ[P]P[`VU7VSP[PJHS.YV\UKZ     
      ࠮ The Underlying Crimes Are a Part of the Attacks                                    19
 The Attacks Were Directed Against a Civilian Population                                   19
      ࠮ The Assaults on La Saline, Bel-Air and Cité Soleil Constitute Attacks              19
      ࠮ The Attacks Were Directed Agains,t a Civilian Population                           20
 The Attacks Were Widespread and Systematic in Nature                                      20
      ࠮ The Attacks Were Widespread                                                        20
      ࠮ The Attacks Were Systematic                                                        20
 The Attacks Furthered a State or Organizational Policy                                    21
      ࠮ The Attacks Furthered a State Policy                                               22
      ࠮ The Attacks Furthered a Separate Gang Policy to Attack                             23



                                                                                         Haiti AR_001588
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 285 of 382




 IV. The Available Evidence Points to Several State Actors Who May Be Liable     24
 for Crimes Against Humanity
 Direct Commission                                                               25
 Aiding and Abetting                                                             25
     ࠮ Haitian National Police                                                   26
     ࠮ 4V{ZL(KTPUPZ[YH[PVU6ɉJPHSZ                                             
 Ordering, Soliciting, or Inducing the Crimes                                    27
 Common Enterprise                                                               28
     ࠮ 4V{ZL(KTPUPZ[YH[PVU6ɉJPHSZ                                            
     ࠮ Haitian National Police                                                   28
 President Moïse May Be Responsible for Crimes Against Humanity Under            28
 the Doctrine of Command Responsibility

 V. Ensuring Accountability for Perpetrators of Crimes Against Humanity          30
 The Crimes Have Been Carried Out with Impunity                                  30
 Implications for Accountability                                                 30

 Recommendations                                                                 32

 Conclusion                                                                      34

 Annex I                                                                         35

 Endnotes                                                                        37




                                                                               Haiti AR_001589
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 286 of 382
 2 | Killing with Impunity: State-Sanctioned Massacres in Haiti




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 This is a report of the International Human Rights Clinic (IHRC) at Harvard Law School and the
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 The International Human Rights Clinic (IHRC) at Harvard Law School seeks to protect and
 promote human rights and international humanitarian law through documentation; legal, factual, and
 strategic analysis; litigation before national, regional, and international bodies; treaty negotiations;
 and policy and advocacy initiatives. IHRC also engages in innovative clinical education to develop
 HK]HUJLK WYHJ[PJL [LJOUPX\LZ HUK HWWYVHJOLZ [V O\THU YPNO[Z HK]VJHJ` 0/9* OHZ ZPNUPÄJHU[
 experience documenting and seeking accountability for international crimes around the world,
 including in Bolivia, Myanmar, and South Africa. IHRC Clinical Instructor Beatrice Lindstrom has
 worked on human rights issues in Haiti since 2010. For more information, please visit IHRC’s website:
 https://hrp.law.harvard.edu/clinic/.

 The Observatoire Haïtien des crimes contre l’humanité is a consortium of Haitian civil society
 organizations and prominent leaders that came together in October 2020 with a mission of monitoring
 human rights violations in Haiti that may amount to crimes against humanity. Members include the
 Bureau des Avocats Internationaux (BAI), the Réseau National de Défense des Droits Humains
 (RNDDH), and individual civil society leaders and prominent lawyers. OHCCH’s members have a long
 history of documenting human rights violations in Haiti, accompanying victims in legal proceedings
 to seek accountability, and advocating for justice and respect for human rights on the national and
 international stage.

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                                                                                             Haiti AR_001590
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 287 of 382
                                                                                             Executive Summary | 3




 Executive Summary

 A Pattern of Sustained Attacks

 Over the course of President Jovenel Moïse’s presidency, Haitian civil society has raised alarm that
 armed gangs are carrying out heinous, state-sanctioned attacks against civilians in impoverished
 neighborhoods in Port-au-Prince. The scale, pattern, and context of the attacks indicate that they
 may amount to crimes against humanity.

 The attacks have taken place in the context of an escalating political crisis. President Moïse’s rule has
 become increasingly authoritarian and has turned to repression to quell dissent. Since 2018, massive
 public protests calling for government accountability and Moïse’s resignation have periodically shut
 down the country.1 The government has responded to the protests with aggressive measures, including
 criminalizing common non-violent protest tactics and increasing illegal surveillance of opponents.2
 Targeted assassinations and threats against government critics have been carried out with impunity.3

 During the four years of Moïse’s presidency, human rights observers have documented at least ten
 brutal attacks in impoverished parts of the capital where opposition against his administration runs
 strong.4 Three attacks—in La Saline, Bel-Air, and Cité Soleil—are particularly well-documented and
 severe.5;OLZL[OYLLH[[HJRZVɈLYPUZPNO[ZPU[V[OLTLHUZHUKTL[OVKZ\ZLK[VJHYY`V\[[OLHZZH\S[Z
 and the ways in which state actors have supported the orchestration and execution of the attacks.
 When viewed together, they reveal a pattern of state-sanctioned violence, human rights abuses, and
 refusal to hold perpetrators accountable that likely amounts to crimes against humanity.

      La Saline: In November 2018, the worst massacre in decades was carried out in La
      Saline, a neighborhood that was playing a leading role in organizing protests against the
      President.60U[OL^LLRZILMVYL[OLH[[HJR[^VZLUPVYVɉJPHSZMYVT4V{ZL»ZHKTPUPZ[YH[PVU
      7PLYYL 9PJOHYK +\WSHU HUK -LKULS 4VUJOtY` TL[ ^P[O [OLUWVSPJL VɉJLY HUK NHUN
      leader Jimmy Chérizier alias Barbecue to plan and provide resources for the attack.7 On
      November 13-14, 2018, armed gangs led by Chérizier carried out a vicious attack on the
      community. Over the course of fourteen hours, the assailants systematically extracted
      victims, including children, from their homes and executed them at gunpoint and with
      machetes.8 Bodies were burned, dismembered, and disposed of in trash piles.9 At least 71
      people were killed, 11 women were raped, and 150 homes were looted and destroyed.10
      Despite widespread outrage in Haiti and internationally, President Moïse has failed to
      condemn his subordinates’ role in the massacre or support their prosecutions.11

      Bel-Air: In September 2019, as popular protests escalated into a nationwide shutdown,
      KLTVUZ[YH[VYZWSHJLKÅHTPUNIHYYPJHKLZVU[OLTHPUYVHKZVM)LS(PYHUV[OLYVWWVZP[PVU
      stronghold.12(M[LYZL]LYHSMHPSLKH[[LTW[Z[VYLTV]L[OLIHYYPLYZHUVɉJPHSMYVT[OL4V{ZL
      administration reportedly hired Chérizier to secure the removal of the barriers and prevent
      further protests in Bel-Air.13 Over the course of three days from November 4-6, 2019,
      Chérizier and allied gang leaders carried out an armed attack on Bel-Air. The assailants
      ZOV[ JP]PSPHUZ HUK ZL[ ÄYL [V OVTLZ RPSSPUN H[ SLHZ[  WLVWSL14 ,`L^P[ULZZLZ PKLU[PÄLK
      [OYLL WVSPJL VɉJLYZ PU JP]PSPHU JSV[OLZ HTVUN [OL H[[HJRLYZ15 Although the attack took
      place in an area surrounded by police stations, the police failed to intervene to protect
      residents despite repeated pleas for help broadcasted over the radio and social media.16



                                                                                                   Haiti AR_001591
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 288 of 382
 4 | Killing with Impunity: State-Sanctioned Massacres in Haiti




        Cité Soleil: Between May and July 2020, Chérizier and allied gang leaders—now
        operating under the newly formed G9 alliance17—coordinated simultaneous attacks across
        several neighborhoods in Cité Soleil. They killed at least 145 civilians, raped multiple
        ^VTLUHUKI\YU[OVTLZPULɈVY[Z[VJSHPTHYLHZOLSKI`YP]HSZ^P[O[PLZ[V4V{ZL»ZWVSP[PJHS
        opponents.18 Police resources were reportedly utilized at numerous points in the attacks.19
        Like La Saline and Bel-Air, Cité Soleil is known as an opposition stronghold.20 The area
        is also strategically important for electoral purposes, with many polling stations located
        there.21 9LZPKLU[Z ILSPL]L [OL` ^LYL [HYNL[LK MVY [OLPY WVSP[PJHS HɉSPH[PVUZ PU HU LɈVY[ [V
        secure electoral support for the president and his party.22

 To date, the Haitian government has failed to hold perpetrators accountable, allowing them to act with
 near complete impunity. Known perpetrators such as Chérizier, who is implicated as a principal actor
 in repeated attacks, remain free.23 Moreover, the government has failed to reckon with the criminal
 YLZWVUZPIPSP[`VMVɉJPHSZHUKWVSPJLVɉJLYZ^P[OPUP[ZYHURZ24+\WSHUHUK4VUJOtY`YLTHPULKPUVɉJL
 for almost a year after the 2018 La Saline attack,25 and prosecutions have failed to progress.26 Police
 VɉJLYZPTWSPJH[LKPU[OLH[[HJRZOH]LUV[ILLUIYV\NO[[VQ\Z[PJL27 Despite indications that Moïse
 himself has sanctioned the attacks,28OPZYVSLYLTHPUZ\UZJY\[PUPaLKI`HU`VɉJPHSPU]LZ[PNH[PVU;OPZ
 lack of justice has allowed a culture of impunity to grow, emboldening criminals and leaving civilians
 vulnerable to politically-motivated violence.29

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 HUKW\ISPZOPUNKL[HPSLKYLWVY[ZVM[OLPYÄUKPUNZ30:PNUPÄJHU[MHJ[ZZ\YYV\UKPUN[OLH[[HJRZHYLUV^
 well-documented. This report builds on that critical work to analyze the attacks under international
 criminal law.

 Legal Framework

 Relying on publicly available information, this report synthesizes what is currently known about the
 attacks in La Saline, Bel-Air, and Cité Soleil and applies international criminal law to analyze whether
 they amount to crimes against humanity. The three attacks were selected for analysis because of a
 combination of their severity and the existence of detailed documentation of facts surrounding the attacks.

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 international treaty that established the International Criminal Court (ICC), as well as related
 international jurisprudence from the ICC and other international criminal tribunals. The Rome Statute
 JVU[HPUZ[OLTVZ[YLJLU[HUK^PKLS`HJJLW[LKKLÄUP[PVUVM[OLJYPTL\UKLYPU[LYUH[PVUHSSH^31

 Under Article 7 of the Rome Statute, certain crimes may constitute crimes against humanity when
 they are committed as part of a widespread or systematic attack against a civilian population and are
 carried out pursuant to a state or organizational policy.32 Using this framework, the report assesses
 whether there is a reasonable basis to conclude that the attacks amount to crimes against humanity.

 Determining whether an attack constitutes crimes against humanity entails analyzing the violent
 acts to assess the scale, pattern, and context in which they took place. It also allows for a broader
 examination of individual criminal responsibility. Under international criminal law, liability for crimes
 against humanity is not limited to the persons who carried out the criminal acts, but also includes
 those who solicited, oversaw, and aided and abetted the crimes, as well as those who failed in their
 duties to punish the crimes after the fact. Given the compelling evidence that state actors—including

                                                                                                        Haiti AR_001592
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 289 of 382
                                                                                       Executive Summary | 5




 President Moïse himself and others in his administration—are implicated in the attacks, such an
 inquiry provides a fuller picture of the actors who may be held responsible for the attacks and who
 have allowed the attacks to be carried out with impunity.

 Findings

 ;OPZYLWVY[ÄUKZ[OH[[OLYLPZHYLHZVUHISLIHZPZ[VJVUJS\KL[OH[IV[OZ[H[LHUKUVUZ[H[LHJ[VYZTH`
 have committed crimes against humanity in Haiti. The attacks analyzed here involve murder, rape,
 torture, and persecution of a group based on their political identity—the types of underlying crimes
 that form a foundation for crimes against humanity.33 The scale, pattern, and intensity of violence
 indicate that the acts were neither isolated nor random, but rather constitute both widespread and
 systematic attacks targeted at civilians. Furthermore, evidence suggests that the attacks were
 pre-planned and furthered both an organizational policy of the gangs and an implicit state policy
 to repress political opposition. This state policy can be gleaned from the consistent targeting of
 VWWVZP[PVUULPNOIVYOVVKZHUK[OLYLWLH[LKPU]VS]LTLU[VMNV]LYUTLU[VɉJPHSZWVSPJLVɉJLYZHUK
 police resources in the attacks. Moreover, state actors allowed the attacks to be carried out without
 police intervention and have since failed to punish those responsible.

      Under Article 7 of the Rome Statute, qualifying underlying crimes may constitute crimes
      against humanity when they are committed as part of a widespread or systematic attack
      against a civilian population that is carried out pursuant to a state or organizational policy.

 Based on what is currently known about the attacks, it is likely that further investigations could
 establish individual criminal responsibility for gang members and leaders, as well as government
 VɉJPHSZPUJS\KPUNWVSPJLVɉJLYZHUKOPNOSL]LS4V{ZLHKTPUPZ[YH[PVUVɉJPHSZ^OV^LYLPU]VS]LKPU
 the attacks. As much of the international attention on the attacks has focused on the role of gangs,34
 this report instead focuses on the lesser-examined role of state actors who either actively provided
 material support to perpetrators or supported the perpetrators passively by failing in duties to prevent
 VYW\UPZO[OLT;OLYLWVY[PKLU[PÄLZRL`SLNHS[OLVYPLZ\UKLY^OPJOZ[H[LHJ[VYZTH`ILYLZWVUZPISL
 for crimes against humanity: direct commission; aiding and abetting; ordering, soliciting, or inducing
 the crimes; and common enterprise. Under the doctrine of command responsibility, President Moïse
 himself may also be liable for the crimes committed by his subordinates, particularly with respect to
 the attack in La Saline.

 ;OLÄUKPUNZ[OH[JYPTLZHNHPUZ[O\THUP[`OH]LSPRLS`[HRLUWSHJLPU/HP[PHUK[OH[Z[H[LHJ[VYZTH`
 ILSPHISLMVY[OLJYPTLZOH]LPTWVY[HU[YHTPÄJH[PVUZMVYHJJV\U[HIPSP[`/HP[PPZHWHY[`[V[OL(TLYPJHU
 Convention on Human Rights, which under Haiti’s Constitution becomes part of domestic law.35 Haiti
 has also accepted the binding jurisdiction of the Inter-American Court of Human Rights, tasked with
 interpreting the American Convention. The Court has not only endorsed universal application of crimes
 against humanity,36 but has also held that no statute of limitations applies to such crimes.37 The Haitian
 government therefore has a duty to investigate and punish those who are responsible for crimes
 against humanity.38(ÄUKPUNVMJYPTLZHNHPUZ[O\THUP[`HSZVVWLUZ[OLKVVYMVYV[OLYJV\U[YPLZ[V
 prosecute perpetrators found outside of Haiti on the basis of universal jurisdiction.39 Finally, although
 Haiti is not a party to the ICC, the situation could be referred to the ICC by the UN Security Council.40

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 for these crimes, in line with the recommendations set forth at the end of this report. Accountability
 is critical to supporting rule of law, but also to ensuring an end to the grave human rights abuses that
 have placed Haitian communities in a state of terror.

                                                                                             Haiti AR_001593
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 290 of 382
 6 | Killing with Impunity: State-Sanctioned Massacres in Haiti




 I. Political Context of the Attacks

 President Moïse’s Consolidation of Power

 President Moïse was elected in 2016, after an extended process marked by fraud and low voter
 turnout.41 Throughout his term, Moïse has systematically consolidated power by weakening branches
 of government and agencies meant to serve as a check on the presidency.

 ([[OL[PTLVM[OPZYLWVY[4V{ZLPZVULVMVUS`LSLJ[LKVɉJPHSZPU[OLLU[PYLJV\U[Y`42 In January
 2020, the terms of most members of Parliament expired without elections being held for their
 replacements.43 Defying calls to limit the use of executive decrees to the scheduling of legislative
 elections,444V{ZLOHZPUZ[LHK\ZLK[OLT[V\UKLY[HRLZPNUPÄJHU[SLNPZSH[P]LHJ[PVUPUJS\KPUNJYLH[PUN
 a domestic intelligence agency with extensive policing and surveillance powers that is only subjected
 to limited judicial review,45 and ordering an unlawful constitutional referendum.46 When the mandates
 of mayors in all 141 of Haiti’s municipalities expired in July 2020, Moïse used a decree to give himself
 the power to appoint municipal commissions.47 In March 2021, Moïse used a decree to expand the
 law on states of emergency, granting him the power to suspend fundamental rights and enabling
 security forces, including the remobilized army, to take “necessary measures” to respond to threats
 [VW\ISPJZLJ\YP[`HZKLÄULKI`[OLL_LJ\[P]L48

 President Moïse has also undermined autonomous government oversight bodies that have implicated
 OPTHSVUN^P[OHSHYNLZ^H[OVMNV]LYUTLU[VɉJPHSZHJYVZZHKTPUPZ[YH[PVUZPU[OLKPZHWWLHYHUJL
 of $3.8 billion in public funds made available through the PetroCaribe loan program.49 Moïse has
 denied the allegations, and there has been no meaningful judicial accountability for the misspending,
 aside from the prosecution of a political rival of Moïse’s administration.50 The scandal has sparked
 widespread and persistent protests across Haiti.

 Moïse’s approach to overdue elections raises further concerns about his consolidation of power.
 Moïse’s term as president was widely interpreted to end on February 7, 2021, but he has refused
 to step down, citing an alternative interpretation of the Constitution that he contends allows him to
 Z[H`PUVɉJL\U[PSH[SLHZ[-LIY\HY`51 Haitian civil society and opposition parties have called
 for a transition government to be put in place to credibly and independently organize elections.52 In
 September 2020, Moïse instead appointed a controversial provisional electoral council, mandating it to
 organize elections and hold a constitutional referendum.53 Constitutional amendments by referendum
 are prohibited under the constitution, after it was used by Haiti’s former dictator Jean-Claude Duvalier
 to make him “president-for-life.”54 Moïse’s proposed amendments would fundamentally restructure
 government and concentrate power with the presidency at the expense of other branches,55 and
 NYHU[OPTPUKLÄUP[LPTT\UP[`MVYHJ[ZYLSH[LK[VOPZVɉJPHSM\UJ[PVUZHZ7YLZPKLU[56

 On February 7, 2021, the day many argued Moïse’s term was set to end, the police arrested 18
 individuals, including Supreme Court Justice Yvickel Dabrésil, for allegedly planning a coup.57 The
 next day, Moïse issued a decree illegally “retiring” three Supreme Court justices appointed by the
 opposition,58 and replaced them with new judges appointed by decree.59 The police also seized
 control of the Supreme Court.60 These actions have sparked widespread condemnation as attacks on
 judicial independence.61




                                                                                           Haiti AR_001594
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 291 of 382
                                                                               Political Context Of The Attacks | 7




 Anti-Government Protests

 Civil society has strongly objected to President Moïse’s seizure of power and the lack of accountability for
 corruption and other human rights violations. Protests calling for his resignation have repeatedly gripped
 the nation. These protests form an important backdrop to the brutal attacks carried out against civilians
 in neighborhoods that have been particularly active in opposing the government during Moïse’s term.

 In August 2018, a robust national movement erupted in response to the PetroCaribe corruption
 scandal, sparking a series of mass protests that have continued into 2021.62 On October 17, 2018,
 an estimated 10,000 to 15,000 Haitians marched across the country, constituting one of the largest
 public demonstrations in Haiti’s recent history.63 The protests culminated in multiple operations ‘peyi
 lok,’ during which businesses, schools, and public transportation were shut down across Haiti as a
 result of widespread demonstrations.64 During a three-month peyi lok beginning in September 2019,
 large demonstrations took place almost every day.65

 As living conditions deteriorated and impunity reigned, Haiti saw a sharp rise in violence and
 kidnappings in 2020.66 These worsening conditions also underlie the continued protests and calls for
 Moïse’s resignation.67 In February 2021, protests again erupted over Moïse’s refusal to step down.68
 Demonstrators accused Moïse of reinstating a dictatorship and called for his ouster.69

 Repression of Government Opposition and Violence Against Civil
 Society

 The government has responded to demonstrations and growing opposition with increasingly
 HNNYLZZP]L[HJ[PJZ(ZHUHS`aLKILSV^NV]LYUTLU[VɉJPHSZOH]LZV\NO[[VZ\WWYLZZHU[PNV]LYUTLU[
 organizing through bribery, and when that has failed, have enlisted gangs to carry out targeted attacks
 against anti-government strongholds active in the protests.70 The events in La Saline, Bel-Air, and Cité
 Soleil provide vivid examples of such attacks, but are far from the only instances.71

 The Haitian National Police (PNH) has repeatedly used excessive force—including shooting live
 rounds and teargas—to shut down peaceful sit-ins and other demonstrations.72 In November 2020,
 as violence and kidnappings were surging with impunity, Moïse targeted those protesting impunity
 by issuing a decree that criminalizes popular forms of non-violent protest as ‘terrorist acts.’73 The
 KLJYLLHSZVZ\IQLJ[Z75/VɉJLYZ[VOHYZOWYPZVUZLU[LUJLZMVYMHPSPUN[VX\LSSKLTVUZ[YH[PVUZ^OPJO
 observers fear will encourage even more aggressive use of force.74

 Targeting and surveillance of government critics has also increased during Moïse’s presidency. In August
 2020, for example, Monferrier Dorval, the head of the Port-au-Prince Bar Association, was assassinated
 outside his home.75 Hours before his death, Dorval gave a radio interview in which he criticized the
 government for dysfunction and called for “another kind of country.”76 Dorval had previously also
 joined a statement denouncing more than two dozen presidential decrees signed by Moïse.77 Although
 Dorval’s case was transferred to an investigative judge, crime-scene evidence disappeared from the
 court the following month, and the investigation has stalled.78 One of the four individuals who were
 eventually arrested in connection with the killing allegedly has ties to the Moïse administration.79

 The Moïse administration has also threatened human rights organizations and activists that have
 documented abuses and called for accountability. In 2019, human rights groups raised alarm about
 an alleged plan between the Minister of the Interior and gang leader Jimmy ‘Barbecue’ Chérizier to
 assassinate Pierre Esperance, the head of RNDDH.80 Following a hearing before the Inter-American

                                                                                                  Haiti AR_001595
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 292 of 382
 8 | Killing with Impunity: State-Sanctioned Massacres in Haiti




 Commission on Human Rights (IACHR) in December 2020, where lawyers from the Bureau des
 Avocats Internationaux)(0HUK[OL0UZ[P[\[LMVY1\Z[PJL +LTVJYHJ`PU/HP[P01+/[LZ[PÄLKHIV\[
 the rise in impunity for human rights violations, the Minister of Justice publicly denounced the BAI,
 IJDH, and RNDDH as “tools of instability” and accused them of enabling violence and insecurity in
 the country.81 Around the same time, the government announced that the newly-instituted national
 intelligence agency has begun to monitor opposition activity,82 leading to further concern that a
 crackdown on political dissent and civil liberties will follow.83

 Moïse also reinstated the military (FAdH) in 2018, sparking concern that he will deploy the army
 to further curb dissent and opposition.84 FAdH was notorious for mounting coups and perpetrating
 human rights abuses before its disbandment in 1995.85 Moïse appointed former high-ranking army
 VɉJLYZ[V[OLUL^-(K/PUJS\KPUN1LHU9VILY[.HIYPLS^OV^HZJVU]PJ[LKin absentia for his role
 as a military commander in the 1994 Raboteau Massacre.86

 The Expanding Role of Gangs and Their Relationship to State Actors

 0U YLJLU[ `LHYZ HYTLK NHUNZ OH]L HTHZZLK ZPNUPÄJHU[ WV^LY HUK JVU[YVS V]LY PTWV]LYPZOLK
 neighborhoods.87>HYYPUNNHUNZ^P[OJVTWL[PUNWVSP[PJHSHɉSPH[PVUZY\SLULPNOIVYOVVKZSPRLÄLMKVTZ
 using violence and terror to secure cooperation and extract bribes from the population.88 They also
 ^PLSK ZPNUPÄJHU[ ZVJPVLJVUVTPJ WV^LY I` [HRPUN VU X\HZPNV]LYUTLU[HS M\UJ[PVUZ HUK ZLY]PUN HZ
 JVUK\P[ZMVYNV]LYUTLU[HUKÄUHUJPHSHZZPZ[HUJLPU[OLHYLHZ[OL`JVU[YVS89

 *YLKPISL PU]LZ[PNH[PVUZ OH]L KVJ\TLU[LK [OH[ THU` NHUNZ YLJLP]L ÄUHUJPUN ^LHWVUZ HUK
 ammunition from government sources in exchange for their political support.90 This relationship
 serves an important political function; by controlling key segments of the population, gangs are able
 to deliver electoral support for politicians.91 The UN has observed that gang violence has especially
 surged in impoverished neighborhoods with large polling stations, where gangs can use terror to
 PUÅ\LUJLLSLJ[VYHSV\[JVTLZ92

 In June 2020, a new gang alliance formed under the name ‘G9 Family and Allies,’ marking an alarming
 consolidation of power and raising concerns that state institutions will be further undermined.93 The
 HSSPHUJLPZSLKI`*OtYPaPLYHMVYTLY75/VɉJLYHUKUV[VYPV\ZNHUNSLHKLYPTWSPJH[LKHZ[OLWYPUJPWHS
 perpetrator in numerous brutal attacks against civilians, including the ones discussed here.94 As of
 :LW[LTILY[OLHSSPHUJLPUJS\KLKÄM[LLUNHUNZHUKJVU[YVSSLK]HZ[Z^H[OZVM[LYYP[VY`PU[OL7VY[
 au-Prince metropolitan area.95 G9 reportedly enjoys ties to both the Moïse administration and PNH.96
 The National Commission for Disarmament, Demobilization and Reintegration (CNDDR)—which was
 reinstituted by President Moïse in 2019 with a stated goal of dismantling gangs—initially indicated
 that it encouraged G9’s formation to help facilitate negotiations, and stressed that it had a “good
 relationship with the G9 gang.”97 The CNDDR later denied that it participated in the G9’s formation.98

 ;OLNHUNZHSZVOH]LHJVTWSPJH[LKYLSH[PVUZOPW^P[O75/5\TLYV\ZWVSPJLVɉJLYZOH]LWLYZVUHS
 ties to gangs.99>P[ULZZLZ[V]PVSLU[NHUNH[[HJRZHNHPUZ[JP]PSPHUZOH]LYLWVY[LKZLLPUN75/VɉJLYZ
 WHY[PJPWH[LKPYLJ[S`PU[OLH[[HJRZHUKVɉJPHS75/]LOPJSLZHUK\UPMVYTZOH]LYLN\SHYS`ILLU\ZLKPU
 such attacks.100 PNH has also systematically failed to provide protection to targeted neighborhoods,
 to intervene during the perpetration of crimes, or to arrest perpetrators with warrants issued against
 them.101 75/ MHJLZ ZPNUPÄJHU[ I\KNL[HY` HUK V[OLY YLZV\YJL JVUZ[YHPU[Z [OH[ SPTP[Z P[Z HIPSP[` [V
 LɈLJ[P]LS` [HJRSL NHUN ]PVSLUJL102 but the police’s failure to take any action during the course of
 vicious, lengthy attacks against civilians raises the specter of intentional complicity, especially when
 viewed in contrast to the strong showings of force against demonstrators.

                                                                                                 Haiti AR_001596
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 293 of 382
                                                                          Emblematic Attacks Against Civilians | 9




 II. Emblematic Attacks Against Civilians

 During Jovenel Moïse’s presidency, gangs acting with the support of state actors have perpetrated
 numerous brutal attacks against communities in impoverished neighborhoods around the capital. This
 report focuses on three such attacks: the 2018 attack in La Saline, the 2019 attack in Bel-Air, and the
 2020 attack in Cité Soleil. These attacks were selected for analysis based on their severity and on the
 availability of existing documentation collected through credible investigations by a diversity of actors.

 Common elements present in each of the three attacks raise particular concern that they amount to
 JYPTLZHNHPUZ[O\THUP[`\UKLYPU[LYUH[PVUHSSH^;OLH[[HJRZOH]LOHKNYH]LPTWHJ[ZVU[OLHɈLJ[LK
 communities; together, at least 240 people were killed,103 at least 45 injured,104 at least 25 were
 raped,105 and hundreds of homes were destroyed leading to widespread displacement.106 The attacks
 targeted civilians who reside in impoverished neighborhoods where opposition to the government
 runs strong and anti-government protests are common.107 The attacks were carried out by prominent
 gang leaders, including Jimmy Chérizier, Serge Alectis alias Ti Junior, Iscar Andrice alias Isca, and
 Micanor Altès alias Roi Mikano, who in June 2020 formed the G9 gang alliance. The attacks each
 PU]VS]LZVTLKLNYLLVMZ[H[LPU]VS]LTLU[·YHUNPUNMYVTOPNOSL]LSVɉJPHSZPU4V{ZL»ZHKTPUPZ[YH[PVU
 [V PUKP]PK\HS 75/ VɉJLYZ HUK YLZV\YJLZ·PUKPJH[PUN [OH[ NHUN H[[HJRZ HYL ILPUN Z`Z[LTH[PJHSS`
 deployed as a tool of political repression.

 A number of independent state, non-governmental, and international actors have investigated the
 attacks, including the Haitian judicial police (DCPJ), prominent Haitian human rights organizations
 RNDDH and Fondasyon Jè Klere (FJKL), the United Nations through the UN Mission for Justice
 :\WWVY[ PU /HP[P 405<1<:;/ HUK [OL <5 0U[LNYH[LK 6ɉJL PU /HP[P )05</ HUK [OL TLKPH108
 These investigations have involved interviews with victims, witnesses, community leaders, suspected
 perpetrators, and state authorities.109;OLMVSSV^PUNZLJ[PVUKYH^ZVU[OLÄUKPUNZVM[OLZLPU]LZ[PNH[PVUZ
 to summarize the key facts of the attacks. Where material discrepancies exist between accounts, it
 is noted accordingly.

 The Attack on La Saline, November 13-14, 2018

 Lead-up to the Attack

 On November 13-14, 2018, armed gangs operating with government support carried out a brutal
 massacre of residents in La Saline, a neighborhood of Port-au-Prince that has long been the center
 of anti-government organizing and resistance.110

 La Saline is a long-standing stronghold of Fanmi Lavalas, the political party of former President Jean-
 Bertrand Aristide and one of the key opposition parties to Moïse’s PHTK.111 The neighborhood is
 known to have “an exceptional ability to either mobilize or thwart street demonstrations,” as protests
 frequently begin in La Saline and then proceed around the capital.1123H:HSPUL»ZWVSP[PJHSZPNUPÄJHUJL
 OHZTHKLP[HOPNOS`JVU[LZ[LKHYLHMVYNHUNZVMKPɈLYLU[WVSP[PJHSHɉSPH[PVUZ113 Gangs also vie for
 control of La Saline’s Croix-des-Bossales market, where they can extort businesses and charge fees
 for allocating space.114

 The La Saline community has played an active role in organizing protests against the Moïse
 administration,115HUKNV]LYUTLU[VɉJPHSZOH]LYLWLH[LKS`[YPLK[VZ\WWYLZZHU[PNV]LYUTLU[HJ[P]P[`
 [OLYL0U-PYZ[3HK`4HY[PUL4V{ZL[^VNV]LYUTLU[TPUPZ[LYZHUKV[OLYZ[H[LVɉJPHSZYLWVY[LKS`

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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 294 of 382
 10 | Killing with Impunity: State-Sanctioned Massacres in Haiti




 TL[^P[ONHUNSLHKLYZHUKJVTT\UP[`SLHKLYZPU3H:HSPULHUKVɈLYLK[VPU]LZ[PUJVTT\UP[`WYVQLJ[Z
 in exchange for a reduction in anti-government activities in the area.116 The proposal was rejected as
 “bold and inappropriate.”117 (Z [OL 7L[YV*HYPIL TV]LTLU[ PU[LUZPÄLK PU  VYNHUPaLYZ WSHUULK
 large protests for October 17, 2018, the national commemoration day for Haiti’s revolutionary leader
 Jean-Jacques Dessalines.118 On October 15, 2018, political opposition leaders held a joint press
 conference in La Saline, rallying support for the movement and demanding Moïse’s resignation.119 Two
 days later, one of the largest protest in Haiti’s recent history took place, with particularly large crowds
 gathering in and around Port-au-Prince, including in La Saline.120 Protestors blocked President Moïse
 from entering La Saline to lay a ceremonial wreath at Dessalines’ monument in Pont Rouge, leading
 [VJSHZOLZ^P[O[OLWVSPJLHUK[OLWVSPJLÄYPUNN\UZPU[V[OLJYV^K121

 With the protest movement in full swing, activists planned another round of nationwide demonstrations
 for November 18, 2018. On November 6, two weeks before the scheduled protests, Joseph Pierre
 Richard Duplan, then President Moïse’s Delegate for the West Department,122 and Fednel Monchéry,
 then Director General of the Ministry of the Interior, reportedly met with Jimmy Chérizier in Delmas
 6 to plan an attack against the residents of La Saline.123([[OL[PTL*OtYPaPLY^HZZ[PSSH75/VɉJLY
 and the head of the Delmas 6 gang.124 He had a reputation for violence and was widely known as a
 key perpetrator of an earlier massacre in the 2017 Grand Ravine neighborhood, in which nine civilians
 were killed.125 According to witnesses, Duplan and Monchéry supplied Chérizier and his gang with
 weapons, police uniforms, and government vehicles to use in the attack.126



         Events leading up to the La Saline attack

         Oct. 2017                First Lady Martine Moïse visits La Saline to ask gang leaders to
                                  reduce antigovernment activity in return for investments.

         Aug.-Oct.                7L[YV*HYPILWYV[LZ[TV]LTLU[PU[LUZPÄLZ
         2018
         Oct. 15, 2018            Political opposition leaders hold joint press conference in
                                  La Saline to support antigovernment protests.

         Oct. 17, 2018            Largest protest in Haiti’s recent history. Protesters block
                                  President Moïse from entering La Saline to lay a ceremonial wreath.

         Nov. 6, 2018             Duplan and Monchéry meet gang leaders to plan an attack in
                                  La Saline and provide supplies.

         Nov. 13, 2018 Gangs attack La Saline residents and kill at least 71.


 The Attack

 The details of the massacre that took place seven days later are well-documented.127 On November
 13, heavily armed gangs led by Alectis, Chérizier and other allied gang leaders arrived in La Saline
 in several vehicles, including an armored vehicle from the Departmental Intervention Unit (BOID), a
 unit of PNH.128;OLWLYWL[YH[VYZILNHUÄYPUNH\[VTH[PJ^LHWVUZHYV\UKWTHUKV]LY[OLJV\YZL
 of fourteen hours, killed at least 71 residents, including children and a ten-month-old infant.129 Some
 of the perpetrators wore BOID uniforms and lured residents out of their homes under the guise of a
 PNH operation, then executed them in the streets.130 Many of the residents were shot and some were
 beheaded with machetes.131 At least eleven women were raped, including two gang rapes carried out

                                                                                                Haiti AR_001598
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 295 of 382
                                                                      Emblematic Attacks Against Civilians | 11




 inside the victims’ homes.132 The assailants looted at least 150 homes, destroying many of them.133 An
 LZ[PTH[LKWLVWSL^LYLMVYJLK[VÅLL[OLPYOVTLZHUKZV\NO[ZOLS[LYPU[OLULHYI`ULPNOIVYOVVK
 of Wharf Jérémie.134

 The perpetrators removed some corpses to unknown locations and threw others in garbage piles
 where pigs fed on them.135 In the morning of November 14, photos and videos of bodies began
 circulating on social media, allowing online commentators to identify some victims.136 That evening,
 the perpetrators dismembered and burned remaining bodies, and transported some of the remains by
 tractor to another destination.1376[OLYYLTHPUZ[OH[JV\SKUVSVUNLYILPKLU[PÄLK^LYLVUS`YL[YPL]LK
 days later when a pastor was able to negotiate safe passage with gang leaders.138

 The attacks were spearheaded by Chérizier, Alectis, Chrisla, and Andrice, leaders of allied gangs who
 went on to form the G9 alliance.139 Eyewitnesses also reported that Duplan, President Moïse’s Delegate,
 was personally present during the attack, talking to Chérizier and other gang leaders.140 The UN has
 KVJ\TLU[LK[OH[PUHKKP[PVU[V*OtYPaPLYH[SLHZ[[^VV[OLY75/VɉJLYZWHY[PJPWH[LKPU[OLH[[HJR141

 State Response

 During the course of the 14-hour attack, PNH never intervened to protect the community.142 PNH has
 several outposts within a kilometer of the site of the attack, and several police patrol cars were seen
 near La Saline during the attack.143 The La Saline police station reportedly informed the Departmental
 West Directorate of the attack as soon as it began,144HUKI`WTH[SLHZ[Ä]L75/\UP[Z^LYLVU
 notice that the attack was taking place.145 Citing inadequate resources, no part of PNH made an
 attempt to intervene.146

 Even as photos and videos of the gruesome massacre spread across social media, President Moïse
 did not publicly condemn the violence or pay respects to the community.147 The government has not
 VɈLYLKHU`HZZPZ[HUJLVYYLWHYH[PVUZ[V[OLZ\Y]P]VYZVY[OVZL^OVHYLZ[PSSKPZWSHJLKHZHYLZ\S[VM
 the massacre.148

 -VSSV^PUNW\ISPJV\[JY`+*71JVUK\J[LKHUPU]LZ[PNH[PVUPU[V[OLH[[HJRHUKYLWVY[LKS`PKLU[PÄLK
 individuals responsible for carrying out the massacre, including Duplan, Monchéry, and Chérizier.149
 Prosecutions have been slow to progress, however, and none of the orchestrators of the attack have
 been arrested.150 Both Duplan and Monchéry remained in their government roles until September
 2019—nearly a full year after the perpetration of the attack— when they were replaced amidst
 intensifying protests.151>OPSL75/ÄYLK*OtYPaPLYPU+LJLTILYOLYLTHPUZH[SHYNLKLZWP[L
 an outstanding arrest warrant for his role in a massacre in Grand Ravine the year prior.152 He has
 gone on to carry out several other massacres since, including the attacks in Bel-Air and Cité Soleil,
 described below.

 Attack on Bel-Air, November 4-6, 2019

 Leadup to the Attack

 Like La Saline, Bel-Air is a key stronghold for government opposition.153 The neighborhood has
 traditionally supported Fanmi Lavalas, dating back to Jean-Bertrand Aristide’s ascent to the
 presidency.154 Since Bel-Air is generally a locus for popular protest, gangs in control of the area are
 ^LSSWVZP[PVULK[VWYL]LU[KLTVUZ[YH[PVUZHUKOVSKVɈWVSP[PJHSVWWVZP[PVUPUL_JOHUNLMVYWH`TLU[155
 The area is also a key access point to several large markets.156

                                                                                              Haiti AR_001599
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 296 of 382
 12 | Killing with Impunity: State-Sanctioned Massacres in Haiti




 In September 2019, anti-corruption protests escalated into a three-month peyi lok, in which businesses,
 schools, and public transportation were closed, and demonstrations against the government
 took place almost daily.157 7YV[LZ[VYZ WSHJLK ÅHTPUN IHYYPJHKLZ VU )LS(PY»Z THPU YVHKZ ZO\[[PUN
 KV^U [YHɉJ HUK ISVJRPUN NV]LYUTLU[ LU[Y` [V [OL ULPNOIVYOVVK158 According to testimony from
 JVTT\UP[`SLHKLYZNV]LYUTLU[VɉJPHSZTHKLZL]LYHSH[[LTW[Z[VWLYZ\HKLYLZPKLU[Z[VYLTV]L[OL
 barriers.159>OLU[OLZLLɈVY[Z^LYLYLWLH[LKS`YLQLJ[LK[OL:LJYL[HY`VM:[H[LMVY7\ISPJ:LJ\YP[`
 Léon Ronsard Saint-Cyr, reportedly approached Chérizier on October 31, 2019 and asked him to
 secure the removal of barriers and prevent further anti-government protests in Bel-Air.160 In exchange,
 Saint-Cyr allegedly provided Chérizier with a large sum of money and several new motorcycles.161 At
 the time of this exchange, Chérizier was widely known for his role in both the Grand Ravine and La
 Saline massacres.162 Saint-Cyr denies these allegations.163



         Events leading to the Bel-Air attack

         Sep.-Nov. 2019 Peyi lok - nation-wide shutdown with regular antigovernment
                                    protests known.

         Sep.-Oct. 2019 .V]LYUTLU[VɉJPHSZMHPS[VWLYZ\HKLYLZPKLU[Z[VYLTV]Lpeyi lok
                                    road barriers in Bel-Air.

         Oct. 31, 2019              .V]LYUTLU[VɉJPHS:HPU[*`YYLWVY[LKS`HZRZ*OtYPaPLY[VYLTV]L
                                    barriers and to prevent further protests.

         Nov. 3, 2019               Chérizier, 40 armed men, and other gang leaders ask Bel-Air
                                    residents to remove barriers. Residents refuse.

         Nov. 4-7, 2019             Chérizier and armed gang members attack residents and burn
                                    down houses, killing at least 24.



 The Attack

 On November 3, 2019, 40 armed men led by Chérizier and two allied gang leaders, Wilson Pierre alias
 Ti Sonson and Alex alias 4HSRVTWYHUU^LU[[V)LS(PYHUKVɈLYLKYLZPKLU[ZTVUL`[VYLTV]L[OL
 barriers.164 The residents rejected the proposition, noting that the barricades were erected as a part of
 popular movement that they did not control.165

 Over the course of the next four days, the gangs carried out attacks that killed at least 24 people,
 PUQ\YLKÄ]LHUKI\YULKYLZPKLUJLZHUK]LOPJSLZ166 The attacks began on November 4, when
 Chérizier and his co-perpetrators returned to Bel-Air with 50 heavily armed men carrying automatic
 HZZH\S[ YPÅLZ167 4\S[PWSL L`L^P[ULZZLZ JVUÄYTLK [OL WYLZLUJL VM [OYLL WSHPUJSV[OLK 75/ VɉJLYZ
 with ties to Chérizier’s Delmas 6 gang among the attackers.168;OLHZZHPSHU[ZÄYLKH[YLZPKLU[ZHUK
 OVTLZHUKZL[ÄYL[VU\TLYV\Z]LOPJSLZHUKYLZPKLUJLZPUQ\YPUNH[SLHZ[[^VYLZPKLU[Z169 The attack
 was reported on numerous radio stations as it was taking place, but the police did not deploy to
 intervene.170 Later in the day, a BOID patrol vehicle happened to pass through Bel-Air and exchanged
 ÄYL^P[O[OLH[[HJRLYZJH\ZPUN[OLHZZHPSHU[Z[V[LTWVYHYPS`YL[YLH[171;OL)60+VɉJLYZUV[PÄLKJLU[YHS
 command of the situation, but did not call for reinforcements, physically pursue the attackers, return
 to provide protection, nor take measures to investigate the attack or identify victims and damage.172




                                                                                              Haiti AR_001600
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 297 of 382
                                                                            Emblematic Attacks Against Civilians | 13




 In the middle of the night on November 5, Chérizier and his co-perpetrators returned to Bel-Air, again
 ÄYPUNH[JP]PSPHUOVTLZ^OPSLYLZPKLU[ZZSLW[PUZPKLPUQ\YPUNH[SLHZ[VUL^VTHU173(NYV\WVMVɈK\[`
 WVSPJLVɉJLYZYLZPKPUNPUHUHKQHJLU[ULPNOIVYOVVKVWLULKÄYLPUYLZWVUZLRPSSPUN(SL_PU[OLZOVV[
 out.174 On November 6, Chérizier, Pierre and their men returned to avenge Alex death.175 Armed with
 TPSP[HY`YPÅLZHUKHZZH\S[YPÅLZ[OL`RPSSLK[^VTLUHUKH`LHYVSKNPYSHUKZL[OVTLZHISHaL176
 Deadly attacks on Bel-Air continued for several days throughout November.177

 State Response

 Bel-Air is surrounded by police outposts, including four local police stations, the main Port-au-Prince
 station, and three police department headquarters.178 Over the course of the multiple-day attacks,
 residents repeatedly called on the authorities for help.179 These requests were widely circulated over
 the radio and social media, but PNH did not intervene or provide protection.180 Investigations and
 prosecution of these crimes have largely stalled, and the UN has expressed concern that this lack of
 accountability contributed to an increase in gang attacks throughout 2020, including the attack on
 Cité Soleil.181

 Attack on Cité Soleil, May-July 2020

 Leadup to the Attack

 Cité Soleil is a deeply impoverished and densely populated commune with approximately 250,000
 residents.182 It borders La Saline to the north. Like La Saline and Bel-Air, it is a historical stronghold for
 Fanmi Lavalas.183-VYKLJHKLZ^HYYPUNNHUNZOH]LJVU[YVSSLKKPɈLYLU[ULPNOIVYOVVKZPU*P[t:VSLPS
 I\[NHUNÄNO[PUNOHZPU[LUZPÄLKPUYLJLU[`LHYZ184 Control over Cité Soleil has political implications
 because it is an area with many large polling stations; the gangs that hold territorial control are in a
 WVZP[PVU[VPUÅ\LUJLLSLJ[VYHSV\[JVTLZHUKWVSP[PJHSHJ[P]P[PLZ185

 =PVSLU[NHUNÄNO[PUNZ\YNLKPUK\YPUN[OLZVSPKPÄJH[PVUVM[OL. HSSPHUJLHUKPUHU[PJPWH[PVU
 VMLSLJ[PVUZPU^OH[HWWLHYZ[VILHJVUJLY[LKLɈVY[[V[\YU*P[t:VSLPSPU[VHUHYLHJVU[YVSSLKI`
 pro-government gangs.186 In May 2020, Altès, the leader of one of the anti-government gangs in Cité
 :VSLPS^HZHSSLNLKS`WHPKI`HU\UPUKLU[PÄLKZ[H[LHJ[VY[VZ^P[JOWVSP[PJHSHSSPHUJLZHUKLSPTPUH[L
 Ernso Nicolas, another anti-government gang leader in the area.187 He allegedly received 40,000 US
 KVSSHYZ Ä]L UL^ ÄYLHYTZ [OL YL[\YU VM [OYLL V[OLY ^LHWVUZ WYL]PV\ZS` ZLPaLK I` [OL WVSPJL HUK
 [OL ^P[OKYH^HS VM VɉJPHS º^HU[LK WLYZVU» UV[PÄJH[PVUZ HZ H WHY[ VM [OL KLHS188 After Nicolas was
 murdered, several gangs with ties to the government joined forces to take control of additional anti-
 government strongholds.189

 To this end, on May 23, 2020, Chérizier convened a meeting of 13 gang leaders—who would go on
 to form the G9 alliance—to plan simultaneous attacks in various parts of Cité Soleil and the adjacent
 neighborhood of Nan Tokyo.190 The attacks targeted Pont Rouge, where residents had blocked Moïse
 from laying a wreath the year prior; Nan Brooklyn, a neighborhood in Cité Soleil controlled by Gabriel
 Jean-Pierre alias Ti Gabriel, who reportedly supported government opposition during peyi lok; and
 Nan Tokyo, which had previously been brutally attacked by Chérizier and Alectis.191




                                                                                                    Haiti AR_001601
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 298 of 382
 14 | Killing with Impunity: State-Sanctioned Massacres in Haiti




         Timeline of the Cité Soleil Attack

         May 2020                .V]LYUTLU[VɉJPHSYLWVY[LKS`WH`ZNHUNSLHKLY4PJHUVY(S[uZ[V
                                 switch alliance from antigovernment gang to Chérizier-allied gangs,
                                 kill another antigovernment gang leader.

         May 23, 2020 Chérizier convened meeting of 13 gang leaders, including Altès, to
                                 plan simultaneous attacks against in parts of Cité Soleil and Nan Tokyo.

         May 24-27,              Chérizier and allied gangs attack Cité Soleil and Nan Tokyo, killing
         2020                    at least 34 people. As a result, Chérizier and allies take control of
                                 nine more areas.

         Jun. 2020               Chérizier and allies form the G9 gang alliance.

         Jun.-Jul.               G9 focuses attacks on Nan Brooklyn neighborhood of Cité Soleil,
         2020                    controlled by their rival Gabriel Jean-Pierre. During this period, at
                                 least 111 were killed.



 The Attack

 Between May 24 and July 31, 2020, communities in Cité Soleil faced an onslaught of gang-led assaults
 during which at least 145 people were killed and 98 homes were destroyed.192

 On May 24, Chérizier and his men arrived in Nan Tokyo, while gangs led by Altès and Alectis besieged
 Pont Rouge.193 Throughout the afternoon and evening and carrying into the following day, the gangs
 ÄYLKH\[VTH[PJ^LHWVUZH[JP]PSPHUZYLWVY[LKS`RPSSPUNU\TLYV\ZWLVWSL194 When rival gangs hid in
 a post-earthquake resettlement camp for disabled people, attackers followed them there on May 25
 HUKZL[YLZPKLUJLZVUÄYLRPSSPUN[^VYLZPKLU[Z195

 6U 4H`  H[ HYV\UK WT Ä]L HYTVYLK 75/ ]LOPJSLZ WHYRLK V\[ZPKL H RL` LU[YHUJL [V 5HU
 Brooklyn.196 According to survivors’ accounts, tear gas tubes and cylinders were indiscriminately
 ÄYLKMVYJPUNYLZPKLU[Z[VÅLLHUKSLHKPUN[VHULY\W[PVUVMN\UÄYLMYVTHSSKPYLJ[PVUZ197 Residents
 were shot and attacked with knives and stones as they tried to escape.198 Some were beheaded.199
 Many bodies were burned and thrown into the water.200 On May 26 and 27, gangs attacked Nan
 )YVVRS`URPSSPUNH[SLHZ[MV\YWLVWSLPUQ\YPUNV[OLYZHUKZL[[PUNÄYL[VT\S[PWSLOV\ZLZ201 G9 gangs
 also attacked displaced persons from La Saline who had taken refuge at the Wharf Jérémie after
 the November 2018 massacre, killing them and throwing their remains into the sea.202 As a result of
 these attacks, the G9 took control of nine more areas, including Chancerelles, Nan Tokyo, and Fort
 Dimanche.203

 After the May 2020 attacks, the entire commune of Cité Soleil was subject to greater gang-related
 violence. Between June and July 2020, G9 gangs murdered at least 111 people, a number of whom
 ^LYL ÄYZ[ JHW[\YLK HUK [OLU ZOV[ PU [OL OLHK204 The gangs also committed rapes and burned
 houses.205 The G9 particularly focused attacks in Nan Brooklyn, the neighborhood still controlled by
 their rival and anti-government leader Gabriel Jean-Pierre.206;OL`JHYYPLKV\[Ä]LZLWHYH[LH[[HJRZVU
 the Nan Brooklyn Market during this period and monitored all roads into Nan Brooklyn.207




                                                                                                  Haiti AR_001602
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 299 of 382
                                                                         Emblematic Attacks Against Civilians | 15




 State Response

 There is no indication that police intervened in order to protect civilians during the course of the
 sustained attack. RNDHH notes that police presence in the area was markedly lower throughout
 this time,208HUK[OH[75/VɉJLYZ[^PJLHIHUKVULK[OL*P[L:VSLPSWVSPJLZ[H[PVUK\YPUN[OLOLPNO[
 of the attack, citing a lack of resources and reinforcements.209 Given the scale of the insecurity,
 police interviewed as a part of RNDDH’s investigation noted that units needed reinforcements and a
 JVTWYLOLUZP]LWSHUMVYPU[LY]LU[PVUMYVTZLUPVYVɉJPHSZPUJS\KPUN[OL+PYLJ[VYH[L.LULYHSVM75/
 but no such plan was issued.210 4LHU^OPSL ZVTL 75/ VɉJLYZ HUK YLZV\YJLZ ^LYL WLYPVKPJHSS`
 used to perpetrate the attacks. In addition to PNH’s involvement in the May attack, on July 2, 2020,
 two armored PNH vehicles passed through an area under G9 attack and shot at passersby in the
 KPYLJ[PVUVMOVTLZRPSSPUNH[SLHZ[Ä]LJP]PSPHUZHUKPUQ\YPUN[LUV[OLYZ211 Four armored PNH carriers
 also assisted G9 gangs on July 19, 2020 to take back a building seized by Jean-Pierre.212 While the
 Prime Minister and the Minister of Justice and Public Safety have allegedly issued orders to pursue
 accountability for perpetrators, no arrests appear to have been made in connection with the attack.213

 RNDDH interviewed residents of Cité Soleil who believe that the attacks were politically motivated,
 JHYYPLK V\[ HZ H WHY[ VM H JVUJLY[LK LɈVY[ IL[^LLU NHUNZ HUK [OL NV]LYUTLU[ [V JVU[YVS [OL
 neighborhoods for electoral purposes.214 Former Deputy for Cité Soleil, Pierre Lemaire, told FKJL that
 President Moïse set out to remove Jean-Pierre from control of the neighborhood after learning of his
 role in organizing anti-government activity during peyi lok in 2019.215 Residents of Pont Rouge believe
 they were targeted in retaliation for denying Moïse entry to the area for the October 17, 2018 wreath-
 laying ceremony.216>OPSLHKKP[PVUHSL]PKLUJLPZULLKLK[VJVUÄYT[OLZL[OLVYPLZ[OL`HYLJVUZPZ[LU[
 with a broader pattern of state-sponsored gang attacks being used for political aims.



    Gangs implicated in each attack

    La Saline attack ࠮ Chabon led by Alectis ࠮ Delmas 6 led by Chérizier
    2018             ࠮ Nan Bwadom led by Jimmy Joseph ࠮ Belekou led by Iscar Andrice
                            ࠮ Twi Bwa led by Chrisla ࠮ Base Pilate led by Wilson Pierre
                            ࠮ St Martin Street gang led by Alex
    Bel-Air attack          ࠮ Delmas 6 led by Chérizier ࠮ Chabon led by Alectis
    2019                    ࠮ Krache Dife led by Pierre ࠮ St Martin Street gang led by Malkonprann
    Cité Soleil attack ࠮ Wharf Jérémie gang led by Altès ࠮ Chabon led by Alectis
    2020               ࠮ Delmas 6 led by Chérizier ࠮ Simon Pélé gang led by Zouma
                            ࠮ Belekou led by Iscar Andrice ࠮ Nan Boston gang led by Matias Saintil




                                                                                                 Haiti AR_001603
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 300 of 382
 16 | Killing with Impunity: State-Sanctioned Massacres in Haiti




 III. Legal Analysis: There Is a Reasonable Basis to
 Conclude That the Attacks Amount to Crimes
 Against Humanity

 Crimes Against Humanity Under International Law

 Crimes against humanity are among the gravest crimes under international law. They are considered
 crimes not just against the individual victims, but humanity as a whole.217 Crimes against humanity
 are prohibited under customary international law and are considered jus cogens, a peremptory norm
 from which no derogation is permitted.218 They are therefore prohibited internationally regardless of
 ^OL[OLYHZ[H[LOHZHɉYTH[P]LS`QVPULKH[YLH[`[OH[V\[SH^ZZ\JOJYPTLZ

 ;OPZZLJ[PVUHZZLZZLZ^OL[OLY[OLH[[HJRZPU3H:HSPUL)LS(PYHUK*P[t:VSLPSTLL[[OLSLNHSKLÄUP[PVU
 VMJYPTLZHNHPUZ[O\THUP[`\UKLYPU[LYUH[PVUHSJYPTPUHSSH^;OLYLWVY[\ZLZ[OLKLÄUP[PVUVMJYPTLZ
 against humanity articulated in the Rome Statute, the international treaty that created the International
 Criminal Court (ICC), because the Rome Statute and related jurisprudence is regarded as the most
 widely accepted and recent articulation of the crime under international law.219 Where instructive, the
 analysis in this section also draws on case law from other international criminal tribunals.

 ;V ÄUK [OH[ JYPTLZ HNHPUZ[ O\THUP[` HYL [HRPUN WSHJL \UKLY [OL 9VTL :[H[\[L»Z KLÄUP[PVU ZL]LYHS
 elements must be present. First, the attack must involve at least one of the underlying crimes listed
 in Article 7(1) of the Rome Statute, such as murder or rape.220 Second, several contextual elements
 must be met: the underlying crimes must be (1) committed as part of an attack directed against any
 civilian population; (2) that is widespread or systematic; and (3) that is pursuant to or in furtherance of
 a state or organizational policy.221

 Based on the publicly available evidence, there is a reasonable basis to conclude that all these elements
 are met, and that the attacks in La Saline, Bel-Air, and Cité Soleil amount to crimes against humanity.
 The report uses the “reasonable basis” standard because it is the one used by the ICC prosecutor
 to determine whether to open an investigation into a given situation, with a view to prosecuting the
 individuals who are personally responsible for committing the crimes.222 While Haiti has signed, but
 UV[ YH[PÄLK [OL 9VTL :[H[\[L HUK [OLYLMVYL PZ UV[ Z\IQLJ[ [V [OL WYVZLJ\[VY KPYLJ[S` VWLUPUN HU
 investigation, the framework is useful for evaluating Haiti’s international duty to fully investigate and
 prosecute the crimes. Moreover, the UN Security Council may refer crimes against humanity in Haiti
 to the ICC, regardless of whether Haiti is a party to the Rome Statute.223 Potential venues for trying
 crimes against humanity are discussed in Section V, below.

 The Attacks Involved Qualifying Acts of Violence

 ;VÄUK[OH[HJYPTLHNHPUZ[O\THUP[`OHZ[HRLUWSHJLH[SLHZ[VULVM[OL\UKLYS`PUNJYPTLZSPZ[LK
 in Article 7(1) of the Rome Statute must be present. There is evidence that at least four such crimes
 were perpetrated in the attacks in La Saline, Bel-Air, and Cité Soleil: murder, rape, torture, and the
 persecution of groups based on their political identity. Each are analyzed in turn.




                                                                                                  Haiti AR_001604
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 301 of 382
              Legal Analysis: There Is A Reasonable Basis To Conclude That The Attacks Amount To Crimes Against Humanity | 17




 Murder

 ;OL 9VTL :[H[\[L HUK ,SLTLU[Z VM *YPTL KLÄUL T\YKLY HZ [OL RPSSPUN VM VUL VY TVYL WLYZVUZ224
 Investigations into the attacks have documented at least 240 civilians who were killed in the three
 attacks. In the La Saline attack of November 2018, RNDDH documented that at least 71 people were
 killed as assailants systematically shot and beheaded civilians.225 This number is likely an undercount;
 since many bodies were burned, chopped into pieces, and disposed of by the gangs, human rights
 investigators have noted that the true number of deaths may never be known.226 In the Bel-Air attack
 of November 2019, Chérizier and his associates killed at least 24 people.227 Between May 23 and July
 28, 2020, armed gangs led by G9 members killed at least 145 people in numerous attacks on and
 around Cite Soleil.228

 Rape

 Rape is another prohibited act under the Rome Statute. Rape requires the invasion, committed by
 force, threat of force, or coercion,229 of a person’s body “by conduct resulting in penetration, however
 slight, of any part of the body of the victim or of the perpetrator with a sexual organ.”230

 Human rights groups have documented the use of rape as a tool to terrorize civilians in the La Saline
 and Cité Soleil attacks. Haitian human rights organizations have reported 11 cases of rapes, including
 gang rapes, that took place during the 2018 attack on La Saline.231 RNDDH interviewed a 19-year
 VSK^VTHU^OVYLJHSSLK[OH[H[SLHZ[Ä]LTLUIYVRLPU[VOLYOV\ZLHUKNHUNYHWLKOLY232 J.J.L., a
 26-year-old survivor, described how armed men entered her house, raped her, and then set her house
 VUÄYL233 Similarly, J.J., a 27-year-old woman, reported that she was in her home when two armed
 individuals broke into her house and then took turns raping her.234 Another 23-year-old woman was
 ILH[LU^P[OYPÅLZILMVYL[OLHZZHPSHU[ZYHWLKOLY235 A 14-year old girl also reported on the radio that
 she was raped by Alectis, leader of the Chabon gang.236

 During the course of the attack on Cité Soleil from May 24 to July 28, 2020, RNDDH documented
 that at least 18 women were raped by gang members.237 Many survivors named the armed gangs led
 by Iscard Andrice as key perpetrators.238 A.C., a 38-year-old woman, reported being raped by three
 members of Andrice’s gang in her home on June 3.239 On the same day, 25-year-old F.P. was beaten
 HUKYHWLKI`H[SLHZ[Ä]LVM(UKYPJL»ZTLU240 Other survivors described how they were accosted by
 gang members as they were walking to work or on their way to buy groceries. L.T. was on her way
 to buy food for her three children when two armed men beat her, dragged her into an alley, and then
 took turns raping her.241 On July 7, two young women were captured by three armed men and held
 for several hours during which they repeatedly raped. S.R., a 59-year-old woman, was walking in
 Cité Soleil when armed gang members stopped her and began to beat her. One of the perpetrators
 dragged her into a street corner and raped her.242

 These testimonies likely do not capture the full scale of rapes committed during the attacks, as social
 Z[PNTHVM[LUZ[PÅLZ[OLYLWVY[PUNVM[OLJYPTL243

 Torture

 Torture is another crime that underlies crimes against humanity.244;OL9VTL:[H[\[LKLÄULZ[VY[\YL
 HZ[OLPU[LU[PVUHSPUÅPJ[PVUVMZL]LYLWHPUVYZ\ɈLYPUN^OL[OLYWO`ZPJHSVYTLU[HSHUK^OPJOKVLZ
 not arise from lawful sanctions.245*V\Y[ZOH]LM\Y[OLYLSHIVYH[LK[OH[[VYPZL[V[VY[\YL[OLPUÅPJ[PVU



                                                                                                            Haiti AR_001605
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 302 of 382
 18 | Killing with Impunity: State-Sanctioned Massacres in Haiti




 VMZL]LYLWHPUVYZ\ɈLYPUNT\Z[ILHPTLKH[¸VI[HPUPUNPUMVYTH[PVUVYHJVUMLZZPVUVYH[W\UPZOPUN
 intimidating or coercing the victim or a third person, or at discriminating, on any ground, against the
 victim or third person.”246

 Courts have consistently found that rape is a form of torture.247 As discussed above, rape—and
 therefore torture—was used as a tool to terrorize civilians in at least 11 instances in the La Saline
 attacks and in at least 18 instances in the Cité Soleil attacks. Perpetrators in the La Saline attacks
 also tortured victims by raping them while relatives were watching, and by causing victims to watch
 [OLYHWLVM[OLPYYLSH[P]LZ:\JOHJ[ZPUÅPJ[ZL]LYLTLU[HSZ\ɈLYPUN[OH[HTV\U[Z[V[VY[\YL248 The UN
 ]LYPÄLK[OH[PU[OL3H:HSPULH[[HJRZNHUNYHWLZ[VVRWSHJLPU[OLOVTLZVM[OL]PJ[PTZPUMYVU[VM[OLPY
 parents or children.249 In one such case, the perpetrators also mutilated the rape victim’s parents.250
 :\JOT\[PSH[PVUPUÅPJ[ZZL]LYLWHPUPUP[ZLSMHUKLZWLJPHSS`YPZLZ[V[VY[\YLPU[OLJVU[L_[VMTLU[HS
 Z\ɈLYPUNMYVT^H[JOPUN[OLYHWLVMHJOPSK251

 6[OLYHJ[ZPU[OLH[[HJRZHSZVSPRLS`PUÅPJ[LKZL]LYLWHPU[OH[HTV\U[[V[VY[\YL0U[OLHM[LYTH[OVM[OL
 La Saline attacks, for example, human bodies were found charred, mutilated, dismembered, and left
 for pigs to feed on.252

 These acts amount to torture as they appear aimed to punish or intimidate the victims. Each of the
 attacks were perpetrated against residents in neighborhoods known as antigovernment strongholds
 and sites of recent antigovernment activity. As further discussed below, the perpetrators likely attacked
 these victims to punish them for perceived antigovernment activity and to intimidate them from further
 antigovernment activity. Moreover, in the Bel-Air attack, RNDDH reports that a man named Etienne
 Monbrun was captured and taken to Delmas 4, where he was brutally beaten and eventually killed for
 failing to provide the information that gang members requested.253 This particular act also amounts to
 [VY[\YLHZ[OLWHPU^HZPUÅPJ[LKPUVYKLY[VVI[HPUPUMVYTH[PVU

 7LYZLJ\[PVUHNHPUZ[HUPKLU[PÄHISLNYV\WVYJVSSLJ[P]P[`VUWVSP[PJHSNYV\UKZ

 7LYZLJ\[PVUVMPKLU[PÄHISLNYV\WZVUWVSP[PJHSNYV\UKZPZHUV[OLYWYVOPIP[LKHJ[;OL9VTL:[H[\[L
 KLÄULZ WLYZLJ\[PVU HZ [OL PU[LU[PVUHS HUK ZL]LYL ]PVSH[PVU VM M\UKHTLU[HS YPNO[Z JVU[YHY` [V
 international law by reason of the identity of the group or collectivity.254 The severe deprivation of
 fundamental rights can include murder, sexual assault, and property damage such as the burning and
 pillaging of homes.255

 The neighborhoods of La Saline, Bel-Air, and Cité Soleil are all known strongholds of the political
 opposition. The communities were particularly active in organizing and carrying out protests against
 Moïse that included publicly calling for his resignation. They are also historical strongholds of the
 Fanmi Lavalas party, a key opposition party to Moïse’s PHTK, and have become rallying sites for
 broader alliances opposed to PHTK.256 As set out in Section II, the massacre in La Saline followed
 ZL]LYHSMHPSLKH[[LTW[ZI`ZLUPVYNV]LYUTLU[VɉJPHSZ[VIYPIL[OLJVTT\UP[`PU[VKPZJVU[PU\PUNHU[P
 government demonstrations.257 The attacks in Bel-Air similarly took place after failed government
 attempts to persuade residents to remove blockades during the peyi lok anti-government protests.258
 -PUHSS` YLZPKLU[Z VM *P[t :VSLPS ILSPL]L [OH[ [OL` ^LYL [HYNL[LK ILJH\ZL VM [OLPY WVSP[PJHS HɉSPH[PVUZ
 with Fanmi LavalasPUHULɈVY[[VLUZ\YLWYVNV]LYUTLU[LSLJ[PVUV\[JVTLZ259 The community in
 Pont Rouge further believes that they were targeted in retaliation for having blocked President Moïse
 from laying a wreath there during the October 2018 protests.260 These common characteristics and
 the context in which the attacks were perpetrated suggest that the residents of La Saline, Bel-Air, and
 Cité Soleil were targeted because of their identity as supporters of the political opposition.

                                                                                                       Haiti AR_001606
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 303 of 382
               Legal Analysis: There Is A Reasonable Basis To Conclude That The Attacks Amount To Crimes Against Humanity | 19




 The underlying crimes are a part of the attacks

 In order to meet the requirements for crimes against humanity, the underlying crimes must be a part of
 the attack.261 The crime cannot be an isolated act so far removed from an attack that, considering the
 context and circumstances, it cannot reasonably be said to have been part of the attack.262 In order to
 KL[LYTPUL^OL[OLYHZWLJPÄJHJ[VM]PVSLUJLOHZHUHKLX\H[LUL_\Z[V[OLH[[HJRHUPUKP]PK\HSPaLK
 PUX\PY` PZ ULLKLK -VY [OL W\YWVZL VM TLL[PUN [OL KLÄUP[PVU VM JYPTLZ HNHPUZ[ O\THUP[` OV^L]LY
 P[ PZ Z\ɉJPLU[ [V ]PL^ [OL HJ[Z HZ ^OVSL [V HZZLZZ ^OL[OLY [OLPY ¸JOHYHJ[LYPZ[PJZ HPTZ UH[\YL VY
 consequence” demonstrate that they are objectively connected to the attack. 263
 The acts enumerated above—murder, rape, torture, and destruction of property—make up the heart
 of the attacks on La Saline, Bel-Air, and Cité Soleil. These acts are not isolated or disconnected from
 the attacks, but rather appear to be carried out pursuant to a pre-established plan.264 This conclusion
 is reinforced by the fact that in each of the attacks, the perpetrators came to the sites of the attack
 [VNL[OLY[OL`^LYLZ\ɉJPLU[S`HYTLK[VJH\ZL^PKLZWYLHKOHYTHUK[OL`^VYRLK[VNL[OLY[VPUÅPJ[
 violence in a coordinated manner.265

 -\Y[OLYMHJ[ÄUKPUNTH`HSZVYL]LHSHKKP[PVUHSHJ[Z[OH[MVYTLKWHY[ZVM[OLZLH[[HJRZ


 The Attacks Were Directed Against a Civilian Population

 The assaults on La Saline, Bel-Air, and Cité Soleil constitute attacks

 The Rome Statute requires that the prohibited acts must be part of “an attack directed against any
 civilian population.”266 An “attack” refers to multiple commissions of prohibited acts that form a course
 of conduct or pattern of behavior.2670[KLZJYPILZHZLYPLZVYV]LYHSSÅV^VML]LU[ZHZVWWVZLK[VH
 mere aggregate of random acts.268

 ;OLL]PKLUJLPUKPJH[LZ[OH[[OLL]LU[ZPU3H:HSPUL)LS(PYHUK*P[t:VSLPSLHJOTLL[[OLKLÄUP[PVU
 of an attack. The killings, rapes, and property destruction in La Saline were carried out pursuant to a
 preconceived plan and followed a systematic pattern that formed an attack on the neighborhood.269 In
 Bel-Air, the killings and property destruction were also carried out pursuant to a plan. They took place
 over the course of three days, and were carried out by the same perpetrators who repeatedly returned
 to continue the attack.270 Finally, the crimes committed by G9 in Cité Soleil also follow a pattern that
 indicates that they were not merely an aggregate of random acts. The assaults on May 24-27 were
 carried out pursuant to a plan to simultaneously target Nan Brooklyn, Nan Tokyo, and Pont Rouge.271
 As a result, G9 gained control of nine new neighborhoods in Cité Soleil.272 Nan Brooklyn, however,
 remained under the control of rival Jean-Pierre.273 G9 then continued to carry out killings, rapes, and
 property damage in June and July that focused on Nan Brooklyn, using a similar pattern of violence
 targeted at civilians.274 The evidence indicates that these were not random acts of gang violence, but
 a part of an ongoing attack over an extended period of time.275

 The assaults on La Saline, Bel-Air, and Cité Soleil could also potentially be viewed as components of
 HZ\Z[HPULKT\S[P`LHYH[[HJRHNHPUZ[JP]PSPHUZW\YZ\HU[[VHULɈVY[[VL_LY[JVU[YVSV]LYJVTT\UP[PLZ
 opposed to the government.276 The repeated involvement of Chérizier, the common characteristics
 of the targeted neighborhoods, and similarities in how the attacks were carried out, may establish a
 IYVHKLYWH[[LYUPUKPJH[P]LVMZ\JOHZ\Z[HPULKH[[HJR:PUJL[OLH]HPSHISLL]PKLUJLZ\WWVY[ZHÄUKPUN
 that each of the assaults in and of themselves amount to crimes against humanity, however, this
 report primarily analyses each event as a separate attack.


                                                                                                             Haiti AR_001607
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 304 of 382
 20 | Killing with Impunity: State-Sanctioned Massacres in Haiti




 The attacks were directed against a civilian population

 The attacks must be directed at a civilian population. This distinguishes crimes against humanity from
 attacks directed against “armed forces and other legitimate combatants.”277 To meet this element,
 civilians must be the “primary object of the attack,” and not just incidental victims of the attack. 278
 Moreover, the attack must target a broader group and not merely a “limited and randomly selected
 number of individuals.”279;OL[HYNL[LKJP]PSPHUWVW\SH[PVUJHUPUJS\KLHNYV\WKLÄULKI`P[ZWLYJLP]LK
 WVSP[PJHSHɉSPH[PVU280

 The primary objects of the three attacks are civilian residents of the targeted opposition neighborhoods.
 The manner in which the residents were targeted—including being extracted from or sought out in
 their homes to be murdered or raped—demonstrates that they were primary targets of the attacks,
 HUKUV[TLYLS`JVSSH[LYHSKHTHNLPU[OLJVU[L_[VMNHUNÄNO[PUN

 The Attacks Were Widespread and Systematic in Nature

 0U VYKLY MVY ZWLJPÄJ JYPTLZ [V HTV\U[ [V JYPTLZ HNHPUZ[ O\THUP[` [OL` T\Z[ HSZV IL H WHY[ VM HU
 attack that is either widespread or systematic in nature.281 While only one of the two is required to
 establish this element,282[OLL_PZ[PUNL]PKLUJLZ\WWVY[ZHÄUKPUN[OH[[OLH[[HJRZPU3H:HSPUL)LS(PY
 and Cité Soleil were both widespread and systematic.

 The attacks were widespread

 An attack is widespread when it is a large-scale attack with numerous victims.283 While no numerical
 threshold of victims must be met and no large geographic area is required,284 courts have taken into
 account the consequences of the attack on the targeted population, the number of victims, and the
 nature of the acts.285

 Each of the three attacks meet this requirement. In La Saline, the attackers killed at least 71 people,
 raped seven people, and vandalized 150 homes.286 In Bel-Air, the gangs killed at least 24 people
 HUKZL[OV\ZLZVUÄYL287 In the attack on Cité Soleil, the perpetrators killed at least 145 people
 and burned or vandalized more than 90 houses.288 The cumulative number of deaths as a result of
 these attacks is at least 240. Beyond the number of causalities and physical injuries, the attacks
 have had dire economic and social consequences on the civilian population in these neighborhoods.
 According to human rights groups, hundreds of civilians were displaced as a result of the La Saline
 massacre.289 Many have not been able to return to their homes and became homeless, and some who
 sought shelter in Wharf Jérémie were executed during the attack on Cité Soleil two years later.290 The
 UN reports that the attacks in Cité Soleil rendered at least 298 households displaced,291 and Haiti’s
 6ɉJLMVY*P]PS7YV[LJ[PVULZ[PTH[LZ[OLU\TILYVMKPZWSHJLKWLYZVUZ[VILV]LY292 As insecurity
 persists, terror and trauma continues to prevail in the targeted communities.

 The attacks were systematic

 While it is only necessary to demonstrate that an attack is widespread, there is also evidence that
 the attacks were systematic. Systematic refers to the “the organized nature of the acts of violence
 and the improbability of their random occurrence.”293 A systematic attack may be demonstrated
 through “patterns of crimes—that is the non-accidental repetition of similar criminal conduct on a
 regular basis.”294 Other factors that are indicative of a systematic and organized attack include the
 PKLU[PÄJH[PVUVMH[HYNL[WVW\SH[PVUWYPVY[V[OLJVTTLUJLTLU[VM[OLH[[HJR[OLMLYY`PUNVMH[[HJRLYZ

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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 305 of 382
              Legal Analysis: There Is A Reasonable Basis To Conclude That The Attacks Amount To Crimes Against Humanity | 21




 MYVT V[OLY SVJH[PVUZ ZWLJPÄJHSS` MVY [OL W\YWVZL VM [OL H[[HJR HUK [OL WYV]PZPVU VM \UPMVYTZ HUK
 weapons to the attackers. 295

 The attacks in La Saline, Bel-Air, and Cité Soleil were far from spontaneous or random; rather, each
 attack was organized and entails a pattern of similar criminal conduct.

 The 2018 La Saline attack was well-organized and carried out pursuant to an established plan. Two
 weeks before the attack, Richard Duplan, then President Moïse’s Delegate for the West Department;
 Fednel Monchéry, then Director General of the Ministry of the Interior; and gang leaders including
 Chérizier met to plan the attack.296 During the planning meeting, Duplan and Monchéry reportedly
 furnished the gangs with weapons, police uniforms, and government vehicles that were used in the
 attack, and provided payment for the execution of the attack.297 On November 13, 2018, about 50
 heavily-armed assailants arrived in La Saline together in order to carry out the attack.298 The acts of
 violence carried out during the attack follow a pattern of similar criminal conduct: over the course of
 fourteen hours, the assailants divided into four groups and systematically went from house to house,
 pulling residents out their homes and killing them with single shots or machete blows.299 Numerous
 bodies were hacked to pieces and several women were raped.300 An estimated 150 homes were
 looted and burned.301 Gangs also appear to have coordinated in the disposal of bodies; gangs burned
 the corpses in the evening, and a tractor picked up the burnt bodies and moved them to another
 location on the night of November 15-16.302

 The 2019 Bel-Air attack was similarly planned and organized, and showed a pattern of terrorizing
 JP]PSPHUZ(M[LYMHPSLKH[[LTW[Z[VYLTV]LÅHTPUNIHYYPLYZWSHJLKVU)LS(PY»ZYVHKZHZWHY[VM[OLpeyi
 lok protests, then Secretary of State for Public Security Léon Saint-Cyr reportedly met with Chérizier
 HUKWHPKOPTHZPNUPÄJHU[Z\TVMTVUL`[VZLJ\YL[OLYLTV]HSVM[OLIHYYPLYZHUKWYL]LU[M\Y[OLY
 anti-government protests in Bel-Air.303 Chérizier initially approached organizers with 40 armed men
 and sought to bribe them into removing the barricades.304(M[LYOL^HZYLI\ɈLK*OtYPaPLYIYV\NO[
 OLH]PS`HYTLKTLUJHYY`PUNH\[VTH[PJHZZH\S[YPÅLZ[V)LS(PYVU5V]LTILY [VJHYY`V\[
 the attack.305;OL`[LYYVYPaLK[OLULPNOIVYOVVKZOVV[PUNJP]PSPHUZHUKZL[[PUNÄYL[VOVTLZ306 Gangs
 YL[\YULKMVY[^VJVUZLJ\[P]LUPNO[Z^LHYPUNJVVYKPUH[LKTPSP[HY`\UPMVYTZHUKHNHPUÄYPUNH[JP]PSPHUZ
 HUKZL[[PUNÄYL[V[OLPYOVTLZ^OPSL[OL`ZSLW[PUZPKL307

 The May-July 2020 attack on Cité Soleil also reveals organization and a pattern of terrorizing civilians
 through similar criminal conduct. Thirteen gang leaders from the G9 alliance met on May 23, 2020 to
 plan simultaneous assaults on Pont Rouge, Chancerelles, and Nan Tokyo.308 In these attacks, gangs
 HNHPUÄYLKH[JP]PSPHUZI\YULK[OLPYIVKPLZHUKZL[OV\ZLZVUÄYL309;OVZL^OV[YPLK[VÅLL^LYL
 ZWLJPÄJHSS`[HYNL[LKHUKZOV[H[[HJRLK^P[ORUP]LZVYZ[VULZ310 Some were beheaded. Throughout
 June and July, the G9 continued its assault on the residents of Cité Soleil to capture parts of the area
 not yet under their control.311 G9 particularly focused on Nan Brooklyn, a neighborhood controlled by
 their rival Jean-Pierre.312 Within these attacks, gang members followed a similar pattern of terrorizing
 civilians by capturing them and then shooting or raping them and burning numerous houses.313 The
 violence does not appear to be random, accidental, or isolated.

 The Attacks Furthered a State or Organizational Policy

 The Rome Statute also requires that the attacks were committed pursuant to, or in furtherance
 of, a state or organizational policy to commit the attack.314 The policy element does not refer to a
 MVYTHSS`KLÄULKWVSPJ`PU[OLJVTTVUS`\ZLKZLUZL"YH[OLYHU`H[[HJR¸^OPJOPZWSHUULKKPYLJ[LK
 or organized—as opposed to spontaneous or isolated acts of violence”315 will qualify as a policy.

                                                                                                            Haiti AR_001609
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 306 of 382
 22 | Killing with Impunity: State-Sanctioned Massacres in Haiti




 To establish a policy, it is relevant that the state or organization actively promoted or encouraged an
 attack against a civilian population;316 however, attacks do not have to be predetermined in order to be
 part of a policy. A policy may “only crystallize and develop as actions are set in train and undertaken
 I`WLYWL[YH[VYZ¹Z\JO[OH[P[PZVUS`WVZZPISL[VKLÄUL[OLV]LYHSSWVSPJ`PUYL[YVZWLJ[317 Motive or
 purpose is not required to prove a policy to attack a civilian population.318

 The policy element shares many similarities with the systematic element, such that evidence relevant
 to demonstrating the systematic nature of an attack is also relevant to whether the attack was carried
 out pursuant to a policy.319 However, the two elements are not simply synonymous.320 The systematic
 nature of an attack concerns the pattern of repeated, non-random acts of crime, but “to establish a
 ‘policy’ it need be demonstrated only that the State or organization meant to commit an attack against
 a civilian population.”321

 The attacks furthered a state policy

 ;OLYLHYLZ\IZ[HU[PHSNYV\UKZ[VÄUK[OH[[OLH[[HJRZPU3H:HSPUL)LS(PYHUK*P[t:VSLPSM\Y[OLYLKH
 state policy to attack civilians in order to discourage or repress political opposition. A state policy
 does not have to be explicit or formal; indeed, it is relatively rare that a “State or organization seeking
 to encourage an attack against a civilian population might adopt and disseminate a pre-established
 KLZPNUVYWSHU[V[OH[LɈLJ[¹322 Instead, a state policy to attack can be inferred from such evidence
 as preparations or collective mobilization coordinated by the state,323 including “the enlistment of
 gangs to unleash violence on perceived rival communities.”324 The police’s deliberate failure to take
 action, with the aim of encouraging the attack,325 and the political background against which the
 attack took place,326 are also relevant.


 ;OLPU]VS]LTLU[VM]HYPV\Z4V{ZLHKTPUPZ[YH[PVUVɉJPHSZHUKWVSPJLVɉJLYZPUWSHUUPUNHUKL_LJ\[PUN
 the attacks point to a state policy to attack civilians. As set out in the preceding section, each attack
 ^HZJHYYPLKV\[W\YZ\HU[[VHWSHUHUKL]PKLUJLZ\NNLZ[Z[OH[NV]LYUTLU[VɉJPHSZ^LYLHJ[P]LPU
 the preparations of at least the La Saline and Bel-Air attacks and that they enlisted gangs to carry
 V\[[OLH[[HJRZ;OLH[[HJRPU*P[t:VSLPS^HZ[YPNNLYLKI`HU\UPKLU[PÄLKNV]LYUTLU[VɉJPHSWH`PUN
 Altès to switch political alliances and kill another anti-government gang leader in the area.327 Even if
 [OLNV]LYUTLU[VɉJPHSKPKUV[JVTTPZZPVU[OLH[[HJRVUJP]PSPHUZper se, this reinforces a pattern of
 NHUNZILPUN\ZLK[VLɈLJ[\H[LHZ[H[LWVSPJ`.


 Persistent use of police resources in the execution of the attacks also support an inference of a
 policy.328 Gang members arrived in a BOID vehicle in the La Saline attack,329\UKLYJV]LYWVSPJLVɉJLYZ
 attacked civilians alongside gang members in the Bel-Air attacks,330 and Chérizier arrived in Cité
 Soleil in a PNH vehicle in the May 2020 attacks.331 Moreover, the police failed to intervene to protect
 civilians in each of the attacks. The La Saline attack lasted for 14 hours without any intervention from
 75/L]LU[OV\NO[^VWVSPJLZ\IZ[H[PVUZ^LYLSLZZ[OHUHRPSVTL[LYH^H`HUKÄ]LKPɈLYLU[WVSPJL
 units were on notice of the attacks.332 The Bel-Air attack took place over a three-day period without
 PNH intervention, even though police stations surround the area and a BOID control alerted the police
 force of the attacks.333 The police also did not intervene in the May attack on Cité Soleil, and RNDDH
 reports that PNH’s presence generally declined in the area despite continued violence against civilians
 over the subsequent months.334 The extended time periods of the attacks provided ample opportunity
 to at least attempt to intervene, call in reinforcements, and/or gather additional resources. Especially
 when viewed in contrast to the strong show of force by police against protesters, these facts may
 suggest a conscious aim to encourage the attacks.

                                                                                             Haiti AR_001610
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 307 of 382
              Legal Analysis: There Is A Reasonable Basis To Conclude That The Attacks Amount To Crimes Against Humanity | 23




 Finally, the political background of the attacks suggest that they furthered a broader state policy to
 repress. As set out in Section I, President Moïse has engaged in a persistent pattern of repression
 against the political opposition. Moreover, as detailed above, each of the attacked neighborhoods are
 opposition strongholds and each attack took place in the context of growing protests against Moïse’s
 administration. This political background, and state actors’ involvement in the planning and execution
 of the attacks, indicate that the attacks furthered a state policy.

 The attacks furthered a separate gang policy to attack

 The attacks also appear to have furthered the gangs’ own organizational policy to attack civilians in
 order to gain territorial control. First, the gangs that carried out the attacks are organizations within
 the meaning of the Rome Statute. “Organizations” include non-state-actors and do not need to be
 organized similarly to a state.335 Rather, instructive factors include: (1) whether the group is under a
 responsible command or has an established hierarchy;336 (2) whether it has the necessary capacities
 to “allow an attack to be executed”, including having the membership and resources to undertake
 the “action, mutual agreement and coordination;”337 (3) whether it exercises control over part of the
 territory of a state; and (4) whether it has criminal activities against civilians as a primary purpose.
 (WWS`PUNZ\JOMHJ[VYZVYNHUPaLKNHUNZPUV[OLYJVU[L_[ZOH]LILLUMV\UK[VTLL[[OLKLÄUP[PVUVM
 an organization under the Rome Statute.338

 As noted in Section I of this report, the gangs involved in these attacks are structured entities
 organized under a leader who exerts command over the membership.339 The gangs exercise authority
 V]LY KPZ[PUJ[ [LYYP[VYPLZ JVTTHUK ZPNUPÄJHU[ YLZV\YJLZ HUK VM[LU JHYY` V\[ Z[H[LSPRL M\UJ[PVUZ
 with regards to the populations they control. These structures and resources allow gang leaders to
 LɉJPLU[S`JVVYKPUH[LH[[HJRZHNHPUZ[HJP]PSPHUWVW\SH[PVU

 Ample evidence indicates that the gangs were acting pursuant to a policy to gain territorial control
 I` H[[HJRPUN [OL JP]PSPHU WVW\SH[PVU >OPSL HUHS`aPUN LHJO ZWLJPÄJ NHUN PTWSPJH[LK PU LHJO H[[HJR
 is beyond the scope of this report, these gangs generally follow an economic model that relies on
 exerting authority over territory through the use of violence.340 As discussed above, the attacks were
 directed by established gang leaders, planned in advance, and well-organized in their execution.
 Chérizier, who orchestrated each of the attacks, has himself articulated a policy of sorts, calling his
 gang activities an “armed revolution,” while noting that he would “put guns in the hands of every child
 if we have to.”341 These aspects all point to the attacks having been carried out in furtherance of an
 organizational policy.

 Thus, there is a reasonable basis to conclude that the elements of crimes against humanity are met in
 the attacks on La Saline, Bel-Air, and Cité Soleil.




                                                                                                            Haiti AR_001611
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 308 of 382
 24 | Killing with Impunity: State-Sanctioned Massacres in Haiti




 IV. The Available Evidence Points to Several
 State Actors Who May Be Liable for Crimes
 Against Humanity

 Under international criminal law, criminal liability for crimes against humanity extends both to the
 individuals who carry out the underlying violent acts, and to the individuals who have planned, instigated,
 ordered, or otherwise aided and abetted in the planning, preparation, or execution of the attacks.

 To date, much of the international reporting on these attacks has focused on gangs as the chief
 perpetrators.342 Indeed, the attacks were led by gang leaders, most prominent among them Jimmy
 Chérizier, who appears to have played a central role in orchestrating and executing each of the three
 LTISLTH[PJH[[HJRZ0U]LZ[PNH[VYZOH]LHSZVPKLU[PÄLK[OLNHUNZ[OH[KPYLJ[S`WHY[PJPWH[LKPUJHYY`PUN
 V\[ [OLZL H[[HJRZ HUK PU ZVTL JHZLZ [OL PUKP]PK\HSZ ^OV JVTTP[[LK [OL ZWLJPÄJ JYPTLZ343 It is
 critical for these individuals to be fully investigated, tried, and punished for crimes against humanity.
 As the UN has stressed, the ongoing failure to hold perpetrators accountable for these attacks is
 “creating an enabling environment for further violence.”344

 Yet the available evidence also suggests repeated involvement of state actors in both the commission
 VM[OLJYPTLZHUKPUVYKLYPUNPUZ[PNH[PUNHUKLUHISPUN[OLH[[HJRZ;OLZLZ[H[LHJ[VYZPUJS\KLVɉJLYZ
 within PNH who participated in carrying out the attacks or otherwise supported their execution; senior
 VɉJPHSZPU[OL4V{ZLHKTPUPZ[YH[PVU^OVHWWLHY[VOH]LJVTTPZZPVULK[OLH[[HJRZ"HUK7YLZPKLU[
 Moïse himself, whose position of control and failure to act in response may trigger liability under
 the doctrine of command responsibility. Individuals in a position of superiority who fail in their duty
 to prevent or punish crimes against humanity may be considered more culpable than the direct
 perpetrators, in light of their leadership position and their failure to uphold duties to prevent or punish
 the crimes.345

 Despite the potential liability of state actors for these attacks, their role in perpetrating crimes against
 humanity in Haiti has received relatively less attention at the international level.346 In order to provide a
 fuller picture of the actors who could be responsible for crimes against humanity in Haiti, this section
 PKLU[PÄLZ[OLWYPUJPWHSSLNHS[OLVYPLZ\UKLY^OPJOZ[H[LHJ[VYZTH`ILOLSKJYPTPUHSS`YLZWVUZPISLMVY
 the attacks.

 (ZZPNUPUNJYPTPUHSYLZWVUZPIPSP[`[VZWLJPÄJPUKP]PK\HSZYLX\PYLZHUL_[LUZP]LPUKP]PK\HSPaLKPUX\PY`
 PU[V[OLHJ[PVUZHUKZ[H[LVMTPUKVMZWLJPÄJWLYWL[YH[VYZHUK^PSSULJLZZP[H[LHKKP[PVUHSMHJ[ÄUKPUN
 and investigation. While such an analysis is thus beyond the scope of this report, this section sets
 out the most relevant analytical frameworks for understanding potential liability of the state actors
 implicated in the attacks to date. Further investigations are needed to establish the extent of state
 PU]VS]LTLU[[OLZWLJPÄJHJ[ZPU^OPJO]HYPV\ZPUKP]PK\HSZ^LYLPU]VS]LKHUK[OLZ[H[LVMTPUKVM
 the accused.

 Direct Commission

 In addition to gang members, the available evidence implicates state actors in the direct commission
 of certain crimes. These individuals can be held criminally responsible if their acts were a part of the
 widespread or systematic attack and they acted with knowledge that their conduct was part of such
 an attack.347

                                                                                               Haiti AR_001612
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 309 of 382
                      The Available Evidence Points to Several State Actors Who May Be Liable for Crimes Against Humanity | 25




 0U]LZ[PNH[PVUZ OH]L MV\UK [OH[ T\S[PWSL 75/ VɉJLYZ WHY[PJPWH[LK PU [OL H[[HJRZ HSVUNZPKL NHUN
 TLTILYZ*OtYPaPLY^HZZ[PSSHWVSPJLVɉJLYH[[OL[PTLVM[OL3H:HSPULH[[HJRHUKOHZILLUJVUZPZ[LU[S`
 singled out for responsibility in the attacks.348;OLUWVSPJLVɉJLY.YLNVY`(U[VPULalias Ti Greg, and
 Gustave alias Chupit are also accused of participating in the La Saline attack.349 In the Bel-Air attack,
 L`L^P[ULZZLZ YLWVY[ [OH[ [OYLL WVSPJL VɉJLYZ PU JP]PSPHU JSV[OLZ ^OV OHK [PLZ [V *OtYPaPLY»Z NHUN
 shot residents and burned vehicles alongside gang members.350 ;OL <5»Z PU]LZ[PNH[PVU PKLU[PÄLK
 [^VVM[OLWVSPJLVɉJLYZI`WYLJPUJ[HUKUV[LK[OH[[OL[OPYK^HZILSPL]LK[VILHTLTILYVM[OL
 National Palace security.3510U*P[t:VSLPSWVSPJLVɉJLYZPUHYTVYLK]LOPJSLZ^OVKYV]L[OYV\NO[OL
 ULPNOIVYOVVKK\YPUN[OLJV\YZLVMHUH[[HJRYLWVY[LKS`ZOV[HUKRPSSLKÄ]LJP]PSPHUZ352

 ;OLZLVɉJLYZTH`ILYLZWVUZPISLMVYKPYLJ[S`JVTTP[[PUNJYPTLZHNHPUZ[O\THUP[`PM[OL`RUL^VY
 intended for these acts to be a part of the attacks.353.P]LU[OH[[OL75/VɉJLYZ^LYLZLLU^VYRPUN
 closely with gang members during the attacks, it is likely that such knowledge existed. Further fact-
 ÄUKPUN HUK HU PUKP]PK\HSPaLK PUX\PY` PU[V [OL HJ[PVUZ HUK Z[H[LZ VM TPUK VM ZWLJPÄJ VɉJLYZ HYL
 required to establish their responsibility.

 Aiding and Abetting
 Even if there is not adequate evidence to establish that state actors personally carried out the underlying
 criminal acts, they may still be responsible for aiding and abetting crimes against humanity.354 Aiding
 and abetting refers to acts or omissions that assist, encourage, or lend moral support to crimes.355
 The assistance may either be practical, material, moral, or psychological,356 provided that it had an
 LɈLJ[VU[OLJYPTL357 Moreover, under the Rome Statute, the aider and abettor must also have acted
 with the purpose of facilitating the commission of the crime.358


 Haitian National Police

 ;OLL_PZ[PUNL]PKLUJLPUKPJH[LZ[OH[75/VɉJLYZTH`OH]LHPKLKHUKHIL[[LK[OLJYPTLZ[OYV\NO!
 their presence and actions during the course of the attacks;359 (2) the provision of PNH resources for
 use in the attacks;360 and (3) their failure to intervene and protect civilians under attack.361

 -PYZ[HZUV[LKHIV]LHU\TILYVMWVSPJLVɉJLYZHJ[P]LS`Z\WWVY[LKNHUNWLYWL[YH[VYZPULHJOVM[OL
 [OYLL H[[HJRZ 0U 3H :HSPUL HUK )LS(PY [OL VɉJLYZ ^LYL PKLU[PÄLK HZ WHY[PJPWH[PUN PU [OL H[[HJR
 alongside gang members.362 Even if evidence is inadequate to hold them responsible for directly
 committing the underlying crimes, their presence likely served as encouragement to the principal
 perpetrators, especially in light of their positions of authority.363 The circumstances of the attacks,
 including the pre-planning, scale, concentration, extended period of the attacks, and the fact that the
 75/ VɉJLYZ ^VYRLK HSVUNZPKL NHUN TLTILYZ K\YPUN [OL H[[HJRZ Z\NNLZ[ [OH[ [OL` PU[LUKLK [V
 facilitate the crimes through their presence. In Cité Soleil, the police arrived separately from the gangs,
 but did not intervene to stop the attacks and instead may have assisted through their own use of force
 HNHPUZ[JP]PSPHUZ6U4H`Ä]LHYTVYLK75/]LOPJSLZWHYRLKH[[OLLU[YHUJL[V5HU)YVVRS`U
 HUK ÄYLK NHZ [\ILZ HUK J`SPUKLYZ [OH[ MVYJLK YLZPKLU[Z [V ÅLL HUK ZL[ [OL Z[HNL MVY NHUNZ [V
 systematically chase down and attack civilians.364 In July, two armored PNH vehicles passed through
 HUHYLH\UKLY. H[[HJRHUKZOV[H[WHZZLYZI`RPSSPUNH[SLHZ[Ä]LJP]PSPHUZ365 Additional investigations
 may further support the conclusion that the police acted with the purpose of facilitating the attacks.

 Moreover, RNDDH has documented that Chérizier generally operates with the assistance of PNH
 VɉJLYZ ^OV MHJPSP[H[L OPZ [YH]LS HUK LUZ\YL OPZ ZHML[` PUJS\KPUN K\YPUN [OL JV\YZL VM JYPTPUHS
 activities.366 95++/ OHZ PKLU[PÄLK VɉJLYZ .HYY` :HUVU (SHPU )V`HYK 4HJRLUK` *HU[H]L +H]PK


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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 310 of 382
 26 | Killing with Impunity: State-Sanctioned Massacres in Haiti




 Diverant, and Luckson Dessources as acting in collusion with Chérizier.367 If further investigations
 show that their services were used in the attacks discussed here, and that the services were provided
 ^P[O[OLW\YWVZLVMMHJPSP[H[PUN[OLH[[HJRZ[OLZLVɉJLYZJV\SKHSZVILSPHISLMVYHPKPUNHUKHIL[[PUN
 crimes against humanity.

 :LJVUKVɉJPHS75/YLZV\YJLZPUJS\KPUN^LHWVUZ]LOPJSLZHUK\UPMVYTZ^LYL\ZLKPU[OLH[[HJRZ
 on La Saline and Cité Soleil. In La Saline, some of the assailants were transported to the scene in an
 armored BOID vehicle, wearing BOID uniforms that induced residents to believe they were a part of
 HUVɉJPHS75/VWLYH[PVUYH[OLY[OHUHUVWLYH[PVUHPTLKH[[OLYLZPKLU[Z[OLTZLS]LZ368 RNDDH’s
 investigation indicates that these resources may have been furnished by Duplan and Monchéry, but
 M\Y[OLY PU]LZ[PNH[PVU TH` ZOV^ [OH[ WVSPJL VɉJLYZ ^LYL HSZV JVTWSPJP[ PU THRPUN [OL YLZV\YJLZ
 available for the purpose of facilitating the crimes.369 In Cité Soleil, Chérizier again arrived at the scene
 of the May attack in a PNH vehicle.370 In July 2020, four armored PNH personnel carriers assisted
 armed gangs led by Andrice and Saintil in taking over a building where multiple people were killed.371
 While investigations to date do not establish how these vehicles were obtained, further investigations
 TH`ÄUK[OH[[OL`^LYLWYV]PKLKI`75/VɉJPHSZ[VMHJPSP[H[L[OLJYPTL372

 Finally, the police may have facilitated the crimes by failing in their legal duty to intervene to protect
 civilians during the attacks. During the multiple-day attacks in Bel-Air, residents made repeated pleas
 for help, the attacks took place in a neighborhood surrounded by police outposts, and a police patrol
 UV[PÄLKJLU[YHSJVTTHUKVM[OLH[[HJR`L[75/KPKUV[YLZWVUK(Z[OL<5OHZMV\UK[OLWVSPJL»Z
 MHPS\YL[VYLZWVUK[V3H:HSPULTVYLV]LYTH`UV[VUS`OH]LZPNUHSLKVɉJPHSHWWYV]HSMVY[OLH[[HJRZ
 but also facilitated the ongoing perpetration of the crimes and the high death toll.373 RNDDH has
 ZPTPSHYS`MV\UK[OH[[OLKLJYLHZLK75/WYLZLUJLPU*P[L:VSLPS¸MHJPSP[H[LZ[OLPU[LUZPÄJH[PVUVMHYTLK
 attacks against the city by G-9 members.”374;VÄUK[OH[[OPZPUHJ[PVU]PVSH[LKHSLNHSK\[`[VHJ[
 however, the police must have had the means to act,375 which PNH has contested.376

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 .V]LYUTLU[VɉJPHSZTH`HSZVILSPHISLMVYHPKPUNHUKHIL[[PUNJYPTLZHNHPUZ[O\THUP[`\UKLY[OL
 SLNHSMYHTL^VYRZL[V\[HIV]L;OLYLPZZPNUPÄJHU[L]PKLUJL[OH[VɉJPHSZPU[OL4V{ZLHKTPUPZ[YH[PVU
 provided practical, material, and moral assistance to the gangs in the commission of the attacks
 in La Saline and Bel-Air. Duplan and Monchéry allegedly furnished weapons and vehicles for use
 in the La Saline attack.377 Duplan was also physically present with Chérizier, Gregory Antoine, and
 V[OLY HZZHPSHU[Z H[ [OL ZJLUL VM [OL 3H :HSPUL H[[HJR ^OPJO TH` OH]L OHK [OL LɈLJ[ VM WYV]PKPUN
 encouragement and moral support.378 The fact that Duplan and Monchéry provided resources in the
 context of a planning meeting suggests intent to assist in the attack.

 Moreover, Léon Saint-Cyr’s alleged payment to Chérizier to put an end to growing anti-government
 protests in advance of the Bel-Air attack379 likely served as essential encouragement for the attack.
 Saint-Cyr’s decision to hire Chérizier for the task, when Chérizier was well-known for his use of
 violence against civilians in both Grand Ravine and La Saline, may indicate an intent to facilitate a
 ]PVSLU[H[[HJR/V^L]LYHTVYLL_[LUZP]LPUX\PY`PU[V[OLLɈLJ[VM[OLZ\WWVY[HUK:HPU[*`Y»ZZ[H[L
 of mind would be required, especially in light of Saint-Cyr’s denials.380

 Ordering, Soliciting, or Inducing the Crimes

 Under international criminal law, individuals are liable for crimes against humanity if they are found
 to have ordered, solicited, or induced the crimes carried out by others.381 Individuals in a position of

                                                                                                   Haiti AR_001614
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 311 of 382
                      The Available Evidence Points to Several State Actors Who May Be Liable for Crimes Against Humanity | 27




 authority can be liable for ordering a crime if they used their authority to instruct another person to
 JVTTP[ HU VɈLUJL382 A formal superior-subordinate relationship is not necessary.383 Orders must
 entail a positive act, rather than an omission, but do not need to be issued directly, in writing, or
 given in any particular form.384 The individuals must also have intended to order a crime or must be
 aware of the substantial likelihood that the crime would be committed due to their order.385 Individuals
 can be equally liable for soliciting, inducing, or instigating the perpetrators to commit the underlying
 crimes by prompting or urging them to do so.386 There must be a causal link, or nexus, between the
 PUZ[PNH[PVUHUK[OLÄUHSVɈLUJL"[OLPUZ[PNH[PVUT\Z[Z\IZ[HU[PHSS`JVU[YPI\[L[V[OLÄUHSVɈLUZL387
 Moreover, they must have acted with either the intent to instigate another person to commit a crime,
 or alternatively, with awareness of the “substantial likelihood that a crime will be committed in the
 execution of the act or omission instigated.”388

 :LUPVYNV]LYUTLU[VɉJPHSZPU[OL4V{ZLHKTPUPZ[YH[PVUTH`ILSPHISLMVYVYKLYPUNPUK\JPUNZVSPJP[PUN
 or instigating gangs to perpetrate the crimes in La Saline and Bel-Air. Evidence strongly suggests that
 NV]LYUTLU[VɉJPHSZ+\WSHUHUK4VUJOtY`VYKLYLKPUK\JLKVYZVSPJP[LKNHUNZ[VH[[HJRJP]PSPHUZ
 PU 3H :HSPUL ;OL +*71 OHZ PKLU[PÄLK [OLT HZ [OL ¸WYLZ\TLK H\[OVYZ¹ VM [OL 3H :HSPUL H[[HJR389
 They commissioned Chérizier and others to commit the crime in exchange for payment.390 They also
 actively participated in the planning of the attack and reportedly provided key resources, including
 weapons, government vehicles, and police uniforms that made a substantial contribution to the
 YLZ\S[PUNVɈLUZLZ391 Eyewitnesses report that Duplan was personally present during the attack in La
 Saline, and that he told Chérizier “you killed too many people,” suggesting that he knew that a crime
 was likely to be committed in the execution of the act.392;OLZLUPVYNV]LYUTLU[VɉJPHSZ»HK]HUJLK
 planning is evidence of their intent to engage in the criminal act, and demonstrates their awareness
 [OH[[OLPYJVUK\J[^V\SKPUÅ\LUJLNHUNTLTILYZ»WLYWL[YH[PVUVM[OLJYPTLZ

 :PTPSHYS`NV]LYUTLU[VɉJPHS3LVU:HPU[*`YTH`OH]LVYKLYLKPUK\JLKVYZVSPJP[LK*OtYPaPLYHUK
 his gang to attack civilians in Bel-Air. Saint-Cyr allegedly asked Chérizier to remove the road barriers
 and prevent further antigovernment protests, in exchange for a substantial sum of money and several
 motorcycles.393 This conduct prompted Chérizier to remove the barriers by force, attacking civilians in
 November 2019. The paid exchange indicates that Saint-Cyr’s request made a substantial contribution
 to the Bel-Air attacks against civilians, and was perhaps the catalyst. In light of Chérizier’s well
 known record of using violence against civilians, Saint-Cyr would have been aware that Chérizier’s
 involvement in this type of operation was likely to lead to criminal acts.394

 Common Enterprise

 .V]LYUTLU[VɉJPHSZHUK75/VɉJLYZTH`HSZVWV[LU[PHSS`ILSPHISLMVY[HRPUNWHY[PUHQVPU[JYPTPUHS
 enterprise with those who carried out the attacks. A joint criminal enterprise does not have to be formally
 organized in a military, political, or administrative structure;395 rather, the existence of a common plan,
 design, or purpose that involves the commission of a crime is relevant.396 There is no need for the
 purpose to have been previously arranged or formulated; it may materialize extemporaneously and
 be inferred from the facts.397 To be liable under this theory, a person must have substantially assisted
 VYZPNUPÄJHU[S`HɈLJ[LK[OLM\Y[OLYHUJLVM[OLNVHSZVM[OLLU[LYWYPZLZ\JOHZI`WYVJ\YPUN^LHWVUZ
 for the plan.398 Moreover, all co-perpetrators, including the accused, must have had the shared intent
 to perpetrate the crime.399

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 ;OV\NO[OLYLX\PYLTLU[VMHZPNUPÄJHU[JVU[YPI\[PVU[V[OLWSHUULKJYPTLJYLH[LZHOPNOIHY[VOVSK

                                                                                                             Haiti AR_001615
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 312 of 382
 28 | Killing with Impunity: State-Sanctioned Massacres in Haiti




 individuals liable in a joint criminal enterprise, Duplan and Monchéry may meet this bar for their role
 in the La Saline attack. The common plan is evident in their meeting with gang members two weeks
 prior to the attack to plan it.400 This planning meeting also demonstrates a shared intent among
 the co-perpetrators—Duplan, Monchéry, and the gang leaders—to commit the attack. Duplan and
 4VUJOtY`ZPNUPÄJHU[S`JVU[YPI\[LK[V[OLJYPTLI`WSHUUPUN[OLH[[HJRHUKM\YUPZOPUNYLZV\YJLZMVY
 the attack, including weapons, vehicles, and police uniforms.401 Furthermore, Duplan was present at
 the attack along with gang members.402;OPZZPNUPÄJHU[JVU[YPI\[PVUPUKPJH[LZ[OH[[OL`PU[LUKLK[V
 perpetrate the attack against civilians.

 Haitian National Police

 -\Y[OLYPU]LZ[PNH[PVUZTH`HSZVYL]LHS[OH[WVSPJLVɉJLYZ^LYLLUNHNLKPUHJVTTVULU[LYWYPZL^P[O
 gang leaders. The evidence to date does not indicate how all the police resources used in the attacks
 ^LYLVI[HPULKI\[PMP[PZZOV^U[OH[WVSPJLVɉJLYZTHKL[OLTH]HPSHISLMVY[OLW\YWVZLVMMHJPSP[H[PUN
 the attacks, a common enterprise may be found.

 President Moïse May Be Responsible for Crimes Against Humanity
 Under the Doctrine of Command Responsibility

 President Moïse may personally be criminally responsible for crimes against humanity committed
 K\YPUNOPZ[LYTHZWYLZPKLU[0UWHY[PJ\SHY[OLWYVTPULU[YVSLVM4V{ZL»ZZLUPVYVɉJPHSZPUWSHUUPUNHUK
 executing the La Saline attack may trigger liability under the doctrine of command responsibility. It is
 a well-established norm of international law that “military commanders and other persons occupying
 positions of superior authority may be held criminally responsible for the unlawful conduct of their
 subordinates.”403 This criminal responsibility “may arise either out of the positive acts of the superior
 or from his culpable omissions,” such as “failing to take measures to prevent or repress the unlawful
 conduct of his subordinates.”404

 For President Moïse to be criminally responsible under the doctrine of command responsibility, three
 elements must be met: (1) there is a superior-subordinate relationship between the commander
 and the perpetrator of the crime;405 (2) the commander knew or should have known, owing to the
 circumstances at the time, that his subordinates had committed, were committing, or planned to
 commit criminal acts;406 and (3) the commander failed to prevent the commission for the crime, or
 failed to punish the subordinates after the commission of the crime.407

 >P[O YLZWLJ[ [V [OL ÄYZ[ LSLTLU[ VM JVTTHUK YLZWVUZPIPSP[` [OL Z\WLYPVYZ\IVYKPUH[L YLSH[PVUZOPW
 JLU[LYZVU^OL[OLY[OLZ\WLYPVYOHK¸LɈLJ[P]LJVU[YVS¹V]LY[OLZ\IVYKPUH[L408,ɈLJ[P]LJVU[YVSJHU
 be indicated by the power to prevent or punish the subordinate.409 It extends to situations where the
 Z\WLYPVYOHZSLZZ[OHUHIZVS\[LWV^LYZ\JOHZHKLNYLLVM¸PUÅ\LUJL¹[OH[KVLZUV[HTV\U[[V¸MVYTHS
 powers of command.”410 7LYZVUZ PU ZLUPVY NV]LYUTLU[ VɉJLZ PUJS\KPUN WYLZPKLU[Z OH]L ILLU
 subject to liability under the command responsibility doctrine.411 Moreover, command responsibility is
 not limited to liability within military structures, but applies to civilian structures as well, so long as the
 superior had the power to prevent or punish the subordinate.412

 First, there is a reasonable basis to conclude that President Moïse occupied a superior position
 V]LY IV[O +\WSHU HUK 4VUJOtY` [OL [^V VɉJPHSZ PU OPZ HKTPUPZ[YH[PVU [OH[ +*71 PKLU[PÄLK HZ
 the “presumed authors” of the La Saline attack.413 At the time of the attack, Duplan held a senior
 NV]LYUTLU[WVZP[PVUHZ[OL+LSLNH[L[V[OL>LZ[+LWHY[TLU[4V{ZL»ZVɉJPHSYLWYLZLU[H[P]LMVYVUL


                                                                                                 Haiti AR_001616
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 313 of 382
                     The Available Evidence Points to Several State Actors Who May Be Liable for Crimes Against Humanity | 29




 of Haiti’s ten geographical territories. Delegates report directly to the president.414 Moreover, Moïse
 personally appointed Duplan to the position in 2017, and was empowered to unilaterally remove
 him from the position.415 Monchéry was serving as Director General of the Ministry of the Interior,
 a position that oversees the principal execution of the Ministry’s work.416 Moïse also personally
 appointed Monchéry to the position in 2017.417 Moïse’s position of superiority and oversight gave him
 LɈLJ[P]LJVU[YVSV]LY+\WSHUHUK4VUJOtY`"[OH[PZOLOHK[OLWV^LY[VWYL]LU[[OLPYHJ[ZVYW\UPZO
 them for acts that rise to the level of crimes against humanity.

 Second, Moïse is likely to have known, and certainly should have known, that his subordinates had
 committed, were committing, or planned to commit the acts rising to crimes against humanity. Duplan
 and Monchéry’s proximity to the President creates an inference of knowledge. This is reinforced by the
 MHJ[[OH[[OLH[[HJR^HZWSHUULKZWLJPÄJHSS`[VZ\WWYLZZWYV[LZ[ZHNHPUZ[4V{ZL4VYLV]LY7YLZPKLU[
 4V{ZLHUKOPZ^PML^LYLWLYZVUHSS`PU]VS]LKPULɈVY[Z[VJVU[YVSHU[PNV]LYUTLU[HJ[P]P[`PU3H:HSPUL
 prior to the planning of the attacks. On October 13, 2017, about a year before the attack, First Lady
 Martine Moïse and then-Minister of Interior Max Rudolph Saint-Albin personally led a delegation
 [V3H:HSPUL[VVɈLYZ[H[LYLZV\YJLZPUL_JOHUNLMVY[OLKPZJVU[PU\H[PVUVMWYV[LZ[Z418 In the days
 before anti-government protests were scheduled to take place in October 2018, residents report that
 the First Lady returned to La Saline to bribe the community into compliance (an allegation she has
 denied).419 Around the same time, President Moïse also personally visited police stations across the
 JHWP[HSHUKYLWVY[LKS`KPZ[YPI\[LKJHZO[VVɉJLYZ[VLUJV\YHNL[OLT[VX\LSS[OLWYV[LZ[Z420 Haiti’s
 former police chief denounced the action, interpreting it as a sign of the President’s state of panic in
 the context of growing opposition.421 The protests proceeded anyway and demonstrators blocked
 7YLZPKLU[4V{ZLHUK[OL-PYZ[3HK`MYVTLU[LYPUN3H:HSPULMVY[OLVɉJPHSJVTTLTVYH[PVUJLYLTVU`
 injuring one of their security guards in the process.422 The plan to attack residents of La Saline was
 W\[PU[VTV[PVUI`4V{ZL»ZZLUPVYVɉJPHSZ[^V^LLRZSH[LY

 Furthermore, President Moïse certainly should have known that crimes had been committed by his
 subordinates in La Saline after the fact. The massacre was a major event. In the immediate aftermath,
 photos and videos of corpses circulated widely on social media and the attacks were reported across
 Haitian news.423 (U LZ[PTH[LK  WLVWSL ÅLK 3H :HSPUL HUK [VVR \W ZOLS[LY PU H THRLZOPM[ JHTW
 across the street from the Haitian Parliament.424 95++/ PKLU[PÄLK +\WSHU HUK 4VUJOtY` HZ RL`
 suspects in a report published just two weeks after the attack.425 This information was reinforced by
 +*71»ZVɉJPHSPU]LZ[PNH[PVU^OPJO^HZTHKLW\ISPJPU4H` HUKUHTLK+\WSHUHUK4VUJOtY`
 as the “presumed authors” of the attack.426 Under the doctrine of command responsibility, Moïse cannot
 escape liability by claiming ignorance that his subordinates had planned and committed these crimes.

 Finally, President Moïse failed to properly investigate and punish his subordinates after the commission
 of the crime. Despite many credible sources, including the UN and the DCPJ, implicating Duplan
 and Monchéry in the attack, Moïse did not immediately remove them from their posts. Instead, they
 YLTHPULKPU[OLPYVɉJPHSNV]LYUTLU[YVSLZMVYHSTVZ[H`LHYHM[LY[OL3H:HSPULH[[HJR427 Prosecutions
 of both Duplan and Monchéry have stalled, and neither has been arrested for their roles in the
 THZZHJYL;OL`PUP[PHSS`ZV\NO[[VH]VPKYLZWVUZPIPSP[`I`HZZLY[PUN[OH[HZOPNOSL]LSVɉJPHSZ[OL`
 could not be prosecuted without the President’s consent.428 President Moïse has not taken action to
 issue such consent or otherwise ensure that the prosecution moves forward.

 Based on the currently available evidence, there is a reasonable basis to conclude that President Moïse
 may be liable for crimes against humanity committed in La Saline under the doctrine of command
 responsibility. Further investigations may reveal culpability in other attacks as well.



                                                                                                            Haiti AR_001617
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 314 of 382
 30 | Killing with Impunity: State-Sanctioned Massacres in Haiti




 V. Ensuring Accountability for Perpetrators of
 Crimes Against Humanity

 The Crimes Have Been Carried Out with Impunity

 To date, the attacks on civilians have largely been carried out with impunity. In 2020, the UN expressed
 concern that the ongoing “lack of accountability for human rights violations committed by State agents,”
 and the “chronic absence of progress on judicial proceedings against alleged perpetrators.”429 Indeed,
 criminal investigations and prosecutions for the attacks have been slow to non-existent. Out of nearly
 VULO\UKYLKZ\ZWLJ[ZPKLU[PÄLKVUS`WLVWSLOH]LILLUHYYLZ[LKMVY[OL3H:HSPULTHZZHJYL430
 and the prosecution has stalled since July 2019.431 None of the chief perpetrators or implicated police
 VɉJLYZHYLHTVUN[OVZLHYYLZ[LK432 Chérizier remains at large despite a warrant for his arrest for
 involvement in the Grand Ravine massacre, and has continued to gain power over the course of
 Moïse’s presidency. While the government maintains that he has eluded capture, he has been seen in
 [OLJVTWHU`VMWVSPJLVɉJLYZ^OVOH]LKLJSPULK[VHYYLZ[OPT433 and has repeatedly been interviewed
 by media.434+\WSHUHUK4VUJOtY`HSZVYLTHPUMYLL4VUJOtY`^HZIYPLÅ`HYYLZ[LKMVYKYP]PUN^P[OH
 government license plate in February 2021, and then promptly released.435 Similarly, no one has been
 held criminally responsible for the attacks in Bel-Air or Cité Soleil.436 It is unclear whether Saint Cyr’s
 alleged involvement in Bel-Air is subject to any formal investigation.

 The Moïse administration has also persistently rejected international calls for accountability. In 2018,
 when the UN Special Representative to the Secretary-General in Haiti urged an investigation into the
 2017 Grand Ravine and Lilavois massacres, Moïse responded by recalling Haiti’s ambassador to the
 UN and summoning the Special Representative to explain her comments.437 She was recalled and
 replaced shortly thereafter.438 A year later, when members of the U.S. Congress publicly urged an
 independent investigation of the La Saline massacre, the Haitian Embassy condemned the statement
 and categorically denied the existence of human rights violations in Haiti.439 In December 2020, the
 United States government issued civil sanctions against Duplan, Monchéry, and Chérizier for their
 involvement in the attack,440 but Haitian authorities have not taken any subsequent meaningful steps
 towards holding them accountable.

 Implications for Accountability

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 accountability, as it heightens the duty to investigate and prosecute perpetrators and opens additional
 H]LU\LZMVYKVPUNZV:WLJPÄJHSS`P[[YPNNLYZHUPU[LYUH[PVUHSVISPNH[PVUVU[OL/HP[PHUNV]LYUTLU[
 to investigate and prosecute individuals responsible for these crimes;441 (2) allows other states and
 international bodies to investigate and prosecute the crimes under certain circumstances;442 and (3)
 limits the application of domestic statutes of limitations and immunity provisions so even high-ranking
 NV]LYUTLU[VɉJPHSZJHUIL[YPLKMVYJYPTLZPUKLÄUP[LS`PU[V[OLM\[\YL443

 Haiti has a duty to investigate and prosecute crimes against humanity.444 Haiti is a party to the
 American Convention on Human Rights, which recognizes the universal application of the crime.445
 <UKLY/HP[P»Z*VUZ[P[\[PVUPU[LYUH[PVUHSHNYLLTLU[ZYH[PÄLKI`/HP[PZ\JOHZ[OL(TLYPJHU*VU]LU[PVU
 ILJVTLWHY[VM[OLJV\U[Y`»ZKVTLZ[PJSH^Z0UKLLKPUILJH\ZLVM[OLJV\U[Y`»ZYH[PÄJH[PVU
 of the American Convention, the Port-au-Prince Court of Appeals decided to reopen a domestic
 investigation against former dictator Jean-Claude Duvalier for alleged crimes against humanity.446


                                                                                             Haiti AR_001618
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 315 of 382
                                                    Ensuring Accountability for Perpetrators of Crimes Against Humanity | 31




 Duvalier had just returned to Haiti after 25 years in exile, and stood accused of overseeing brutal
 crimes against civilians carried out by tonton macoutes—state-sponsored gangs operating within an
 apparatus that shares some similar characteristics to the patterns of terrorizing civilians seen today.447
 The prosecution has stalled since his death in 2014, but the case serves as a relevant example.448 The
 Haitian government must promptly investigate and prosecute the crimes against humanity that are
 taking place in present day.

 ;OLÄUKPUN[OH[JYPTLZHNHPUZ[O\THUP[`OH]LSPRLS`ILLUJVTTP[[LKHSZVVWLUZ[OLKVVYMVYV[OLY
 countries and international bodies to ensure that justice is served. Crimes against humanity are
 crimes so serious and heinous that they are an “attack on the very quality of being human.”449 They
 UV[ VUS` YLWYLZLU[ H JYPTL HNHPUZ[ [OL PUKP]PK\HS ]PJ[PTZ I\[ HYL HU HɈYVU[ HNHPUZ[ O\THUP[` HZ H
 whole. Humankind, therefore, has an interest in ensuring that crimes against humanity do not go
 unpunished.450 Haiti is not a party to the Rome Statute, so the ICC prosecutor cannot directly open
 an investigation into the situation, but the UN Security Council has the power to refer the situation
 to the Court.451 The Security Council could also decide to establish an ad hoc tribunal or mechanism
 for Haiti, as it has in prior circumstances where the host state was unable or unwilling to prosecute
 international crimes.452 Finally, domestic courts of other countries could prosecute crimes against
 humanity under the principle of universal jurisdiction, should the Haitian state continue to prove
 unwilling or unable to do so.453 The principle of universal jurisdiction allows states to prosecute certain
 crimes—including crimes against humanity—regardless of the location of the crime or the nationality
 of the perpetrators or victims.4540UP[PHSS`JVKPÄLKPU[OL  .LUL]H*VU]LU[PVUZVU[OLSH^ZVM^HY
 governments have increased the application of universal jurisdiction in the past 15 years. 455 This is a
 ZPNUPÄJHU[Z[LWPUVɈLYPUNYLKYLZZ[V]PJ[PTZ^OVOH]LUVSLNHSYLJV\YZLPU[OLZ[H[LZ^OLYL[OL
 crimes were committed, and combating a culture of impunity for perpetrators of grave human rights
 violations.

 Importantly, Haitian and international courts have held that there is no statute of limitations for
 crimes against humanity, meaning that alleged perpetrators can be tried even after time limits under
 domestic law have lapsed.456 Thus, there can and should be accountability for these abuses into
 the future. There are also limitations to the application of immunity for crimes against humanity. As
 noted above, the draft constitution proposed by Moïse’s administration in January 2021 introduces
 PTT\UP[`MVYHJ[Z[HRLUI`[OLOLHKVMZ[H[LPUHUVɉJPHSJHWHJP[`HUKHWWSPLZP[YL[YVHJ[P]LS`L]LU
 beyond the end of mandate. If the new constitution passes by referendum, questions will remain as to
 its enforceability, however, given that the current constitution bans amendments through referendum.
 Moreover, the immunity clause should not serve as a bar to prosecution for crimes against humanity,
 as acts that are incompatible with the president’s mandate and that do not fall within the exercise of
 presidential functions are not covered by immunity.457 Since crimes against humanity are prohibited
 in Haiti as jus cogens and through Haiti’s incorporation of the American Convention on Human Rights
 into domestic law,458 there is a strong argument that such conduct is incompatible with the president’s
 mandate and exercise of functions. Moreover, both international and national courts have found that
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 purpose of immunity, and therefore allowed prosecution of heads of state in domestic courts.459 As for
 international courts, head of state immunity does not apply to international crimes under customary
 international law.460 Therefore, an international court may issue a warrant for the arrest of a head of
 state, and also request another states to arrest and surrender a head of state.461

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 these heinous crimes.



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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 316 of 382
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 Recommendations

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 The Inter-American Commission on Human Rights

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 The United Nations

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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 317 of 382
                                                                                      Recommendations | 33




 Soleil that has not been subject of a UN investigation. While UN actors have undertaken important
 documentation of gang violence, similar investigations into the role of state actors are merited. We
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 done for the prosecution of Jean-Claude Duvalier for crimes against humanity.

 We also encourage the UN Security Council to continue to monitor the human right situation in Haiti,
 with a renewed focus on the role of state actors in the commission of gross human rights violations,
 and to consider referring the situation in Haiti to the ICC. The Haitian government has proven unable
 or unwilling to try these crimes, and since Haiti is not a party to the Rome Statute, Security Council
 referral is the only avenue to bring the crimes before the ICC.

 The United States

 The United States has responded to the Moïse administration’s consolidation of power and record of
 human rights abuses with mixed messages.467

 In December 2020, the U.S. Treasury Department sanctioned Chérizier, Duplan, and Monchéry for their
 roles in the La Saline attack, and has repeatedly called for the prosecution of perpetrators of human
 rights violations. At the same time, the State Department has taken several concerning positions that
 run contrary to supporting civil society’s calls to hold the Haitian government accountability for human
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 to unilaterally appoint a provisional electoral council (CEP) to organize elections and warned Haitian
 civil society and opposition groups to comply with the process, threatening that further resistance is
 “going to start to have consequences for those who stand in the way of it.”468 In the context of the
 brutal attacks already carried out against the political opposition, observers have expressed concern
 that this statement condones the actions of the Moïse administration.469 Further, in February 2021,
 the State Department explicitly endorsed President Moïse’s position that he is entitled to remain in
 VɉJL\U[PS-LIY\HY`470 contrary to the interpretation of Haitian legal experts, opposition groups,
 and members of U.S. Congress.471 After Haitians who protested faced violent repression, the State
 Department commented that the “remarkable lack of popular response to calls for mass protests”
 indicates that the Haitian people are tired of “squabbles over power.”472 Members of the U.S. Congress
 have strongly condemned these positions and repeatedly called on the State Department to promote
 democracy and human rights in Haiti.473

 We urge the United States government to support accountability for human rights in Haiti by continuing to
 call for investigations and prosecutions of the perpetrators in all instances of crimes against humanity,
 and by extending sanctions to other perpetrators as merited by the evidence. We also encourage the
 United States to consider the Haitian government’s role in these crimes as it formulates foreign policy
 vis-à-vis Haiti and to respect Haitian sovereignty by refraining from supporting political moves that are
 inconsistent with the Haitian constitution and rule of law.

 Governments with Universal Jurisdiction Statutes

 To the extent that the Haitian government fails to prosecute the crimes against humanity discussed
 in this report, we appeal to governments with universal jurisdiction statutes, such as Canada, France,
 Senegal, Switzerland, and the United States, to prosecute any perpetrators found within their
 jurisdictions.




                                                                                            Haiti AR_001621
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 318 of 382
 34 | Killing with Impunity: State-Sanctioned Massacres in Haiti




 Conclusion

 There is a reasonable basis to conclude that state and non-state actors have committed crimes against
 humanity in Haiti during Jovenel Moïse’s presidency. The brutal killings, rapes, and torture of civilians
 in La Saline, Bel-Air, and Cité Soleil appear to follow a widespread and systematic pattern that further
 state and organizational policies to control and repress communities at the forefront of government
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 The attacks show an alarming pattern of state involvement. Evidence suggests that senior
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 participated in the attacks alongside gang members. The police also failed to intervene to protect
 civilians during the course of the attacks, despite their close proximity to the sites and repeated
 pleas for help. Each attack targeted neighborhoods known as opposition strongholds and where
 recent protests against Moïse’s administration had taken place. In short, there is strong indication that
 these massacres were politically motivated.

 The human cost is intolerable. At least 240 civilians were killed in these three attacks. Hundreds of
 homes have been vandalized or burned. Human rights groups documented at least 25 rapes in the
 attacks. The full toll is likely far greater, as incomplete access to evidence, disposal of bodies, fear of
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 and physical injuries, the attacks have had dire economic, social, and psychological consequences for
 the victims and their communities, including widespread displacement, homelessness, and survival in
 a state of terror.

 The Haitian government has so far appeared unwilling or unable to hold perpetrators accountable
 and has instead fostered a culture of impunity that the UN has cautioned may encourage further
 attacks. Indeed, after the government failed to take action to hold perpetrators accountable for the
 attack in La Saline, the BAI noted that this “begs the question, when will the next carnage happen?”
 The answer came a year later in Bel-Air, and recurred the following year in Cité Soleil. Since that time,
 Chérizier and other perpetrators have gone on to carry out similar attacks.

 The Haitian government must heed mounting calls from Haitian civil society to urgently investigate
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 likely taking place should also trigger action by the international community, as these crimes are not
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 Commission on Human Rights, and other governments must do more to unequivocally condemn the
 crimes taking place under Moïse’s rule and facilitate the investigation and prosecution of perpetrators
 – whether in Haiti or abroad.

 Putting an end to impunity for gross human rights violations is critical for Haiti’s future. As Moïse takes
 steps to remove limits on his power, Haitian civil society is increasingly raising concerns of a slide
 back to Haiti’s dictatorial past. That past was characterized by brutal repression and extensive rights
 violations. Accountability and rule of law are critical pre-requisites for human rights and democracy
 to thrive in Haiti and beyond.




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 319 of 382
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 Annex I

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 investigations:

 National Network for the Defense of Human Rights (RNDDH), The events in La Saline: from
 power struggle between armed gangs to State-sanctioned massacre (Dec. 1, 2018) documenting
 the events of and leading up to the La Saline attack. RNDHH interviewed 439 residents of La Saline,
 PUJS\KPUN]PJ[PTZHUK[OLPYMHTPSPLZ"NV]LYUTLU[VɉJPHSZPUJS\KPUN9PJOHYK+\WSHUHUK[OLUWVSPJL
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 organizations. Available at https://web.rnddh.org/wp-content/uploads/2018/12/10-Rap-La-Saline-
 1Dec2018-Ang1.pdf.

 Mission des Nations Unies Pour L’Appui A La Justice en Haiti (MINUJUSTH), La Saline: Justice
 pour les victims. L’Etat a l’obligation de protéger tous les citoyens (June 2019) presenting the
 ÄUKPUNZVM[OL/\THU9PNO[Z:LY]PJL:+/KP]PZPVUVM405<1<:;/VU[OLH[[HJRZVM5V]LTILY
 and 14, 2018, in La Saline. The report is based on 55 interviews with survivors, eyewitnesses and
 family members of those killed, as well as 10 meeting with civil society and 25 meetings with state
 actors. Available at O[[WZ!YLSPLM^LIPU[ZP[LZYLSPLM^LIPU[ÄSLZYLZV\YJLZTPU\Q\Z[OFOJKOFYHWWVY[F
 SHFZHSPULFWKM.

 Judith Mirkinson and Seth Donnelly, The Lasalin Massacre and the Human Rights Crisis in
 Haiti, National Lawyers Guild and Haiti Action Committee (Jul. 8, 2019) report documenting
 the events of the La Saline attack based on interviews with victims and their families. Available at
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 National Network for the Defense of Human Rights (RNDDH), Massacre au Bel-Air: Banalisation
 du droit a la vie par les autorités étatiques (Dec. 17, 2019) report documenting the Bel-Air attack
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 Ronsard Saint-Cyr, Secretary of State for Public Security, and a Judge at the Tribunal of Peace in
 Delmas. Available at https://www.haitilibre.com/docs/6-Rap-Massacre-Bel-Air-17Dec2019.pdf.

 Fondasyon Je Klere (FJKL), *VUÅP[H\)LS(PYL[nSHY\LSSL4H`HYK!SH-VUKHZ`VU1L2SLYL-123
 s’inquiète de l’instrumentalisation politique des groupes armés (Nov. 29, 2019) documenting
 attacks in Bel-Air and its contiguous neighborhoods from November 4-6, 2019. Available at
 O[[WZ!^^^MQRSVYNO[PTHNLZKVJ-123FJVUÅP[FH\F)LSF(PYWKM.

 BINUH, Rapport sur les allegations d eviolations et abus des droits de l’homme lors des attques
 dans le quartier de Bel-Air, a Port-au-Prince, du 4 au 6 novembre 2019 (Feb. 2020) report
 documenting the human rights abuses that occurred between Nov. 4 and 6, 2019, in Bel-Air. BINUH’s
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 of the Haitian National Police, the Investigative Service of the Port-au-Prince Police Station, and the
 Departmental Judicial Police Section (SDPJ) of the West Department. Available at https://reliefweb.
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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 320 of 382
 36 | Killing with Impunity: State-Sanctioned Massacres in Haiti




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 of armed gangs by the authorities in power, (Jun. 23, 2020) documenting attacks from May 23-
 27, 2020, in several impoverished areas of Port-au-Prince, including Pont Rouge, Fort Dimanche,
 La Saline, and Nan Tokyo. RNDDH conducted interviews with 27 victims, police authorities, judicial
 authorities, the Director General of the Social Assistance Fund, Frantz Indrice, and Pierre Lemaire,
 former member of parliament for Cité Soleil. Available at https://web.rnddh.org/wp-content/
 uploads/2020/06/7-Rap-Attaque-Quartiers-Defavorise-Version-Anglaise-23Jun2020-2.pdf.

 RNDDH, (ZZHZZPUH[PVUZ (TI\ZOLZ /VZ[HNL[HRPUN 9HWL -PYLZ 9HPKZ! ;OL H\[OVYP[PLZ PU
 power have installed terror in Cité Soleil (Aug. 13, 2020) reporting on armed attacks in Cité Soleil
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 Instance in Port-au-Prince, and 108 victims and their families. Available at https://web.rnddh.org/wp-
 content/uploads/2020/08/Version-Anglaise-Rap-Cité-Soleil-082020.pdf.




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 321 of 382
                                                                                                                     Endnotes | 37




 Endnotes
 1    Bureau intégré des Nations Unies en Haïti (BINUH), Rapport sur les allegations de violations et abus des droits de
      l’homme lors des attaques dans le quartier de Bel-Air, a Port-au-Prince, du 4 au 6 novembre 2019, ¶5 (2020) (noting that
      multiple waves of protests began in 2018, and that the 2019 demonstrations, which demanded the departure of the
      President, paralyzed the country for many weeks) [hereinafter BINUH]; U.N. Secretary-General, United Nations Integrated
      6ɉJLPU/HP[P<5+VJ:-LI¸[OL^H]LVMJP]PS\UYLZ[[OH[NYPWWLK[OLJV\U[Y`IL[^LLU
      September and November 2019 [was] the longest period of continued protests since the President, Jovenel Moïse,
      HZZ\TLKVɉJL¹BOLYLPUHM[LY:LJYL[HY`.LULYHS-LI9LWVY[D"see also Inst. Just. & Democracy in Haiti (IJDH), Haiti
      at a Crossroads: An Analysis of the Drivers Behind Haiti’s Political Crisis (2019) (describing the immediate, medium and
      long-term drivers of the protests) [hereinafter IJDH, Haiti at a Crossroads].
 2    Jake Johnston & Kira Paulemon, What’s in Haiti’s New National Security Decrees: An Intelligence Agency and an
      ,_WHUKLK+LÄUP[PVUVM;LYYVYPZTCtr. Econ. & Pol’y Research (Dec. 14, 2020) (discussing Moïse’s creation of a domestic
      intelligence agency with sweeping surveillance powers that is not subject to judicial review and criminalizing popular
      forms of non-violent protests as “terrorist acts.”). In January 2021, Moïse announced that the agency had begun
      surveilling opponents. See 9VILUZVU.LɈYHYKL’Agence nationale d’intelligence opérationnelle, les adversaires de
      Jovenel Moïse sous surveillance, Le Nouvelliste (Jan. 19, 2021).
 3    See e.g. Jacqueline Charles, Haitian lawyer, constitutional expert gunned down hours after controversial radio interview,
      Miami Herald (Aug. 29, 2020) (reporting the assassination of prominent lawyer Monferrier Dorval, hours after he criticized
      the government on a radio interview.); Campaign Letter by Amnesty International, Haiti: Human Rights Defender Fears for
      Safety (May 16, 2019), https://www.amnesty.org/download/Documents/AMR3603432019ENGLISH.pdf (addressing the
      death threats made to Pierre Espérance, a prominent Haitian human rights defender).
 4    In addition to the attacks on La Saline, Bel-Air, and Cité Soleil that are the focus of this report, attacks also took place in
      the neighborhoods of Lilavois (October 2017), Grand Ravine (November 2017), Nan Tokyo (four separate occasions
      between March 2019 and December 2019), and Bel-Air (August 2020). See U.N. Secretary-General, United Nations
      0U[LNYH[LK6ɉJLPU/HP[P, U.N. Doc. S/2020/537, ¶24 (June 15, 2020)[hereinafter Secretary-General June 2020 Report]
      (noting no new concrete judicial action in response to Lilavois, Grand Ravine, La Saline or Bel-Air); Réseau National de
      défense des droits de l’homme (RNDDH), ([[HJRZVU+LWYP]LK5LPNOIVYOVVKZ!;OL95++/+LTHUKZ[OL,UKVM[OL
      Protection of Armed Gangs by the Authorities in Power, ¶¶24-29 (2020) (documenting four separate attacks in Nan Tokyo
      between March 2019 and December 2019)[hereinafter RNDDH, Attacks on Deprived Neighborhoods]; Onz Chery, HaitiPM:
      Helping During Bel-Air Massacre Could Have Hurt More People, HAITIAN TIMES (Sept. 14, 2020) (noting that at least 12
      people died during the Bel-Air attack carried out by the G9 alliance on Aug. 31, 2020); see also Danio Darius, Cinquante
      personnes tuées à Cité Soleil en juillet, selon Pierre Espérance, Le Nouvelliste (Aug. 10, 2020) (quoting RNDDH Director
      Pierre Espérance counting nine massacres between November 2017 and July 2020).
 5    See generally RNDDH, ;OL,]LU[ZPU3H:HSPUL!MYVT7V^LY:[Y\NNSL)L[^LLU(YTLK.HUNZ[V:[H[L:HUJ[PVULK
      Massacre (2018) [hereinafter RNDDH, The Events in La Saline]; Mission des Nations Unies Pour L’Appui a la Justice en
      Haïti (MINUJUSTH), La Saline: Justice pour les Victims. L’Etat a L’Obligation de Protéger tous les Citoyens (2019)
      [hereinafter MINUJUSTH]; BINUH, supra note 1; RNDDH, ([[HJRZVU+LWYP]LK5LPNOIVYOVVKZ!;OL95++/+LTHUKZ[OL
      End of the Protection of Armed Gangs by the Authorities in Power (2020); RNDDH, Assassinations, Ambushes, Hostage-
      [HRPUN9HWL-PYLZ9HPKZ!;OL(\[OVYP[PLZPU7V^LY/H]L0UZ[HSSLK;LYYVYPU*P[t:VSLPS (2020) [hereinafter RNDDH, ;LYYVYPU
      Cité Soleil].
 6    RNDDH, ;OL,]LU[ZPU3H:HSPUL, supra note 5, ¶10 (“La Saline has an exceptional ability to either mobilize or thwart
      street demonstrations…” and noting that political opposition rallied protesters on Oct. 15, 2018 and the antigovernment
      demonstration in La Saline on October 17, 2018.); see also Fondasyon Je Klere (FJKL), :P[\H[PVUKL;LYYL\YHSH:HSPUL!3H
      Fondasyon Je Klere (FJKL) Deplore L’incapacite de L’etat a Garantir la Securite des Citoyens et des Citoyennes 3 (2018)
      (noting that Moïse’s procession was attacked by demonstrators at the Pont Rouge as one of the causes of the La Saline
      attack); Sojourner Truth with Margaret Prescod, :VQV\YULY;Y\[O9HKPV!3H:HSPUL/HP[P:WLHRZ6\[(NHPUZ[7V]LY[`HUK
      State Violence, KPFK Radio, at 11:58 (Apr. 5, 2019), https://soundcloud.com/sojournertruthradio/sojourner-truth-radio-
      april-5 (a victim of the attack saying that La Saline “has a reputation of revolution” and that is a reason why the “government
      does not like the community.”).
 7    RNDDH, ;OL,]LU[ZPU3H:HSPUL, supra note 5, ¶58.
 8    Id., ¶¶38-40.
 9    MINUJUSTH, supra UV[LJVUÄYTPUN[OH[[OLIVKPLZVM]PJ[PTZ^LYLT\[PSH[LKI\YULKHUKSLM[PUHK\TWH[[OL
      mercy of animals.)
 10   Press Release, RNDDH, Communique de presse: Massacre d’Etat à La Saline : Révision à la hausse du bilan des
      personnes tuées et violées le 13 novembre 2018, at 3 (Dec. 20, 2018) [hereinafter RNDDH, 9L]PZLK;VSS)]; see also
      Jacqueline Charles, Dozens Brutally Killed, Raped in Haiti Massacre, Police Say. ‘Even Young Children Were not Spared’,
      Miami Herald (May 15, 2019) (reporting that human rights groups put the death toll between 15 and 71) [hereinafter
      “Charles, Dozens Brutally Killed”]; cf. MINUJUSTH, supra UV[LZLWHYH[LS`HISL[VJVUÄYTKLH[OZTPZZPUN
      three injured, and two gang rapes).
 11   Instead, Duplan and Monchéry stayed in their government roles until September 2019. See Fednel Monchéry et Joseph
      Pierre Richard Duplan révoqués, Le Nouvelliste (Sep. 9, 2019).
 12   BINUH, supra note 1, ¶6 (noting that Bel-Air is also considered to be one of the traditional bases of anti-government
      mobilization and that demonstrators placed barricades on the main axes of the district in support of peyi lok).
 13   RNDDH, Massacre au Bel-Air : Banalisation du droit a la vie par les autorités étatique ¶20 (Dec. 17, 2019), [hereinafter
      RNDDH, Massacre au Bel-Air]; see also BINUH, supra note 1, ÄUKPUNHSPURIL[^LLU[OLZ[H[LYLWYLZLU[H[P]LHUK
      Cherizier’s acts).
 14   RNDDH, Massacre au Bel-Air, supra note 13, ¶31; cf. BINUH, supra UV[LJVUÄYTPUN[OH[[OLH[[HJRZSLM[H[SLHZ[KLHK
 15   BINUH, supra note 1, ¶19.
 16   BINUH, supra note 1, ¶¶20-21.
 17   U.N. Secretary-General, <UP[LK5H[PVUZ0U[LNYH[LK6ɉJLPU/HP[P, ¶16, U.N. Doc. S/2020/944 (Sept. 25, 2020), [hereinafter
      Secretary-General Sept. 2020 Report].


                                                                                                                    Haiti AR_001625
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 322 of 382
 38 | Killing with Impunity: State-Sanctioned Massacres in Haiti




 18   RNDDH, Attacks on Deprived Neighborhoods, supra note 4, ¶55 (documenting 34 killings between May 24-27, 2020);
      RNDDH, ;LYYVYPU Cité Soleil, supra note 5, ¶3 (documenting 111 killings between June and July 2020).
 19   RNNDH, ;LYYVYPU Cité Soleil, supra note 5, ¶58.
 20   Id., ¶¶17-21.
 21   Id., ¶87.
 22   RNDDH, Attacks on Deprived Neighborhoods, supra note 4, ¶¶61-68.
 23   U.N. Secretary-General, <UP[LK5H[PVUZ0U[LNYH[LK6ɉJLPU/HP[P ¶33, U.N. Doc. S/2021/133 (Feb. 11, 2021), [hereinafter
      Secretary-General Feb. 2021 Report].
 24   MINUJUSTH, supra note 5, ¶17 (noting that Duplan and Monchéry are still at large).
 25   Fednel Monchéry et Joseph Pierre Richard Duplan révoqués, Le Nouvelliste, supra note 11; see also Edwidge Danticat,
      Demonstrators in Haiti are Fighting for an Uncertain Future, New Yorker (Oct. 19, 2019) (noting that Duplan and Monchéry
      ^LYLVUS`ÄYLKHZWYV[LZ[ZHNHPUZ[[OLNV]LYUTLU[PU[LUZPÄLKHUKZ[H[PUN[OH[¸4V{ZLOHZUV[KPYLJ[S`KLUV\UJLK[OL3H
      Saline massacre, nor has his government sought to prosecute any of the perpetrators.”)
 26   IJDH, Request for a thematic hearing on impunity for serious human rights violations and the lack of judicial
      independence in Haiti, at 7 (Sept. 23, 2020) (noting that senior state actors implicated in the La Saline attack have not
      been arrested and that judicial processes appear blocked).
 27   See Secretary-General Sept. 2020 Report, supra note 17, ¶34 (“The lack of accountability for human rights violations
      committed by State agents… remains concerning, because of the chronic absence of progress on judicial proceedings
      against alleged perpetrators, including those within the national police.”).
 28   4V{ZL^HZSPRLS`[VOH]LRUV^UVYZOV\SKOH]LRUV^U[OH[ZLUPVYNV]LYUTLU[VɉJPHSZ+\WSHUHUK4VUJOtY`
      orchestrated the La Saline attack and failed to prevent their acts and punish them. See Section IV of this report.
 29   Secretary-General Sept. 2020 Report, supra note 17, ¶32 (noting that known perpetrators of past attacks, such as
      Cherizier, have committed more recent attacks, which “underscores how impunity and a manifest lack of accountability
      fuel recurrent cycles of violence.”).
 30   See Annex 1 for a list of principal investigations relied on in this report.
 31   See <56ɉJLVU.LUVJPKL7YV[LJ[PVUHUK[OL9LZWVUZPIPSP[`[V7YV[LJ[+LÄUP[PVUZ!*YPTLZ(NHPUZ[/\THUP[`
      https://www.un.org/en/genocideprevention/crimes-against-humanity.shtml (last visited Feb. 25, 2021) (the Rome Statute
      “YLÅLJ[Z[OLSH[LZ[JVUZLUZ\ZHTVUN[OLPU[LYUH[PVUHSJVTT\UP[`…[and]VɈLYZ[OLTVZ[L_[LUZP]LSPZ[VMZWLJPÄJHJ[Z
      that may constitute the crime.”); Sean Murphy (Special Rapporteur), First Report on Crimes Against Humanity, U.N. Doc
      A/CN.4/680, ¶8 (Feb. 17, 2015) (“Article 7 of the Rome Statute marks the culmination of almost a century of development
      of the concept of crimes against humanity and expresses the core elements of the crime.”).
 32   Rome Statute of the International Criminal Court, art. 7, Jul. 17, 1998, 2187 U.N.T.S. 38544.
 33   Id., art. 7(1).
 34   See, e.g., Secretary-General Feb. 2021 Report, supra note 23, ¶33 (discussing attacks in the context of gang violence
      and mentioning the state’s failure to protect but omitting any reference to state actors in the commission of the crimes);
      Secretary-General Sept. 2020 Report, supra note 17 (discussing the rise in G-9 and Cherizier’s role in massacres without
      acknowledging documentation of state actor involvement); see also IJDH, Human Rights and Rule of Law in Haiti: Key
      Recent Developments fn. 95 (Feb. 2020) (“Though BINUH reports and Security Council comments extensively discuss
      gang violence, Jimmy Chérizier, and the G-9, the UN and Security Council Members systematically ignore well-
      documented evidence from civil society regarding state actor complicity in that violence and requests for investigation
      and accountability.”) [hereinafter IJDH, Human Rights and the Rule of Law in Haiti].
 35   Constitution de la République d’Haïti, art. 276(2) (1987) (English translation), available at https://www.constituteproject.
      VYNJVUZ[P[\[PVU/HP[PFWKM&SHUN$LU [hereinafter Haiti Const.].
 36   Arellano v. Chile, Preliminary Objections, Merits, Reparations and Costs, Judgment, Inter-Am. Ct. H.R. (ser. C) No. 154,
      ¶¶152, 110 (Sep. 26, 2006) (crimes against humanity are “intolerable in the eyes of the international community and
      VɈLUKO\THUP[`HZH^OVSL;OLKHTHNLJH\ZLKI`[OLZLJYPTLZ¯KLTHUK[OH[[OVZLYLZWVUZPISLILPU]LZ[PNH[LKHUK
      punished”); (“The obligation that arises pursuant to international law to try, and if, if found guilty, to punish the
      perpetrators of certain international crimes, among which are crimes against humanity, is derived from the duty of
      protection embodied in Article 1(1) of the American Convention.”).
 37   Id., ¶152.
 38   Id., ¶110.
 39   See U.N.G.A. 6th Comm., 73rd Sess., The scope and application of the principle of universal jurisdiction: Summary of
      work (2018), O[[WZ!^^^\UVYNLUNHZP_[O\UP]LYZHSFQ\YPZKPJ[PVUZO[TS (“Delegations generally stated that universal
      jurisdiction was an important, well-established principle of international law aimed at combating impunity… which should
      be exercised in accordance with the principle of subsidiarity.”); Basic Facts on Universal Jurisdiction, Human Rights
      Watch (Oct. 19, 2009), https://www.hrw.org/news/2009/10/19/basic-facts-universal-jurisdiction (“Universal jurisdiction is
      the ability of the domestic judicial systems of a state to investigate and prosecute certain crimes, even if they were not
      committed on its territory, by one of its nationals, or against one of its nationals.”).
 40   Rome Statute, supra note 32, art. 13(b) (granting the Security Council the power, acting under Chapter VII of the UN
      Charter, to refer to the ICC situations in which crimes under the jurisdiction of the court have taken place).
 41   (M[LY[OLPUP[PHSLSLJ[PVU^HZU\SSPÄLKK\L[VL_[LUZP]LMYH\K[OLYLY\ULSLJ[PVUZH^[OLSV^LZ[[\YUV\[ZPUJL
      the end of the Duvalier dictatorship in 1987. In 2016, Moïse received a mere 600,000 votes in a country of 10 million
      people, representing the support of less than 10% of registered voters. IJDH, Haiti at a Crossroads, supra note 1; see also
      Freedom House, Freedom in the World 2018 Haiti (2019); Int’l Ass’n Democratic Law. & Nat’l Law. Guild, Haiti’s
      Unrepresentative Democracy: Exclusion and Discouragement in the November 20, 2016, Elections 9-13 (2017).
 42   Jacqueline Charles, ;Y\TW(KTPUPZ[YH[PVU>HU[Z/HP[P[V/VSK6]LYK\L3LNPZSH[P]L,SLJ[PVUZI`1HU\HY`, Miami Herald
      (Oct. 27, 2020).
 43   7HYSPHTLU[HY`LSLJ[PVUZZJOLK\SLKMVY6J[VILY ^LYLWVZ[WVULKK\L[VMHPS\YLZ[VHJOPL]LHYH[PÄLKNV]LYUTLU[HUK
      budget since March 2019. On January 13, 2020, one-third of the seats in the Senate, all seats in the lower chamber of
      Deputies, and all locally elected posts had expired. IJDH, Human Rights and Rule of Law in Haiti, supra note 34, at 1; Kim
      Ives, Haitian Opposition Condemns Moïse’s Appointment of New De Facto Prime Minister, Haïti Liberté (Mar. 4, 2020)
      (noting that Moïse dissolved the Haitian Parliament on Jan. 13, 2020).



                                                                                                                 Haiti AR_001626
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 323 of 382
                                                                                                            Executive Summary | 39




 44   See e.g., Secretary-General Feb. 2021 Report, supra note 23, ¶13 (“several actors, both domestic and foreign, reiterated
      strong calls to the President to limit his use of executive decrees to govern”); U.S. Dept of State, Department Press
      )YPLÄUN¶-LIY\HY`!5LK7YPJL+LWHY[TLU[:WVRLZWLYZVU-LI¸;OL<UP[LK:[H[LZJVU[PU\LZ[V
      maintain that the Haitian Government should exercise restraint in issuing decrees, only using that power to schedule
      legislative elections…”).
 45   9VILUZVU.LɈYHYK1V]LULS4V{ZLHWWVY[LX\LSX\LZTVKPÄJH[PVUZH\KtJYL[WVY[HU[JYtH[PVUKLS»(NLUJLUH[PVUHSL
      d’intelligence, 3L5V\]LSSPZ[L-LIUV[PUN[OH[^OPSLJP[PaLUZTH`ÄSLHJVTWSHPU[^P[O[OL.LULYHS0UZWLJ[VYH[L
      of Intelligence Services should they have been harmed by the agency’s activities, the government is under no obligation
      to disclose the details of its operations).
 46   Johnston & Paulemon, supra note 2; see also Jacqueline Charles, Slew of Presidential Decrees Have Some Wondering If
      Haiti Is On the Road to Dictatorship, Miami Herald (Dec. 21, 2020); Moïse has issued at least 44 unilateral decrees since
      the Parliament termed out. Kim Ives, ;OL@LHY[OL9LNPTLHUK,TWPYL:[Y\JR)HJR(ZZPZ[LKI`*V]PK Haïti Liberté
      (Dec. 30, 2020).
 47   9VILUZVU.LɈYHYKLa présidence prend le contrôle des mairies, Le Nouvelliste (Jul. 8, 2020).
 48   Décret du 15 mars 2021 révisant la Loi du 15 avril 2010 portant amendement de celle du 9 septembre 2008 sur l’État
      K»<YNLUJL3L4VUP[L\Y4HYVUÄSL"(YYv[tPUZ[H\YHU[S»i[H[K»<YNLUJLKHUZSLZaVULZKL=PSSHNLKL
      Dieu; de Grand-Ravine; de Delmas 2; de Savien, dans la Petite Rivière de l’Artibonite; et dans toutes autres zones rouges
      PKLU[PÄtLZWHYSL*VUZLPSZ\WtYPL\YKLSH7VSPJLUH[PVUHSLWV\Y\ULWtYPVKLK»\UTVPZLe Moniteur 18 (Mar. 16,
      VUÄSL"see also 9VILUZVU.LɈYHYK1V]LULS4V{ZLTVKPÄLSHSVPZ\YS»t[H[K»\YNLUJLL[ZLKVUULKLUV\]LH\_
      pouvoirs, Le Nouvelliste (Mar. 17, 2021).
 49   ;OL7L[YV*HYPILSVHUWYVNYHTWYV]PKLKHJJLZZ[VSV^PU[LYLZ[M\LSMYVT=LULa\LSH^P[OYL]LU\LPU[LUKLK[VÄUHUJL
      socioeconomic development. IJDH, Haiti at a Crossroads, supra note 1, at 3. In July 2017, Moïse replaced the Director
      General of the Central Financial Intelligence Unit (UCREF), an anti-corruption unit that found that Moïse had laundered
      approximately $6 million through his company. Kim Ives, Illegally Ousted Anti-Corruption Chief: “We Have a Dictatorship
      taking Place, Haïti Liberté (Jul 12, 2017). Moïse also constrained the powers of the Superior Court of Auditors and
      (KTPUPZ[YH[P]L+PZW\[LZ*:**(^OPJOOHZPTWSPJH[LKOPTHUKHSHYNLZ^H[OVMNV]LYUTLU[VɉJPHSZPU[OL7L[YV*HYPIL
      scandal. Jake Johnston & Kira Paulemon, At Odds with Presidency, a Government Watchdog is Weakened by Executive
      Decree, Ctr. Econ. & Pol’y Research (Nov. 12, 2020).
 50   IJDH, Human Rights and Rule of Law in Haiti, supra note 34, 4 (Nov. 2020); Secretary-General Feb. 2020 Report, supra
      note 1, ¶10 (noting that the only ongoing prosecution related to PetroCaribe accountability initiated by the Moïse administration
      has been characterized by human rights groups as an “instrumentalization of the judiciary for political purposes,” selectively
      prosecuting only one political rival in order to achieve the administrations political goals related to electricity).
 51   /HP[PWYLZPKLU[ZHYLLSLJ[LK[VHÄ]L`LHY[LYT4V{ZL^HZLSLJ[LKPUPUHYLY\UVM[OLLSLJ[PVU4V{ZLHYN\LZ
      [OH[ILJH\ZLOLKPKUV[[HRLVɉJL\U[PSOPZÄ]L`LHY[LYTY\UZ\U[PS-LIY\HY`I\[[OPZPZPUJVUZPZ[LU[^P[O[OL
      /HP[PHU*VUZ[P[\[PVUHUK[OL,SLJ[VYHS3H^;OL*VUZ[P[\[PVUZWLJPÄLZ[OH[[OLWYLZPKLU[PHS[LYTZ[HY[ZVU-LIY\HY`
      after elections are held. Haiti Const., supra UV[LHY[(Y[PJSLM\Y[OLYZWLJPÄLZ[OH[^OLULSLJ[PVUZHYL
      delayed, “the president elected enters into his functions immediately after the validation of the ballot and his mandate is
      considered to have commenced on 7 February of the year of the election.” Id. art. 134-2. The 2016 elections were
      VYNHUPaLKW\YZ\HU[[V[OL,SLJ[VYHS3H^^OPJOZWLJPÄLK[OH[[OLWYLZPKLU[»Z[LYT^V\SKLUKÄ]L`LHYZMYVT[OL
      THUKH[LKZ[HY[KH[LYLNHYKSLZZVM^OLU[OLWYLZPKLU[HJ[\HSS`[VVRVɉJL,SLJ[VYHS3H^VMHY[ H3L4VUP[L\Y
      https://www.haitilibre.com/docs/decretelectoral2015.pdf¸;OL[LYTVMVɉJLVM[OL7YLZPKLU[VM[OL9LW\ISPJZOHSSLUKVU
      [OLZL]LU[O[OVM-LIY\HY`PU[OLÄM[O`LHYVMOPZ[LYTVMVɉJLYLNHYKSLZZVM[OLKH[LVMOPZLU[Y`PU[VVɉJL¹;OL
      Superior Council of Judicial Power, the Haitian Bar Federation, and many other legal experts and civil society endorse this
      interpretation. See e.g., Conseil Superieur du Pouvoir Judiciaire, Resolution of the Superior Council of the Judicial Power
      (CSPJ) on the issue of the expiry of the constitutional mandate of the President of the Republica His Excellency Mr. Jovenel
      Moïse, adopted Feb. 6, 2021, available at https://www.haitiwatch.org/home/cspj6feb2021en; Haitian Bar Federation,
      Institutional Crisis and the End of the Presidential Term, Resolution 2021-01, adopted Jan. 30, 2021, available at
      https://bdhhaiti.org/archives/754. The U.S. State Department and Secretary-General of the Organizations of American
      States have sided with Moïse’s interpretation. U.S. Dept. of State, supra note 44 (“In accordance with the OAS position on
      the need to proceed with the democratic transfer of executive power, a new elected president should succeed President Moise
      when his term ends on February 2nd, 2022.”).
 52   IJDH, Human Rights and Rule of Law in Haiti, supra note 34, at 1; see also Caleb Lefevre, L’opposition crée une direction
      politique pour préparer l’après Jovenel Moïse, Le Nouvelliste (Oct. 15, 2020) (reporting that opposition organizations and
      political parties are working together to call and prepare for a transitional government).
 53   The Haitian Bar Federation has objected to the CEP’s constitutionality, and Haiti’s Supreme Court refused to swear in the
      CEP. Jacqueline Charles, Haiti’s supreme court declines to swear in election council. Moïse installed them anyway, Miami
      Herald (Sep. 22, 2020).
 54   Haiti Const., supra note 35, art. 284-3 (“General elections to amend the Constitution by referendum are strictly forbidden.”).
 55   The proposed changes would completely eliminate the Senate, replace the semi-independent Prime Minister with a Vice-
      President, and allow Moïse to hand-pick an electoral council that would run the next two Presidential elections. See Winnie
      Hugot Gabriel Duvil, L’avant-projet de nouvelle constitution consacre un président avec des pouvoirs exorbitants, Le
      Nouvelliste (Feb. 5, 2021)(constitutional amendments would profoundly change the organization of the three branches of
      government); U.S. Rep. Maxine Waters, Haiti’s President Jovenel Moïse’s shameful assault on democracy, Miami Herald
      (Feb. 27, 2021)(calling the referendum Moïse’s “most audacious and dangerous power grab yet.”); Farah Stockman, Did a
      *V\W9LHSS`/HWWLU;^V>LLRZ(NVPU/HP[P&, N.Y. Times (Feb. 23, 2021) (noting that the “nakedly unconstitutional
      referendum…would strengthen his grip on power).
 56   Comité Consultatif Independant, Avant-Project Constitution art. 139 (Jan. 2021), https://www.haitilibre.com/docs/CCI-
      *65:;0;<;065F7YVQL[KL*VUZ[P[\[PVUML]YPLYOWKM
 57   Jacqueline Charles, Amid calls for Moïse’s ouster, Haiti announces arrest of 23 people in alleged coup attempt, Miami
      Herald (Feb. 7, 2021). Human rights organizations view the arrests as a crackdown against Moïse’s political opponents.
      Id.; see also Stockman, supra note 55 (questioning the evidence of a coup).
 58   9VILUZVU.LɈYHYKJovenel Moïse met à la retraite les trois juges de la Cour de cassation pressentis pour le remplacer, Le
      Nouvelliste (Feb. 9, 2021). Article 177 of the Constitution provides that Supreme Court judges are “irremovable” unless
      they have been legally determined to have abused their authority. Haiti Const., supra note 35, art 177.

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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 324 of 382
 40 | Killing with Impunity: State-Sanctioned Massacres in Haiti




 59   Winnie Hugot Gabriel Duvil, 3L7YtZPKLU[4V{ZL5VTTL;YVPZ5V\]LH\_1\NLZnSH*V\YKL*HZZH[PVU, Le Nouvelliste
      (Feb. 12, 2021). The Constitution requires that the president nominate judges chosen from a list provided by the Senate.
      Haiti Const., supra note 35, art. 175. Although Moïse claimed in a Tweet to have followed this procedure, the Senate has
      not been in session for many months, since the terms of most members of parliament have expired. Ives, supra note 43
      (noting that Moïse dissolved the Haitian Parliament on Jan. 13, 2020).
 60   Après la Cour de cassation, l’École de la magistrature est placée sous contrôle de la police, Haiti Standard (Feb. 8, 2021).
 61   :LLLN<5/\THU9PNO[Z6ɉJL(SHYTLKI`º([[HJRZ»VU1\KPJPHS0UKLWLUKLUJLPU/HP[PU.N. News (Feb. 19, 2021);
      Haiti: Attacks on Judicial Independence, Human Rights Watch (Feb. 22, 2021).
 62   See U.N. Secretary-General, United Nations Mission for Justice Support in Haiti, ¶2, U.N. Doc. S/2018/1059 (Nov. 28,
      2018) [hereinafter Secretary-General Nov. 2018 Report] (noting that the PetroCaribe scandal gave rise to widespread yet
      predominantly peaceful civil society demonstrations nationwide in 2018); Jacqueline Charles, º>OLYLKPK[OLTVUL`NV&¹
      Haitians denounce corruption in social media campaign, Miami Herald (Aug. 25, 2020) (reporting on the continued
      protests related to PetroCaribe in 2020); ‘Down with the Dictatorship’: Protests continue in Haiti, Al Jazeera (Feb. 15,
      2021) (reporting that mass protests in 2021 were in part due to the PetroCaribe corruption scandal).
 63   Secretary-General Nov. 2018 Report, supra note 62, ¶3.
 64   BINUH, supra note 1, ¶6.
 65   Id. (noting that peyi lok began in September 2019 and continued up to the Bel-Air attack in November 2019); Danticat,
      supra note 25 (noting that since the peyi lok began in September 2019, large demonstrations have taken place almost
      every day).
 66   According to the UN, kidnappings increased by 200% from Feb. 2020 to Feb. 2021 compared to the previous year and
      voluntary homicide increased by 20% in 2020. Secretary-General Feb. 2021 Report, supra note 23, ¶19.
 67   Id. at ¶17 (“The mounting insecurity, driven by a growing wave of kidnappings combined with several ruthless killings,
      increased public outraged, as evidenced by a monthly average of 84 demonstrations in the second half of 2020.”); Sandra
      Lemaire & Renan Toussaint, ;OV\ZHUKZVM/HP[PHUZ7YV[LZ[=PVSLUJL0TW\UP[`VU/\THU9PNO[Z+H`VOA News (Dec. 20,
      2020).
 68   Ralph Tomassaint Joseph, >OH[PZ/HWWLUPUNPU/HP[P>OLYL7VSP[PJHS*YPZPZ7LYZPZ[Z&Al Jazeera, Feb. 28, 2021.
 69   Jacqueline Charles, ;OV\ZHUKZTHYJOPU/HP[P[VZH`º5V[VKPJ[H[VYZOPW»HZWLHJLM\SWYV[LZ[[\YULK]PVSLU[ Miami Herald
      (Feb. 14, 2021).
 70   RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶¶25-29, 54, 58 (reporting that in 2017 First Lady Martine Moïse and other
      NV]LYUTLU[VɉJPHSZVɈLYLK[VPU]LZ[PUJVTT\UP[`WYVQLJ[ZPU3H:HSPULPUL_JOHUNLMVYHYLK\J[PVUPUHU[PNV]LYUTLU[
      WYV[LZ[ZPU[OLHYLHHUK[OH[Q\Z[WYPVY[V[OL3H:HSPULH[[HJRPU[^VOPNOSL]LSNV]LYUTLU[VɉJPHSZ-LKULS
      Monchéry and Richard Duplan, held a planning meeting with Chérizier, providing resources for the attack); BINUH, supra
      UV[LUV[PUN[OH[*OtYPaPLY»ZH[[HJRVU)LS(PYMVSSV^LKZOVY[S`HM[LYNV]LYUTLU[VɉJPHSZ\UZ\JJLZZM\SS`[YPLK
      to bribe local organizations to remove the barricades from the neighborhood); RNDDH, ;LYYVYPU Cité Soleil, supra note 5,
      YLWVY[PUN[OH[HNV]LYUTLU[HJ[VYHSSLNLKS`WHPKVɈHUHU[PNV]LYUTLU[NHUNSLHKLY(S[uZ[V[HRLJVU[YVS
      of anti-government strongholds in Cité Soleil).
 71   See fn. 4, supra.
 72   The UN has documented 60 violations of the right to life and 171 violations of the right to personal security committed by
      state actors against protesters between July 6, 2018 and December 10, 2019. BINUH & Le Haut-Commissariat des Nations
      Unies aux droits de l’homme (HCDH), Manifestations en Haïti : Leurs impacts sur les droits humains et l’obligation de l’État
      de protéger tous les citoyens 12 (2021). Between June-July 2020, for example, the PNH repeatedly shot live rounds and
      teargas to break up peaceful sit-ins and other demonstrations. IJDH, Human Rights and Rule of Law in Haiti, supra note 34.
 73   Johnston & Paulemon, supra note 2; Jacqueline Charles, 0ZKLTVJYHJ`PU/HP[PLYVKPUN&;OLWYLZPKLU[»ZUL^PU[LSSPNLUJL
      agency has many uneasy, Miami Herald (Dec. 12, 2020).
 74   Id.
 75   Charles, Haitian Lawyer, Constitutional Expert Gunned Down, supra note 3.
 76   Id.
 77   Id.
 78   Secretary-General Feb. 2021 Report, supra note 23, ¶¶35, 61.
 79   (M[LYZPNUPÄJHU[JP]PSZVJPL[`HUKPU[LYUH[PVUHSWYLZZ\YLPU]LZ[PNH[PVUZPU[V[OLRPSSPUNOH]LYLZ\S[LKPUMV\YHYYLZ[Z
      including of a businessman who allegedly worked at the National Palace and has close ties to Moïse’s 7HY[P/HP[PLU;L[
      Kale (PHTK). Pierre Emmanuella Tanis, ,UX\v[LZ\YS»HZZHZZPUH[KL4L4VUMLYYLY+VY]HS!(YYLZ[H[PVUKLS»OVTTLK»HɈHPYLZ
      Vilpique Dunès, Juno7 (Sep. 12, 2020); see also Le Nouvelliste, Le téléphone de Me Monferrier Dorval mène aux présumés
      exécutants et complices, un juge d’instruction saisi (Sept. 25, 2020).
 80   Fédération internationale pour les droits humains (FIDH), /H{[P!7SHUPÄJH[PVUK»HZZHZZPUH[nS»LUJVU[YLKL47PLYYL
      Espérance (May 9, 2019), O[[WZ!^^^ÄKOVYNMY[OLTLZKLMLUZL\YZKLZKYVP[ZO\THPUZOHP[PWSHUPÄJH[PVUKHZZHZZPUH[
      a-l-encontre-de-m-pierre-esperance.
 81   Le Nouvelliste, Le ministre de la Justice accuse des organisations de défense des droits humains d’être « des outils de
      déstabilisation » (Dec. 14, 2020).
 82   Le Nouvelliste, L’Agence nationale d’intelligence opérationnelle, les adversaires de Jovenel Moïse sous surveillance (Jan.
      19, 2021).
 83   Johnston, supra note 2; Charles, ;OV\ZHUKZTHYJOPU/HP[P[VZH`º5V[VKPJ[H[VYZOPW»Z\WYH note 69.
 84   Jake Johnston, 4LL[[OL5L^/HP[PHU4PSP[HY`&0[»Z:[HY[PUN[V3VVRH3V[3PRL[OL6SK6UL, Ctr. Econ. & Pol’y Research
      (Mar. 16, 2018); Freedom House, Freedom in the World 2018 – Haiti (Aug. 1, 2018); see also Jacqueline Charles, Haiti has
      a new army with much of the old leadership. Some in the U.S. aren’t happy, Miami Herald (Mar. 26, 2018).
 85   Andres Martinez Casares & Joseph Guyler Delva, Haitian army set to make controversial after two decades, Reuters (Nov.
      18, 2017).
 86   Press Release, IJDH & BAI, ;OL)(0+LUV\UJLZ[OL(WWVPU[TLU[VMHU,_;VY[\YLYVM[OL)SVVK`*V\WK»,[H[VM
      September 1991 to the So-Called High Command of the Haitian Armed Forces (Mar. 14, 2018).
 87   In 2019, the National Commission for Disarmament, Demobilization and Reintegration (CNDDR) documented the
      existence of at least 76 armed gangs in Haiti. Danio Darius, 76 gangs armés répertoriés en Haïti par la Commission de
      désarmement, Le Nouvelliste (May 6, 2019).
 88   Id. For example, control over areas such as the Croix-des-Bossales market in La Saline is highly contested, as it allows for
      the extortion of businesses and collection of fees for space allocation. RNDDH, ;OLL]LU[ZPU3H:HSPUL!Z\WYHnote 5, ¶¶16-19.

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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 325 of 382
                                                                                                                     Endnotes | 41




 89  See RNDDH, ;LYYVYPU*P[t:VSLPSZ\WYHnote 5, ¶¶38-49; FKJL, ;LYYL\YKHUZSLZX\HYPLYZWVW\SHYPLZ7VU[9V\NLH\*VL\Y
     d’une stratégie electoral macabre ¶42 (June 22, 2020).
 90 See e.g., RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶¶14, 17; RNDDH, Massacre au Bel-Air, supra note 13, ¶20;
     FJKL, *VUÅP[H\)LS(PYL[nSHY\LSSL4H`HYK!SH-VUKHZ`VU1L2SLYL-123Z»PUX\Pu[LKLS»PUZ[Y\TLU[HSPZH[PVUWVSP[PX\L
     des groupes armés, at 11-12 (Nov. 29, 2019) [hereinafter FJKL, *VUÅP[H\)LS(PY]; RNDDH, Attacks on Deprived
     Neighborhoods, supra note 4, ¶¶35, 62; Hamed Aleaziz, +/:6ɉJPHSZ(YL+LWVY[PUN/HP[PHU0TTPNYHU[Z+LZWP[L
     2UV^PUN;OL`4H`-HJL+HUNLYBuzzFeed News (Mar. 2, 2021)(citing U.S. Department of Homeland Security document
     acknowledging that the Haitian government was using gangs to “repress the opposition.”); cf. Darius, supra note 87
     X\V[PUN1LHU9LILS+VYJtUH[TLTILYVM[OL*5++9HZZ[H[PUN[OH[NHUNTLTILYZOH]LJVUÄYTLK[VOPT[OH[[OL`
     lack the means to purchase arms but are rather armed by politicians close to the government, as well as the opposition
     and the private sector).
 91 FKJL, ;LYYL\YKHUZSLZX\HYPLYZWVW\SHYPLZZ\WYHnote 89, ¶36 (noting that it is well-known that electoral outcomes in
     PTWV]LYPZOLKULPNOIVYOVVKZYLÅLJ[[OL^PSSVM[OLNHUNZPUJVU[YVSUV[[OL^PSSVM[OLWLVWSL":LJYL[HY`.LULYHS:LW[
     2020 Report, supra note 17, ¶15 (noting “linkages between gang violence and political developments…which suggest
     that competition among gangs is growing in anticipation of elections.”).
 92 Secretary-General Sept. 2020 Report, supra note 17, ¶15.
 93 Id., at ¶16 (noting that G9’s creation has “raised concerns among political and civil society actors about the detrimental
     impact partisan gangs can have on State institutions.”); Ingrid Arnesen & Anthony Faiola, In Haiti, coronavirus and a man
     named Barbecue test the rule of law, Wash. Post (Aug. 14, 2020).
 94 Id.
 95 Id.
 96 See e.g., RNDDH, Attacks on Deprived Neighborhoods, supra note 4, ¶98 (“armed gangs protected by the power of
     Jovenel Moïse become more powerful day by day. They organize themselves with the blessing of the authorities who
     WYV]PKL[OLT^P[O^LHWVUZHUKHTT\UP[PVU;OL`ILULÄ[MVY[OLWYV[LJ[PVUVM[OLWVSPJLPUZ[P[\[PVU;OPZPZ[OLJHZLMVY
     example of Jimmy Chérizier alias Barbecue, which is allowed to use the rolling stock of the PNH for as long as it says it
     wants attack underprivileged neighborhoods housing close relatives of the political opposition.”); ¶¶84-87 (noting that
     TLTILYZVM. WHY[PJPWH[LPUOPNOSL]LSNV]LYUTLU[TLL[PUNZHUKHYLHISL[VPUÅ\LUJLNV]LYUTLU[HWWVPU[TLU[Z
     including the appointment of Frantz Iderice as head of the Caisse d’Assistance Social). Chérizier has denied such ties.
     Jimmy CHERIZIER Alyas BARBECUE ap esplike kisa ki G9 an Fanmi e Alye a, June 10, 2020, YouTube.com,
     O[[WZ!^^^`V\[\ILJVT^H[JO&]$-J9XF7AN (presenting on G-9’s formation and insisting on its independence from
     the government and other political forces).
 97 Haitian Popular News Agency, Social movements in Haiti denounce president’s links to criminal gangs, Peoples Dispatch
     (Sept. 9, 2020); see also Danio Darius, Les gangs se sont fédérés sur proposition de la Commission nationale de
     désarmement, démantèlement et reinsertion, Le Nouvelliste (Sept. 2, 2020).
 98 Haiti – G9: Formal denial of the National Disarmament Commission, Haiti Libre (Sept. 20, 2020), https://www.haitilibre.
     com/en/news-31847-haiti-g9-formal-denial-of-the-national-disarmament-commission.html.
 99 See e.g., RNDDH, Attacks on Deprived Neighborhoods, supra note 4, ¶¶88-93 (documenting that Chérizier generally
     VWLYH[LZ^P[O[OLHZZPZ[HUJLVM75/VɉJLYZ^OVMHJPSP[H[LOPZ[YH]LSHUKLUZ\YLOPZZHML[`"95++/;LYYVYPU*P[t:VSLPS,
     supra note 5, ¶¶31, 101 (in Cité Soleil, residents believe calling on police for protection is futile because local police
     VɉJLYZYLN\SHYS`WHY[PJPWH[LPUYLJYLH[PVUHSHJ[P]P[PLZ^P[OHYTLKNHUNZPUJS\KPUNJLSLIYH[PUNNHUNTLTILYZ»IPY[OKH`Z
     watching soccer matches and consuming alcohol with them).
 100 See Emblematic Attacks Against Civilians, infra.
 101 Id.; MINUJUSTH noted that the La Saline attack lasted at least fourteen hours, yet the PNH did not intervene to protect
     civilians. This is particularly striking as two police stations were located less than one kilometre from the site of the attack.
     MINUJUSTH, supra note 5, ¶¶23-26. It was only following public outcry that the DCJP conducted an investigation into
     the La Saline attack. The investigation implicated 70 individuals responsible for carrying out thein the attack, including
     Duplan, Monchéry and Chérizier. Jacqueline Charles, U.N. investigators say Haitian government condoned massacre that
     left dozens dead, Miami Herald (June 21, 2019); Press Release, IJDH & BAI, Human Rights Groups Petition Inter-American
     Commission to Protect Survivors of Haiti’s La Saline Massacre (Aug. 13, 2019), http://www.ijdh.org/wp-content/
     uploads/2019/08/Press-Release-La-Saline-PMs-8-31-FINAL.pdf. Nevertheless, none of them have been arrested. See
     also Press Release, Security Council, Haiti’s Stability in Peril without Strong Response to COVID-19, Legal Experts Tell
     Security Council, U.N. Press Release SC/14218 (June 19, 2020 (noting that “[A]ccountability is a challenge, seen in the
     lack of progress in investigating and prosecuting the Lilavois, Grand Ravine, La Saline and Bel-Air cases, involving abuses
     I`NHUNTLTILYZSH^LUMVYJLTLU[HNLU[ZHUKWVSP[PJHSVɉJPHSZ¹":LJYL[HY`.LULYHS:LW[9LWVY[supra note 17,
     ¶31 (highlighting the “lack of accountability for past abuses, including emblematic cases like Grand Ravine (2017), La
     Saline (2018) and Bel-Air (2019).”).
 102 PNH has cited these constraints as a reason for their failure to intervene in the attacks. See, e.g.,BINUH, supra note 1,
     ¶21. Strengthening the police force through capacity building and training has also been a key objective of the UN
     deployed peacekeeping missions to Haiti from 2004-2019. MINUJUSTH, 405<1<:;/*VTWSL[LZP[Z4HUKH[L7\[[PUNHU
     End to 15 Consecutive Years of Peacekeeping in Haiti (Oct. 16, 2019), https://minujusth.unmissions.org/en/minujusth-
     completes-its-mandate-putting-end-15-consecutive-years-peacekeeping-haiti-0@L[75/OHZJVU[PU\LK[VZ\ɈLYMYVT
     ZVTLZ`Z[LTPJJVUZ[YHPU[ZPUJS\KPUNWVVYWH`HUKKPɉJ\S[^VYRPUNJVUKP[PVUZ1HJX\LSPUL*OHYSLZWhile Haiti police
     take frustration out on streets, U.N. sounds alarm on gangs, bad cops, Miami Herald (Feb. 18, 2020). In September 2020,
     [OL4V{ZLHKTPUPZ[YH[PVUPUJYLHZLKM\UKPUNMVY75/MVY[OLÄYZ[[PTLPU`LHYZ:LJYL[HY`.LULYHS-LI9LWVY[
     supra note 23, ¶17.
 103 At least 71 people were killed in the 2018 La Saline attack. RNDDH, Revised Toll, supra note 10; Seth Donnelly & Judith
     Mirkinson, ;OL3HZHSPUTHZZHJYLHUK[OLO\THUYPNO[ZJYPZPZPU/HP[P 6 (Aug. 23, 2019) (noting that “residents and local
     human rights defenders maintain that this number is deplorably low, based only on the number of bodies actually left on
     the ground and not taking into account either those buried or taken away.”); cf. MINUJUSTH, supra note 5, ¶5 (separately
     HISL[VJVUÄYTKLH[OZ;OLKLH[O[VSSVM[OL)LS(PYH[[HJRPZH[SLHZ[WLVWSL95++/Massacre au Bel-Air, supra
     note 13, ¶31; cf. BINUH, supra UV[LZLWHYH[LS`HISL[VJVUÄYT[OH[[OLH[[HJRZSLM[H[SLHZ[KLHKI\[UV[PUN
     that this is likely an undercount). Between May and July 2020, at least 145 people were killed in Cité Soleil. RNDDH,
     Attacks on Deprived Neighborhoods, supra note 5, ¶55 (documenting the death of 34 people in Pont Rouge, Nan
     Brooklyn, Chancerelles, Fort Dimanche, and Nan Tokyo between May 24-27, 2020); RNNDH, ;LYYVYPU Cité Soleil, supra
     note 5, ¶3 (documenting 111 killings between June and July 2020).
                                                                                                                    Haiti AR_001629
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 326 of 382
 42 | Killing with Impunity: State-Sanctioned Massacres in Haiti




 104 RNDDH reported that 5 were injured in the Bel-Air attack. RNDDH, Massacre au Bel-Air, supra note 13, ¶34. At least 40
     people were shot and injured in Cité Soleil between May 24-July 28, 2020. RNDDH, Attacks on Deprived Neighborhoods,
     supra note 4, ¶51 (reporting that at least 20 people were injured on May 26 and 27); RNNDH, ;LYYVYPU*P[t:VSLPS supra
     note 5, ¶65 (documenting that at least 20 people were injured between June 1 and July 28, 2020).
 105 At least 7 women were raped in La Saline. RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶43. Between June 1 and July
     28, 2020, 18 women and girls were reported raped in Cité-Soleil. RNNDH, ;LYYVYPU*P[t:VSLPSZ\WYH note 5, ¶65.
 106 RNDDH documented that 150 houses were vandalized by the attackers La Saline. RNDDH, ;OL,]LU[ZVM3H:HSPULZ\WYH
     UV[L4VYLV]LYH[SLHZ[WLVWSLHYLLZ[PTH[LK[VOH]LÅLK3H:HSPULHM[LY[OLH[[HJR7YLZZ9LSLHZL95+//
     supraUV[LOV\ZLZ^LYLZL[VUÄYLK\YPUN[OL)LS(PYH[[HJR95++/Massacre au Bel-Air, supra note 13, ¶35. 98
     OV\ZLZ^LYLZL[VUÄYLPU*P[t:VSLPS4H`[V95++/Attacks on Deprived Neighborhoods, supra note 5,
     ¶59. As a consequence of the various attacks, the UN estimates that at least 298 households have been displaced in
     Bel-Air and Cité-Soleil. Secretary-General Sept. 2020 Report, supra note 17, ¶15. See also6ɉJLMVY*P]PS7YV[LJ[PVU/HP[P
     7YVÄSL¶:P[LKL+tWSHJtZ7VZ[L4HYJOHUK(Sept. 17, 2020), https://www.humanitarianresponse.info/sites/www.
     O\THUP[HYPHUYLZWVUZLPUMVÄSLZKVJ\TLU[ZÄSLZKWJFVPTFILSFHPYFFZP[LZFKLFKLWSHJLZWKM.
 107 RNDDH, ;OL,]LU[ZVM3H:HSPULZ\WYH note 5, ¶¶10, 30-31 (noting that “La Saline has an exceptional ability to either
     mobilize or thwart street demonstrations, which is why this community is often courted by opposition political clans” and
     highlighting the anti-government demonstrations on October 15 and 17, 2018); BINUH, supra note 1, ¶¶6, 16
     (emphasizing Bel-Air’s central role in the 2019 peyi lok protests where almost daily demonstrations against the
     government took place); RNDDH, ;LYYVYPU*P[t:VSLPSZ\WYH note 5, ¶¶17-18 (highlighting Cité-Soleil’s historical support
     for Fanmi Lavalas, the government opposition).
 108 See Annex I for a list of the principal investigations relied on in this report.
 109 Id.
 110 RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5; MINUJUSTH, supra note 5; Donnelly & Mirkinson, supra note 103.
 111 See Donnelly & Mirkinson, supra note 103, at 4 (“La Saline has been known as a stronghold of Lavalas”); Press Release,
     Human Rights Delegation Condemns Political Massacres Tied to Haiti’s Government (May 8, 2019), http://www.ijdh.org/
     wp-content/uploads/2019/05/DelegationPressReleaseFinal5-08-2.pdfO\THUYPNO[ZKLSLNH[PVUÄUKPUN[OH[¸[OLTVU[OZ
     long series of attacks in poor neighborhoods of Port-au-Prince …were done to punish neighborhood residents-many of
     whom identify as supporters of the Fanmi Lavalas party-for playing a leading role in a series of demonstrations opposing
     government corruption, mismanagement and brutality.”); Bureau des Avocats Internationaux (BAI) & IJDH, Precautionary
     Measures Request for Anonymous Petitioners of La Saline, Inter-Am. Comm’n H.R., ¶¶11-13, http://www.ijdh.org/wp-
     JVU[LU[\WSVHKZ 0(*/97YLJH\[PVUHY`4LHZ\YLZ9LX\LZ[F/HP[PF3H:HSPULF(\N\Z[  WKM [hereinafter BAI &
     IJDH, Petition for Precautionary Measures] (setting out the political background of La Saline); Prescod, supra note 6.
 112 RNDDH, ;OL,]LU[ZPU3H:HSPUL, supra note 5, ¶10; see also Randall White, Haiti Government Complicit in La Saline
     MassacreOHP[PHJ[PVUUL[+LJO[[W!^^^OHP[PHJ[PVUUL[5L^Z9(>FFFFO[TSKLZJYPIPUN3H
     Saline as a frequent starting point for demonstrations).
 113 RNDDH, ;OL,]LU[ZPU3H:HSPUL, supra note 5, ¶17.
 114 Id. ¶16; MINUJUSTH, supra note 5, ¶10.
 115 Press Release, Human Rights Delegation, supra note 111; RNDDH, ;OL,]LU[ZPU3H:HSPUL, supra note 5, at 6; Prescod,
     supra note 6.
 116 RNDDH, ;OL,]LU[ZPU3H:HSPUL, supra note 5, ¶¶25-28; Donnelly & Mirkinson, supra note 103, at 4.
 117 RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶29.
 118 Secretary-General Nov. 2018 Report, supra note 60, ¶3.
 119 RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5,¶30; Donnelly & Mirkinson, supra note 103, at 4.
 120 Secretary-General Nov. 2018 Report, supra note 60, ¶3; RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶31.
 121 Donnelly & Mirkinson, supra note 103, at 4-5; FKJL, :P[\H[PVUKL;LYYL\YH3H:HSPUL 3 (Nov. 2018).
 122 ;OL7YLZPKLU[»ZKLSLNH[LZZLY]LHZ[OLPYVɉJPHSYLWYLZLU[H[P]LPULHJOVM/HP[P»Z[LUNLVNYHWOPJKLWHY[TLU[ZHUKHYL
     responsible for the coordination and control of public services there. Haiti Const. supra note 35, art. 85.
 123 RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶58.
 124 MINUJUSTH, supra note 5, ¶21.
 125 Jake Johnston, (<5)HJRLK7VSPJL-VYJL*HYYPLKV\[H4HZZHJYLPU/HP[P;OL2PSSPUNZ/H]L)LLU(STVZ[,U[PYLS`0NUVYL
     The Intercept (Jan. 10, 2018).
 126 RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶¶54-58; see also Press Release, Treasury Sanctions Serious Human
     Rights Abusers on International Human Rights Day, U.S. Treasury Dept. (Dec. 10, 2020), https://home.treasury.gov/news/
     press-releases/sm1208 (“Monchéry supplied weapons and state vehicles to members of armed gangs who perpetrated
     [OLH[[HJR¯+\WSHUWYV]PKLKÄYLHYTZHUK/57\UPMVYTZ[VHYTLKNHUNTLTILYZ^OVWHY[PJPWH[LKPU[OLRPSSPUNZ¹
 127 See e.g., RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5; MINUJUSTH, supra note 5; Donnelly & Mirkinson, supra note
     103.
 128 MINUJUSTH, supra note 5, ¶¶12-15; RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶¶38-40.
 129 RNDDH Revised Toll, supra note 103; see also Donnelly & Mirkinson, supra note 103 (noting that “residents and local
     human rights defenders maintain that this number is deplorably low, based only on the number of bodies actually left on
     [OLNYV\UKHUKUV[[HRPUNPU[VHJJV\U[LP[OLY[OVZLI\YPLKVY[HRLUH^H`¹405<1<:;/^HZZLWHYH[LS`HISL[VJVUÄYT
     26 deaths,12 missing, three injured, and two gang rapes. MINUJUSTH, supra note 5, ¶4.
 130 MINUJUSTH, supra note 5, ¶¶13-15.
 131 RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶39; MINJUSTH, supra note 5, ¶5.
 132 RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶48 (documenting 7 rapes); MINJUSTH, supra note 5, ¶7 (noting that
     Haitian human rights organizations documented 11 cases of rape, including two gang rapes).
 133 RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶46.
 134 BAI & IJDH, Petition for Precautionary Measures, supra note 111, at 2.
 135 MINUJUSTH, supra note 5, ¶19; RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶4, 6; Donnelly & Mirkinson, supra note
     103, at 2.
 136 MINUJUSTH, supra note 5, ¶18; Haiti Breaking News – Massacre a La Saline, bidonville de Port-au-Prince, TVImage,
     5V]O[[WZ!^^^`V\[\ILJVT^H[JO&]$<?0W,O;]JZOV^PUNIVKPLZKPZWVZLKVMPU[YHZOWPSLZ
 137 MINUJUSTH, supra note 5, ¶19.


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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 327 of 382
                                                                                                                    Endnotes | 43




 138 Id.¶20; Jacqueline Charles, Dozens Brutally Killed, Raped in Haiti Massacre, Police Say. ‘Even Young Children Were Not
     Spared’, Miami Herald (May 15, 2019).
 139 RNDDH, ;OLL]LU[ZPU3H:HSPULZ\WYHnote 5, ¶39; MINUJUSTH, supra note 5, ¶¶12-14.
 140 MINUJUSTH, supra note 5, ¶¶21-22.
 141 ;OL<5KVJ\TLU[LK[OH[[OLUWVSPJLVɉJLYZ.YLNVY`(U[VPULHUK.\Z[H]LHSPHZ*O\WP[HSZVWHY[PJPWH[LKPU[OLH[[HJRZ
     Id., ¶21.
 142 Id., ¶¶23-26 (documenting the proximity of various police outposts to the site of the attack and that police was put on
     notice of the attack as it was ongoing).
 143 Id.
 144 Id., ¶24.
 145 Id., ¶26.
 146 Id.
 147 BAI & IJDH, Petition for Precautionary Measures, supra note 111, at 11-12 (“Despite the scale and horror of the atrocities,
     President Moïse has not spoken out about the massacre, condemned the massacre, or paid visitis to the survivors.”);
     RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶75 (noting that in the two weeks that followed the massacre, the only
     VɉJPHSJVTTLU[VU[OLH[[HJR^HZTHKLI`7YPTL4PUPZ[LY*tHU["4PJOHLS>LPZZLUZ[LPUWitnesses: Men in police garb
     massacred civlians in Haiti, Associated Press (Jan. 14, 2019) (“The authorities have said nothing…they haven’t even
     condemned this massacre)(quoting FJKL director Marie-Ylene Gilles).
 148 BAI & IJDH, Petition for Precautionary Measures, supra note 111, at 12; see also Hearing on Access to Justice and
     Judicial Independence in Haiti, Inter-Am. Comm’n H.R., PS 178 18, at 51:04, (Dec. 10, 2020), https://www.youtube.com/
     ^H[JO&]$-<Na9a6S)<Commission President Joel Hernández García calling on Haitian government to take concrete
     steps to advance reparations for victims of the La Saline massacre).
 149 Charles, supra UV[LYLWVY[PUNVU[OLÄUKPUNZ;OLYLZ\S[ZVM[OLPU]LZ[PNH[PVUOH]LILLUYLMLYYLK[V[OLWYVZLJ\[VY
     I\[YLTHPUJVUÄKLU[PHSPUHJJVYKHUJL^P[O/HP[PHUJYPTPUHSWYVJLK\YL405<1<:;/supra note 5, ¶¶31-34.
 150 See e.g., BAI & IJDH, Written Submission for the Dec. 10, 2020 Thematic Hearing, supra note 26 (noting lack of accountability
     for La Saline attack, including that the legal process has stalled since 2019); Secretary-General Feb. 2021 Report, supra
     note 23, ¶33 (Cherizier remains at large despite continuing domestic and international appeals for justice); Worlgenson
     Noël, Deux ans après le massacre à la Saline, toujours pas de justice pour les victimes..., Le Nouvelliste (Nov. 12, 2020)
     X\V[PUN95++/SHTLU[PUN[OH[NV]LYUTLU[VɉJPHSZPTWSPJH[LKPU[OLTHZZHJYLZ[PSSOVSKWVSP[PJHSWV^LY4VUJOtY`^HZ
     IYPLÅ`HYYLZ[LKPUMVYKYP]PUN^P[OPSSLNHSWSH[LZI\[X\PJRS`YLSLHZLK9VILUZVU.LɈYHYKIndexé dans le cadre du
     massacre de La Saline, Fednel Monchéry arrêté puis libéré par la police, Le Nouvelliste (Feb. 18, 2021).
 151 Haïti - Politique : Fednel Monchéry, DG du Ministère de l’intérieur démissionne, Haiti Libre (Sept. 26, 2019) (citing letter of
     resignation from Monchéry); Fednel Monchéry et Joseph Pierre Richard Duplan révoqués, Le Nouvelliste (Sept. 26, 2019)
     (reporting on Duplan and Monchéry’s revocations and replacements) ; see also Danticat, supra note 11 (noting that they
     ^LYLÄYLKHZWYV[LZ[ZPU[LUZPÄLK.
 152 BINUH, supra note 1, at 4 (citing warrant issued by an investigating judge on February 6, 2019); Sandra Lemaire, UN
     Security Council Expresses Serious Concern About Haiti, Calls for Elections, VOA NEWS (Feb. 23, 2021) (France’s Deputy
     Permanent Representative to the UN asking Moïse “how is it possible today that Jimmy Chérizier is still walking free?”).
 153 BINUH, supra note 1, ¶6.
 154 Chelsey Kivland, Street Sovereigns: Young Men and the Makeshift State in Urban Haiti 87 (2000).
 155 FJKL, *VUÅP[H\)LS(PY, supra note 90, at 11-12.
 156 BINUH, supra note 1, ¶8.
 157 See e.g., Secretary-General Feb. 2020 Report, supra note 1, ¶3; Danticat, supra note 11; BINUH, supra note 1, ¶5.
 158 BINUH, supra note 1, ¶6.
 159 RNDDH, Massacre au Bel-Air, supra note 13, ¶19; BINUH, supra note 1, ¶17.
 160 RNDDH, Massacre au Bel-Air, supra note 13, ¶20.
 161 Id., ¶¶20, 41.
 162 See e.g., BINUH, supra note 1, ¶7 (noting Cherizier’s documented involvement in Grand Ravine and La Saline).
 163 RNDDH, Massacre au Bel-Air, supra note 13, ¶42.
 164 BINUH, supra note 1, ¶9.
 165 RNDDH, Massacre au Bel-Air, supra note 13, ¶19.
 166 RNDDH, Massacre au Bel-Air, supra UV[L)05</YLWVY[LK[OH[T\S[PWSLZV\YJLZJVUÄYTLKH[SLHZ[[OYLLKLH[OZ
     HUKZP_PUQ\YLK^OPSLHSZVUV[PUN[OH[[OPZTH`ILHZL]LYL\UKLYJV\U[PU]PL^VM[OLVɉJL»ZPUHIPSP[`[VHJJLZZJLY[HPU
     sites and reluctance by victims and witnesses to come forward. BINUH, supra note 1, ¶4.
 167 BINUH, supra note 1, ¶10.
 168 Id., ¶19.
 169 Id., ¶10.
 170 RNDDH, Massacre au Bel-Air, supra note 13, ¶2; BINUH, supra note 1, ¶20.
 171 BINUH, supra note 1, ¶11.
 172 Id.
 173 Id., ¶12.
 174 Id.
 175 Id., ¶13.
 176 Id.; RNDDH, Massacre au Bel-Air, supra note 13, ¶27.
 177 BINUH, supra note 1, ¶15.
 178 Id., ¶20.
 179 Id., ¶22.
 180 Id.
 181 BINUH, supra note 1, ¶28 (as of February 2020, no warrants for arrests were issued in connection with the attack); Press
     Release, Security Council, Haiti’s Stability in Peril without Strong Response to COVID-19, Legal Experts Tell Security
     Council, U.N. Press Release SC/14218, (Jun. 19, 2020), https://www.un.org/press/en/2020/sc14218.doc.htm
     (“Accountability is a challenge, seen in the lack of progress in investigating and prosecuting the Lilavois, Grand Ravine, La
     :HSPULHUK)LS(PYJHZLZPU]VS]PUNHI\ZLZI`NHUNTLTILYZSH^LUMVYJLTLU[HNLU[ZHUKWVSP[PJHSVɉJPHSZ¹"see also


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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 328 of 382
 44 | Killing with Impunity: State-Sanctioned Massacres in Haiti




     Secretary-General Sept. 2020 Report, supra note 17, ¶31 (discussing an increase in attacks by gangs targeting the
     population, a development that can be explained by the establishment of the G9 and “lack of accountability for past
     abuses, including in emblematic cases like Grand Ravine (2017), La Saline (2018) and Bel-Air (2019).”).
 182 RNDDH, ;LYYVYPU*P[t:VSLPS, supra note 5, ¶¶6-13 (describing the neighborhood); Cité Soleil, Wikipedia,
     O[[WZ!LU^PRPWLKPHVYN^PRP*P[tF:VSLPS
 183 RNDDH, ;LYYVYPU*P[t:VSLPS, supra note 5, ¶17.
 184 Id., ¶¶18-43 (setting out the background of gangs in Cite Soleil); RNDDH, Attacks on Deprived Neighborhoods, supra
     note 4, ¶¶12-15 (noting that a situation of relative peace among gangs changed in 2018).
 185 See Secretary-General Sept. 2020 Report, supra note 17, ¶15 (observing a rise in gang violence linked to competition in
     anticipation of elections); Id., ¶87; RNDDH, Attacks on Deprived Neighborhoods, supra note 4, ¶¶61-63 (testimony of
     former Cité Soleil parliamentary representative Pierre Lemaire, attributing the attacks to the “will of the authorities [and]
     the power to politically control the territories…for electoral purposes.”), ¶65 (noting that residents interviewed as a part of
     the investigation agree with the assessment of motive); cf. id. ¶68 (reporting that other residents believe they are being
     [HYNL[LKHZYL[YPI\[PVUMVY[OLPYHU[PNV]LYUTLU[WVZP[PVUZHUKHJ[P]P[PLZYH[OLY[OHUZWLJPÄJHSS`MVYLSLJ[VYHSJVU[YVS
 186 Secretary-General Sept. 2020 Report, supra note 17, ¶15; RNDDH, Attacks on Deprived Neighborhoods, supra note 4,
     YLWVY[PUN[OH[WVSPJLVɉJLYZPU[LY]PL^LKHZHWHY[VM[OLPU]LZ[PNH[PVUILSPL]L[OL4H`H[[HJR^HZWSHUULKPU
     part because of the new G9 alliance); RNDDH, ;LYYVYPU*P[t:VSLPS, supra note 5, ¶¶1, 6 (observing that the rise in G-9 has
     contributed to inter-gang violence as they vie for control); see also text accompanying fns. 96-98 (discussing ties between
     the government and G-9).
 187 RNDDH, Attacks on Deprived Neighborhoods, supra note 5, ¶¶32-37 (discussing the circumstances of Ernso Nicolas’
     murder).
 188 RNDDH, ([[HX\LZJVU[YLKLZX\HY[PLYZKtMH]VYPZtZ!3L95++/L_PNLSHÄUKLSHWYV[LJ[PVUKLZNHUNZHYTtZWHYSLZ
     autorités au pouvoir, ¶¶34-35, 62-64 (June 23, 2020) (French original including references to state involvement in
     payments, based on testimony of Pierre Lemaire).
 189 RNDDH, Attacks on Deprived Neighborhoods, supra note 4, ¶40.
 190 Id., ¶¶41-42.
 191 See e.g., text accompanying fn. 121 (describing the blockage of the wreath-laying ceremony); RNDDH, Attacks on Deprived
     Neighborhoods, supra note 4, ¶14 (“for some, Pont Rouge, in the same way as La Saline, is hated by the authorities in
     power because of its anti-government resistance.”); id., ¶¶25-31 (describing prior attacks in Nan Tokyo in 2019); FKJL,
     ;LYYL\YKHUZSLZX\HY[PLYZWVW\SHPYLZZ\WYHnote 89, ¶52 (President Moise reportedly became aware of Jean-Pierre’s role
     in peyi lok).
 192 RNDDH, Attacks on Deprived Neighborhoods, supra note 4, ¶55 (documenting toll of gang assaults in Cité Soleil between
     May 23-27, 2020); RNDDH, ;LYYVYPU*P[t:VSLPS, supra note 5, ¶59 (documenting toll of gang assaults in Cité Soleil between
     June and July 2020).
 193 RNDDH, Attacks on Deprived Neighborhoods, supra note 4, ¶43.
 194 Id., ¶¶43-44.
 195 Id., ¶45.
 196 Id., ¶46.
 197 Id.
 198 Id.
 199 Id., ¶48.
 200 Id., ¶46.
 201 Id., ¶51.
 202 Id., ¶53.
 203 In the aftermath of the attacks, G9 leaders appointed new gang leaders in the areas they had conquered. Id., ¶77.
 204 RNDDH, ;LYYVYPU*P[t:VSLPS, supra note 5, ¶59.
 205 Id., ¶¶63-64, 69, 71.
 206 Id., ¶52-57.
 207 Id., ¶¶55-56.
 208 Id., ¶58.
 209 Id., ¶¶73, 79.
 210 Id., ¶¶72-76, 79-81.
 211 Id., ¶58.
 212 Id.
 213 Id., ¶84; see also Secretary-General Feb. 2021 Report, supra note 23, at ¶¶33-34 (noting the continued lack of
     accountability for human rights abuses committed by law enforcement and by prominent gang members such as
     Cherizier, who still remains at large.)
 214 RNDDH, Attacks on deprived neighborhoods, supra note 4, ¶61.
 215 FKJL, ;LYYL\YKHUZSLZX\HY[PLYZWVW\SHPYLZZ\WYHnote 89, ¶¶52-54.
 216 RNDDH, Attacks on deprived neighborhoods, supra note 4, ¶68.
 217 Murphy, supra note 31, ¶27.
 218 Id., ¶39; see also Arellano, supra note 36, ¶99 (acknowledging the jus cogens status of crimes against humanity).
 219 Murphy, supra note 31, ¶¶8, 122; Int’l Hum. Rts. Clinic Harv. L. Sch., Crimes in Burma fn.4 (2009) (the Rome Statute
     YLÅLJ[ZJ\Z[VTHY`PU[LYUH[PVUHSSH^VURL`LSLTLU[ZVMJYPTLZHNHPUZ[O\THUP[`
 220 Rome Statute, supra note 32, art. 7.
 221 Id.
 222 Id., art. 53.
 223 Article 13(b) of the Rome Statute grants the Security Council the power, acting under Chapter VII of the UN Charter, to
     refer to the ICC situations in which crimes under the jurisdiction of the court have taken place. Rome Statute, supra note
     32, art. 13(b).
 224 International Criminal Court, Elements of Crime, ICC-ASP/1/3 (part II-B), at 5 (Sep. 9, 2002).
 225 RNDDH, 9L]PZLK;VSSZ\WYHnote 10.
 226 Donnelly & Mirkinson, supra note 103, at 7.


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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 329 of 382
                                                                                                                   Endnotes | 45




 227 RNDDH, Massacre au Bel-Air, supra note 13, ¶31; cf. BINUH Rapport sur Bel Air, supra note 1, ¶¶4, 13, 15, 27 (separately
     JVUÄYTPUNT\YKLYZHUKJVTWSHPU[ZMVYT\YKLYÄSLK^P[O[OLWVSPJL^OPSLUV[PUN[OH[[OL[VSSJV\SKILT\JOOPNOLY
     since they were unable to verify several allegations due to challenges including accessing certain sites and the reluctance
     of victims and witnesses to give information for fear of reprisals).
 228 34 people were killed in Pont Rouge, Nan Brooklyn, Chancerelles, Fort Dimanche, and Nan Tokyo between May 23-27,
     2020. RNDDH, Attacks on Deprived Neighborhoods, supra note 4, ¶55. 111 people were killed in Cité-Soleil between
     June 1 and July 28 2020. RNDDH, ;LYYVYPU Cité Soleil, supra note 5, ¶59.
 229 7YVZLJ\[VY]-\Y\UKüPQH*HZL5V0; ;1\KNTLU[0U[»S*YPT;YPI-VY[OL-VYTLY@\NVZSH]PH+LJ
     1998).
 230 Prosecutor v. Jean-Pierre Bemba Gombo, ICC-01/05-01/08, Trial Judgement of Judge Steiner, ¶99-101 (Mar. 21, 2016).
 231 MINUJUSTH, supra note 5, ¶7 (noting that 11 cases of rape were reported by Haitian human rights organizations, of
     which they could verify 2); see also RNDDH, 9L]PZLK;VSSZ\WYHnote 10.
 232 RNDDH, ;OL,]LU[ZPUSH:HSPULZ\WYHnote 5, ¶48.
 233 Id.
 234 Id.
 235 MINUJUSTH, supra note 5, ¶7.
 236 Donnelly & Mirkinson, supra note 103, at 7.
 237 RNDDH, ;LYYVYPU*P[t:VSLPSZ\WYH note 5, ¶3.
 238 Id., at ¶69.
 239 Id.
 240 Id.
 241 Id.
 242 Id.
 243 Donnelly & Mirkinson, supra note 103, at 7.
 244 Rome Statute, supra note 32, art. 7(1)(f).
 245 Id. art. 7(2)(e).
 246 7YVZLJ\[VY]2HYHKüPǅ*HZL5V0; ;1\KNTLU[0U[»S*YPT;YPIMVY[OL-VYTLY@\NVZSH]PH4HY
 247 Prosecutor v. Kunarac, Case No. IT-96-23-T and IT-96-23/1-A, Judgment ¶¶150-151 (Int’l Crim. Trib. for the Former
     @\NVZSH]PH1\U¸YHWLPZ]PL^LKHZHUºVI]PV\Z»WLYZLHJ[VM[VY[\YL:L]LYLWHPUVYZ\ɈLYPUNHZYLX\PYLKI`[OL
     KLÄUP[PVUVM[OLJYPTLVM[VY[\YLJHU[O\ZILZHPK[VILLZ[HISPZOLKVUJLYHWLOHZILLUWYV]LKZPUJL[OLHJ[VMYHWL
     ULJLZZHYPS`PTWSPLZZ\JOWHPUVYZ\ɈLYPUN¹"see also Prosecutor v. +LSHSPǅL[HS, Case No. IT-96-21-T, Judgment ¶480
     (Int’l Crim. Trib. for the Former Yugoslavia Nov. 16, 1998).
 248 7YVZLJ\[VY]2]VȏRH*HZL5V0; ;1\KNLTLU[ 0U[»S*YPT;YPIMVY[OL-VYTLY@\NVZSH]PH5V]
     ¸;OLTLU[HSZ\ɈLYPUNJH\ZLK[VHUPUKP]PK\HS^OVPZMVYJLK[V^H[JOZL]LYLTPZ[YLH[TLU[PUÅPJ[LKVUHYLSH[P]L^V\SK
     YPZL[V[OLSL]LSVMNYH]P[`YLX\PYLK\UKLY[OLJYPTLVM[VY[\YL:PTPSHYS`[OL-\Y\UKüPQH;YPHS*OHTILYMV\UK[OH[ILPUN
     MVYJLK[V^H[JOZLYPV\ZZL_\HSH[[HJRZPUÅPJ[LKVUHMLTHSLHJX\HPU[HUJL^HZ[VY[\YLMVY[OLMVYJLKVIZLY]LY;OLWYLZLUJL
     VMVUSVVRLYZWHY[PJ\SHYS`MHTPS`TLTILYZHSZVPUÅPJ[ZZL]LYLTLU[HSOHYTHTV\U[PUN[V[VY[\YLVU[OLWLYZVUILPUNYHWLK¹
 249 MINUJUSTH, supra note 5, ¶7.
 250 Id.
 251 Courts have not delineated the degree of pain required to constitute torture, but take the general circumstances into
     consideration. :LL2]VȏRH, supra UV[L¸B;DOLKLNYLLVMWO`ZPJHSVYTLU[HSZ\ɈLYPUNYLX\PYLK[VWYV]LJY\LS
     [YLH[TLU[PZSV^LY[OHU[OLVULYLX\PYLKMVY[VY[\YL[OV\NOP[T\Z[ILH[[OLZHTLSL]LSHZº^PSSM\SS`JH\ZPUNNYLH[Z\ɈLYPUN
     or serious injury to body or health’.”); see also Prosecutor v. Krnojelac, Case No. IT-97-25-T, Judgment ¶¶182-183, (Int’l
     Crim. Trib. for the Former Yugoslavia Mar. 15, 2002) (“[T]he Trial Chamber must take into account all the circumstances of
     [OLJHZLPUJS\KPUN[OLUH[\YLHUKJVU[L_[VM[OLPUÅPJ[PVUVMWHPU[OLWYLTLKP[H[PVUHUKPUZ[P[\[PVUHSPZH[PVUVM[OLPSS
     treatment, the physical condition of the victim, the manner and method used, and the position of inferiority of the victim.”).
 252 MINUJUSTH, supra note 5, ¶5.
 253 RNDDH, Massacre au Bel-Air, supra note 13, ¶33.
 254 Rome Statute, supra note 32, art. 7(1)(h).
 255 See e.g. 7YVZLJ\[VY]2\WYLúRPǅL[HS*HZL5V0; ;1\KNTLU[ 0U[»S*YPT;YPIMVY[OL-VYTLY
     @\NVZSH]PH1HUÄUKPUN[OH[T\YKLYPTWYPZVUTLU[HUKKLWVY[H[PVUJHUJVUZ[P[\[LWLYZLJ\[PVU"7YVZLJ\[VY]
     )SHúRPǅ*HZL5V0; ;1\KNTLU[0U[»S*YPT;YPIMVY[OL-VYTLY@\NVZSH]PH4HYÄUKPUN[OH[
     persecution includes harm to property, so long as the “victimised persons were specially selected on grounds linked to
     [OLPYILSVUNPUN[VHWHY[PJ\SHYJVTT\UP[`¹BOLYLPUHM[LY)SHúRPǅ;YPHS*OHTILY1\KNTLU[D"7YVZLJ\[VY]2VYKPǅ*HZL5V
     0; 1\KNTLU[-LI"7YVZLJ\[VY]4PS\[PUV]Pǅ*HZL5V0;;YPHS1\KNTLU[ 0U[»S
     Crim. Trib. for the Former Yugoslavia Feb. 26 2009) (establishing that sexual assault may be a form of persecution.).
 256 The Democratic and Popular Sector is a coalition of several opposition leaders and social sectors that have organized
     protests against Moïse in La Saline. 7VY[H\7YPUJLZS\TL_LTWSPÄLZKPYLWYVISLTZVMJYPZPZYHJRLK/HP[P, Agencia EFE
     (Feb. 22, 2019).
 257 RNDDH, ;OL,]LU[ZPU3H:HSPUL, supra note 5, ¶¶25-28; Donnelly & Mirkinson, supra note 103, at 4.
 258 RNDDH, Massacre au Bel-Air, supra note 13, ¶19; BINUH, supra note 1, ¶17.
 259 RNDDH, Attacks on deprived neighborhoods, supra note 4, ¶61.
 260 Id., ¶68
 261 Kunarac, supra note 247, ¶417.
 262 Id., ¶100; see also Prosecutor v. Kayishema, Case No. ICTR-95-1-T, Judgment, ¶122 (May 21, 1999).
 263 Situation in Kenya, ICC-01/09 Decision Pursuant to Article 15 of the Rome Statute on the Authorization of an Investigation
     into the Situation in the Republic of Kenya, ¶135 (Mar. 31, 2010) [hereinafter Situation in Kenya] (“the issue of whether an
     act was committed as part of a widespread or systematic attack needs to be analyzed on a case-by-case basis with
     regard to each particular act. At the current stage of the proceedings, the Chamber merely considers the situation as a
     ^OVSL^P[OV\[MVJ\ZPUNIL`VUK^OH[PZULJLZZHY`MVY[OLW\YWVZLVM[OLWYLZLU[KLJPZPVUVUZWLJPÄJJYPTPUHSHJ[Z0U[OPZ
     regard, the Chamber observes that the nature, aims and consequences of many of the individual acts recall either the
     characteristics of the initial attacks, the retaliatory attacks or the attacks emanating from the police.”).
 264 See Section III of this report.
 265 See Section II of this report.

                                                                                                                  Haiti AR_001633
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 330 of 382
 46 | Killing with Impunity: State-Sanctioned Massacres in Haiti




 266 Rome Statute, supra note 32, art. 7(1).
 267 Id., art. 7(2)(a).
 268 Prosecutor v. Gbagbo, 0**9LK7YL;YPHS*OHTILY0+LJPZPVUVU[OLJVUÄYTH[PVUVMJOHYNLZ 
     (Jun. 12, 2014).
 269 See Section II of this report.
 270 BINUH, supra note 1, ¶¶8-12.
 271 RNDDH, Attacks on deprived neighborhoods, supra note 5, ¶¶41-42.
 272 Id., ¶77.
 273 RNDDH, ;LYYVYPU*P[t:VSLPSZ\WYH note 5, ¶52.
 274 Id., ¶¶54-58 (G9 gangs monitored all roads in and out of Nan Brooklyn, and carried out seven attacks against Nan
     Brooklyn in June and July.)
 275 0[PZJVTTVUMVYJV\Y[Z[VÄUK[OH[VULH[[HJRJHU[HRLWSHJLV]LYHUL_[LUKLKWLYPVKVM[PTLSee e.g., Kunarac, supra
     note 247, ¶3 (charging three individuals with an attack that took place over the course of three days).
 276 See BINUH, supra note 1, at 4 (observing that the attack on Bel Air is “far from an isolated incident,” with similarities to
     other attacks including La Saline that illustrate a broader reality in Haiti.)
 277 Prosecutor v. Bemba, ICC-01/05-01/08-424, Decision Pursuant to Article 61(7)(a) and (b) of the Rome Statute on the
     Charges of the Prosecutor Against Jean-Pierre Bemba Gombo, ¶78 (Jun. 15, 2009) [hereinafter Bemba*VUÄYTH[PVUVM
     Charges Decision].
 278 Id., ¶¶76-77.
 279 Prosecutor v. Ntaganda, ICC-01/04-02/06-2359, Judgment, ¶667 (Jul. 9, 2019).
 280 7YVZLJ\[VY]4\[OH\YH0** 9LK+LJPZPVUVU[OL*VUÄYTH[PVUVM*OHYNLZ7\YZ\HU[[V(Y[PJSLH
     and (b) of the Rome Statute ¶110 (Jan. 23, 2012).
 281 Rome Statute, supra note 32, art. 7.
 282 See, e.g., Prosecutor v. Kayishema, Case No. ICTR-95-1-T, Judgment, ¶123 (May 21, 1999) (“The attack must contain
     one of the alternative conditions of being widespread or systematic.”).
 283 7YVZLJ\[VY]7YSPǅ*HZL5V0;;1\KNTLU[ 0U[»S*YPT;YPIMVY[OL-VYTLY@\NVZSH]PH4H` 
 284 )SHúRPǅ;YPHS*OHTILY1\KNTLU[supra UV[L¸;OLX\HU[P[H[P]LJYP[LYPVUPZUV[VIQLJ[P]LS`KLÄUHISLHZ
     witnessed by the fact that neither international texts nor international and national case-law set any threshold starting with
     which a crime against humanity is constituted.”); 2VYKPǅ, supra note 255, ¶179 (“a crime may be widespread or
     JVTTP[[LKVUHSHYNLZJHSLI`[OLºJ\T\SH[P]LLɈLJ[VMHZLYPLZVMPUO\THULHJ[ZVY[OLZPUN\SHYLɈLJ[VMHUPUO\THUL
     act of extraordinary magnitude.’”).
 285 Kunarac, supra note 247, ¶95.
 286 RNDDH, 9L]PZLK;VSSZ\WYHnote 10.
 287 RNDDH, Massacre au Bel-Air, supra note 13, ¶31.
 288 RNDDH, Attacks on Deprived Neighborhoods, supra note 4, ¶55 (documenting 34 deaths between May 23-27, 2020);
     RNDDH, ;LYYVYPU Cité Soleil, supra note 5, ¶59 (documenting 111 deaths between June 1-July 28, 2020).
 289 BAI & IJDH, Precautionary Measures Request, supra note 111, ¶4UV[PUN[OH[H[SLHZ[WLVWSLÅLK3H:HSPULHM[LY[OL
     massacre and seeking precautionary measures on behalf of those still displaced).
 290 Donnelly & Mirkinson, supra note 103, RNDDH, Attacks on deprived neighborhoods, supra note 4, ¶53.
 291 Secretary-General Sept. 2020 Report, supra note 17, ¶15.
 292 See IJDH, Human Rights and Rule of Law in Haiti, supra UV[LJP[PUN6ɉJLKLSH7YV[LJ[PVUK\*P[V`LU7YVÄSL¶:P[L
     de Déplacés Poste Marchand (Sept. 17, 2020)).
 293 )SHúRPǅ, Case No. IT-95-14-A, Judgment, ¶101 (Int’l Crim. Trib. for the Former Yugoslavia, Jul. 29, 2004)[hereinafter
     )SHúRPǅ, Appeals Chamber Judgment]; Prosecutor v. Ndindiliyimana, Case No. ICTR-00-56-A, Judgement, ¶260 (Feb. 11,
     2014).
 294 Kunarac, supra note 247, ¶94.
 295 7YVZLJ\[VY]4\[OH\YH0** +LJPZPVUVU[OL*VUÄYTH[PVUVM*OHYNLZ1HU
 296 RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶58.
 297 RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶¶54-58. The ICC Pre-Trial Chamber has found that the provision of
     uniforms and weapons to the attackers supported a conclusion that an attack was systematic and organized. Muthaura,
     supra note 295, ¶158.
 298 Charles, Dozens Brutally Killed, Raped in Haiti Massacre, supra note 138.
 299 RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶39; see also Weissenstein, supra note 147.
 300 RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶¶39, 43.
 301 Id., ¶46.
 302 MINUJUSTH, supra note 5, ¶19.
 303 RNDDH, Massacre au Bel-Air, supra note 13, ¶20.
 304 BINUH, supra note 1, ¶9.
 305 Id,. ¶10.
 306 Id., ¶¶9-11.
 307 Id., ¶¶12-14.
 308 RNDDH, Attacks on Deprived Neighborhoods, supra note 5, ¶¶41-42.
 309 Id., ¶¶43-44.
 310 Id., ¶46.
 311 RNDDH, ;LYYVYPU*P[t:VSLPS, supra note 5, ¶59.
 312 Id., ¶52.
 313 Id., ¶¶54-57, 64.
 314 Rome Statute, supra note 32, art. 7(2). The ICTY has held that there is no separate policy requirement under customary
     international law, but that it is a relevant factor to assessing the systematic nature of an attack. Kunarac, supra note 247,
     ¶20; see also Marjolein Cupido, ;OL7VSPJ`<UKLYS`PUN*YPTLZ(NHPUZ[/\THUP[`, 22 Crim. L. Forum 275, 283 (2011).
     While the analysis in this report applies the higher threshold of the Rome Statute, this element would not need to be
     LZ[HISPZOLKPM[OLJ\Z[VTHY`PU[LYUH[PVUHSSH^KLÄUP[PVUVMJYPTLZHNHPUZ[O\THUP[`^LYLHWWSPLKSee, e.g, Kunarac, supra
     note 247, ¶98.


                                                                                                                  Haiti AR_001634
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 331 of 382
                                                                                                                      Endnotes | 47




 315 Situation in Kenya, supra note 263, ¶84; see also Prosecutor v. Katanga, ICC-01/04-01/07-3436-tENG, Judgment, ¶1108
     (Mar. 7, 2014); Open Society Justice Initiatives (OSJI), Undeniable Atrocities: Confronting Crimes Against Humanity in
     Mexico 50 (2016) [hereinafter OSJI].
 316 ICC, Elements of Crimes, supra note 224, at 5; see also Gbagbo, supra note 268, ¶214.
 317 Katanga, supra note 315, ¶1110.
 318 7YVZLJ\[VY]9\[V0** +LJPZPVUVU[OL*VUÄYTH[PVUVM*OHYNLZ1HU
 319 See Cupido, supra UV[LH[HUHS`aPUN0**[YLH[TLU[VM[OLWVSPJ`LSLTLU[HUKÄUKPUN[OH[ZPTPSHYL]PKLUJLPZ
     used under the policy and systematic elements).
 320 Katanga, supra note 315, ¶1112 (“Indeed it should be recalled that it is not so much the policy as it is the widespread or
     systematic nature of the attack – vizHJVUZPKLYH[PVUVM[OLZJHSLHUKYLN\SHYUH[\YLVM[OLWH[[LYUMVSSV^LK·^OPJOÄYZ[
     and foremost distinguishes a crime against humanity and constitutes its ‘hallmark’”… if an attack is ‘systematic’ because
     the existence of a policy had been demonstrated, that would be in “contradiction with the Statute’s disjunctive wording.”).
 321 Id., ¶1113.
 322 Id., ¶1109.
 323 Situation in Kenya, supra note 263, ¶119 (citing preparatory meetings during which perpetrators were “given instructions,
     Z\WWSPLK^P[O^LHWVUZHUKKPZ[YPI\[LKTVUL`¹HZYLSL]HU[[VÄUKPUNHWVSPJ`
 324 Cupido, supra note 314, at 295 (citing Situation in Kenya, supra note 263, ¶127); see also Gbagbo, supra note 268,
     ¶¶219-20 (holding that the actions of “pro-Gbagbo forces,” which included “youth militia and mercenaries” acting under
     the leadership of Gbagbo, could be attributed to either a “State” or an “organizational” policy for purposes of Article 7(2)
     of the Statute); see also Aleaziz, supra note 89 (U.S. Department of Homeland Security acknowledging that the Haitian
     government is using gangs to “repress the opposition.”); OSJI, supra note 315, at 50.
 325 Prosecutor v. Ruto, supra note 318, ¶210.
 326 Katanga, supra note 315, ¶1109; see also Situation in Kenya, supra note 263, ¶79.
 327 RNDDH, Attacks on Deprived Neighborhoods, supra note 4, ¶64.
 328 See Situation in Kenya, supra note 263, ¶117 (noting participation of members of the police as indicative that violence
     was “not a mere accumulation of spontaneous or isolated acts”).
 329 Donnelly & Mirkinson, supra note 103, at 5; RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶40.
 330 BINUH, supra note 1, ¶19.
 331 RNDDH, Attacks on Deprived Neighborhoods, supra note 4, ¶52.
 332 MINUJUSTH, supra note 5, ¶¶23, 48 [Translated from French] (“The lack of intervention by the PNH during the attack,
     which lasted for several hours, may have allowed the attackers to act with impunity and contributed to the very high
     number of victims.”).
 333 BINUH, supra note 1, ¶20.
 334 RNDDH, Terror in Cité Soleil, supra note 5, ¶58.
 335 Situation in Kenya, supra note 263, ¶90.
 336 Id.,  Z[YLZZPUN[OH[[OLZLMHJ[VYZKVUV[JVUZ[P[\[LHZ[YPJ[SLNHSKLÄUP[PVUHUKKVUV[ULLK[VILL_OH\Z[P]LS`M\SÄSSLK
 337 Katanga, supra note 315, ¶1120.
 338 See e.g., Muthaura, supra UV[L  ÄUKPUN[OH[[OL4\UNPRPNHUNJVUZ[P[\[LZHUVYNHUPaH[PVU\UKLY[OL
     Rome Statute, pointing to factors such as the existence of leadership and the gang’s role as a quasi-public authority in
     JLY[HPUZS\TZ;OL7YL[YPHS*OHTILYL_WYLZZS`YLQLJ[LKHUHYN\TLU[[OH[ZOPM[PUNWVSP[PJHSHɉSPH[PVUZVM[OLNHUNZ\NNLZ[Z
     that it was not an ‘organization’); see also OSJI, supraUV[LH[ ÄUKPUN[OH[[OL4L_PJHUAL[HZJHY[LSTLL[Z[OL
     KLÄUP[PVUVMHUVYNHUPaH[PVU
 339 .HUNZHSZVMVYTZ[Y\J[\YLKHUKOPLYHYJOPJHSHSSPHUJL0U[OL)LS(PYH[[HJRMVYL_HTWSL[OL<5VIZLY]LK[OH[KPɈLYLU[
     gang leaders pledged allegiance to Cherizier and operated under his authority. BINUH, supra note 1, ¶8.
 340 See Section I, infra, at 9-10; see also OSJI, supra note 315, at 92 (pointing to this as indicative of a policy to attack
     civilians).
 341 Arnesen & Faiola, supra note 93.
 342 See IJDH, Human Rights & Rule of Law in Haiti, supra note 34, fn.95 (noting a disproportionate UN focus on gang
     violence while ignoring the role of state actor complicity in violence).
 343 See text box in Section II.
 344 Secretary-General June 2020 Report, supra note 4, ¶56.
 345 See e.g., Prosecutor v. Blaškic, Case No. IT-95-14-T, Judgment, ¶789, (Int’l Crim. Trib. For the Former Yugoslavia Mar. 3,
     2000)(“... [w]hen a commander fails in his duty to prevent the crime or to punish the perpetrator thereof he should receive
     a heavier sentence than the subordinates who committed the crime insofar as the failing conveys some intolerance or
     even approval on the part of the commander towards the commission of crimes by his subordinates and thus contributes
     to encouraging the commission of new crimes. It would not be in fact consistent to punish a simple perpetrator with a
     sentence equal or greater to that of the commander.”)
 346 See, e.g., Secretary-General Feb. 2021 Report, supra note 23, ¶33 (discussing attacks in the context of gang violence
     and mentioning the state’s failure to protect but omitting any reference to state actors in the commission of the crimes);
     Secretary-General Sept. 2020 Report, supra note 17 (discussing the rise in G-9 and Cherizier’s role in massacres without
     acknowledging documentation of state actor involvement); see also IJDH, Human Rights and Rule of Law in Haiti, supra
     note 34, fn. 95 (“Though BINUH reports and Security Council comments extensively discuss gang violence, Jimmy
     Chérizier, and the G-9, the UN and Security Council Members systematically ignore well-documented evidence from civil
     society regarding state actor complicity in that violence and requests for investigation and accountability.”).
 347 Rome Statute, supra note 32, art. 7(1).
 348 BINUH, supra UV[LUV[PUN[OH[*OtYPaPLY^HZHWVSPJLVɉJLY\U[PS+LJHUK^HZMV\UK[VILPTWSPJH[LKHZ
     a perpetrator of the La Saline massacre by police and judicial investigations); see also Dánica Coto, 3LHKLYVY2PSSLY&(
     day with ‘Barbecue in Haiti’s capital, Associated Press, June 7, 2019, https://apnews.com/article/
     ebc2cee089f149309bd73afa07816a63 (Chérizier has been personally implicated in carrying out at least two of the
     murders in La Saline); BINUH, supra note 1, ¶¶9-15 (identifying Chérizier as a lead perpetrator in the Bel-Air attack);
     RNDDH, Attacks on Deprived Neighborhoods, supra note 4, ¶43 (Chérizier personally lead the May 24 attack on Nan
     Tokyo and May 26-27 attack on Nan Brooklyn); RNDDH, ;LYYVYPU*P[é Soleil, supra note 5, ¶67 (documenting that
     Chérizier personally captured 17-year old Waldo Jean in Cité Soleil on June 3, 2020, who has since been missing).


                                                                                                                     Haiti AR_001635
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 332 of 382
 48 | Killing with Impunity: State-Sanctioned Massacres in Haiti




 349 MINUJUSTH, supra UV[L>P[ULZZLZPKLU[PÄLK.YLNVY`(U[VPULHUHKTPUPZ[YH[P]LWVSPJLHNLU[KYLZZLKPUJP]PSPHU
     clothes at the center of the attack, and Gustave alias Chupit, a PNH agent with the CIMO agency, among members of the
     Chabon gang); RNDDH, ;OL,]LU[ZPU3H:HSPUL, supra note 5, ¶56 (“Gregory Antoine alias Ti Greg presented by all
     interviewees as the Chief of Base Pilate is accused of having actively participated with his troop, alongside the Base Nan
     Chabon in the killings of November 13, 2018.”). Note that some sources maintain that Gregory Antoine has since died.
     Weissenstein supra UV[LUV[PUN[OH[MHTPS`YLWVY[ZOL^HZRPSSLKPUHNHUNÄNO[PU1HU\HY` "405<1<:;/supra
     note 5, ¶37 (noting that he is “allegedly dead.”).
 350 BINUH, supra UV[L T\S[PWSLL`L^P[ULZZLZPKLU[PÄLK[OYLLWVSPJLVɉJLYZ^P[O[PLZ[V*OLYPaPLY»Z+LSTHZNHUNHZ
     armed and active participants throughout the three-day attack); RNDDH, Massacre au Bel-Air, supra note 13, ¶28 (police
     VɉJLYZ[VVRWHY[PU[OLH[[HJRVU5V]PUJS\KPUNZL[[PUNHOV\ZL^OLYLJP]PSPHUZ^LYLOPKPUNVUÄYLRPSSPUNWLVWSL
 351 BINUH, supra note 1, ¶19 [OLVɉJLYZILSVUNLKto the Petite-Rivière precinct in the Artibonite Department, the Pignon
     precinct in the North Department, and the ’Unité de sécurité générale du Palais National (USGPN)).
 352 RNDDH, ;LYYVYPU*P[L:VSLPSZ\WYHnote 5, ¶58.
 353 Rome Statute, supra note 32, art. 7(1).
 354 Id., art. 25(3)(c); see generally Oona Hathaway et al., Aiding and Abetting in International Criminal Law, 104:6 Cornell L.
     Rev. 1593 (2019) (analyzing the state of international criminal law on aiding and abetting).
 355 )LTIH*HZL5V0**;YPHS1\KNTLU[7\YZ\HU[[V(Y[PJSLVM[OL:[H[\[L 6J[ )SHúRPǅ
     Appeals Chamber Judgment, supra note 293, ¶46.
 356 Bemba, supra note 355, ¶¶88-89.
 357 Id.  OVSKPUN[OH[[OL9VTL:[H[\[LKVLZUV[YLX\PYL[OLTLL[PUNVMHU`ZWLJPÄJVYTPUPT\T[OYLZOVSK" but see
     Hathaway et al., supra note 354H[UV[PUN[OH[[OLHKOVJ[YPI\UHSZHUKO`IYPK[YPI\UHSZHWWS`H¸Z\IZ[HU[PHSLɈLJ[¹
     standard). ,]LU\UKLY[OPZZ[HUKHYKHJX\P[[HSZVU[OLIHZPZ[OH[[OL¸Z\IZ[HU[PHSLɈLJ[¹YLX\PYLTLU[^HZUV[TL[HYLYHYL
     however. Id.H[ÄUKPUNVUS`[^VPUZ[HUJLZVMZ\JOHIHZPZMVYHJX\P[[HS
 358 Rome Statute, supra note 32, art.25(3)(c); Bemba, supra note 355, ¶97; Prosecutor v. Mbarushimana, Case No. ICC-
     +LJPZPVUVU[OL*VUÄYTH[PVUVM[OL*OHYNLZ"but see Hathaway et al., supra note 354, at 1607
     ÄUKPUN[OH[[OLHKOVJHUKO`IYPK[YPI\UHSZVUS`YLX\PYLRUV^SLKNL[OH[[OLPYHJ[^PSSHZZPZ[[OLJVTTPZZPVUVM[OL
     underlying crime).
 359 See Bemba, supra note 355, ¶89 (“Under certain circumstances, even the act of being present at the crime scene (or in its
     vicinity) as a ‘silent spectator’ can be construed as tacit approval or encouragement of the crime.”); see also Prosecutor v.
     (SLRZV]ZRP*HZL5V0; ;1\KNTLU[0U[»S*YPT;YPI-VY[OL-VYTLY@\NVZSH]PH1\UL          ÄUKPUNH
     prison warden liable for aiding and abetting abuse due to his presence during the mistreatment of detainees, failure to
     object to it, and his necessary awareness that this would act as tacit approval, support and encouragement).
 360 See e.g., Prosecutor v. Semanza, *HZL5V0*;9 ;1\KNTLU[4HYÄUKPUNHUPUKP]PK\HSSPHISLMVY
     aiding and abetting genocide by bringing equipment to the site where a large-scale massacre of Tutsi refugees was
     occurring, thus providing substantial assistance to the genocidal enterprise).
 361 See Prosecutor v. MrkšPǅ*HZL5V0; (1\KNTLU[ Int’l Crim. Trib. For Former Yugoslavia May 5, 2009)
     (“The actus reusVMHPKPUNHUKHIL[[PUNI`VTPZZPVU^PSS[O\ZILM\SÄSSLK^OLUP[PZLZ[HISPZOLK[OH[[OLMHPS\YL[VKPZJOHYNL
     HSLNHSK\[`HZZPZ[LKLUJV\YHNLKVYSLU[TVYHSZ\WWVY[[V[OLWLYWL[YH[PVUVM[OLJYPTLHUKOHKHZ\IZ[HU[PHSLɈLJ[VU
     the realisation of that crime.”).
 362 MINUJUSTH, supra note 5, ¶21 (discussing police involvement in La Saline); RNDDH, ;OL,]LU[ZPU3H:HSPUL, supra note
     5, ¶56; BINUH, supra note 1, ¶19 (discussing police participation throughout the three-day attack on Bel-Air); RNDDH,
     Massacre au Bel-Air, supra UV[LWVSPJLVɉJLYZ[VVRWHY[PU[OLH[[HJRVU5V]
 363 See e.g., Semanza, supra note 360, ¶386 (“The authority of an individual is frequently a strong indication that the principal
     perpetrators will perceive his presence as an act of encouragement.”); Aleksovski, supra note 359, ¶¶62-64 (while the
     mere presence of an individual in authority is not in itself enough to establish encouragement, “it can hardly be doubted
     that the presence of an individual with authority will frequently be perceived by the perpetrators of the criminal act as a
     ZPNUVMLUJV\YHNLTLU[SPRLS`[VOH]LHZPNUPÄJHU[VYL]LUKLJPZP]LLɈLJ[VUWYVTV[PUNP[ZJVTTPZZPVU¹7YL]PV\ZHJ[P]L
     role in similar acts by the same group also strengthens the liability for aiding and abetting by presence. Prosecutor v.
     ;HKPǅ*HZL5V0; ;6WPUPVUHUK1\KNTLU[ 0U[»S*YPT;YPI-VY-VYTLY@\NVZSH]PH4H` ^OLUHU
     accused is present and participates in the beating of one person and remains with the group when it moves on to beat
     HUV[OLYWLYZVUOPZWYLZLUJL^V\SKOH]LHULUJV\YHNPUNLɈLJ[
 364 RNDDH, Attacks on Deprived Neighborhoods, supra note 4, ¶46.
 365 RNDDH, ;LYYVYPU*P[L:VSLPSZ\WYHnote 5, ¶58.
 366 RNDDH, Attacks on Deprived Neighborhoods, supra note 4, ¶¶88-93.
 367 Id.
 368 MINUJUSTH, supra note 5, ¶¶12-15; RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶¶38-40; Weissenstein, supra note 147.
 369 RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5, ¶¶54-55 (residents interviewed report that Monchéry and Duplan provided
     weapons, government vehicles and uniforms); Press Release, Treasury Sanctions Serious Human Rights Abusers on
     International Human Rights Day, supra note 126 (“Monchéry supplied weapons and state vehicles to members of armed
     NHUNZ^OVWLYWL[YH[LK[OLH[[HJR¯+\WSHUWYV]PKLKÄYLHYTZHUK/57\UPMVYTZ[VHYTLKNHUNTLTILYZ^OVWHY[PJPWH[LK
     in the killings.”); but see Weissenstein, supra note 147 (“Armed gangs have bought or stolen untold amounts of Haitian
     WVSPJLNLHYPUYLJLU[`LHYZZV[OLKLNYLLVMVɉJPHSPU]VS]LTLU[PU[OL3H:HSPULTHZZHJYLYLTHPUZ\UJSLHY¹
 370 RNDDH, Attacks on Deprived Neighborhoods, supra note 4, ¶52 (eyewitnesses report that Chérizier was transported to
     Cite Soleil in an armored PNH vehicle and that he requested photos and videos to be taken of his arrival).
 371 RNDDH, ;LYYVYPU*P[t:VSLPSZ\WYHnote 5, ¶58.
 372 7VSPJLVɉJLYZPU[LY]PL^LKHZHWHY[VM95++/»ZPU]LZ[PNH[PVUPU[V[OL4H`H[[HJRVU*P[t:VSLPSILSPL]L[OL`HYLILPUN
     intentionally furnished to support gang violence. RNDDH, Attacks on Deprived Neighborhoods, supra note 4, ¶71 (noting
     with concern that “authorities in power” are providing “the continued supply of weapons and ammunition to armed
     NHUNZ¹H[[OLL_WLUZLVMYLZV\YJPUNVɉJPHS75/VWLYH[PVUZ
 373 MINUJUSTH, supra note 5, at 17 (“The lack of intervention by the PNH during the attack, which lasted for several hours,
     may have allowed the attackers to act with impunity and contributed to the very high number of victims.”)(Translated from
     French).
 374 RNDDH, ;LYYVYPU*P[t:VSLPSZ\WYHnote 5, ¶58.


                                                                                                                  Haiti AR_001636
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 333 of 382
                                                                                                                       Endnotes | 49




 375 4YRúPǅsupra note 361, ¶49 (aiding and abetting by omission implicitly requires that the accused had the ability to act,
     Z\JO[OH[[OLYL^LYLTLHUZH]HPSHISL[V[OLHJJ\ZLK[VM\SÄSOPZK\[`
 376 See MINUJUSTH, supra UV[L75/JVUÄYTLKOH]PUNUV[PJLVM[OLH[[HJRVU3H:HSPULI\[THPU[HPULK[OH[P[JV\SK
     nto intervene due to limited available resources); BINUH, supra note 1, ¶21 (in response to questioning about inaction in
     Bel-Air, PNH cited the presence of barricades, and the lack of vehicles, communication equipment, and personal protective
     equipment); RNDDH, ;LYYVYPU*P[t:VSLPS, supra note 5, ¶¶72-81 (reporting on interviews with various police units citing
     the need for reinforcements and a response as a part of a comprehensive plan developed by senior leadership of PNH).
 377 RNDDH, ;OLL]LU[ZPU3H:HSPULZ\WYHnote 5, ¶¶54-55; Press Release, Treasury Sanctions Serious Human Rights
     Abusers on International Human Rights Day, supra note 126 (“Monchéry supplied weapons and state vehicles to
     TLTILYZVMHYTLKNHUNZ^OVWLYWL[YH[LK[OLH[[HJR¯+\WSHUWYV]PKLKÄYLHYTZHUK/57\UPMVYTZ[VHYTLKNHUN
     members who participated in the killings.”).
 378 MINUJUSTH, supra note 5, ¶21. Presence itself can amount to abetting under certain circumstances, especially where
     the individual is in a position of authority. See Bemba, supra note 355, ¶89 (“Under certain circumstances, even the act of
     being present at the crime scene (or in its vicinity) as a ‘silent spectator’ can be construed as tacit approval or encouragement
     of the crime.”); Semanza, supra note 360,¶386 (the presence of an individual in position of authority is a strong indication
     that it will serve as an act of encouragement.)
 379 RNDDH, Massacre au Bel-Air, supra note 13, ¶¶20, 41-43.
 380 Id., ¶42 (noting that Saint-Cyr categorically denied the allegations to RNDDH, insisting that he learned of the attack on the
     radio).
 381 Rome Statute art. 25(3)(b).
 382 7YSPǅ, supra note 283, ¶231.
 383 Id.; Ndindiliyimana, supra note 293, ¶1911.
 384 7YSPǅ, supra note 283, ¶231; 2HYHKüPǅ, supra note 246, ¶573.
 385 2HYHKüPǅ, supra note 246, ¶573.
 386 Prosecutor v. Sešelj, Case No. IT-03-67-T, Judgment, ¶295 (Int’l Crim. Trib. for the Former Yugoslavia Mar. 31, 2016) (“The
     WO`ZPJHSLSLTLU[VMPUZ[PNH[PVUPU]VS]LZWYVTW[PUNHUV[OLYWLYZVU[VJVTTP[HUVɈLUZL¹"ZLLHSZV7YSPǅ, supra note 284,
     ¶229(“… the very notion of instigation requires a positive act on the part of the instigator. The verb “to instigate” – to urge
     on or to incite a person to do something – implicitly suggests a positive action.”).
 387 Prosecutor v. Nahimana, Case No. ICTR-99-52-A, Judgment, ¶480 (Nov. 28, 2007).
 388 2HYHKüPǅ, supra note 246, ¶572; Ndindiliyimana, supra note 293, ¶1913.
 389 Charles, Dozens Brutally Killed, Raped in Haiti Massacre, supra note 10.
 390 RNDDH, ;OL,]LU[ZPU3H:HSPULZ\WYHnote 5; MINUJUSTH, supra note 5.
 391 RNDDH, ;OL,]LU[ZPU3H:HSPUL, supra note 5, ¶¶53-55; see also Press Release, Treasury Sanctions Serious Human
     Rights Abusers on International Human Rights Day, supra note 126 (“Monchéry supplied weapons and state vehicles to
     TLTILYZVMHYTLKNHUNZ^OVWLYWL[YH[LK[OLH[[HJR¯+\WSHUWYV]PKLKÄYLHYTZHUK/57\UPMVYTZ[VHYTLKNHUN
     members who participated in the killings.”).
 392 MINUJUSTH, supra note 5, ¶22 (reporting that Duplan was overheard stating « Nou touye twop moun, se pa misyon sa yo
     te bay nou » (Vous avez tué trop de personnes, ce n’était pas ça votre mission)).
 393 BINUH, supra note 1, ¶17; RNDDH, Massacre au Bel-Air, supra note 13, ¶41.
 394 Leon Saint-Cyr denies that he requested Chérizier’s help in removing the protesters’ barricades. See RNDDH, Massacre
     au Bel-Air, supra note 14, ¶42.
 395 7YVZLJ\[VY];HKPǅ*HZL5V0; (1\KNTLU[0U[»S*YPT;YPIMVY[OL-VYTLY@\NVZSH]PH1\S`            
     [hereinafter ;HKPǅ, Appeals Judgment].
 396 Id."7YVZLJ\[VY])YȒHUPU*HZL5V0; ;1\KNTLU[0U[»S*YPT;YPIMVY[OL-VYTLY@\NVZSH]PH:LW[
 397 ;HKPǅ, Appeals Judgment, supra UV[L "7YVZLJ\[VY]:[HRPǅ*HZL5V0; (1\KNTLU[0U[»S*YPT
     Trib. for the Former Yugoslavia Mar. 22, 2006).
 398 7YVZLJ\[VY])YȒHUPU*HZL5V0; (1\KNTLU[ 0U[»S*YPT;YPIMVY[OL-VYTLY@\NVZSH]PH(WY
 399 ;HKPǅ, Appeals Judgment, supra note 395, ¶228.
 400 RNDDH, ;OL,]LU[ZPU3H:HSPUL, supra note 5, ¶58.
 401 Id., ¶¶54-55.
 402 MINUJUSTH, supra note 5, ¶22; see also Press Release, Treasury Sanctions Serious Human Rights Abusers on
     International Human Rights Day, supra note 126 (“Monchéry supplied weapons and state vehicles to members of armed
     NHUNZ^OVWLYWL[YH[LK[OLH[[HJR¯+\WSHUWYV]PKLKÄYLHYTZHUK/57\UPMVYTZ[VHYTLKNHUNTLTILYZ^OV
     participated in the killings.”).
 403 Prosecutor v Delalic, Case No. IT-96-21-T, Judgment, ¶333 (Int’l Crim. Trib. for the Former Yugoslavia Nov. 16, 1998).
 404 Id.
 405 (Z\WLYPVYZ\IVYKPUH[LYLSH[PVUZOPWL_PZ[ZP^OLU[OLZ\IVYKPUH[L^OVJVTTP[[LK[OLJYPTLPZZ\IQLJ[[V[OLLɈLJ[P]L
     control of the accused, that is to say, (ii) when the accused has the material ability to prevent the crime or punish the
     criminally responsible subordinate.” 7YSPǅ, supra note 283, ¶238.
 406 Id., ¶246 (“For this purpose, the Prosecution must prove: (1) that the superior actually knew, taking into consideration the
     direct or circumstantial evidence at his disposal, that his subordinates (i) were committing, preparing to commit, or had
     committed the crimes referred to in Articles 2 through 5 of the Statute; or (2) that the superior possessed information of a
     sort that would at least alert him to such risks insofar as they might indicate additional inquiries were needed (ii) to ascertain
     whether such crimes had been committed or were about to be. The assessment of the mental element required under
     Article 7(3) of the Statute must be conducted according to the circumstances of the case by taking into account the
     ZWLJPÄJZP[\H[PVUVM[OLZ\WLYPVYJVUJLYULKH[[OL[PTLPUX\LZ[PVU¹
 407 2HYHKüPǅ, supra note 246, ¶587 (“For the accused to be held responsible under Article 7(3), it must be established that he
     failed to take the necessary and reasonable measures to prevent or punish the commission of the crimes charged.”); see
     also U.N. Secretary-General, Report of the Secretary-General pursuant to paragraph 5 of Security Council resolution 955
     (1994), U.N. Doc. S/1995/134, ¶56 (Feb. 13, 1995) (“a person in a position of superior authority should, therefore, be held
     individually responsible for giving the unlawful order to commit a crime under the present statute. But he should also be
     held responsible for failure to prevent a crime or to deter the unlawful behaviour of his subordinates. This imputed responsibility
     or criminal negligence is engaged if the person in superior authority knew, or had reason to know, that his subordinates


                                                                                                                      Haiti AR_001637
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 334 of 382
 50 | Killing with Impunity: State-Sanctioned Massacres in Haiti




     were about to commit or had committed crimes and yet failed to take the necessary and reasonable steps to prevent or
     repress the commission of such crimes or to punish those who had committed them.”)
 408 7YVZLJ\[VY]4VTȏPSV7LYPúPǅ*HZL5V0;(1\KNLTLU[0U[»S*YPT;YPIMVY[OL-VYTLY@\NVZSH]PH-LI
 409 Id.
 410 Delalic, supra note 403, ¶375.
 411 See Mamani v. Sánchez de Lozada, No. 18-12728, at 49-50 (11th*PY(\NJVUÄYTPUN[OL]PHIPSP[`VMHQ\Y`]LYKPJ[
     ÄUKPUNMVYTLY)VSP]PHUWYLZPKLU[HUKTPUPZ[LYVMKLMLUZLSPHISL\UKLY[OLJVTTHUKYLZWVUZPIPSP[`KVJ[YPUL"Yousuf v.
     Samantar, 2012 WL 3730617, at *11–12 (E.D. Va. Aug. 28, 2012) (First Vice President and Minister of Defense liable as
     persons “with higher authority”); Ford ex rel. Est. of Ford v. Garcia, 289 F.3d 1283, 1288-94 (11th Cir. 2002) (accepting that
     defendants, former Salvadoran Ministers of Defense, could have been held liable under the doctrine of command
     responsibility); see also OSJI, ;OL;YPHSVM*OHYSLZ;H`SVYILMVYL[OL:WLJPHSCourt for Sierra Leone: the Appeal Judgment
     :LW[UV[PUN[OH[MVYTLY7YLZPKLU[;H`SVY^HZPUKPJ[LKVUÄ]LJV\U[ZVMJYPTLZHNHPUZ[O\THUP[`IHZLKPUWHY[VU
     SPHIPSP[`\UKLYJVTTHUKYLZWVUZPIPSP[`[OV\NO[OLJV\Y[\S[PTH[LS`KPZHNYLLK[OH[Z\ɉJPLU[L]PKLUJLL_PZ[LK[VJVU]PJ[
     him on this theory of liability).
 412 2HYHKüPǅ, supra note 246, ¶580 (“In assessing whether there is a superior-subordinate relationship it does not matter
     ^OL[OLY[OLHJJ\ZLK^HZHJP]PSPHUVYTPSP[HY`Z\WLYPVY(UL]HS\H[PVUVMLɈLJ[P]LJVU[YVSPZTVYLHX\LZ[PVUVMMHJ[[OHU
     of law and requires consideration of factors that show “that the accused had the power to prevent, punish, or initiate
     measures leading to proceedings against the alleged perpetrators where appropriate.”); see also 7YSPǅ, supra note 284,
     ¸;OLZ\WLYPVYZ\IVYKPUH[LYLSH[PVUZOPWTHUPMLZ[ZP[ZLSMPU[OLL_LYJPZLVMLɈLJ[P]LJVU[YVSV]LYZ\IVYKPUH[LZ;OH[
     JVU[YVSOHZILLUKLÄULKHZ¸[OLTH[LYPHSHIPSP[`[VWYL]LU[VYW\UPZOJYPTPUHSJVUK\J[¹HUKWLY[HPUZ[VL]LY`Z\WLYPVY
     whether a military chief or any civilian person vested with authority within a hierarchy, even a leader of a paramilitary
     group.”).
 413 Charles, Dozens Brutally Killed, Raped in Haiti Massacre, supra note 11.
 414 Haiti Const., supra note 35, art. 85-86.
 415 See id. art. 85; New Wave of Appointments, Haiti Libre (Mar. 31, 2017), https://www.haitilibre.com/en/news-20517-haiti-
     ÅHZOUL^^H]LVMHWWVPU[TLU[ZO[TS; BAI & IJDH, Petition for Precautionary Measures, supra note 111, ¶28.
 416 See Ministère de l’Intérieur et des Collectivités Territoriales, Direction Générale, http://www.mict.gouv.ht/direction-
     generale/ (describing the role of the directorate general).
 417 See 9VILUZVU.LɈYHYKJovenel Moïse commence à prendre le contrôle de l’administration publique, Le Nouvelliste (Mar.
     27, 2017) (reporting on the appointment of Fednel Monchéry by presidential decree).
 418 Donnelly & Mirkinson, supra note 103, at 4; RNDDH, ;OL,]LU[ZVM3H:HSPULZ\WYHnote 5, ¶¶25-29.                                  ¶
 419 Donnelly & Mirkinson, supra note 103, at 5; see also Le Point (Tele Metropole broadcast Dec. 4, 2018),
     O[[WZ!^^^`V\[\ILJVT^H[JO&]$_@1R-NN?Z0U[LY]PL^^P[O4HY[PUL4V{ZLKLU`PUNYLWVY[Z[OH[ZOL^HZPU3H:HSPUL
     in the days preceding the massacre).
 420 IJDH, Haiti at a Crossroads, supra note 1, at 8; Andrésol dénonce les visites de Jovenel Moïse dans les commissariats et
     les distributions d’argent, Rezo Nodwes (Oct. 14, 2018), https://rezonodwes.com/2018/10/14/andresol-denonce-les-
     visites-de-jovenel-moise-dans-les-commissariats-et-les-distributions-dargent/.
 421 Rezo Nodwes, supra note 420.
 422 Charles, ;OV\ZHUKZ7YV[LZ[*VYY\W[PVUPU/HP[PHZ7YLZPKLU[*HSSZMVY<UP[`HUK7H[PLUJL, supra note 69.
 423 MINUJUSTH, supra note 5, ¶18.
 424 BAI & IJDH, Precautionary Measures Request, supra note 111, ¶18.
 425 RNDDH, ;OL,]LU[ZPU3H:HSPUL, supra note 5, ¶53.
 426 Charles, Dozens Brutally Killed, Raped in Haiti Massacre, supra note 10.
 427 Fednel Monchéry et Joseph Pierre Richard Duplan révoqués, Le Nouvelliste (Sep. 9, 2019); see also Danticat, supra note 25.
 428 Legal experts have contested the viability of such a defense, noting that Duplan and Monchery’s positions did not fall
     ^P[OPU[OLKLÄUP[PVUVM[OLHY[PJSLHUK[OH[ZPUJLSLH]PUN[OLPYWVZP[PVUZ[OLWYV]PZPVUUVSVUNLYHWWSPLZSee e.g., BAI &
     IJDH, Petition for Precautionary Measures, supra note 111, ¶29; Caleb Lefèvre, Fednel Monchery et Joseph Pierre
     Richard Duplan sont susceptibles d’être arrêtés, Le Nouvelliste (Oct. 1, 2019).
 429 Press Release, Security Council, Haiti’s Stability in Peril without Strong Response to COVID-19, Legal Experts Tell
     Security Council, U.N. Press Release SC/14218 (June 19, 2020 (noting that “accountability is a challenge, seen in the lack
     of progress in investigating and prosecuting the Lilavois, Grand Ravine, La Saline and Bel-Air cases, involving abuses by
     NHUNTLTILYZSH^LUMVYJLTLU[HNLU[ZHUKWVSP[PJHSVɉJPHSZ¹":LJYL[HY`.LULYHS:LW[9LWVY[supra note 17,
     ¶31 (highlighting the “lack of accountability for past abuses, including emblematic cases like Grand Ravine (2017), La
     Saline (2018) and Bel-Air (2019).”).
 430 MINUJUSTH, supra note 5, ¶33.
 431 BAI & IJDH, Written Submission for the Dec. 10, 2020 Thematic Hearing, supra note 26.
 432 MINUJUSTH, supra note 5, ¶33 (those arrested so far are all presumed gang members).
 433 RNDDH, Attacks on Deprived Neighborhoods, supra note 4, ¶¶99, 100.
 434 Coto, supra note 348; Arnesen, supra note 93.
 435 Fednel Monchery Libéré, Gazette Haiti (Feb. 13, 2021), https://www.gazettehaiti.com/node/2622.
 436 Secretary-General Sept. 2020 Report, supra note 17, ¶56
 437 Jake Johnston, Haitian Government on the Defensive Following UN Welcoming of Corruption Investigation, Ctr. Econ. &
     Pol. Research (Mar. 7, 2018), https://cepr.net/haitian-government-on-the-defensive-following-un-welcoming-of-
     corruption-investigation/.
 438 Id.
 439 Press Release, Embassy of the Republic of Haiti, Allegations of Human Rights Violations by Congress of the United
     States (Mar. 28, 2019), https://www.haiti.org/allegations-of-human-rights-violations-by-congress-of-the-united-states/
     (responding to a letter from a bipartisan group of 104 U.S. House of Representatives members calling on U.S. Secretary
     of State Mike Pompeo to support thorough and independent investigations into the extrajudicial killings that have taken
     place during the current crisis in Haiti, including the massacre at La Saline. See Letter from Members of Congress to Mike
     Pompeo, Sec’y of State, U.S. Dept. of State (Mar. 20, 2019), http://www.ijdh.org/wp-content/uploads/2019/03/LevinLee-
     Haiti-ltr-03-2019-1.pdf; Jacqueline Charles & Harold Isaac, U.S. Congresswoman Maxine Waters, Actor Danny Glover
     Make Impromptu Visit to Haiti, Miami Herald (Apr. 24, 2019).


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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 335 of 382
                                                                                                                    Endnotes | 51




 440 Press Release, Treasury Sanctions Serious Human Rights Abusers on International Human Rights Day, supra note 126.
 441 Arellano, supra note 36, ¶110.
 442 U.N.G.A. 6th Comm., supra note 39; Human Rights Watch, supra note 39.
 443 Id., ¶152.
 444 IACHR, Statement on the Duty of the Haitian State to Investigate the Gross Violations of Human Rights Committed during
     the Regime of Jean-Claude Duvalier (May 17, 2011), http://www.oas.org/en/iachr/docs/other/Haiti2011.asp; MINUJUSTH,
     supra note 5, ¶42.
 445 Arellano, supra note 36, ¶¶152, 110 (stating that crimes against humanity are “intolerable in the eyes of the international
     JVTT\UP[`HUKVɈLUKO\THUP[`HZH^OVSL;OLKHTHNLJH\ZLKI`[OLZLJYPTLZ¯KLTHUK[OH[[OVZLYLZWVUZPISLIL
     investigated and punished”); (“The obligation that arises pursuant to international law to try, and if, if found guilty, to
     punish the perpetrators of certain international crimes, among which are crimes against humanity, is derived from the duty
     of protection embodied in Article 1(1) of the American Convention.”).
 446 Amélie Baron, Haiti court says human rights charges can be brought against Duvalier, Reuters (Feb. 20, 2014),
     https://www.reuters.com/article/us-haiti-duvalier/haiti-court-says-human-rights-charges-can-be-brought-against-
     duvalier-idUSBREA1J2D220140220; Int’l Just. Resource Ctr., In Landmarking Ruling, Haitian Court opens investigation
     into Jean-Claude Duvalier for crimes against humanity (Feb. 25, 2014), https://ijrcenter.org/2014/02/25/in-landmark-ruling-
     haitian-court-opens-investigation-into-jean-claude-duvalier-for-crimes-against-humanity/.
 447 Trenton Daniel, Haiti court urges further probes on Duvalier trial, Associated Press (Feb. 20, 2014), https://apnews.com/
     article/045e363f6bdc485e8e18abdc056ed2b2.
 448 Justice Denied by Duvalier’s Death, Human Rights Watch (Oct. 4, 2014), https://www.hrw.org/news/2014/10/04/haiti-
     justice-denied-duvaliers-death; Human Rights Watch, World Report 2020 255 (2020).
 449 Murphy, supra note 31, ¶27.
 450 Id.
 451 Article 13(b) of the Rome Statute grants the Security Council the power, acting under Chapter VII of the UN Charter, to
     refer to the ICC situations in which crimes under the jurisdiction of the court have taken place. Rome Statute, supra note
     32, art. 13(b); see also Security Council Rpt., 0U/PUKZPNO[!;OL:LJ\YP[`*V\UJPSHUK[OL0U[LYUH[PVUHS*YPTPUHS*V\Y[ (Jul.
     31, 2008), O[[WZ!^^^ZLJ\YP[`JV\UJPSYLWVY[VYNTVU[OS`MVYLJHZ[PUFOPUKZPNO[F[OLFZLJ\YP[`FJV\UJPSFHUKF[OLF
     PU[LYUH[PVUHSFJYPTPUHSFJV\Y[WOW.
 452 For example, the Security Council established ad hoc tribunals for Yugoslavia and Rwanda. See United Nations Security
     Council, International Tribunals, https://www.un.org/securitycouncil/content/repertoire/international-tribunals. More recently,
     the General Assembly established an International, Impartial, Independent Mechanism to assist in the investigation and
     prosecution of international crimes committed in Syria. G.A. Res. 71/248 (Jan. 11, 2017).
 453 See fn. 441, supra.
 454 ?H]PLY7OPSPWWL;OLWYPUJPWSLZVM\UP]LYZHSQ\YPZKPJ[PVUHUKJVTWSLTLU[HYP[`!OV^KV[OL[^VWYPUJPWSLZPU[LYTLZO&, 88 Int’l
     Rev. of the Red Cross 375, 377 (2006).
 455 Human Rights Watch, supra note 39; see also Trial Int’l, Make Way for Justice #3, Universal Jurisdiction Annual Rev.
     2017, 67-70 (2017); Trial Int’l, Make Way for Justice #6, Universal Jurisdiction Annual Rev. (2020).
 456 Int’l Just. Resource Ctr., supra note 446; Arellano, supra note 37, ¶152.
 457 Comité Consultatif Independant, Avant-Project Constitution art. 139 (Jan. 2021), https://www.haitilibre.com/docs/CCI-
     *65:;0;<;065F7YVQL[KL*VUZ[P[\[PVUML]YPLYOWKM.
 458 Haiti Const., supra note 35, art. 276(2); see also Arellano, supra note 36, ¶¶110, 152 (stating that crimes against humanity
     HYL¸PU[VSLYHISLPU[OLL`LZVM[OLPU[LYUH[PVUHSJVTT\UP[`HUKVɈLUKO\THUP[`HZH^OVSL;OLKHTHNLJH\ZLKI`[OLZL
     crimes still prevails in the national society and the international community, both of which demand that those responsible
     be investigated and punished” and holding that “to punish the perpetrators of certain international crimes, among which
     are crimes against humanity, is derived from the duty of protection embodied in Article 1(1) of the American Convention.”).
 459 See, e.g. Regina v. Bartle and the Commissioner of Police for the Metropolis and others ex parte Pinochet, [1999] 38
     I.L.M. at 581 (H.L.) ¶581 (appeal taken from Eng.); Bouterse Case, Petition Nos. R 97/163/12 Sv & R 97/176/12 Sv, P 5.1
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     VM]LY`ZLYPV\ZVɈLUJLZHZHYLJVUJLYULKOLYLJHUUV[ILJVUZPKLYLK[VILVULVM[OLVɉJPHSK\[PLZVMHOLHKVMZ[H[L¹"
     Ould Dah v. France, 2009-I Eur. Ct. H.R., 48 I.L.M. 884, 891 (2009) (determining that ratione materiae immunity was
     inapplicable to acts of torture, which are prohibited under international law as a matter of jus cogens."(]6ɉJLVM[OL
     Attorney General of Switzerland, No. BB.2011.140, A, Bundesstrafgericht [BStR] [Federal Criminal Court] July 25, 2012
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     humanity… is mandatory in nature (jus cogens¯B0D[^V\SKILKPɉJ\S[[VHKTP[[OH[JVUK\J[JVU[YHY`[VM\UKHTLU[HS
     values of the international legal order can be protected by rules of the very same legal order. Such situation would be
     paradoxical… It follows that, in the present case, the suspect cannot claim any immunity ratione materiae.”); Questions
     Relating to Obligation to Prosecute or Extradite (Belg. v. Sen.), 2012 I.C.J. 1, P 22 (July 20) (Ordering Senegal to submit
     the case to prosecution or extradite Hissène Habré for alleged acts of torture “committed in the exercise of his functions”
     as the President of Chad.); Thomas Weatherall, Jus Cogens and Sovereign Immunity: Reconciling Divergence in Contemporary
     Jurisprudence, 46 Geo. J. Int’L. 1151 at 1188 (“One might infer from this omission [by the ICJ on Habré’s claim of immunity]
     [OH[[OLWYLJLKLU[OHKILLUZ\ɉJPLU[S`LZ[HISPZOLKI`[OH[PTT\UP[`ratione materiae does not apply to the criminal
     prosecution of jus cogens violations before domestic courts.”).
 460 Prosecutor v. Omar Hassan Ahmad Al-Bashir, Judgment in the Jordan Referral re Al-Bashir Appeal, Case No. ICC-02/05-
     01/09 OA2, ¶1 (May 6, 2019)( “[t]here is neither State practice nor opinio juris that would support the existence of Head of
     State immunity under customary international law vis-à-vis an international court.”); ZLLHSZV7YVZLJ\[VY];H`SVY, Decision
     on Immunity form Jurisdictional Immunity, Case No. SCSL-03-01-I, ¶53 (May 31, 2004) (“the principle seems now established
     that the sovereign equality of states does not prevent a Head of State from being prosecuted before an international
     criminal tribunal or court.”).
 461 Prosecutor v Omar Hassan Ahmad Al-Bashir, supra note 460 at ¶2.




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 52 | Killing with Impunity: State-Sanctioned Massacres in Haiti




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      (1) including Haiti in Chapter IV.B of its Annual Report, (2) including the crimes against humanity, the pervasive impunity,
      and lack of accountability in Haiti among the working topics for the expected new Special Rapporteurship on judicial
      independence, (3) conducting a country visit on the concerns raised herein, and issuing a focused report with
      recommendations, (4) requesting that the government of Haiti submit a written report outlining a concrete plan of action
      for addressing the concerns raised herein; and (5) providing to the government of Haiti with technical and material
      support for strengthening the independence and capacity of Haiti’s judicial system, in particular to prosecute the crimes
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      note 26.
 463 Press Release, IACHR Grants Precautionary Measures in Favor of Victims of La Saline in Haiti, Inter-Am. Comm’n for
      /\T9[Z1HU O[[WZ!^^^VHZVYNLUPHJOYTLKPHFJLU[LY79LSLHZLZHZW
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      that need to be taken. Press Release, IACHR Grants Precautionary Measures in Favor of Victims of La Saline in Haiti,
      0U[LY(T*VTT»UMVY/\T9[Z1HU O[[WZ!^^^VHZVYNLUPHJOYTLKPHFJLU[LY79LSLHZLZHZW
 465 See Inter-American Commission on Human Rights, About Precautionary Measures, available at https://www.oas.org/en/
      0(*/9QZ-VYT&-PSL$LUPHJOYKLJPZPVUZHIV\[WYLJH\[PVUHY`HZW
 466 Article 63(2)of the American Convention and Article 27 of the Court’s Rules of Procedure (2009).
 467 See Joint Statement from U.S. Human Rights Clinics on the Constitutional and Human Rights Crisis in Haiti (Feb. 13,
      2021), O[[WZ!SH^`HSLLK\ZP[LZKLMH\S[ÄSLZHYLHJSPUPJKVJ\TLU[ÄUHSFO\THUFYPNO[ZFJSPUPJZFZ[H[LTLU[FYLF
      OHP[PFFU`\FOSZF`SZWKM.
 468 Jacqueline Charles, U.S. tells Haiti leaders on delayed elections: ‘Do your respective jobs’, Miami Herald (Sept. 16, 2020),
      https://www.miamiherald.com/news/nation-world/world/americas/haiti/article245788370.html.
 469 Joint Statement from U.S. Human Rights Clinics, supra note 466.
 470 Amy MacKinnon & Robbie Gramer, Political Crisis in Haiti poses Challenges for Biden’s Democracy Push, Foreign Policy
      (Feb. 10, 2021), https://foreignpolicy.com/2021/02/10/haiti-political-crisis-biden-state-department-challenge/.
 471 See e.g., Conseil Superieur du Pouvoir Judiciaire, supra note 51; Haitian Bar Federation, supra note 51; Letter from Rep.
      Yvette D. Clark et al. to Sec’y of State Antony Blinken (Feb. 6, 2021), available at https://clarke.house.gov/clarke-and-
      meeks-co-lead-letter-to-secretary-blinken-urging-the-u-s-to-condemn-the-undemocratic-actions-of-president-moise-
      and-support-the-establishment-of-a-transitional-government-in-haiti/ (urging the Sec’y of State to “unambiguously reject
      any attempt by President Moïse to retain power in contravention” of the rule of law and democracy); Patrick Leahy (Sen.
      Patrick Leahy), Twitter (Feb. 6, 2021, 1:10 PM), https://twitter.com/SenatorLeahy/status/1358115921114578945 (stating
      that “US should join in calling for an inclusive transition that represents the Haitian people.”).
 472 :[H[LTLU[I`5LK7YPJL+LWHY[TLU[:WVRLZWLYZVU7YLZZ)YPLÄUN-LIO[[WZ!^^^Z[H[LNV]IYPLÄUNZ
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 473 Letter from Rep. Frederica Wilson et al. to Sec’y of State Mike Pompeo (Oct. 15, 2020), available at https://www.dropbox.
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            Haiti
            Events of 2021
                                       A billboard of slain Haitian President Jovenel Moïse is used to block a
                                             road during an anti-government protest in Port-au-Prince, Haiti,
                                                                                            October 21, 2021.
                                                                                © AP Photo/Matias Delacroix.



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            The Covid-19 pandemic and associated economic crisis, the assassination of President Jovenel
            Moïse in July 2021, and a 7.2 magnitude earthquake in August exacerbated Haiti’s existing
            challenges of political instability and violence by gangs often tied to state actors. Haiti has
            continuously struggled to meet the basic needs of its people and resolve long-standing human
            rights problems.


            Since the government’s announcement in 2018 that it would eliminate fuel subsidies,
            widespread civil unrest has paralyzed Haiti. Demonstrations intensified in 2019, amid evidence
            of embezzlement of funds intended for infrastructure and healthcare under the last three
            governments. Demonstrations increased again in 2021, against Moïse’s government and his
            proposed constitutional referendum. Police responded with excessive force. Impunity for gang
            and police violence continued.


            The earthquake, followed by Tropical Storm Grace, affected 2 million people in Haiti’s
            southern peninsula—77 percent of which lived below the poverty line—and left 2,246 dead,
            more than 12,700 injured, up to 26,000 displaced, and at least 329 missing.
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            Haiti’s Superior Council of the Judiciary ruled on February 6, 2021, that Moïse’s presidency
            would end the next day, but Moïse argued his term would end on February 7, 2022, five years
            after he took office. He had been ruling by decree since January 2020, due to the inexistence of
            a seated parliament given postponed legislative elections.


            On February 7, 2021, police detained Supreme Court Justice Yvickel Dieujuste Dabrésil, whom
            the political opposition was allegedly poised to nominate as provisional president. The
            following day, Moïse decreed Dabrésil’s retirement, along with those of Justices Joseph
            Mécènes Jean-Louis, whom the opposition appointed as provisional president after Dabrésil’s
            arrest, and Wendelle Coq Thélot, who had opposed Moïse's appointment by decree of all
            members of the Provisional Electoral Council (CEP) in September 2020.


            Moïse charged the CEP with carrying out presidential and legislative elections and a
            constitutional referendum in 2021, despite a constitutional prohibition on modifying the
            constitution through a referendum.


            Demonstrators who opposed the referendum and planning for elections demanded that the
            president step down and that a transitional government be put in place.


            On July 7, a group of armed people burst into President Moïse’s private residence in Port-au-
            Prince, killed him, and injured his wife. On July 20, Ariel Henry, whom Moïse had appointed
            prime minister days before the assassination, was installed as head of a new government. Some
            civil society organizations said his installment as head of state was unconstitutional.


            In September, an Independent Advisory Committee created by Moïse in 2020 presented the
            draft of a new constitution to Ariel Henry, who signed a political agreement with the
            opposition to carry out general elections in 2022.


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            A day after the assassination, Haitian police engaged in a shootout with suspected assassins,
            killing several and taking others into custody.


            In late July, two judges and two clerks of the Court of Peace who conducted judicial
            proceedings regarding the murder of President Moïse were threatened.


            On August 9, Justice Mathieu Chanlatte was appointed to lead the judicial investigation into
            President Moïse’s killing. In circumstances still under investigation, his clerk died on August 11.
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            Two days later, the judge withdrew from the case, citing personal reasons. On August 22,
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            Justice Garry Orélien was designated to replace him.


            As of August, the Haitian National Police (HNP) and the National Human Rights Defense
            Network (RNDDH) reported 3 people killed and 44 arrested—including former Colombian
            military officers—in connection with President Moïse’s assassination. Officials of the
            Colombian Ombudsperson’s Office who visited the Colombian ex-military detainees in Port-
            au-Prince reported that they had not been presented to a judicial authority, had not had access
            to legal assistance, and were being held incommunicado in a six-by-two-meter cell without
            sunlight, handcuffed, and sleeping on the floor. Some of the detainees claimed they had been
            tortured by police.


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            Violence is escalating. The United Nations Integrated Office in Haiti (BINUH) reported 1,074
            intentional homicides and 328 kidnappings from January to August 2021. Intentional homicides
            increased by 14 per cent, compared with 944 cases in the same period of 2020, and kidnappings
            continued to rise, compared with 234 for all of 2020. According to the Bureau des Avocats
            Internationaux (BAI) and the Institute for Justice & Democracy in Haiti (IJDH) gender-based
            violence is chronically under-reported.


            Some 95 gangs are fighting over territory in Port-au-Prince, where approximately 1.5 million
            people live, displacing 19,100. Haitian civil society groups say insecurity is exacerbated by
            alleged complicity between politicians and gangs.


            Under Moïse, since 2018, the IJDH, the RNDDH, and the Fondasyon Je Klere (FJKL), three
            nongovernmental organizations, documented 18 massacres in Port-au-Prince. In 2021, in
            Martissant, according to the UN Office for the Coordination of Humanitarian Affairs, gang
            members killed 4 people and injured 2 more; in Cité Soleil, gang clashes killed a minor and 10
            gang members; and in Delmas 32 and other neighborhoods armed individuals killed 19 people.
            At time of writing, no one had been charged or convicted for these massacres. Former
            policeman Jimmy Chérizier, who leads the "G9" gangs federation, is allegedly implicated in
            most cases and remains free.


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            BINUH documented 32 cases of attacks, threats, and intimidation against judges, human rights
            defenders and journalists, from February to August 2021.



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            RNDDH Director Pierre Espérance received a death threat from the “G9” in June. Diego
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            Charles, an anticorruption activist and reporter, and Antoinette Duclaire, a feminist, political
            activist, and journalist, were both killed on June 29 by armed individuals at the Christ-Roi
            neighborhood.


            At time of writing, eight people had been detained in connection with the August 2020 killing
            of Monferrier Dorval, head of the Port-au-Prince bar association, but no one had been charged.


            In 2019, Charlot Jeudy, the President of Kouraj, an organization advocating for the rights of
            lesbian, gay, bisexual, and transgender (LGBT) people, was found dead in his home.
            Circumstances surrounding his death and the results of an autopsy remained publicly unknown
            at the time of writing.


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            Haiti’s prisons remain severely overcrowded, with many detainees living in inhumane
            conditions. Overcrowding is largely attributable to pretrial detentions, BINUH and OHCHR
            reported in 2021.


            As of September, prisons housed nearly 11,000 detainees, 82 percent of whom were awaiting
            trial. New criminal and criminal procedure codes set to enter into force in June 2022 provide
            alternative measures to pretrial detention and establish detention of children as a measure of
            last resort.


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            Protests against the government continued to be repressed with excessive use of force. The
            RNDDH, in January 2021, reported at least 8 journalists injured, 10 demonstrators and 13
            political activists arbitrarily arrested, and 2 students beaten by police during several protests.
            In February, the Inter-American Commission on Human Rights (IACHR) reported two cases of
            journalists injured with rubber bullets.


            On February 25, a prison breakout at the Croix-des-Bouquets penitentiary left the prison
            director and 29 prisoners dead. BINUH reported law enforcement agents arbitrarily killed 25.


            From February to May, BINUH reported 238 cases of human rights violations by police,
            including 42 killings and indiscriminate use of tear gas.


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            In 2014, a court of appeal ordered investigations re-opened into arbitrary detentions, torture,
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            disappearances, summary executions, and forced exile during Jean Claude Duvalier’s
            presidency (1971-1986). As of September 2021, investigations remained pending.


            In 2020, former Haitian death squad leader Emmanuel “Toto” Constant was deported from the
            US. In 2000, he had been convicted in absentia for involvement in a 1994 massacre in
            Gonaïves. He remained in detention at time of writing.


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            The country’s most vulnerable communities face dramatic floods and soil erosion caused by
            deforestation that has nearly eliminated forest cover in the country, leading to reduced
            agricultural productivity.


            Over a third of the population lacks access to clean water and two-thirds have limited or no
            sanitation service. More than a third of Haitians—4.4 million—live with food insecurity,
            international agencies report, and 217,000 children suffer moderate to severe malnutrition.


            Without appropriate adaptation, decreased rainfall and rising temperatures driven by climate
            change will increasingly negatively impact agriculture and access to water.


            After the 2021 earthquake, water and sanitation infrastructure suffered extensive damage. Of
            159 health facilities, 88 had been reportedly affected. Displaced people are exposed to a
            heightened risk of infectious diseases and the virus that causes Covid-19.


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            Just under half of Haitians aged 15 and older are illiterate. The country’s education system is
            highly unequal. The quality of public education is generally very poor, and 85 percent of schools
            are private, charging fees that exclude most children from low-income families.


            Over 3 million children had been unable to attend school for months at a time during the past
            two years, for security reasons, as well as Covid-19 related restrictions.


            The 2021 earthquake destroyed or heavily damaged 308 schools, affecting 100,000 children.
            Schools were set to open on September 21, but the opening delayed until October 4 in the
            affected area. Before the earthquake, UNICEF estimated that 500,000 children were at risk of
            dropping out.


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            Gender-based violence is common. Rape was only explicitly criminalized in 2005, by           
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            ministerial decree. Gender-based violence was already one of the highest risks for girls and
            women in the southern province even before the earthquake, with sexual exploitation
            prevalent in some areas; these risks were expected to rise in the wake of the 2021 earthquake.


            A new penal code set to enter into force in June 2022 lists sexual harassment and gender-based
            violence as punishable offenses. The code will legalize abortion in all circumstances until the
            twelfth week of pregnancy, in cases of rape or incest, or if the mental or physical health of the
            woman is in danger. It will lower the legal age for consensual sex to 15.


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            Around 15 percent of the Haitian population lives with a disability, the World Health
            Organization reports.


            Although Haiti ratified the Convention on the Rights of Persons with Disabilities, its legislative
            framework has not been harmonized and includes offensive and discriminatory provisions
            against people with disabilities. People with disabilities continue experiencing discrimination
            in access to public services such as health, education, and justice and are at higher risk of
            suffering violence due to the significant social stigma and exclusion they face. Civil legislation
            restricts legal capacity for people with certain types of disabilities.


            The new penal code includes provisions prohibiting violence or incitement against people with
            disabilities.


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            LGBT people continue to suffer high levels of discrimination in Haiti, and no comprehensive
            legal framework forbids it.


            The new penal code, not yet in force, will make any crime motivated by its target’s real or
            perceived sexual orientation an aggravated offense. The code punishes any murder motivated
            by a victim’s sexual orientation with up to life imprisonment.


            In 2017, the Senate passed two anti-LGBT bills, which remained pending in the Chamber of
            Deputies at time of writing. One bans same-sex marriage and public support or advocacy for
            LGBT rights. The other establishes homosexuality as a one of the possible reasons for denial of
            a Certificat de Bonne Vie et Mœurs (a certificate of good standing required as proof that a
            person has not committed a felony).


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                                                                Report 2022: Haiti | HumaninRights
                                                                                              TXSD Watch Page 344 of 382

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            In September 2020, the Dominican Republic restarted deportations of undocumented Haitians,
            ending a pandemic moratorium. In January 2021, Dominican Republic President Luis Abinader
            and Jovenel Moïse agreed to address irregular migration and improve border security. The
            precarious status of Dominicans of Haitian descent and Haitian migrants in the Dominican
            Republic remains a serious concern.


            In February 2021, Abinader announced construction of a wall on the border. In August, the
            Dominican Ministry of Defense reported more than 178,000 Haitians forcibly repatriated. On
            September 28, the Dominican Republic’s National Migration Council adopted a policy that
            prevents any foreign person who “would result in an unreasonable burden on public finances”
            from entering the country, including women who are at least six months pregnant.


            In May 2021, the US extended a Temporary Protected Status 18-month designation for Haitians
            in the US for another 18 months. However, the US has continued to carry out expulsions of
            arriving Haitian migrants and asylum seekers to Haiti throughout the pandemic and, in
            September, it deployed border agents on horseback against Haitians seeking to enter the US
            through the US-Mexico border. Between taking office on January 20, 2021, and late November,
            the Biden administration expelled approximately 12,000 Haitians, a dramatic increase from
            2020, when 895 Haitians were expelled from the country.


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            Haiti is one of the most densely populated countries in the Western Hemisphere, and
            environmental degradation is a concern. In the past decade, foreign investors have pursued the
            development of the mining sector. Resistance is widespread, as communities fear the industry
            will destroy their farmland and further contaminate their water.


            A 2017 draft mining law is silent on the rights of those displaced by mining activities, the
            Global Justice Clinic of New York University School of Law reports, and it grants insufficient
            time for review of the environmental impacts of new mining projects. It contains provisions
            that could render company documents, including environmental and social impacts,
            confidential for 10 years, preventing meaningful consultation with communities. The draft
            remained under consideration as of September 2021.


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            In November 2020, the International Federation of Football Association (FIFA) Ethics
            Committee sanctioned Haitian Football Federation (FHF) President Yves Jean-Bart with a
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                                                                                              TXSD Watch Page 345 of 382

            lifetime ban, following its investigation into evidence of systematic sexual abuse of female
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            players. As of July 2021, FIFA had suspended four additional senior FHF officials in connection
            with the abuses and banned another one from the sport for life.


            After the August 2021 earthquake, the UN appealed for US$187.3 million to provide relief
            including shelter, water and sanitation, emergency healthcare, food, protection, and early
            recovery. In August, the US Agency for International Development announced $32 million in
            humanitarian assistance in response to the earthquake.


            The US government and the Organization of American States supported Ariel Henry and his
            aim to hold elections in 2022, though activists warned that conditions were not conducive to
            free and fair elections.


            Haiti’s political and humanitarian situation continue being discussed at the UN Security
            Council. UN Secretary-General António Guterres called on all member states to support Haiti
            in overcoming the humanitarian crisis. BINUH’s mandate was extended to July 15, 2022.




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                                                                IOM HAITI:
                                                       DISPLACEMENT DASHBOARD #1
                                                                             JUNE 2021



             17,105 IDPs                                    2,906 households                                          10 sites



Since the beginning of June 2021, an increase in fights and violence among armed gangs in the metropolitan area
of Port-au-Prince continues to fuel the insecurity and the displacement of the civilian population. As of 24 June
2021, 17,105 internally displaced persons (IDPs) have been identified in 10 sites (host communities, spontaneous
sites or organised sites).

In the sites, where the data has been verified, 2,683 female and 2,247 male have been recorded, including 1,340
children.
              DEMOGRAPHICS                                                    TYPE OF SITE

                                                                  Host
                                                               community                                             68%


                                                                Organised         17%
                                                                   site
      Female 56%               Male 44%
                                                               Spontaneous       15%
                                                                   site
                                                                             0   2 000   4 000   6 000    8 000   10 000 12 000


                                            VULNERABILITIES




       1,340                 103                   156                          274                           328
      children         pregnant women             elderly                   persons with                  persons with
                                                                             disabilities                 chronic ilness


                                                 SITE LIST

                      Site                             Type of site                                      IDPs
                    Bel-Air                           organised site                                     1,242
        Centre Sportif de Carrefour                   organised site                                     1,115
              Delmas 103 (Ecole)                     spontaneous site                                     565
           Delmas 2 (Ecole Komite)                   spontaneous site                                    1,000
          Delmas 2 / Armée du Salut                   organised site                                      500
                Eglise St. Yves                      spontaneous site                                    1,000
    Familles accueil à Martissant/Delmas 2           host community                                      5,110
     Quartier de Saint Martin / Delmas 2             host community                                      4,000
                 Tabarre Issa                        host community                                      2,160
               Toussaint Brave                       host community                                       413
                                                                                                   Haiti AR_001654
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                                                                                                                                                                                                                                                                                                                                                                                        DISPLACEMENT TRACKING MATRIX                                                                                                                                                                                         Date: 24/Jun/2021 Laboul                                                                                          designations used on this map do not imply
                                                                                                                                                                                                                                                                                                                                                                                                     V2.0 UPDATE                                                                                                                                                                                             Edition: Version 32                                                                                               official endorsement or acceptance by IOM.
                                                                                                                                                                                                                                                                                                                                                                                                    March 32, 2018                                                                                                                                                                                           Glide Number: EQ-2010-000009-HTI
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Print Dimensions : ISO A1 size                                                                                    All information is the best available at the time
                                                                                                                                                                                                                                                                                                                                                                                            Updates of population figures are available from                                                                                                                                                                 (863.6 x 558.8 mm)                                                                                                this map was produced. Updates should be
                                                                                                                                                                                                                                                                                                                                                                                            the IOM Data Management Unit upon request.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               sent to the IOM GIS Unit.
                                                                                                                                                                                                                                                                                                                                                                                            Data Sources: OSM, CNIGS, IOM-DTM, CCCM
                                                                                                                                                                       72°24'W                                                                                          72°23'W                                                  72°22'W                                72°21'W                                                                                                                                                                                                                 72°20'W                                                                                                                                                                 72°19'W                                                                                                                                                                            72°18'W                                                                                                                                                                                72°17'W
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For more information, please contact: dtmhaiti@iom.int




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Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 352 of 382




                                                               Haiti AR_001656
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 353 of 382




                                                               Haiti AR_001657
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 354 of 382




                                                               Haiti AR_001658
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 355 of 382




                                                               Haiti AR_001659
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 356 of 382




                                                               Haiti AR_001660
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 357 of 382




                                                               Haiti AR_001661
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 358 of 382




                                                               Haiti AR_001662
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 359 of 382




                                                               Haiti AR_001663
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 360 of 382




                                                               Haiti AR_001664
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 361 of 382




                                                               Haiti AR_001665
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 362 of 382




                                                               Haiti AR_001666
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 363 of 382




                                                               Haiti AR_001667
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 364 of 382




                                                               Haiti AR_001668
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 365 of 382




                                                               Haiti AR_001669
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 366 of 382




                                                               Haiti AR_001670
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 367 of 382




                                                               Haiti AR_001671
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 368 of 382




                                                               Haiti AR_001672
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 369 of 382




                                                               Haiti AR_001673
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 370 of 382




                                                               Haiti AR_001674
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 371 of 382




                                                               Haiti AR_001675
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 372 of 382




                                                               Haiti AR_001676
Case 6:23-cv-00007 Document 93-6 Filed on 03/24/23 in TXSD Page 373 of 382




                                                               Haiti AR_001677
12/12/22, 11:23 Case
                AM   6:23-cv-00007             Document
                                                    Haiti’s 93-6
                                                            Troubled Filed   on 03/24/23
                                                                     Path to Development      in TXSD
                                                                                         | Council on Foreign Page
                                                                                                              Relations374 of 382




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https://www.cfr.org/backgrounder/haitis-troubled-path-development                                                                   1/9
12/12/22, 11:23 Case
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                                                     Haiti’s 93-6
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                                                                                                               Relations375 of 382




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                                                                                                              Relations376 of 382




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                                                    Haiti’s 93-6
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         Why has Haiti had such difficulty developing?
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                                                    Haiti’s 93-6
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https://www.cfr.org/backgrounder/haitis-troubled-path-development                                                                           6/9
12/12/22, 11:23 Case
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                                                    Haiti’s 93-6
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                                                                                         | Council on Foreign Page
                                                                                                              Relations380 of 382




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                                                                                                              Relations381 of 382




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12/12/22, 11:23 Case
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                                                         Haiti’s 93-6
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